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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

 In re:
                                                                  Chapter 11
                                                   1
 Prime Core Technologies Inc., et al.,
                                                                  Case No. 23-11161 (JKS)
                                                   Debtors.
                                                                  (Jointly Administered)


                                                 AFFIDAVIT OF SERVICE

       I, James Nguyen-Phan, depose and say that I am employed by Stretto, the claims and
noticing agent for the Debtors in the above-captioned cases.

       On November 1, 2023, at my direction and under my supervision, employees of Stretto
caused the following documents to be served via first-class mail on the service list attached hereto
as Exhibit A, via first-class mail on five hundred forty three (543) confidential parties not included
herein, via electronic mail on the service list attached hereto as Exhibit B, via electronic mail on
twenty six thousand three hundred seven (26,307) confidential parties not included herein:

          Amendment to Order (I) Approving the Disclosure Statement on an Interim Basis for
           Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
           Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
           and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
           a Combined Hearing for Final Approval of the Adequacy of Information in the
           Disclosure Statement and Confirmation of the Plan; and (VI) Granting Related Relief
           (Docket No. 362)

          Notice of Amendment to Confirmation Schedule (Docket No. 367)




                                 [THIS SPACE INTENTIONALLY LEFT BLANK]




______________________________________________
1
  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
(4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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                                                                                            Served via First-Class Mail


                               Name                                          Attention                    Address 1                             Address 2                  City       State    Zip      Country
                                                                                         222 W Las Colinas Boulevard – Urban
 AGILE THOUGHT LLC                                                                       Towers Suite 1650 E                                                          Irving         TX    75039
 Allsec Technologies Limited                                                             6303 Commerce Dr. Suite 175                                                  Irving         TX    75063
 APIHUB, Inc. dba Clearbit                                                               548 Market Street, Suite 95879                                               San Francisco  CA    94104
                                                                                         c/o Solna Business Park, Svetsarvagen 15                                                    Stock
 BKR International KB                                               Attn: Todor Ivanov   2tr                                                                          Solna          holm SE-171 41 Sweden
 Brex                                                                                    650 South 500 West, Suite 209                                                Salt Lake City UT    84101
 Bright Point Solutions, LLC                                                             1204 Village Market Pl                     Ste 240                           Morrisville    NC    27560
 Cahill Gordon & Reindel LLP                                                             32 Old Slip                                                                  New York       NY    10005
 Castellum.AI Corporation                                                                99 Wall Street, Suite 1377                                                   New York       NY    10005
 Centurylink                                                                             PO Box 4918                                                                  Monroe         LA    71211-4918
 Chainalysis                                                                             228 Park Ave                               S 23474                           New York       NY    10003
 CitiClean Services                                                                      7995 Blue Diamond Road, Suite 102-102                                        Las Vegas      NV    89178
 Cloudflare                                                                              101 Townsend Street                                                          San Francisco CA     94107
 Datasite LLC                                                       Attn: Leif Simpson   The Baker Center                           733 S. Marquette Ave, Suite 600   Minneapolis    MN    55402
 Deel Inc.                                                                               425 1st St                                                                   San Francisco CA     94105
 Department of Treasury - Internal Revenue Service                                       PO Box 7346                                                                  Philiadelphia  PA    19101-7346
 Department of Treasury - Internal Revenue Service                                       PO Box 7346                                                                  Philiadelphia  PA    19101-7346
 Digital Mountain                                                                        4633 Old Irionsides Drive                  Suite 401                         Santa Clara    CA    95054
 Empowering Technology Solutions LLC                                                     8275 N 2200 East Rd                                                          Downs          IL    61736
 Engine Yard Enterprises, Inc                                                            PO Box 671224                                                                Dallas         TX    75267-1224
 Equity Trust Company                                                                    PO Box 451219                                                                Westlake       OH    44145
 FedEx                                                                                   PO Box 7221                                                                  Pasadena       CA    91109-7321
 Fireblocks Inc.                                                                         221 River Street, 9th Floor                                                  Hoboken        NJ    7030
 First Choice Coffee Services                                                            6295 S. Pearl St., Ste. #500                                                 Las Vegas      NV    89120
 Forter                                                                                  575 Fifth Avenue                                                             New York       NY    10017
 FTI Consulting                                                                          P.O. Box 418005                                                              Boston         MA    02241-8005
 Fuller Tubb & Bickford, PLLC                                                            201 Robert S Kerr Avenue                   Ste 1000                          Oklahoma City OK     73102
 Google LLC                                                                              1600 Amphitheatre Pkwy                                                       Mountain View CA     94043
 Hawkes Legal PC                                                                         621 E 550 N                                                                  Smithfield     UT    84335
 Innovest Systems LLC                                                                    PO Box 411061                                                                Boston         MA    02241-1061
 Internal Revenue Service                                                                PO Box 7346                                                                  Philadelphia   PA    19101-7346
 Kotis Design LLC                                                                        Kotis Design                               PO Box 24003                      Seattle        WA 98124-0003
 LEXISNEXIS RISK SOLUTIONS                                                               28330 Network Place                                                          Chicago        IL    60673-1283
 LinkedIn                                                                                62228 Collections Center Drive                                               Chicago        IL    60693-0622
 Maquette Advisors                                                                       7170 N Broadway Street, #28783                                               Kansas City    MO    64118
 Marketo Inc                                                                             901 Mariners Island Blvd, Suite 500                                          San Mateo      CA    94404
 Microsoft                                                                               One Microsoft Way                                                            Redmond        WA 98052
 Netlify                                                                                 44 Montgomery Street Suite 300                                               San Francisco CA     94104
 NextGen Protection Companies, INC.                                                      PO Box 30102, Department 718                                                 Salt Lake City UT    84130
 Obility                                                                                 308 SW First Avenue                        Suite 401                         Portland       OR    97204
 Office of the Attorney General for the District of Columbia                             441 4Th St Nw, Ste 1100S                                                     Washington     DC    20001
 Office of the Attorney General for the District of Puerto Rico                          350 Carlos Chardón Street                  Torre Chardón, Suite 1201         San Juan       PR    00918      Puerto Rico
 Office of the Attorney General for the State of Alabama                                 501 Washington Ave                                                           Montgomery     AL    36104
 Office of the Attorney General for the State of Alaska                                  1031 W 4th Ave, Ste 200                                                      Anchorage      AK    99501
 Office of the Attorney General for the State of Arizona                                 2005 N Central Ave                                                           Phoenix        AZ    85004
 Office of the Attorney General for the State of Arkansas                                323 Center St, Ste 200                                                       Little Rock    AR    72201
 Office of the Attorney General for the State of California                              PO Box 944255                                                                Sacramento     CA    94244-2550
 Office of the Attorney General for the State of Colorado                                Ralph L. Carr Judicial Building            1300 Broadway, 10Th Fl            Denver         CO    80203

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                                Name                                         Attention                         Address 1                           Address 2                   City       State     Zip      Country
 Office of the Attorney General for the State of Connecticut                                  165 Capitol Ave                                                           Hartford         CT     06106
 Office of the Attorney General for the State of Florida                                      The Capitol Pl-01                                                         Tallahassee      FL     32399
 Office of the Attorney General for the State of Georgia                                      40 Capitol Sq Sw                                                          Atlanta          GA     30334
 Office of the Attorney General for the State of Hawaii                                       425 Queen Street                                                          Honolulu         HI     96813
 Office of the Attorney General for the State of Idaho                                        700 W. Jefferson St, Suite 210                                            Boise            ID     83720
 Office of the Attorney General for the State of Illinois                                     James R. Thompson Center                 100 W. Randolph St               Chicago          IL     62706
 Office of the Attorney General for the State of Indiana                                      Indiana Government Center South          302 W Washington St 5Th Fl       Indianapolis     IN     46204
 Office of the Attorney General for the State of Iowa                                         Hoover State Office Building             1305 E. Walnut Street Rm 109     Des Moines       IA     50319
 Office of the Attorney General for the State of Kansas                                       120 SW 10Th Ave, 2nd Fl                                                   Topeka           KS     66612
 Office of the Attorney General for the State of Kentucky                                     Capitol Building                         700 Capitol Ave Ste 118          Frankfort        KY     40601
 Office of the Attorney General for the State of Louisiana                                    1885 N. Third St                                                          Baton Rouge      LA     70802
 Office of the Attorney General for the State of Maine                                        6 State House Station                                                     Augusta          ME     04333
 Office of the Attorney General for the State of Maryland                                     200 St. Paul Pl                                                           Baltimore        MD     21202
 Office of the Attorney General for the State of Massachusetts                                1 Ashburton Place, 20Th Floor                                             Boston           MA     02108
 Office of the Attorney General for the State of Michigan                                     G. Mennen Williams Building, 7Th Floor   525 W Ottawa St                  Lansing          MI     48909
 Office of the Attorney General for the State of Minnesota                                    445 Minnesota St, Ste 1400                                                St. Paul         MN     55101
 Office of the Attorney General for the State of Mississippi                                  Walter Sillers Building                  550 High St Ste 1200             Jackson          MS     39201
 Office of the Attorney General for the State of Missouri                                     Supreme Court Building                   207 W High St                    Jefferson City   MO     65101
 Office of the Attorney General for the State of Montana                                      215 N. Sanders                           Justice Building, Third Fl       Helena           MT     59601
 Office of the Attorney General for the State of Nebraska                                     2115 State Capitol                                                        Lincoln          NE     68509
 Office of the Attorney General for the State of Nevada                                       Old Supreme Court Building               100 N Carson St                  Carson City      NV     89701
 Office of the Attorney General for the State of New Hampshire                                Nh Department Of Justice                 33 Capitol St.                   Concord          NH     03301
 Office of the Attorney General for the State of New Jersey                                   Richard J. Hughes Justice Complex        25 Market St 8Th Fl, West Wing   Trenton          NJ     08611
 Office of the Attorney General for the State of New Mexico                                   408 Galisteo Street                      Villagra Building                Santa Fe         NM     87501
 Office of the Attorney General for the State of New York                                     The Capitol                              2nd Floor                        Albany           NY     12224
 Office of the Attorney General for the State of North Carolina                               114 W Edenton St                                                          Raleigh          NC     27603
 Office of the Attorney General for the State of North Dakota                                 State Capitol, 600 E Boulevard Ave       Dept. 125                        Bismarck         ND     58505
 Office of the Attorney General for the State of Ohio                                         State Office Tower                       30 E Broad St 14Th Fl            Columbus         OH     43215
 Office of the Attorney General for the State of Oklahoma                                     313 Ne 21St St                                                            Oklahoma City    OK     73105
 Office of the Attorney General for the State of Oregon                                       1162 Court St NE                                                          Salem            OR     97301
 Office of the Attorney General for the State of Pennsylvania                                 Strawberry Square 16Th Fl                                                 Harrisburg       PA     17120
 Office of the Attorney General for the State of Rhode Island                                 150 S Main St                                                             Providence       RI     02903
 Office of the Attorney General for the State of South Carolina                               Rembert C. Dennis Bldg                   1000 Assembly St Rm 519          Columbia         SC     29201
 Office of the Attorney General for the State of South Dakota                                 1302 E Highway 14, Ste 1                                                  Pierre           SD     57501
 Office of the Attorney General for the State of Tennessee                                    301 6Th Ave N                                                             Nashville        TN     37243
 Office of the Attorney General for the State of Texas                                        300 W. 15Th St                                                            Austin           TX     78701
 Office of the Attorney General for the State of Utah                                         Utah State Capitol Complex               350 North State St Ste 230       Salt Lake City   UT     84114
 Office of the Attorney General for the State of Vermont                                      109 State St.                                                             Montpelier       VT     05609
 Office of the Attorney General for the State of Virginia                                     202 N. Ninth St.                                                          Richmond         VA     23219
 Office of the Attorney General for the State of Washington                                   1125 Washington St Se                                                     Olympia          WA 98501
 Office of the Attorney General for the State of Washington                                   PO Box 40100                                                              Olympia          WA 98504
 Office of the Attorney General for the State of West Virginia                                State Capitol, 1900 Kanawha Blvd E       Building 1 Rm E-26               Charleston       WV 25305
 Office of the Attorney General for the State of Wisconsin                                    17 West Main Street, Room 114 East P                                      Madison          WI     53702
 Office of the Attorney General for the State of Wyoming                                      Kendrick Building                        2320 Capitol Ave                 Cheyenne         WY 82002
 Office of The U.S. Trustee for the District of Delaware            Attn: Linda Casey, Esq.   844 N King St #2207                      Lockbox 35                       Wilmington       DE     19801
 OneTrust LLC                                                                                 1200 Abernathy Road, Suite 700                                            Atlanta          GA     30328
 Orrick Herrington & Sutcliffe LLP                                                            PO Box 848066                                                             Los Angeles      CA     90084-8066
 PerformLine, Inc                                                                             58 South Street, 2nd Floor                                                Morristown       NJ     07960
 Planful                                                                                      150 Spear Street, Suite 1850                                              San Francisco    CA     94105

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                            Name                                Attention                           Address 1                             Address 2                City        State     Zip     Country
 Pluralsight, LLC                                                                   42 Future Way                                                            Draper            UT    84020
 Qwest Corporation dba CenturyLink QC                  c/o Legal-BKY                1025 EL Dorado Blvd                                                      Broomfield        CO    80021
 Regus Management Group                                                             15305 Dallas Pkwy Fl. 12                                                 Addison           TX    75001-4637
 Regus Management Group, LLC                                                        530 Lytton Avenue, 2nd Floor                                             Palo Alto         CA    94301
 Revenue Pulse Inc.                                                                 2 Gurdwara Road, Suite 200                                               Ottawa            ON    K2E 1A2    Canada
 Saltzman Mugan Dushoff, PLLC                                                       1835 Village Center Circle                                               Las Vegas         NV    89134
                                                       Attn: Andrew Calamari,
 Securities And Exchange Commission                    Regional Director            New York Regional Office, Brookfield Place 200 Vesey Street, Suite 400   New York          NY   10281-1022
 Securities And Exchange Commission                    Attn: Lara Shalov Mehraban   100 Pearl St                               Suite 20-100                  New York          NY   10004-2616
                                                       Attn: Secretary of The
 Securities And Exchange Commission                    Treasury                     100 F Street, NE                                                         Washington        DC   20549
 Sift                                                  Attn: Eva Gutierrez          525 Market St 6th Fl                                                     San Francisco     CA   94105
 SLS Financial Services, Inc.                                                       PO Box 412534                                                            Kansas City       MO   64141
 Smarsh, Inc.                                                                       851 SW 6th, Suite 800                                                    Portland          OR   97204
 Socure Inc.                                                                        885 Tahoe Boulevard, Suite 1                                             Incline Village   NY   89451
 SoftServe Inc.                                                                     12800 University Drive                     Ste 410                       Fort Myers        FL   33907
 Sovos Compliance LLC                                                               PO Box 347977                                                            Pittsburgh        PA   15251-4977
 State of Minnesota, Department of Revenue             Attn: Sara Westly            PO Box 64447 - BKY                                                       St Paul           MN   55164-0447
 State of Nevada Department of Taxation                Attn: Dana Snow              700 E Warm Springs Rd                      Ste 200                       Las Vegas         NV   89119
 State of Nevada Department of Taxation                Attn: Dana Snow              700 E Warm Springs Rd                      Ste 200                       Las Vegas         NV   89119
 Thomson Reuters                                                                    610 Opperman Drive                                                       Eagan             MN   55123-1396
 Trulioo Information Services                                                       114 East 4th Avenue, Suite 400                                           Vancouver         BC   V5T 1G2    Canada
 Ubeo                                                                               3131 Esplanade                                                           Chico             CA   95973
 Ubiquity Global Services, Inc.                                                     1140 Avenue of the Americas, Suite 1601                                  New York          NY   10036
 Upflow                                                                             440 N Barranca Avenue, #7517                                             Covina            CA   91723
 US Attorney’s Office for the District of Delaware                                  1313 N Market Street                                                     Wilmington        DE   19801
 WA State Department of Labor and Industries           c/o Bankruptcy Unit          Attn: Lakesha Pinkney                      PO Box 44171                  Olympia           WA   98504




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                             Name                                           Attention 1                        Attention 2                              Email
                                                               c/o Pashman Stein Walder            Attn: John W. Weiss, William R.     jweiss@pashmanstein.com
Allegheny Casualty Company                                     Hayden, P.C.                        Firth, III                          wfirth@pashmanstein.com
Allsectech, Inc.                                               Attn: Aviral Dhirendra                                                  aviral198828@gmail.com
                                                               c/o Troutman Pepper Hamilton        Attn: David M. Fournier & Evelyn J. david.fournier@troutman.com
AnchorCoin LLC                                                 Sanders LLP                         Meltzer                             evelyn.meltzer@troutman.com
Austin Ward                                                                                                                            austindward@proton.me
BKR International KB                                                                                                                   ivanov@bankor.com
BKR International KB                                           Attn: Todor Ivanov                                                      ivanov@bankor.com
Bosonic Inc.                                                                                                                           rosario@bosonic.digital
                                                               c/o Meyers, Roman, Friedberg &
Coinbits, Inc.                                                 Lewis LPA                           Attn: David M Newumann              dneumann@meyersroman.com
                                                                                                                                       ceo@myconstant.com
CONST LLC                                                      Attn: Duy Huynh                                                         trinh.nguyen@autonomous.nyc
Datasite LLC                                                   Attn: Leif Simpson                                                      leif.simpson@datasite.com
                                                                                                                                         susheelkirpalani@quinnemanuel.com
                                                                                                                                         pattytomasco@quinnemanuel.com
                                                                                                   Attn: Susheel Kirpalani & Patricia B. danielholzman@quinnemanuel.com
                                                                                                   Tomasco & Daniel Holzman & Alain alainjaquet@quinnemanuel.com
                                                               c/o Quinn Emanuel Urquhart &        Jaquet & Razmig Izakelian &           razmigizakelian@quinnemanuel.com
Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Sullivan, LLP                       Joanna Caytas                         joannacaytas@quinnemanuel.com
                                                               c/o Young Conaway Stargatt &        Attn: Robert S. Brady & Kenneth J. rbrady@ycst.com
Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Taylor, LLP                         Enos                                  kenos@ycst.com
DMG Blockchain Solutions, Inc.                                 Attn: Steven Eliscu                                                       steve@dmgblockchain.com
                                                                                                                                       js@gc.exchange
                                                                                                                                       finance@gc.exchange
                                                               Attn: Michael Aagaard and Lars                                          maa@gc.exchange
GC Exchange A/S                                                Holst                                                                   lh@gc.exchange
                                                                                                                                       akornfeld@pszjlaw.com
                                                               c/o Pachulski Stang Ziehl & Jones   Attn: Alan J. Kornfeld & Jason H.   jrosell@pszjlaw.com
George Georgiades, Kevin Lehtiniitty, and Scott Purcell        LLP                                 Rosell & James E. O’Neill           joneill@pszjlaw.com
                                                               c/o Gellert Scali Busenkell &
Kado Software, Inc.                                            Brown, LLC                          Attn: Michael Van Gorder            mvangorder@gsbblaw.com
Kado Software, Inc.                                            c/o Raines Feldman Littrell LLP     Attn: David S. Forsh                dforsh@raineslaw.com
                                                                                                                                       kammas727@gmail.com
 Kammas and Company Inc.                                       Attn: Carl Elsammak                                                     celsammak@kammastrading.com
 Net Cents Technology, Inc.                                    Attn: Clayton Moore                                                     claytonmoore@net-cents.com
 Nova Treasure PTE LTD                                         Attn: Thomas                                                            novacityventures@gmail.com
 Office of the Attorney General for the District of Columbia                                                                           oag@dc.gov
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                           Name                                       Attention 1                          Attention 2                              Email
Office of the Attorney General for the State of Alabama                                                                             consumerinterest@Alabamaag.gov
Office of the Attorney General for the State of Alaska                                                                              attorney.general@alaska.gov
Office of the Attorney General for the State of Arizona                                                                             BCEIntake@azag.gov
Office of the Attorney General for the State of California                                                                          xavier.becerra@doj.ca.gov
Office of the Attorney General for the State of Colorado                                                                            DOR_TAC_Bankruptcy@state.co.us
Office of the Attorney General for the State of Connecticut                                                                         attorney.general@ct.gov
Office of the Attorney General for the State of Hawaii                                                                              hawaiiag@hawaii.gov
Office of the Attorney General for the State of Illinois                                                                            michelle@lisamadigan.org
Office of the Attorney General for the State of Iowa                                                                                consumer@ag.iowa.gov
Office of the Attorney General for the State of Kentucky                                                                            KyOAGOR@ky.gov
Office of the Attorney General for the State of Louisiana                                                                           ConstituentServices@ag.louisiana.gov
Office of the Attorney General for the State of Maryland                                                                            oag@oag.state.md.us
Office of the Attorney General for the State of Massachusetts                                                                       ago@state.ma.us
Office of the Attorney General for the State of Michigan                                                                            miag@michigan.gov
Office of the Attorney General for the State of Missouri                                                                            consumer.help@ago.mo.gov
Office of the Attorney General for the State of New Hampshire                                                                       attorneygeneral@doj.nh.gov
Office of the Attorney General for the State of North Dakota                                                                        ndag@nd.gov
Office of the Attorney General for the State of Oklahoma                                                                            questions@oag.ok.gov
Office of the Attorney General for the State of Utah                                                                                uag@utah.gov
Office of the Attorney General for the State of Vermont                                                                             ago.info@vermont.gov
Office of the Attorney General for the State of West Virginia                                                                       consumer@wvago.gov
                                                                                                                                    rstark@brownrudnick.com
                                                                                               Attn: Robert J. Stark & Bennett S.   bsilverberg@brownrudnick.com
                                                                                               Silverberg & Kenneth J. Aulet &      kaulet@brownrudnick.com
Official Committee of Unsecured Creditors                   c/o Brown Rudnick LLP              Jennifer M. Schein                   jschein@brownrudnick.com
                                                                                               Attn: Tristan G. Axelrod & Matthew   taxelrod@brownrudnick.com
Official Committee of Unsecured Creditors                   c/o Brown Rudnick LLP              A. Sawyer                            msawyer@brownrudnick.com
                                                            c/o Womble Bond Dickinson (US)     Attn: Donald J. Detweiler & Elazar   don.detweiler@wbd-us.com
Official Committee of Unsecured Creditors                   LLP                                A. Kosman                            elazar.kosman@wbd-us.com
OKCoin USA Inc. and OKC USA Holding Inc.                    c/o Duane Morris LLP               Attn: Sommer L. Ross                 slross@duanemorris.com
                                                            c/o Buchalter, A Professional
Oracle America, Inc.                                        Corporation                      Attn: Shawn M. Christianson            schristianson@buchalter.com
                                                            c/o McElroy, Deutsch, Mulvaney &
Philadelphia Indemnity Insurance Company                    Carpenter, LLP                   Attn: Gary D. Bressler                 gbressler@mdmc-law.com
Polaris Ventures                                            Attn: Ruairi Donnelly                                                   ruairi.donnelly@polaris-ventures.org
                                                            c/o Mintz, Levin, Cohn, Ferris,
Polaris Ventures                                            Glovsky and Popeo, P.C.          Attn: Abigail O’Brient                 aobrient@mintz.com

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                             Name                                     Attention 1                         Attention 2                            Email
                                                         c/o Mintz, Levin, Cohn, Ferris,
Polaris Ventures                                         Glovsky and Popeo, P.C.             Attn: Joseph R. Dunn                jrdunn@mintz.com
                                                         c/o Young Conaway Stargatt &        Attn: Michael R. Nestor & Ryan M.   mnestor@ycst.com
Polaris Ventures                                         Taylor, LLP                         Bartley                             rbartley@ycst.com
Qwest Corporation dba CenturyLink QC                     c/o Legal-BKY                                                           bky23@customer.com
Securities And Exchange Commission                       Attn: Lara Shalov Mehraban                                              nyrobankruptcy@sec.gov
Stably Corporation                                       Attn: Ivan Inchauste                                                    ivan@stably.io
                                                                                                                                 JWilliamson@gravislaw.com
Stably Corporation                                       c/o Gravis Law, PLLC                Attn: Jill Williamson               MPyfrom@gravislaw.com
                                                                                                                                 JOLeary@gravislaw.com
                                                                                                                                 DCannon@gravislaw.com
                                                                                                                                 MHess@gravislaw.com
Stably Corporation                                       c/o Gravis Law, PLLC                Attn: John W. O'Leary               HHarden@gravislaw.com
State of Nevada Department of Taxation                   Attn: Dana Snow                                                         tax-bankruptcy@tax.state.nv.us
Thomas Pageler                                           c/o Clark Hill PLC                  Attn: Karen M. Grivner              kgrivner@clarkhill.com
                                                                                             Attn: Tobias S. Keller & Traci L.   tkeller@kbkllp.com
Tiki Labs, Inc. dba Audius Inc.                          c/o Keller Benvenutti Kim LLP       Shafroth                            tshafroth@kbkllp.com
                                                         c/o Pashman Stein Walder Hayden
Tiki Labs, Inc. dba Audius Inc.                          PC                              Attn: John W. Weiss                     jweiss@pashmanstein.com
US Attorney’s Office for the District of Delaware                                                                                usade.press@usdoj.gov
WA State Department of Labor and Industries              c/o Bankruptcy Unit                 Attn: Lakesha Pinkney               pilk235@lni.wa.gov
Wealthchain, Inc.                                        Attn: Kevin Mehrabi                                                     kevin@wealthchain.io
Yousef Abbasi                                                                                                                    Yousef.a.abbasi@gmail.com




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                        Name                                 Attention                              Address 1                                  Address 2                City      State       Zip      Country
 131 Shiloh LLC                                                                   131 Shiloh St                                                             Pittsburgh         PA         15211
 15th Round LLC                                                                   3630 San Fernando Rd.                                                     Glendale           CA         91204
 1775122 Ontario Inc.                                                             2 Dublaine Ave                                                            Toronto            ON         M5M 2R7   Canada
 1787 Financial Corporation Inc.                                                  155 Gibbs Street                                                          Rockville          MD         20850
 1787 Financial Corporation Inc.                                                  2231 Crystal City Drive #1000                                             Arlington          VA         22202
 1821 Drinks Inc                                                                  3911 Concord Pike #8030 SMB #10619                                        Wilmington         DE         19803
 1900 Thomas Avenue North LLC                                                     1005 W Franklin Ave                                                       Minneapolis        MN         55405
 1908 Fund19 LLC                                                                  750 Hammond Drive                                                         Atlanta            GA         30328
 1908Blend18 LLC                                                                  750 Hammond Drive                                                         Atlanta            GA         30328
 1908Bsi17 LLC                                                                    750 Hammond Drive                                                         Sandy Springs      GA         30328
 1908Ccp17 LLC                                                                    750 Hammond Drive                                                         Sandy Springs      GA         30328
 1908Lsi19 LLC                                                                    750 Hammond Drive                                                         Atlanta            GA         30328
 1908Nsi18 LLC                                                                    750 Hammond Drive                                                         Atlanta            GA         30328
 1908Rgc17 LLC                                                                    750 Hammond Drive                                                         Sandy Springs      GA         30328
                                                   Attn: Mostafa Al-Mashita and
 1983283 Ontario Inc. dba Secure Digital Markets   Catherine Mitilineos           626 King St W                                                             Toronto            ON         M5V 1M5    Canada
 1Konto                                            Attn: Edwin Handschuh          16192 Coastal Hwy                                                         Lewes              DE         19958
 1Password                                                                        4711 Yonge St 10 Fl                                                       Toronto            ON         M2N 6K8    Canada
 1st StREIT Office Inc.                                                           11601 Wilshire Blvd.                                                      Los Angeles        CA         90025
 1st West Background Check                                                        88 Inverness Circle East                        Suite L107                Englewood          CO         80112
 1Up Golf Development Group Inc.                                                  377 Point Windemere Place                                                 Oceanside          CA         92057
 1World Online Inc.                                                               541 Jefferson Avenue                                                      Redwood City       CA         94063
 20/20 GeneSystems Inc.                                                           251 Little Falls Drive                                                    Wilmington         DE         19808
 20/20 GeneSystems Inc.                                                           9430 Key West Ave.                                                        Rockville          MD         20850
 2124 Brewing Company LLC                                                         8321 Ohio River Boulevard                                                 Emsworth           PA         15202
 222 Loyola Investors QOF LLC                                                     333 W Franklin St                                                         Tupelo             MS         38804
 24/7 Labs Corporation                                                            6107 Memorial Hwy                                                         Tampa              FL         33615
 2424 Chicago Ave S LLC                                                           1005 W Franklin Avenue, Suite 6                                           Minneapolis        MN         55405
 2517 Golden Valley Road LLC                                                      1005 W Franklin Ave                                                       Minneapolis        MN         55405
 2601 Golden Valley Road LLC                                                      1005 W Franklin Ave                                                       Minneapolis        MN         55405
 29201 Aurora Road LLC                                                            4922 E 49th St.                                                           Cleveland          OH         44125
 29-26 Northern Boulevard Investment, LLC                                         149 East 23rd Street                                                      New York           NY         10159
 2nd Semester Consignment Shop                                                    19325 South Lakeshore Blvd                                                Euclid             OH         44119
 2sisters2sons Co                                                                 835 Homewood Dr                                                           Pittsburgh         PA         15215
 2XL Swagger Brands Inc.                                                          100 Congress Ave. Suite 2000                                              Austin             TX         78701
 2XPLR Inc.                                                                       725 S Figueroa St                                                         Los Angeles        CA         90017
 30dB Inc.                                                                        494 Aspen Meadows Road                                                    Nederland          CO         80466
 360 ONLY Novelty Co.                                                             2210 Pasadena Drive                                                       Austin             TX         78757
 364 West 10th Street Inc.                                                        16299 Foothill Blvd                                                       Fontana            CA         92335
 3924 Halldale Ave LLC                                                            811 Wilshire Blvd                                                         Los Angeles        CA         90017
 3Bm LLC                                                                          137 Ulysses St                                                            Pittsburgh         PA         15211
 420 Real Estate LLC                                                              1700 Post Oak Blvd                                                        Houston            TX         77056
 43-45 Mott Street Investment, LLC                                                149 East 23rd Street                                                      New York           NY         10159
 450 Investments LLC                                                              450 Park Avenue 20th Floor                                                New York           NY         10022
 457 Minna Investors LLC                                                          1020 Kearny Street                                                        San Francisco      CA         94133
 4BiddenKnowledge Inc.                                                            2645 Executive Park Drive                                                 Weston             FL         33331
 4-Scored Inc.                                                                    4901 NW 17th Way                                                          Fort Lauderdale    FL         33309
 4Sight HEVA Opportunity Zone Fund LLC                                            1655 Flatbush Avenue                                                      Brooklyn           NY         11210
 5 Bender Place Fund LLC                                                          261 Madison Ave                                                           New York           NY         10016
 5 Generation Bakers                                                              1100 Chartiers Avenue                                                     McKees Rocks       PA         15136
 500 N 3rd St LLC                                                                 500 N 3rd St                                                              Reading            PA         19601
 55 South Main Investment LLC                                                     101 Federal Street                                                        Boston             MA         02110
 602 Hannah St LLC                                                                518 Ogden Ave                                                             Clearfield         PA         16830
 6D Bytes Inc.                                                                    440 N Wolfe RD M/S 215                                                    Sunnyvale          CA         94085
 70 Million Resources Inc.                                                        11200 BISCAYNE BLVD                             APT 702                   MIAMI              FL         33181-3463
 7810 Boeing Ave LLC                                                              7416 Westlawn Avenue                                                      Los Angeles        CA         90045
 8 Myles LLC                                                                      1369 New York Ave NE                                                      Washington         DC         22206

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                        Name                                 Attention                          Address 1                                 Address 2                City          State       Zip        Country
 81-c Inc.                                                                   1760 N Jog Road, Suite 150                                                West Palm Beach        FL         33411
 8649 Freeway Drive                                                          4922 East 49th Street                                                     Cleveland              OH         44125
 9107 13th Ave S LLC                                                         1005 W Franklin Avenue, Suite 6                                           Minneapolis            MN         55405
 911Tracker Inc                                                              1646 Elderberry Way                                                       San Jose               CA         95125-4507
 99 Scott Avenue Investment, LLC                                             149 East 23rd Street                                                      New York               NY         10010
 A a Cassaro Plumbing                                                        4327 West Sunset Road                                                     Las Vegas              NV         89118
 A Blue Egg Corporation                                                      230 Park Avenue                                                           New York               NY         10169
 A Boring Life Inc                                                           29830 Southeast Wheeler Road                                              Boring                 OR         97009
 A Fresh Wind Catering LLC                                                   507 Oak Hill Avenue                                                       Youngstown             OH         44502
 A7FL Inc                                                                    9631 Stones River Park Way                                                Boca Raton             FL         33428
 AAA Precision Plumbing                                                      2470 North Decatur Boulevard                                              Las Vegas              NV         89108
 Aashna Inc.                                                                 2598 E Sunrise Blvd                                                       Fort Lauderdale        FL         33304
 Aavrani Inc.                                                                139 Fulton Street                                                         New York               NY         10038
 Abeille Beauty LLC                                                          1060 Sloan Ln                                                             Coal Center            PA         15423
 ABH Holdco Inc.                                                             49 immigration st. suite 204                                              Charleston             SC         29403
 ABH Holdco Incorporated                                                     49 Immigration St. Suite 204                                              Charleston             SC         29403
 Abjuration Brewing LLC                                                      644 Broadway Ave                                                          McKees Rocks           PA         15136
 Abletek Inc.                                                                Kanupriya, B Wing 701                                                     Kamothe, Navi Mumbai              410209     India
 ABR Global Inc.                                                             1623 Central Ave                                                          Cheyenne               WY         82001
 Absinthia‚Äôs Bottled Spirits LLC                                           1962 Leimert Blvd                                                         Oakland                CA         94602
 Abstract Tube Inc.                                                          82 Chittenden Ave                                                         Columbus               OH         43201
 AC Holding Pty Ltd                               Attn: Christopher Flinos   41 Derring Lane Cheltenham                                                Victoria                          3192       Australia
 ACAMS                                                                       80 SW 8 St                                      Suite 2300                Miami                  FL         33130
 Accel Pharma LLC                                                            853 Camino Del Mar Suite 201                                              Del Mar                CA         92014
 Access Network Labs Inc.                                                    85 Broad Street                                                           New York               NY         10004
 Acciyo Inc.                                                                 8605 Santa Monica Boulevard                                               West Hollywood         CA         90069
 Accountemps                                                                 P.O.Box 743295                                                            Los Angeles            CA         90074-3295
 Acre Mezcal Holding Corp.                                                   11601 Wilshire Blvd. Suite 2480                                           Los Angeles            CA         90025
 Acrion Group INC                                                            108 East 96th Street                                                      New York               NY         10128
 Acrospire Brewing LLC                                                       1702 MOUNT ROYAL BLVD                                                     GLENSHAW               PA         15116-2115
 Across Movie LLC                                                            1204 Harpeth Lake Court                                                   Nashville              TN         37221
 Actipulse Neuroscience Inc.                                                 210 Broadway                                                              Cambridge              MA         02139
 Acuant, Inc.                                                                25 SUNDIAL AVE                                  STE 205                   MANCHESTER             NH         03103-7244
 Ad Astra Media LLC                                                          900 Riverside Drive                                                       Newport News           VA         23606
 Ad Sana Corporation                                                         4501 McCann Road                                                          Longview               TX         75605
 Ad Sana Corporation                                                         4501 McCann Road                                                          Longview               TX         75604
 Adams Fourth Holdings LLC                                                   322 East Adams Street                                                     Springfield            IL         62701
 Adl 2 LLC                                                                   444 1st Street Suite C                                                    Los Altos              CA         94022
 Adl 5 LLC                                                                   444 1st Street Suite C                                                    Los Altos              CA         94022
 Adl 9 LLC                                                                   655 Castro St.                                                            Mountain View          CA         94041
 Adobe                                                                       345 Park Ave.                                                             San Jose               CA         95110
 Adobe Electric, Inc.                                                        4360 West Tompkins Avenue                                                 Las Vegas              NV         89103
 Adv3nture Inc.                                                              321 S. Beverly Dr., Suite M                                               Los Angeles            CA         90212
 Adv3Nture Inc.                                                              6003 Phinney Ave N                                                        Seattle                WA         98103
 Advanced Development of Additive Manufacturing
 Inc.                                                                        9 W Broad St, Suite 320H                                                  Stamford               CT         06902
 Advanced Robotics Corp.                                                     177 E Colorado Blvd                                                       Pasadena               CA         91105
 Adventure 2 Learning Inc.                                                   700 Northern Blvd, Bush Brown Hall #110                                   Brookville             NY         11548
 Adventurous Entertainment LLC                                               6427 Milner Blvd                                                          Orlando                FL         32809
 Advisors Equity LLC                                                         5965 Ashford Lane                                                         Naples                 FL         34110
 AdWallet Inc.                                                               12231 Academy Road NE                                                     Albuquerque            NM         87111
 AdWallet Inc.                                                               28 Cedar Hill Place NE                                                    Albuquerque            NM         87122
 Aeroponics integrated Systems Inc.                                          24322 Carlton Ct                                                          Laguna Niguel          CA         92677
 AEXLAB Inc.                                                                 44 W Flagler St., Suite 600                                               Miami                  FL         33130
 AEXLAB Inc.                                                                 60 SW 13 Street                                                           Miami                  FL         33130
 Affordable Community Energy Services Company                                180 N. Michigan Avenue                                                    Chicago                IL         60601
 Affordable Housing Community Fund 6, LLC                                    112 NW 2nd Street                                                         Cedaredge              CO         81413

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                          Name                                  Attention                           Address 1                                     Address 2                      City          State       Zip         Country
 Agile Thought                                                                     222 West Las Colinas Blvd                                                         Irving               TX           75039
 Agile Thought LLC                                                                 222 West Las Colinas Boulevard                                                    Irving               CA           75039

 Agile Thought LLC                                   c/o Potter Anderson & Corroon Attn: Jeremy William Ryan                         1313 N. Market St, 6th Flr      Wilmington           DE           19801
 AgriFORCE Growing Systems Ltd.                                                    #500 ‚Äì 1112 West Pender Street                                                  Vancouver            BC           V6E 2S1      Canada
 AgTechLogic Inc.                                                                  1910 South Stapley Drive Suite 221                                                Mesa                 AZ           85204
 AgWiki Inc.                                                                       19 North Main, Suite B                                                            Perryville           MO           63775
 AHP Servicing LLC                                                                 440 S LaSalle St                                                                  Chicago              IL           60605
 AI Incube Inc.                                                                    315 Montgomery St. 10th Floor                                                     San Francisco        CA           94104
 AI4Sec Inc                                                                        907 Ranch Road 620 South                                                          Lakeway              TX           78734
 AirChicago Holdings Inc.                                                          2400 E. Main Street                                                               St. Charles          IL           60174
 Aird & Berlis LLP                                                                 181 Bay Street                                    Suite 1800                      Toronto              ON           M5J 2T9      Canada
 Airemos Corp                                                                      55 New Orleans Rd. Suite 206                                                      Hilton Head Island   SC           29928
 Airgility Inc.                                                                    5145 Campus Drive, Suite 1132                                                     College Park         MD           20742
 Airing Fund a Series of Alpha Funders Investments
 LLC                                                                               4212 McCamey Dr                                                                   Matthews             NC           28104
 Airo Capital Management Inc.                                                      1801 Gold Mine Rd                                                                 Brookeville          MD           20833
 Airto Inc.                                                                        435 W 31st St, New York, NY 10001                                                 Manhattan            NY           10001
 Ajilon                                                                            10151 Deerwood Park Boulevard                                                     Jacksonville         FL           32256
 AKA Spirits Inc                                                                   83 Old Farm Road                                                                  Weston               CT           06883
 Akibah Health Corporation                                                         5410 Duesenberg Drive                                                             San Jose             CA           95123
 Akttyva Therapeutics Inc.                                                         116 STANDISH RD                                                                   WATERTOWN            MA           02472-1239
 Akua Life PBC                                                                     420 Kent Ave                                                                      Brooklyn             NY           11249
 Alabama Securities Commission                                                     PO Box 304700                                                                     Montgomery           AL           36130-4700
 Alaska Department of Commerce, Community &          Division of Banking and
 Economic Development                                Securities                    500 W. Seventh Ave. Suite 1850                                                    Anchorage            AK           99501
 Albuquerque Boulevard Buildings LLC                                               101 Vickery Street                                                                Roswell              GA           30075
 Aleada Consulting                                                                 1000 Rolling Woods Way                                                            Concord              CA           94521
 Alelo Inc.                                                                        5200 W Century Blvd. Suite 290                                                    Los Angeles          CA           90045
 Alfadan Inc.                                                                      3350 SW 139 Ave                                                                   Miramar              FL           33027
                                                     Attn: Daniel Cival and
 Alianza Financial INC                               Enmanuel de Freitas           422 Richards St, Suite 170                                                        Vancouver            BC                        Canada
                                                     Attn: Daniel Cival and
 Alianza Financial Inc.                              Emmanuel de Freitas           422 Richards St, Ste 170                                                          Vancouver            BC                        Canada
 Alkane Truck Company Inc.                                                         1053 London Street                                                                Myrtle Beach         SC           29577
 All_ebt Foundation                                                                3016 East Colorado Boulevard                                                      Pasadena             CA           91107
 Allegheny Casualty Company                                                        One Newark Center, 20th Floor                                                     Newark               NJ           07102
                                                     c/o Pashman Stein Walder                                                        1007 North Orange Street, 4th
 Allegheny Casualty Company                          Hayden, P.C.                  Attn: John W. Weiss, William R. Firth, III        Floor, Suite 183                Wilmington           DE           19801
 Allegheny Digital                                                                 110 Godfrey Landing                                                               Leechburg            PA           15656
 Allegiancy Inc.                                                                   1100 Boulders Parkway                                                             Richmond             VA           23225
 Allen Pines Investors LLC                                                         128-A Courthouse Square                                                           Oxford               MS           38655
 Alliance Test Issuer                                                              Ocean Ave                                                                         Honolulu             HI           962224
 Allibelle Foods Inc                                                               767A Bergen Street                                                                Brooklyn             NY           11238
 Allsec Technologies Limited                                                       6303 Commerce Drive                               Suite 175                       Irving               TX           75063
 Allsectech, Inc.                                    Attn: Aviral Dhirendra        46C, Velachery Main Road                                                          Velachery Chennai                 600042       India
 Alpha Node Limited                                  Attn: Matt De Souza           70 Queens Road Central                                                            Hong Kong            HKG                       China
                                                                                                                                                                                                                    Hong Kong,
 Alpha Node Limited                                  Attn: Matt De Souza           One Alpha, 70 Queens Road                                                                                                        HKG
 Alpha Node Limited, One Alpha                       Attn: Matt De Souza           70 Queens Road Central                                                            Hong Kong                                      Hong Kong
 Alpha Surety                                                                      650 S. Shackleford Rd, Suite 325                                                  Little Rock          AR           72211
 Alpha'a inc                                                                       157 Columbus Avenue                                                               New York             NY           10023
 AlphaFlow Inc.                                                                    2269 Chestnut Street                                                              San Francisco        CA           94123
 AlphaFlow Inc.                                                                    565 BROADWAY                                      # 8W                            NEW YORK             NY           10012-3925
 Alpine X Inc.                                                                     1350 BEVERLY RD                                   STE 115                         MC LEAN              VA           22101-3917
 Alternative Securities Markets Group Fixed Income
 Mortgage Fund I, LLC                                                              4050 Glencoe Avenue                                                               Marina Del Rey       CA           90292

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 Alto Solutions Inc.                                                           500 11th Avenue North                                                               Nashville          TN          37203
 Amazon Gold LLC                                                               9001 E San Victor Drive                                                             Scottsdale         AZ          85258
 Amazon Web Services, Inc.                                                     410 Terry Avenue North                                                              Seattle            WA          98109
 Ambling Investments II LLC                                                    333 W Franklin St                                                                   Tupelo             MS          38804
 Ambling Investments III LLC                                                   333 W Franklin St                                                                   Tupelo             MS          38804
 American Bankers Association                                                  1333 NEW HAMPSHIRE AVE NW                          STE 700                          WASHINGTON         DC          20036-1532
 American Energy Partners Inc.                                                 PO Box 443                                                                          Allentown          PA          18105
 American Homeowner Preservation 2015A+ LLC                                    440 S LaSalle                                                                       Chicago            IL          60605
 American Merit Album One LLC                                                  3518 Farm to Market Road 323                                                        Palestine          TX          75801
 American Provenance II Inc.                                                   2585 Wisconsin 92 Trunk                                                             Mount Horeb        WI          53572
 American Stories Entertainment Inc                                            1350 County Road 1                                                                  Dunedin            FL          34697
 American Ultimate Disc League LLC                                             101 Curry Avenue, Unit 516                                                          Royal Oak          MI          48067
 American Vanity LLC                                                           16350 Ventura Blvd                                                                  Encino             CA          91436
 Amnion Life LLC                                                               2660 San Miguel Dr                                                                  Newport Beach      CA          92660
 Ampere Electric Cars Inc.                                                     395 Santa Monica Place                                                              Santa Monica       CA          90401
 Ample Foods Inc.                                                              181 2nd Street                                                                      San Francisco      CA          94105
 Ample Foods Inc.                                                              55 Rodgers Street                                                                   San Francisco      CA          94103
 Amplio.ai Inc                                                                 43877 Paramount Place                                                               Chantilly          VA          20152
 An Angry Boy Inc.                                                             88 Greenwich St. Suite 2702                                                         New York           NY          10006
 Anatomic Global Inc.                                                          1407 Foothill Boulevard                                                             La Verne           CA          91750
 Anbon EB5 Holding L.P.                                                        3609 Main Street                                                                    Flushing           NY          11354
 AnChain.AI                                                                    75 East Santa Clara Street                         STE 900                          san jose           CA          95113
 Anchor Digital Inc.                                                           2915 Marsh Breeze Lane                                                              Mt. Pleasant       SC          29466
 Anchorage Digital Bank N.A                                                    101 S. Reid Street                                 Suite 329                        Sioux Falls        SD          57103
 Anchorage Digital Bank N.A.                                                   221 Pine St, Ste 600                                                                San Francisco      CA          94104
 AnchorCoin LLC                                 Attn: Alexander Wick           4710 Southeast 30th Ave                                                             Portland           OR          97202
 AnchorCoin LLC                                 Attn: Walter Wang              25 Oxford Dr.                                                                       Ocean              NJ          07712
                                                                               Attn: Nicholas J. Santoro & Frank A. Ellis III &   300 South Fourth Street, Suite
 AnchorCoin LLC                                 c/o Holley Driggs              F. Thomas Edwards                                  1600                             Las Vegas          NV          89101
                                                c/o Troutman Pepper Hamilton                                                      Hercules Plaza, Suite 5100,
 AnchorCoin LLC                                 Sanders LLP                  Attn: David M. Fournier & Evelyn J. Meltzer          1313 N. Market Street            Wilmington         DE          19801
 Ancient Essentials Inc.                                                     1205 Executive Drive                                                                  Kinston            NC          28501

 Ancoris                                                                       Lilly Hill House                                   Lilly Hill Road                  Bracknell          Berkshire   RG12 2SJ     United Kingdom
 Andrew Arroyo Real Estate Inc.                                                12636 High Bluff Drive                                                              San Diego          CA          92130
 Andrew Case dba The Gothm Consulting Agency
 LLC                                                                           15 Jackson Street Apt 3a                                                            Brooklyn           NY          11211
 Andrew Wilkinson Golf Inc.                                                    7422 Quay Ct                                                                        Tampa              FL          33607
 Andromeda Interfaces Inc.                                                     3402 Piazza D Oro Way                                                               Oceanside          CA          92056
 Angelie LLC                                                                   905 Viewpoint Drive                                                                 San Marcos         CA          92078
 angelMD Inc.                                                                  505 Broadway E.                                                                     Seattle            WA          98102
 angelMD Syndicate LLC - Aluminum Series V                                     1123 Ladera Way                                                                     Belmont            CA          94002
 angelMD Syndicate LLC - Aluminum Series V                                     500 Yale Ave N.                                                                     Seattle            WA          98109
 AngelMD Syndicate LLC - Aluminum Series VI                                    3513 Brighton Blvd.                                                                 Denver             CO          80216
 angelMD Syndicate LLC - Berkelium Series I                                    1123 Ladera Way                                                                     Belmont            CA          94002
 angelMD Syndicate LLC - Beryllium Series I                                    500 Yale Ave N                                                                      Seattle            WA          98109
 angelMD Syndicate LLC - Bismuth Series II                                     1123 Ladera Way                                                                     Belmont            CA          94002
 angelMD Syndicate LLC - Bohrium Series II                                     500 Yale Ave N                                                                      Seattle            WA          98109
 AngelMD Syndicate LLC - Bohrium Series III                                    3513 Brighton Blvd                                                                  Denver             CA          80216
 angelMD Syndicate LLC - Boron Series II                                       500 Yale Ave N                                                                      Seattle            WA          98109
 AngelMD Syndicate LLC - Boron Series III                                      3513 Brighton Blvd                                                                  Denver             CO          80216
 angelMD Syndicate LLC - Cadmium Series I                                      500 Yale Ave N.                                                                     Seattle            WA          98109
 angelMD Syndicate LLC - Calcium Series I                                      500 Yale Ave N.                                                                     Seattle            WA          98109
 angelMD Syndicate LLC - Calcium Series II                                     500 Yale Ave N                                                                      Seattle            WA          98109
 angelMD Syndicate LLC - Californium Series I                                  500 Yale Ave N                                                                      Seattle            WA          98109
 angelMD Syndicate LLC - Carbon Series I                                       500 Yale Ave N                                                                      Seattle            WA          98109
 AngelMD Syndicate LLC - Carbon Series II                                      500 Yale Ave N                                                                      Seattle            WA          98109

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 angelMD Syndicate LLC - Cerium Series I                                    500 Yale Ave N                                                              Seattle           WA          98109
 AngelMD Syndicate LLC - Cesium Series I                                    500 Yale Ave N                                                              Seattle           WA          98109
 angelMD Syndicate LLC - Chlorine Series I                                  500 Yale Ave N                                                              Seattle           WA          98109
 angelMD Syndicate LLC - Chromium Series I                                  500 Yale Ave N                                                              Seattle           WA          98109
 angelMD Syndicate LLC - Cobalt Series I                                    500 Yale Ave N                                                              Seattle           WA          98109
 AngelMD Syndicate LLC - Copper Series I                                    500 Yale Ave N                                                              Seattle           WA          98109
 angelMD Syndicate LLC ‚Äì Argon Series I                                   500 Yale Ave N.                                                             Seattle           WA          98109
 Animal Life Sciences Inc.                                                  2323 South Voss Road                                                        Houston           TX          77057
 Animal Sun LLC                                                             3640 Barham Boulevard                                                       Los Angeles       CA          90068
 AnJeDa Fitness Inc.                                                        1104 S Hayworth Ave                                                         Los Angeles       CA          90035
 Ankura, dba Chartwell                                                      301 Virginia Avenue                                                         Fairmont          WV          26554
 Ant Bicycle Inc.                                                           1 Broadway                                                                  Cambridge         MA          02142
 Anthem                                                                     700 Broadway                                                                Denver            CO          80273
 Anthem Blue Cross and Blue Shield                 Attn: Nikki Tamayo       700 Broadway                                                                Denver            CO          80273
 anyone Media Network Inc                                                   26100 Newport Rd A12,                                                       Menifee           CA          92584
 Aon Risk Services Northeast, Inc                                           One Liberty Plaza                                                           New York          NY          10006
 Apelab Inc.                                                                5200 W Century Blvd.                                                        Los Angeles       CA          90045
 Apex Farms Corp.                                                           501 Silverside RD.                                                          Wilmington        DE          19809
                                                                                                                                                                          Cayman
 APF Foundation Company                                                     71 Fort Street                                                              Grand Cayman      Islands     KY1-1106   Cayman Islands
 Aphelion Aerospace Inc.                                                    5150 FRONT RANGE PKWY                            STE H                      WATKINS           CO          80137-7160
 AphriHelios Global LLC                                                     6701 Democracy Blvd                                                         Bethesda          MD          20817
 APM Music                                                                  6255 Sunset Boulevard                            Suite 900                  Hollywood         CA          90028
 Apotheka Systems Inc.                                                      468 N Camden Dr #200                                                        beverly hills     CA          90210
 Apothio LLC                                                                74 South Bellerive Drive                                                    Peru              IN          46970
 Apparent Energy Inc.                                                       295 East Main St                                                            Ashland           OR          97520
 Appnovation USA Inc.                                                       200 Madison Avenue                               Suite 2100                 New York          NY          10016
 Apptrium, Inc. dba Invent.us                                               1000 N West St, Ste 1200                                                    Wilmington        DE          19801
 Appvested                                                                  6532 Point Comfort Ln                                                       Charlotte         NC          28226
 APT Systems Inc dba Apt Systems Inc. a Delaware
 Company - Spera                                   Attn: Glenda Dowie       505 Montgomery St, Floor 11                                                 San Francisco     CA          94111
 APT Systems Inc.                                  Attn: Glenda Dowie       505 Montgomery Street
 Aptera Motors Corp                                                         5825 Oberlin Dr.                                                            San Diego         CA          92121
 Apto Payments, Inc                                                         717 Market Street                                                           San Francisco     CA          94103
 Aqua Vault Inc.                                                            20533 Biscayne Blvd, Ste. 4947                                              Aventura          FL          33180
 Aqua Vault Inc.                                                            20533 Biscayne Blvd, Ste. 4947                                              Miami             FL          33180
 Aquipor Technologies Inc.                                                  4118 E. 33rd Ave.                                                           Spokane           WA          99223
 Arc Footwear Corp.                                                         1460 Broadway                                                               New York          NY          10036
 Arch Real Estate Holdings Corp.                                            12550 Biscayne Blvd Ste 110                                                 Miami             FL          33181
 Archblock (TrustToken, Inc), TrueCoin             Attn: Alex de Lorraine   325 9th Street                                                              San Francisco     CA          94103
 Archibald & Wens Inc.                                                      130 S. Indian River Driver, Ste #202-237                                    New York          NY          10011
 Arcimoto Inc.                                                              544 Blair Blvd.                                                             Eugene            OR          97402
 Arena Technology LLC                                                       222 Yamato Road                                                             Boca Raton        FL          33341
 Arete Incident Response dba Arete Advisors, LLC   Attn: John Morrissey     1500 Gateway Boulevard, Ste 202                                             Boyton Beach      FL          33426
 Arete Incident Response/Arete Advisors, LLC       Attn: John Morrissey     1500 Gateway Boulevard #Ste 202                                             Boynton Beach     FL          33426-7233
 Argex Beverages Inc.                                                       2 Brandermill Dr                                                            Henderson         NV          89052
 Ari Lightman                                                               2796 Fernwald Rd                                                            Pittsburgh        PA          15217
 Arizona Department of Financial Institutions                               100 N. 15th Avenue                               Suite 261                  Phoenix           AZ          85007
 Arizona Department of Revenue                                              1600 West Monroe Street                                                     Phoenix           AZ          85007
 Arizona Department of Revenue                     Attn: Customer Care      PO Box 29086                                                                Phoenix           AZ          85038
 Arizona Securities Division                                                1300 West Washington Street                      Third Floor                Phoenix           AZ          85007
 Arkansas Secretary of State                                                500 Woodlane St, State Capitol, Suite 256                                   Little Rock       AR          72201
 Arkansas Securities Department                                             1 Commerce Way                                   Suite 402                  Little Rock       AR          72202
 ArkHAUS Inc                                                                675 Hudson Street                                                           New York          NY          10014
 Arlene Inc.                                                                2808 Concordia Drive                                                        Erie              PA          16506
 Armed Forces Brewing Company Inc.                                          1001 BOLLING AVE                                 UNIT406                    NORFOLK           VA          23508-1613
 Arnold & Porter Kay Scholer LLP                                            601 Massachusetts Avenue, NW                                                Washington        DC          20001

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                          Name                          Attention                                Address 1                                Address 2                City      State       Zip       Country
 Aron Capital Partners Fund II LP                                             444 1st Street Suite C                                                   Los Altos          CA         94022
 Aron Developers Inc.                                                         655 Castro St.                                                           Mountain View      CA         94041
 Aron Developers LLC                                                          444 1st Street Suite C                                                   Los Altos          CA         94022
 Around Labs Inc.                                                             758 Green Street                                                         San Francisco      CA         94133
 Artichoke LLC                                                                1111 Light Street                                                        Baltimore          MD         21230
 Artisan North LLC                                                            1005 W. Franklin Avenue                                                  Minneapolis        MN         55405
 Artisanal Distillates LLC                                                    131 Waverly Ave. Apt. 1F                                                 Brooklyn           NY         11205
 ArtMap Inc.                                                                  P.O. Box 2206                                                            Edwards            CO         81632
 Arygin Corporation                                                           13155 Noel Rd                                                            Dallas             TX         75240
 As a Matter of Fact LLC                                                      450 Al Henderson Blvd                                                    Savannah           GA         31419
 Asaak Financial Services Limited                                             6399 Christie Avenue                                                     Emeryville         CA         94608
 Asana                                                                        633 Folsom St., Suite 100                                                San Francisco      CA         94107
 Asana, Inc.                                                                  633 FOLSOM ST                                   FL 1                     SAN FRANCISCO      CA         94107-3619
 Asarasi Inc.                                                                 282 Katonah Avenue                                                       Katonah            NY         10536
 ASC Medical 14 Buildings LLC                                                 101 Vickery Street                                                       Roswell            GA         30075
 ASC Medical 8 Buildings LLC                                                  1402 Macy Drive                                                          Roswell            GA         30076
 Ascent AeroSystems Inc.                                                      100 Research Drive                                                       Wilmington         MA         01887
 Aspen REIT Inc.                                                              96 Spring Street                                                         New York           NY         10012
 Assembly Studio, LLC                                                         221 East 18th Street                            Suite 3J                 Brooklyn           NY         11226
 Assetcoin Capital Fund LLC                                                   1309 Coffeen Ave                                                         Sheridan           WY         82801
 Assure Health Corporation                                                    4500 North State Road 7                                                  Lauderdale Lakes   FL         33319
 ASTOUND                                                                      5675 East Ann Road                              Suite 101                Las Vegas          NV         89115
 Atalo Holdings Inc.                                                          4274 Colby Road                                                          Winchester         KY         40391
 Atari Game Partners Corp.                                                    286 Madison Avenue, 8th Floor                                            New York           NY         10017
 ATHR Beauty Co                                                               299 South Main Street                                                    Salt Lake City     UT         84111
 Atlanta Dental Buildings LLC                                                 101 Vickery Street                                                       Roswell            GA         30075
 Atlas Real Estate Investment Group Inc.                                      10226 Regent St                                                          Los Angeles        CA         90034
 Atlassian                                                                    341 George Street                                                        Sydney             NSW        2000       Australia
 Atlis Motor Vehicle Inc.                                                     7259 East Posada Ave                                                     Mesa               AZ         85212
 Atlis Motor Vehicles Inc                                                     1828 N Higley Rd                                                         Mesa               AZ         85205
 Atlis Motor Vehicles Inc                                                     7259 East Posada Ave                                                     Mesa               AZ         85212
 Atmos Home Inc.                                                              13761 Weatherstone Dr.                                                   Spring Hill        FL         34609
 Atmos Home Inc.                                                              2308 Circuit Way                                                         Brooksville        FL         34604
 AtomBeam Technologies Inc.                                                   1036 Country Club Dr, Suite 200                                          Moraga             CA         94556
 AtomicO8 Inc.                                                                7612 Vicky Ave.                                                          West Hills         CA         91304
 Atoyac's Lawn Services                                                       5181 Titanium Court                                                      Las Vegas          NV         89120
                                              Attn: Aaron D. Ford & Michael
 Attorney General for the State of Nevada     Detmer                          555 E. Washington Avenue, Suite 3900                                     Las Vegas          NV         89101
 AU10TIX                                                                      Bahnhofstrasse 45                                                        ZURICH                        8098      Switzerland
 AU10TIX                                      Attn: Ron Atzmon                32 Spyrou Kyprianou Ave., 2nd Floor                                      Nicosia                       CY-1075   Cyprus
 AU10TIX Limited                              Attn: Ron Atzmon                32 Spyrou Kyprianou Ave., 2nd Floor                                      Nicosia                       CY-1075   Cyprus
 AU10TIX Limited                              Attn: Ron Atzmon                5B Hanagar, Hod Hasharon St.                                                                                     Israel
 AU10TIX Ltd.                                 Attn: Ron Atzmon                5B Hanagar Street                                                        Hod-Hasharon                  4527708   Israel
 AU10TIX Ltd.                                 Attn: Ron Atzmon                5B Hanagar Street                                                        Hod-Hasharon       Israel     4527708   Israel
 Audink Inc                                                                   925B Peachtree St NE                                                     Atlanta            GA         30309
 Audio Cardio Inc.                                                            1846 9th St.                                                             Santa Monica       CA         90404
 Audition Showdown Inc.                                                       40 King Street West                                                      Toronto            ON         M5H 3Y2    Canada
 Audius Token                                 Attn: Christina Rowland         548 Market Street                                                        San Francisco      CA         94104-5401
 Audius Token                                 Attn: Christina Rowland         548 Market Street                                                        San Francisco      CA         94104
 Augeo                                        Attn: Danny Kristal             2561 W Territorial Rd                                                    Saint Paul         MN         55114-1500
 Ault Real Estate Fund LLC                                                    201 Shipyard Way                                                         Newport Beach      CA         92663
 Aurora BioPharma Inc                                                         Harvard Square One Mifflin Place                                         Cambridge          FL         02138
 Aurora Sky Events LLC                                                        1504 Aurora Ave N                                                        Seattle            WA         98109
 Austin Flipsters Portfolio 1 LLC                                             3901 South Lamar Boulevard                                               Austin             TX         78704
 Authenticiti Inc                                                             18 Bartol Street                                                         San Francisco      CA         94133
 Avenify Corporation                                                          12020 Sunrise Valley Drive                                               Reston             VA         20191
 Avery Trace Investors LLC                                                    128A Courthouse Square                                                   Oxford             MS         38655

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 Aviana Holdings Inc.                                                                  6555 Sanger Rd                                                                   Orlando            FL         32827
 Avimesa Corporation                                                                   3617 OCEAN FRONT WALK                            APT F                           SAN DIEGO          CA         92109-7325
 Avoke Inc                                                                             1259 41st Street                                                                 Brooklyn           NY         11218
 AVY Entertainment Inc.                                                                6600 W SUNSET BLVD                               # 420                           LOS ANGELES        CA         90028-7160
 AWOL Outdoors Inc d/b/a Camp365                                                       7640 Washington Avenue South                                                     Eden Prairie       MN         55344
 AWS                                                                                   10 Terry Ave North                                                               Seattle            WA         98109-5210
 AXE A.I. Technologies LLC                                                             435 Metro Place South                                                            Dublin             OH         43017
 Axis Equity Partners                                                                  2100 Main Street                                                                 Irvine             CA         92614
 Axis Insurance Company                                                                111 South Wacker Drive, Suite 3500                                               Chicago            IL         60606
 Axle AI Inc.                                                                          38 Fenway                                                                        Boston             MA         02215
 Ayoba Inc.                                                                            PO Box 3666                                                                      OAKTON             VA         22124-9666
 Azure                                                Attn: Microsoft Azure            1 Microsoft Way                                                                  Redmond            CA         98052
 BA Markets 1 LLC                                                                      853 Camino Del Mar                                                               Del Mar            CA         92014
 Babcock Searle Inc                                                                    1124 Jeffrey Drive                                                               Crofton            MD         21114
 Back Alley Brewing Company                                                            3223 Latonia Ave                                                                 Pittsburgh         PA         15216
 Back Development LLC                                                                  5121 W 161st Street                                                              Brookpark          OH         44142
 Back Porch Homes LLC                                                                  3585 Main Street                                                                 Riverside          CA         92501
 Backstage Capital LLC                                                                 1550 N El Centro Ave                                                             Los Angeles        CA         90028
 Backstage Umbrella LLC                                                                1550 North El Centro Avenue                                                      Los Angeles        CA         90028
 Backyard Soda Co Inc.                                                                 31180 Cinnamonwood                                                               Evergreen          CO         80439
 Bad Assembly, Inc.                                                                    8605 Santa Monica Blvd                           #89090                          West Hollywood     CA         90069
 Baja United Imports Inc.                                                              3183 Airway Ave                                                                  Irvine             CA         92626
 Baja United Imports Inc.                                                              3183-C Airway Avenue                                                             Costa Mesa         CA         92626
 Baker & McKenzie LLP                                                                  Two Embarcadero Center, 11th Floor                                               San Francisco      CA         94111-3909
 Bakery On The Square                                                                  34 Public Square                                                                 Andover            OH         44003
 Balloonr Inc.                                                                         111 New Montgomery Street                                                        San Francisco      CA         94105
                                                                                                                                        1 Letterman Drive Building C,
 BAM Trading Services Inc.                                                             Letterman Digital Arts Center                    Suite C3-800                    San Francisco      CA         94129
                                                      Attn: Christopher Blodgett and
 BAM Trading Services Inc.                            Katrina Fava                     1 Letterman Dr., Suite C3-800                                                    San Francisco      CA         94129
 Bamboo Ecologic Corporation                                                           11023 Gatewood Drive, Ste 103                                                    Bradenton          FL         34211
 Bamboo Ecologic Corporation                                                           9030 58th Drive East, Suite 102                                                  Bradenton          FL         34202
 Bamko LLC                                                                             10923 WEYBURN AVE                                                                LOS ANGELES        CA         90024-2808
 Banaia Inc.                                                                           1010 Wilshire Boulevard                                                          Los Angeles        CA         90017
 BandwagonFanClub Inc.                                                                 400 Birnie Street                                                                Greenville         SC         29611
 Bang Fitness Project                                                                  2480 E 146th St                                                                  Carmel             IN         46033
 banq                                                                                  330 South Rampart Boulevard                      Suite 270                       Las Vegas          NV         89145
 Banq Inc                                                                              330 S. Rampart Blvd                                                              Las Vegas          NV         89145
 Bao Brewhouse LLC                                                                     2632 Blake St, APT 204                                                           Denver             CO         80205
 Baobab Clothing Inc                                                                   25 West 132nd Street                                                             New York           NY         10037
 Baqua Inc.                                                                            325 W Main Street                                                                Lexington          KY         40507
 Baqua Incorporated                                                                    325 W Main St Suite 300                                                          Lexington          KY         40507
 Barcalo Living & Commerce LLC                                                         257 Lafayette Avenue                                                             Buffalo            NY         14213
 Bargible Inc.                                                                         383 Bay shore Ave                                                                Long Beach         CA         90803
 Barrana Corp.                                                                         13823 w. bell rd                                                                 Surprise           AZ         85374
 Barterr Inc.                                                                          101 N Brand Blvd                                                                 glendale           CA         91203
 Basedrive LLC                                                                         460 SAN YSIDRO RD                                APT C                           SANTA BARBARA      CA         93108-2196
 Batch LLC                                                                             230 West Main Street                                                             Saxonburg          PA         16056
 Battle Approved Motors Inc.                                                           2801 E. Camelback Road, Suite 200                                                Phoenix            AZ         85016
 Bayani Pay I A Series of Republic Deal Room Master
 Fund LP                                                                               PO BOX 171305                                                                    SALT LAKE CTY      UT         84117-1305
 Bayou Sand Investors LLC                                                              10862 Bossier Drive                                                              Alpharetta         GA         30022
 Bayside SFR Fund I LLC                                                                1387 Wexford Drive                                                               Palm Harbor        FL         34683
 Bazooka Jane Inc. dba Trusst Brands                                                   6600 Hamilton Avenue                                                             Pittsburgh         PA         15206
 Bdg Investment LLC                                                                    1210 NW 4th street                                                               Homestead          FL         33030
 Beacons AI Inc.                                                                       625 8th Street                                                                   San Francisco      CA         94103
 Beam Networks Inc. (Eco)                                                              2261 Market Street #4348                                                         San Francisco      CA         94114

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                          Name                           Attention                             Address 1                                   Address 2                City       State       Zip        Country
 Beanstox Inc.                                                               75 State Street, Suite 100                                                 Boston             MA          02109
 Bear Lake Series LLC 1004 Duckhorn                                          9900 Orient Express Ct                                                     Las Vegas          NV          89145-8704
 Bear Lake Series LLC Rainbow #2105                                          9900 Orient Express Ct                                                     Las Vegas          NV          89145-8704
 BeautyKind Holdings Inc.                                                    6101 W. Centinela Ave                                                      Culver City        CA          90230
 Bee Mortgage App Inc.                                                       13568 Lobo Ct                                                              Jacksonville       FL          32224
 BEERMKR Inc.                                                                4949 Broadway St, Unit 110                                                 Boulder            CO          80304
 BelleIQ Inc.                                                                440 Park Avenue South                                                      New York           NY          10016
 Bellhop Technologies Inc.                                                   137 West 25th Street                                                       New York           NY          10001
 Bellion Spirits Inc.                                                        1 Harmon Plaza                                                             Secaucus           NJ          07094
 Benson Watch Company LLC                                                    10202 Deep Creek Ct.                                                       Clinton            MD          20735
 Berkeley                                     Attn: Jennifer Bollinger       757 Third Ave.                                   10th Floor                New York           NY          10017
 Berrett-Koehler Group Inc.                                                  1333 Broadway                                                              Oakland            CA          94612
 Better Family Inc                                                           20093 E.Pennsylvania Ave, Ste 3                                            Dunnellon          FL          34432
 Better Neighborhoods LLC                                                    261 E. Sherri Dr                                                           Gilbert            AZ          85296
 Better World Refill Shop LLC                                                1713 Northview Rd                                                          Rocky River        OH          44116
 Better World Spirits Inc                                                    155 W Market St                                                            York               PA          17401
 Betterpath Inc.                                                             147 Front Street                                                           Brooklyn           NY          11201
                                                                                                                                                                           Cayman
 BF Global US Investors SP                                                   Willow House, Cricket Square                                               Grand Cayman       Islands     KY1-1001   Cayman Islands
 BFA NYC LLC                                                                 20 w 20th                                        suite 700                 new york           NY          10011
 BHC Oakdale LLC                                                             105 Clinton Ave                                                            Oakdale            PA          15071
 Bhp20 LLC                                                                   269 South Beverly Drive                                                    Beverly Hills      CA          90212
 Big Bison Logistics, LLC                                                    7742 Spalding Drive                                                        Norcross           GA          30092
 Big Creek Investors LLC                                                     128A Courthouse Square                                                     Oxford             MS          38655
 Big Derby Distilling Company                                                1250 Alaskan Way                                                           Seattle            WA          98101
 Big Kahuna Pineapple Drink Company LLC                                      12610 Triskett Rd. M19                                                     Cleveland          OH          44111
 BioClonetics Immunotherapeutics Inc.                                        1756 Bison Meadow Lane                                                     Heath              TX          75032
 BioCurity Pharmaceuticals Inc.                                              110 Front Street, Suite 300                                                Jupiter            FL          33477
 BioHealthonomics Inc.                                                       810 California Avenue                                                      Santa Monica       CA          90403
 BioLargo Water Investment Group Inc.                                        14921 Chestnut St                                                          Westminster        CA          92683
 Biologx Inc.                                                                2802 Flintrock Trace                                                       Austin             TX          78738
 Bioniclogic Inc                                                             1750 14th Street, Unit D                                                   Santa Monica       CA          90404
 Biopact Cellular Transport Inc                                              13477 Fitzhugh Road                                                        Austin             TX          78736
 Biopropulsion LLC                                                           PO Box 14741                                                               Portland           OR          97293-0741
 Bioscience Americas                                                         2122 East Highland, AVE                                                    Phoenix            AZ          85016
 Biotech Restorations Holdings LLC                                           137 Cross Creek Road #137                                                  Denver             NC          26037
 Bitcasas Capital Trust 1                                                    2787 Moorpark Ave                                                          San Jose           CA          95128
 Bitcoin Solutions, Inc                       Attn: Edward T Gieske III      82 Highpoint Drive                                                         Berwyn             PA          19312
                                              Attn: Noel Billingsly and Edward
 Bitcoin Solutions, Inc.                      Gieske                           43 Leopard Rd, Ste 200                                                   Paoli              PA          19301
 Bitfence                                                                      525K E Market St                                                         Leesburg           VA          20176
 BitGo                                                                         2443 Ash ST                                                              Palo Alto          CA          94306
 Bitgreen Inc.                                                                 7750 Okeechobee Blvd                                                     West Palm Beach    FL          33411
 BitPlus Ltd                                                                   2080 Birch Bluff Drive                                                   Okemos             MI          48864
 Bitspawn Technologies Inc.                                                    85 Queens Wharf Rd                                                       Toronto            ON          M5V0J9       Canada
                                              Attn: Daniel Cohen and Luke
 Bittrex                                      Tessaro                          701 5th Ave., Suite 4200                                                 Seattle            WA          98104
                                              Attn: Daniel Cohen and Luke
 Bittrex                                      Tessaro                          701 5th Ave., Suite 4200                                                 Seattle            WA          8104
 Bittrex, Inc.                                                                 1204 Mapleton Rd                                                         Jacksonville       FL          32207
 Bitybean llc                                                                  823 Ferry Road, Suite 207                                                Charlotte          VT          05445
 Bitzumi Inc.                                                                  55 5th Ave                                                               New York           NY          10003
 BIX Real Inc                                                                  1825 Ponce De Leon Blvd                                                  Coral Gables       FL          33134
 BKR International                            Attn: Todor Ivanov               6132 NW 74th Ave                               EXP #3020                 Miami              FL          33166
 BKR International KB                                                          c/o Solna Business Park                        Svetsarvägen 15 2tr       Solna              Stockholm   171 41       Sweden
                                                                               Solna Business Park Svetsarvagen 15 2Tr
 BKR International KB                                                          Solna                                                                    Stockholm                      17141        Sweden

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 BKR International KB                                Attn: Todor Ivanov              7805 Telegraph Rd #300                                                       Minneapolis        MN          55438-3413
 BKR International KB                                Attn: Todor Ivanov              Svetsarvagen 15 2tr                                                          Solna              Stockholm   SE-171 41 Sweden
 Black Cat Market LLC                                                                5131 Beech Rd                                                                Murrysville        PA          15668
 Black Crab Catering Inc                                                             2800 Euclid Ave                                                              Cleveland          OH          44115
 Black Diamond Acquisition Partners LLC                                              1610 Wynkoop Street                                                          Denver             CO          80202
 BlackHeart Bike Company                                                             2633 Lincoln Blvd #1212                                                      Santa Monica       CA          90405
 BlaqClouds Inc                                                                      555 W5th St                                                                  Los Angeles        CA          90017
 Blended Sense Inc                                                                   11732 Saddle Rock Dr.                                                        Austin             TX          78725
 Blochaus                                                                            1700 W. Irving Park Rd.                           Ste 307                    Chicago            IL          60613
 BlocHaus                                                                            1700 W. Irving Park Rd., Ste 307                                             Chicago            IL          60613
 Block.io                                            Attn: Jeffrey Hinshaw           95 3rd St #2                                                                 San Francisco      CA
 Block.io                                            Attn: Jeffrey Hinshaw           95 3rd St #2                                                                 San Francisco      CA          94103
 Block.io                                            Attn: Jeffrey Hinshaw           95 3rd St #2                                                                 San Francisco      CA          94103-3103
 Blockchain Association                                                              1155 F ST NW                                      STE 300                    WASHINGTON         DC          20004-1369
 Blockchain Association Inc.                         Attn: Allie Page                1155 F. St, NW, Suite 300                                                    Washington         DC          20004
 Blockchain Institute of Technology Inc.                                             400 NW 26th. St.                                                             Miami              FL          33127
 Blockdaemon Ltd                                                                     10 Inge Lehmanns Gade                                                        Aarhus                         8000       Denmark
 Blockdaemon Ltd                                                                     11400 West Olympic Blvd, Ste 200                                             Los Angeles        CA          90065
 Blockflix LLC                                                                       130 Neil Avenue                                                              Helena             MT          59601
 BlockPark Technologies Inc.                                                         304 S. Jones Blvd                                                            Las Vegas          NV          89107
 BlockQuake Funding Ltd.                                                             4 George St. Mareva House N-3937                                             Nassau             NP          N-3937     Bahamas
 Blockstack PBC                                                                      101 W. 23rd Street                                                           New York           NY          10011
 BlockWorks Advisors LLC                                                             21 Swan Lane                                                                 Andover            MA          01810
 Bloomberg L.P.                                                                      731 Lexington Avenue                                                         New York           NV          89145
 Bloomery Investment Holdings LLC                                                    16357 Charles Town Road                                                      Charles Town       WV          25414
 Blossoms Events & Catering LLC                                                      311 Frankle St                                                               Baltimore          MD          21225
 BluCollr LLC.                                                                       29 Harkin Ln.                                                                Hicksville         NY          11801
 Blue Agave Importers LLLP                                                           1020 15th Street, Suite 14A                                                  Denver             CO          80202
 Blue Cord Farms Inc.                                                                2061 Le Mans Dr                                                              Carrollton         TX          75006
 Blue Heron Catering Inc.                                                            2601 Blanding Ave, C528                                                      Alameda            CA          94501
 Blue Marble Energy Corporation                                                      5840 Expressway                                                              Missoula           MT          59808
 Blue Paint, LLC                                                                     1654 Escalante Way                                                           Burlingame         CA          94010
 Blue Sparrow LLC                                                                    538 California Ave                                                           Pittsburgh         PA          15202
 Blue World Voyages LLC                                                              142 Sans Souci Drive                                                         Coral Gables       FL          33133
 BlueJay Mobile Health Inc                                                           4460 Rosewood Dr                                                             Pleasanton         CA          94588
 BlueSky Energy US Inc.                                                              875 Kootenai Cut Off Rd.                                                     Ponderay           ID          83852
 Bluurp inc.                                                                         704 Bush st                                                                  San Francisco      CA          94108
 BMO                                                 Attn: Adam Tarr                 111 West Monroe, PO Box 755                                                  Chicago            IL          60690
 BMO Bank, N.A.                                      c/o Chapman and Cutler LLP      Attn: Mia D. D'Andrea                             320 S. Canal St            Chicago            IL          60606
                                                     c/o Gellert Scali Busenkell &
 BMO Bank, N.A.                                      Brown, LLC                      Attn: Ronald S. Gellert                           1201 N Orange St Ste 300   Wilmington         DE          19801
 BMO Harris Bank, N.A.                                                               PO Box 755                                                                   Chicago            IL          60690
                                                                                                                                                                                     Cayman
 Bnk To The Future Amber US SP                                                       10008, Willow House, Cricket Square                                          Grand Cayman       Islands     KY1-1001   Cayman Islands
                                                                                                                                                                                     Cayman
 Bnk To The Future Amon US SP                                                        10008, Willow House, Cricket Square                                          Grand Cayman       Island      KY1-1001   Cayman Islands

 Bnk To The Future Aqua Digital US SP a Segregated                                                                                                                                   Cayman
 Portfolio of Bnk To The Future Capital SPC                                          10008, Willow House, Cricket Square,                                         Grand Cayman       Island      KY1-1001   Cayman Islands
 Bnk To The Future Baanx US SP a Segregated                                                                                                                                          Cayman
 Portfolio of Bnk To The Future Capital SPC                                          10008, Willow House                                                          Cricket Square     Islands     KY1-1001   Cayman Islands
                                                                                                                                                                                     Cayman
 Bnk To The Future Bitwage US SP                                                     10008, Willow House, Cricket Square                                          Grand Cayman       Islands     KY1-1001   Cayman Islands
 Bnk To The Future Celsius US SP a Segregated                                                                                                                                        Cayman
 Portfolio of Bnk To The Future Capital SPC                                          10008, Willow House                                                          Cricket Square     Islands     KY1-1001   Cayman Islands
                                                                                                                                                                                     Cayman
 Bnk To The Future Chronicled 3 US SP                                                10008, Willow House, Cricket Square                                          Grand Cayman       Islands     KY1-1001   Cayman Islands

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 Bnk To The Future First Digital US SP a Segragated                                                                                                                          Cayman
 Portfolio of Bnk To The Future Capital SPC                                      10008, Willow House, Cricket Square,                                     Grand Cayman       Islands      KY1-1001   Cayman Islands
                                                                                                                                                                             Cayman
 Bnk To The Future FV Bank US SP                                                 10008, Willow House, Cricket Square                                      Grand Cayman       Islands      KY1-1001   Cayman Islands
 Bnk To The Future Layer1 US SP a Segregated                                                                                                                                 Cayman
 Portfolio of Bnk To The Future Capital SPC                                      10008, Willow House                                                      Cricket Square     Islands      KY1-1001   Cayman Islands
                                                                                                                                                                             Cayman
 Bnk To The Future Ohanae US SP                                                  10008, Willow House, Cricket Square                                      Grand Cayman       Islands      KY1-1001   Cayman Islands
                                                                                                                                                                             Cayman
 Bnk To The Future Recap US SP                                                   10008, Willow House, Cricket Square                                      Grand Cayman       Islands      KY1-1001   Cayman Islands

 Bnk To The Future Robinhood US SP a Segregated                                                                                                                              Cayman
 Portfolio of Bnk To The Future Capital SPC                                      Post Office Box 10008, Willow House                                      Cricket Square     Islands      KY1-1001   Cayman Islands
 BNY Mellon Broker- Dealer Services                                              6023 Airport Road                               132-0200                 Oriskany           NY           13424
 Bo Knows Design LLC                                                             2267 South Rainbow Boulevard                                             Las Vegas          NV           89146
 Bobbie Baby Inc                                                                 809 Scott Street                                                         San Francisco      CA           94117
 Boku International Inc.                                                         987 West Ojai Avenue                                                     Ojai               CA           93023
 Bold                                                 Attn: Zachary Pardey       9450 SW Gemini Dr, PMB 73556                                             Beaverton          OR           97008
 Bolt Mobility Corporation                                                       500 NW62ND ST                                   STE 400                  FT LAUDERDALE      FL           33309-6156
 BomBoard LLC                                                                    884 S. Janesville Street, Suite E                                        Whitewater         WI           53190
 Bonsai Village LLC                                                              5250 S Huron Way                                                         Littleton          CO           80120
 Book & Main Inc.                                                                222 West Merchandise Mart Plaza                                          Chicago            IL           60654
 BookSniffer Inc.                                                                600 W. 6th Street, Ste. 400                                              Fort Worth         TX           76102
 Boon VR LLC                                                                     404 Bryant Street                                                        San Francisco      CA           94107
 Borough Five Slate One LLC                                                      7 Navy Pier Ct Unit 4064                                                 Staten Island      NY           10304
 Bosonic Inc.                                                                    835 5th Ave.                                                                                California   San Rafael
 Bosonic, Inc.                                        Attn: Rosario Ingargiola   535 Mission St                                  #14                      San Francisco      CA           94105
 Bosonic, Inc.                                        Attn: Rosario Ingargiola   535 Mission St, #14                                                      San Francisco      CA           94105
 Bot Image Inc.                                                                  9840 S 140th St, Ste 8                                                   Omaha              NE           68138
 Bounty0x Inc.                                                                   86 Fleet Place                                                           Brooklyn           NY           11201
 Boutique Hotel Investors 8b LLC                                                 321 S. Boston, Suite 200                                                 Tulsa              OK           74103
 Box Entertainment Inc.                                                          4850 Competition Drive                                                   Bettendorf         IA           52722
 Boxabl                                                                          5345 E. N. Belt Road                                                     North Las Vegas    NV           89115
 Boxabl Inc                                                                      5345 E North Belt Rd                                                     Las Vegas          NV           89115
 Boxabl Inc                                                                      5345 E North Belt Road                                                   North Las Vegas    NV           89115
 Boxabl INC                                                                      5345 E. N. Belt Road                                                     North Las Vegas    NV           89115
 Boxabl Inc                                                                      6120 N Hollywood Blvd                                                    Las Vegas          NV           89115
 Boxabl Inc.                                                                     6120 N. Hollywood Blvd. #104                                             Las Vegas          NV           89115
 BOXX Corp                                                                       18160 Cottonwood Rd. #229                                                Sunriver           OR           97707
 Brain Scientific Inc                                                            67 35 St                                                                 Brooklyn           NY           11232
 Brain Scientific Inc                                                            67 35 str                                                                Brooklyn           NY           11232
 Brainard Strategy Inc.                                                          153 South Sierra Avenue                         PO Box 745               Solana Beach       CA           92075
 BrainCheck Inc                                                                  2450 Holcombe Blvd                                                       Houston            TX           77021
 Brakes To Go Inc.                                                               5214 Burleson Road, Suite 209                                            Austin             TX           78744
 Brandcasters Inc.                                                               26632 Towne Center Dr                                                    Foothill Ranch     CA           92610
 Brane Inc                                                                       6900 N Dallas Pkwy Suite 600                                             Plano              TX           75024
 Brass Clothing LLC                                                              423 West Broadway                                                        Boston             MA           02127
 Brave Software International, SEZC                                              512 2nd Street, 2nd Floor                                                San Francisco      CA           94107-4136
 BravoZero REIT                                                                  5530 Corbin Avenue                                                       Tarzana            CA           91356
 Breaking Normal Inc.                                                            3808 Tower View Ct                                                       Austin             TX           78723
 Breezy Swimwear Inc.                                                            8762 SW 133rd ST.                                                        Miami              FL           33176
 BrewDog USA Inc                                                                 96 Gender Rd                                                             Canal Winchester   OH           43110
 Brex                                                                            405 Howard Street                               Suite 200                Salt Lake City     UT           84101
 Brian Giniewski LLC                                                             210 Locust St, Apt 14E                                                   Philadelphia       PA           19106
 Brian Smit dba Vantis                                                           4900 South Kalen Place                                                   Sioux Falls        SD           57108
 Brian‚Äôs Search The Movie, LLC                                                 4817 W Jonathan Rd                                                       Highland           UT           84003

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 Bright Locker Inc.                                              12731 Research Blvd. Suite A102                                          Austin                   TX           78759
 Brightday Technologies Inc.                                     1217 Fell Street                                                         San Francisco            CA           94117
 bringpro Inc.                                                   5151 California Street                                                   Irvine                   CA           92617
 Brix Student Housing REIT Inc.                                  3090 Bristol St.                                                         Costa Mesa               CA           92626
 BROLAC LLC                                                      1541 Brickell Avenue                                                     Miami                    FL           33129
 Bronzebuck LLC D/B/A Bux180                                     8283 N Hayden Rd                                                         Scottsdale               AZ           85258
 Bruno Albouze Inc.                                              3275 Ibis St                                                             San Diego                CA           92103
 BTC Media, LLC                                                  438 Houston Street                              Suite 257                Nashville                TN           37203
 Bublish Inc.                                                    1007 Johnnie Dodds Blvd., Suite 125                                      Mount Pleasant           SC           29464
 Bucket Technologies Inc                                         17777 Center Court Drive North                                           Cerritos                 CA           90703
 Buckley LLP                                                     2001 M Street Northwest                         Ste. 500                 Washington               DC           20036
 Budd Lake New Jersey L.P                                        211 East 43rd Street                                                     New York                 NY           10017
 Buff                                                            10775 Double R Blvd., Ste 888                                            Reno                     NV           89521
 Buff Bake Inc.                                                  811 South Grand Avenue                                                   Santa Ana                CA           92705
 Buffd Inc.                                                      1248 S Van Ness Ave                                                      San Francisco            CA           94110
 Building Economic Advancement Network
 Corporation                                                     101 Oak Park Ct                                                          Belle Chasse             LA           70037
 BuildStream Technologies Inc                                    29 Norman Avenue                                                         Brooklyn                 NY           11222
 Buy Back Baton Rouge LLC                                        1116 S. 14th Street                                                      Baton Rouge              LA           70802
 Buy Insta Slim Inc.                                             17662 Armstrong Ave.                                                     Irvine                   CA           92614
 Buying Collective Holdings Incorporated                         1450 South Blackhawk Boulevard                                           Mt. Pleasant             UT           84647
 Bx Spaces LLC                                                   203 Harrison Place                                                       Brooklyn                 NY           11237
 BYS Daily Inc                                                   8045 Fareholm Drive                                                      Los Angeles              CA           90046
 C P Rocketry Inc.                                               1400 Adams St                                                            Hoboken                  NJ           07030
 C. Meyers Feldman & Co                                          5031 Cerromar Drive                                                      Naples                   FL           34112
 C. Meyers Feldman & Company                                     5031 Cerromar Drive                                                      Naples                   FL           34112
 C-4 Investors LLC                                               22653 Pacific Coast Highway                                              Malibu                   CA           90265
 Cabinet Health P.B.C.                                           30 Florida Ave Nw                                                        Washington               DC           20001
 CAD Trailer Designs Inc.                                        20665 Osborne Road                                                       Lakeville                IN           46536
 Caddell Prep Inc.                                               91 Guyon Ave                                                             Staten Island            NY           10306
 Cadi Inc.                                                       2032 Convent Place                                                       Nashville                TN           37212
 Cafe Rose                                                       5135 New Rd                                                              Austintown               OH           44515
 Cake Cabin LLC                                                  15988 Mock Rd                                                            Berlin Center            OH           44401
 Caleigh & Clover Inc.                                           1111 Chestnut Street                                                     Burbank                  CA           91506
 California Department of Financial Protection and
 Innovation                                                      2101 Arena Blvd.                                                         Sacramento               CA           95834
 California Tacos Inc.                                           400 S. Ridge Ave.                                                        Middletown               DE           19709
 California Tequila Inc                                          30012 Aventura, Suite A                                                  Rancho Santa Margarita   CA           92688
 California Tequila Inc.                                         30012 Aventura, Suite A                                                  Rancho Santa Margarita   CA           92688
 Called Higher Studios Inc.                                      231 Public Square, Suite 300, PMB-41                                     Franklin                 TN           37064
 Called Higher Studios Inc.                                      9042 Berry Farms Xing                                                    Franklin                 TN           37064
 Calm                                                            77 Geary Street, 3rd Floor                                               San Francisco            CA           94108
 Caltier Fund I LP                                               5965 Village Way Ste 105 - 142                                           San Diego                CA           92130
 Camino Kombucha Co.                                             3525 I Street                                                            Philadelphia             PA           19134
 Camp Delaware Brewing Co LLC                                    40 S Sandusky St                                                         Delaware                 OH           43015
 Campagna Motors USA Inc                                         1320 State Route 9                                                       Champlain                NY           12919
 Canard Clay Investors LLC                                       128-A Courthouse Square                                                  Oxford                   MS           38655
 Cancer Fund I LLC                                               4144 North 44th Street                                                   Phoenix                  AZ           85018
 Canfield Business Interiors LLC                                 402 W 9th Street                                                         Sioux Falls              SD           57104
 Cannabinoid Biosciences Inc.                                    3699 Wilshire Blvd.                                                      Los Angeles              CA           90010
 Cannabox Inc.                                                   2801 E. Camelback Rd. STE 200 PMB 33                                     Phoenix                  AZ           85004
 Cannabox LLC                                                    2801 E Camelback Rd                                                      Phoenix                  AZ           85003
 CannaKorp Inc.                                                  74 Maple Street                                                          Stoneham                 MA           02180
 CAPFUNDR Hamilton Multifamily Fund LLC                          120 E 23rd Street 5th Floor                                              New York                 NY           10010
 CAPFUNDR REIT Value Fund I LLC                                  120 E 23rd Street                                                        New York                 NY           10010
 Capital Circle QSR LLC                                          520 Lake Cook Road                                                       Deerfield                IL           60015
 Capital Pipeline Inc.                                           365 E. Palm Ln.                                                          Phoenix                  AZ           85004

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                         Name                            Attention                          Address 1                             Address 2                  City        State       Zip       Country
 Capsll Inc.                                                             2010 Wilma Rudolph Rd                                                  Austin                TX         78748
 Capsul Inc.                                                             840 Apollo St                                                          El Segundo            CA         90275
 CapWest Income LLC                                                      2009 E. Windmill Ln                                                    Las Vegas             NV         89123
 Caramba                                      Attn: Christopher Dannen   43 NW 23rd St                                                          Miami                 FL         33127-4407
 CardBoard Live Inc.                                                     1706 Bent Tree Ct.                                                     Charlottesville       VA         22902
 CardFrenzy Management Group LLC                                         1020 Cedar Ave                                                         St Charles            IL         60174
 Care Angel Inc.                                                         78 SW 7th Street, Suite 500                                            Miami                 FL         33130
 Care2.com Inc.                                                          203 Redwood Shores Parkway, Suite 230                                  Redwood City          CA         94065
 Care2Care International LLC                                             70 Meadow Road                                                         Portsmouth            NH         03801
 CareToU Inc                                                             7544 E KIMSEY LN                                                       SCOTTSDALE            AZ         85257-4337
 CareToU Inc.                                                            7544 E KIMSEY LN                                                       SCOTTSDALE            AZ         85257-4337
 Carnot Compression Inc.                                                 5610 Scotts Valley Drive, Ste. B513                                    Scotts Valley         CA         95066
 Carpenter Louisville Kentucky L.P.                                      211 East 43rd Street                                                   New York              NY         10022
 CarStart Inc                                                            3824 Cedar Springs Rd #305                                             Dallas                TX         75219
 Cartagena CTG Holdings LLC                                              1400 Village Square Blvd                                               Tallahassee           FL         32312-1231
 Carter's BBQ LLC                                                        20850 S Lakeshore Blvd                                                 Euclid                OH         44123
 Casa Brasil LLC                                                         5904 Bryant St                                                         Pittsburgh            PA         15206
 Cash Flow Capital Key West LLC                                          209 N College Ave                                                      Fort Collins          CO         80524
 Casoro Capital Real Estate Fund I LP                                    11149 Research Blvd                                                    Austin                TX         78759
 Casual Films                                                            Building 77, Suite #902                        141 Flushing Ave        Brooklyn              NY         11205
 Catamorphic Co. dba LaunchDarkly                                        1999 Harrison Street                           Suite 1100              Oakland               CA         94612
 CBL Worldwide II Inc.                                                   925 W. Baseline Rd.                                                    Tempe                 AZ         85283
 CCS Las Vegas Janitorial Inc.                                           PO Box 845115                                                          Los Angeles           CA         90084-5115
 CCS Presentation Systems                                                2870 South Jones Boulevard                     #3                      Las Vegas             NV         89146
 CDW                                                                     P.O. Box 75723                                                         Chicago               IL         60675
 CDW Direct, LLC                                                         200 N Milwaukee Avenue                                                 Vernon Hills          IL         60061
 CE Communitas LLC                                                       9999 Kummer Rd                                                         Allison Park          PA         15101
 Celigo                                                                  3 LAGOON DR                                    STE 130                 REDWOOD CITY          CA         94065-1566
 Cen Inc.                                                                8070 La Jolla Shores Drive                                             La Jolla              CA         92037
 Center for Emerging Risk Research            Attn: Daniel Kestenholz    Schwanderstr. 80                                                       Schwanden b. Brienz   Bern       3855       Switzerland
 Center for Emerging Risk Research            Attn: Ruairi Donnelly      Innere Margarethenstrasse 5                                            Basel                            CH-4051    Switzerland
 Centerline Biomedical Inc.                                              10000 Cedar Avenue                                                     Cleveland             OH         44106
 Centri Business Consulting, LLC                                         651 Township Line Road                         #1663                   Blue Bell             PA         19422
 Centric Wear Inc.                                                       1619 N La Brea Avenue Unit 225                                         Los Angeles           CA         90028
 CentriCrude Services Inc.                                               4240 Duncan Ave                                                        St. Louis             MO         63110
 Century Oaks Partners LLC                                               8014 Cumming Hwy                                                       Ball Ground           GA         30116
 Centurylink                                                             PO Box 52187                                                           Phoenix               AZ         85072-2187
 Centurylink Communications                   c/o Bankruptcy             220 N 5th ST                                                           Bismarck              ND         58501
 CEO Space International Inc.                                            1324 Seven Springs Blvd #343                                           New Port Richey       FL         34655
 Ceres Greens LLC                                                        21 Metro Way                                                           Barre                 VT         05641
 CertifiedTrue Inc                                                       220 Mineola Boulevard Ste 10                                           Mineola               NY         11501
 Cerveceria Gran Arrecife Maya USA Corp                                  3500 South Dupont Highway                                              Dover                 DE         19901
 CF1 Reglagene Partners LLC                                              4144 North 44th Street                                                 Phoenix               AZ         85108
 CFBB Pictures LLC                                                       2642 Stratford Drive                                                   Greensboro            NC         27408
 Chaco Flaco Drinks LLC                                                  999 E Baseline Rd                                                      Tempe                 AZ         85283
 Chainalysis                                                             114 5th Ave, 18 Flr                                                    New York              NY         10011
 ChalkBites Inc.                                                         5200 30th St SW                                                        Davenport             IA         52802-3039
 ChallengeHop Inc.                                                       205 Hudson Street                                                      New York              NY         10013
 Champion Lender Inc.                                                    2214 Windcrest Lake Circle                                             Orlando               FL         32824
 Champions Health and Racquet Club Corp                                  8850 Santa Rosa Road                                                   Atascadora            CA         93422
 Change Digital Commerce Inc.                 Attn: Daniel Lipshitz      1158 Tower Lane                                                        Bensenville           IL         60109
 Change Digital Commerce Inc.                 Attn: Daniel Lipshitz      1158 Tower Lane                                                        Bensenville           IL         60106
 Chapel Road Participation LLC                                           261 Madison Ave 9th floor                                              New York              NY         10016
 Charron Favreau S.P.C.                                                  4682 Calle Bolero, Unit B                                              Camarillo             CA         93012
 ChaseArt LLC                                                            222 Yamato Rd, Ste106-198                                              Boca Raton            FL         33341
 Chasm Labs LLC                               Attn: Alice Lambo          1011 S Hamilton Rd, Suite 316                                          Chapel Hill           NC         27517
 Chasm Labs LLC                               Attn: Mike Kolzet          1011 S Hamilton RD, Ste 316                                            Chapel Hill           NC         27514

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                        Name                            Attention                      Address 1                                 Address 2                 City      State       Zip         Country
 Chateau Marcel Inc.                                                 833 Broadway                                                              New York           NY         10003
 Check I'm Here                                                      801 3rd Street South                                                      Saint Petersburg   FL         33701
 Check I'm Here Florida Fund, LLC                                    6601 Memorial Highway Suite 310                                           Tampa              FL         33615
 Cheers Health Inc.                                                  2900 NORTH LOOPW                                 STE 1125                 HOUSTON            TX         77092-8842
 Cherry Valley Community Farm Inc.                                   518 Joffre Cherry Valley Rd                                               Burgettstown       PA         15021
 Chicas Tacos Holdings Inc                                           745 Merchant St                                                           Los Angeles        CA         90021
 Chicken Waffle Inc.                                                 4600 Seton Center pkwy, APT 426                                           Austin             TX         78759
 Chick'nCone‚Ñ¢ Franchise LLC                                        241 N 4th Street                                                          Bangor             PA         18013
 Chimani Inc.                                                        2 June Berry Court                                                        Yarmouth           ME         04096
 Choose Health Services LLC                                          500 West 5th Street                                                       Austin             TX         78701
                                                                     222 W Merchandise Mart Plaza suite1212,
 Chores R Us LLC                                                     Chicago, IL 60654                                                         Chicago            IL         60654
 CHRGR Inc.                                                          142 West 57th Street                                                      New York           NY         10003
 CHUBB                                                               PO BOX 382001                                                             PITTSBURGH         PA         15250-8001
 CIFRAPAY, UNIPESSOAL LDA                     Attn: Mike H           3101 Park Blvd., 01-103-DD01                                              Palo Alto          CA         94306
 Circumvent Pharmaceuticals Inc.                                     4640 SW Macadam Ave.                                                      Portland           OR         87239
 Cisco Systems Inc                                                   444 Townsend Street                                                       San Francisco      CA         94107
 Cision US, Inc.                                                     130 East Randolph Street, 7th FL                                          Chicago            IL         60601
 Cissonius Corporation                                               93 S 16th St                                                              Pittsburgh         PA         15203
 Citiesense Inc.                                                     335 Madison Avenue                                                        New York           NY         10017
 Citizen Health Project Inc.                                         6641 Hwy 98 Suite 200                                                     Hattiesburg        MS         39402
 Citizens Holdings LLC                                               521 East 12th Street                                                      New York           NY         10009
 City of Aurora                                                      15151 E Alameda Pkwy                                                      Aurora             CO         80012
 City of Las Vegas                                                   Department of Planning, Business Licensing       PO Box 748028            Los Angeles        CA         90074-8028
 Cityfreighter Inc.                                                  414 Olive Street                                                          Santa Barbara      CA         93101
 CityFunders 259-261 Schenectady Avenue
 Investment LLC                                                      149 East 23rd Street                                                      New York           NY         10010
 Cityfunds I LLC                                                     335 Madison Avenue                                                        New York           NY         10017
 Cityzenith Holdings Inc                                             2506 N Clark St                                                           Chicago            IL         60614
 Cityzenith Holdings Inc                                             2506 North Clark St. #235                                                 Chicago            IL         60614
 Cityzenith Holdings Inc.                                            2506 North Clark Street                                                   Chicago            IL         60614
 Clarion River Organics                                              824 Whitmer Rd                                                            Sligo              PA         16255
 Clark County, Nevada, District Attorney                             200 Lewis Ave                                                             Las Vegas          NV         89101
 Clark County, Nevada, Police Department                             400 S. Martin L. King Boulevard                                           Las Vegas          NV         89106
 Clark Range Investors LLC                                           128-A Courthouse Square                                                   Oxford             MS         38655
 Claro Analytics Inc.                                                200 Innovative Way                                                        Nashua             NH         03062
 CLEANBAY CLEANERS LLC                                               310 E WARM SPRINGS ROAD                          SUITE C                  Las Vegas          NV         89119
 CleanCapital                                                        816 Connecticut Ave NW                                                    Washington         DC         20006
 Clear Genius Inc.                                                   103 Koch Rd.                                                              Corte Madera       CA         94925

 Clear Junction Limited                       Attn: Teresa Cameron   307 Euston Rd                                                             London             GBR                     United Kingdom
 Clear Springs Resort LLC                                            1366 E 15th Street                                                        Edmond             OK         73013
 Clearbit                                                            548 Market Street, Suite 95879                                            San Francisco      CA         94104
 CLEARWATER DISTILLING COMPANY LLC dba
 "Clear Water"                                                       564 W 700 S, Suite 401                                                    Pleasant Grove     UT         84062
 Clee Wellness LLC dba Provenance Meals                              301 Columbia Street                                                       Brooklyn           NY         11231
 Clegg Ventures Inc.                                                 1557 West Innovation Way                                                  Lehi               UT         84043
 CleverPet Inc.                                                      302 Washington Street                                                     San Diego          CA         92116
 Clickflow inc                                                       713 W Duarte Rd G 887                                                     Arcadia            CA         91007
 Clocr Inc.                                                          10101 Dianella Lane                                                       Austin             TX         78759
 CloseM Inc                                                          120 Madeira Street Northeast                                              Albuquerque        NM         87108
 Cloud Computing Solutions Group Inc.                                1212 Dream Bridge Dr                                                      Las Vegas          NV         89144
 Cloud Cover Media Inc.                                              1634 19th St.                                                             Santa Monica       CA         90404
 Cloudastructure Inc.                                                150 SE 2nd Ave                                                            San Mateo          FL         33131
 Cloudastructure Inc.                                                585 Broadway Street                                                       Redwood City       CA         94063
 CloudCommerce Inc.                                                  321 6th St                                                                San Antonio        TX         78215
 CloudCommerce Inc.                                                  321 Sixth Street                                                          San Antonio        TX         78215

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                        Name                             Attention                              Address 1                             Address 2                             City       State       Zip       Country
 Cloudflare                                                                  Mail Code: 5267                                P.O. Box 660367                      Dallas             TX         75266-0367
 Cloudflare                                   Attn: Nate Asp                 101 Townsend St.                                                                    San Francisco      CA         94107
 CNS Pharmaceuticals Inc.                                                    2100 West Loop South Freeway                                                        Houston            TX         77056
 Coast                                        Attn: Tim Howard               4005 West Reno Ave., Suite F                                                        Las Vegas          NV         89118
 Coast                                        Attn: Tim Howard               5111 Maufrais Lane                                                                  Austin             TX         78744
 Coast Software LLC                           Attn: Timothy Howard           4005 West Reno Avenue, Suite F                                                      Las Vegas          NV         89118
 Coding Autism LLC                                                           20096 Knollwood Dr                                                                  Saratoga           CA         95070
 CoEfficient Labs, Inc.                                                      312 Arizona Avenue                                                                  Santa Monica       CA         90401
 COI Energy Services Inc.                                                    802 East Whiting Street                                                             Tampa              FL         33602
 Coin Metro Group OU                          Attn: Kevin Murcko             Tartu Mnt 84a-40                                                                    Tallinn            Harjumaa   10112      Estonia
 Coinbits Business                            Attn: Maher Janajri            1551 Crabapple Ln                                                                   Plainfield         NJ         07060
                                                                             Attn: Ismail Amin & Marian L. Massey &
                                                                             Matthew S. Vesterdahl & Nathaniel T. Collins &
 Coinbits Inc.                                c/o TALG, NV, Ltd.             Jaklin Guyumjyan                               5852 S. Durango Dr., Suite 105       Las Vegas          NV         89113
                                              c/o Meyers, Roman, Friedberg
 Coinbits, Inc.                               & Lewis LPA                    Attn: David M Newumann                             28601 Chagrin Blvd., Suite 600   Cleveland          OH         44122
 CoinDesk Inc                                                                250 Park Avenue South                              5th Floor                        New York           NY         10003
 Coin-Energy Inc                                                             5525 Chelsea Ave                                                                    La Jolla           CA         92037
 Coin-Energy Inc                                                             5535 Chelsea Ave                                                                    La Jolla           CA         92037
 CoinFLEX US LLC                                                             651 N. Broad Street Suite 206                                                       Middletown         DE         19709
 CoinFLEX US LLC                              Attn: Mark Lamb                22 Caine Rd                                                                                                                  Hong Kong
 Coinfront Inc.                               Attn: Ashraf Shoukr            8596 Ria Formosa Way                                                                Elk Grove          CA         95757
 CoinMetro OU                                                                Tartu Mnt 84A-402                                                                   Tallinn            Harju      10112      Estonia
 CoinSmart Financial Inc.                     Attn: Jeremy Koven             1075 Bay St                                                                         Toronto            ON         M5B 2B2    Canada
 Coinvest Labs LLC                                                           1424 Charlotte Way                                                                  Carrollton         TX         75007
 CoLabs Int'l Corp.                                                          18593 Main Street                                                                   Huntington Beach   CA         92648
 CollectiveSun                                                               4685 Convoy Street, Suite #210-3                                                    San Diego          CA         92111
 CollectiveSun LLC                                                           4685 Convoy Street, Suite #210-3                                                    San Diego          CA         92111
 College Coaching Network Inc.                                               12936 Craig ave                                                                     Grandview          MO         64030
 Colorado Department of Banking                                              1560 Broadway                                      Suite 975                        Denver             CO         80202
 Colorado Department of Revenue                                              Colorado Department of Revenue                                                      Denver             CO         80261-0004
 Colorado Division of Securities                                             1560 Broadway                                      Suite 900                        Denver             CO         80202
 Colorado Manure Hauling Corp                                                10245 County Road 74-82                                                             Peyton             CO         80831
 Colorado River Basin Fund LP                                                1449 Wynkoop St                                                                     Denver             CO         80202
 Colorado Sake Co.                                                           3559 Larimer Street                                                                 Denver             CO         80205
 COLORS Worldwide Inc.                                                       5757 W Century Blvd Suite 816                                                       Los Angeles        CA         90045
 Commerce Ventures III, L.P.                  Attn: Dan Rosen                604 Mission Street, Unit 600                                                        San Francisco      CA         94105
 Commissioner of Taxation and Finance*                                       328 State Street                                                                    Schenectady        NY         12305
 Commodity Futures Trading Commission                                        1155 21st Street NW                                                                 Washington         DC         20581
 Community Builders Capital                                                  703 Cedar Lane                                                                      Teaneck            NJ         07666
 COMMUNITYx Inc.                                                             99 Vista Montana                                                                    San Jose           CA         95134
 Como Audio Inc                                                              21 Drydock Avenue                                                                   Boston             MA         02210
 CompanionCBD Inc.                                                           14870 N Northsight Blvd                                                             Scottsdale         AZ         85260
                                              Attn: Garlina Raquena and                                                                                                                                   Commonwealth
 Compass Bank and Trust                       Steve Videla                   4 Castle Street, First Floor                                                        Roseau             109                   of Dominica
 Compass Minning, Inc.                        Attn: Jameson Nunney           2301 BLAKE ST                                      STE 100                          DENVER             CO         80205-2102
 Compass Payment Solutions LLC                Attn: Steven Videla            3055 NW 107th Ave.                                                                  Doral              FL         33172
 Compelling Cases, Inc.                                                      3868 Campo Court                                                                    Boulder            CO         80301
 Compliance Alliance, Inc.                                                   203 W 10TH ST                                                                       AUSTIN             TX         78701-2321
 Compliance Alliance, Inc.                    Darlia Forgarty                203 W 10th Street                                                                   Austin             TX         78701
 Compostable Inc.                                                            313 Grand Blvd                                                                      Venice             CA         90291
 Compound Manhattan Residential LLC                                          510 Fifth Avenue                                                                    New York           NY         10036
 Compound NYC HQ2 LLC                                                        510 5th Avenue                                                                      New York           NY         10036
 Compound Projects LLC                                                       335 Madison Avenue                                                                  New York           NY         10017
 Compound Projects LLC Series #44 East                                       335 Madison Avenue                                                                  New York           NY         10017
 Compound Projects LLC Series #Flatiron                                      335 Madison Avenue                                                                  New York           NY         10017
 Compound Projects LLC Series #Illume                                        335 Madison Avenue                                                                  New York           NY         10017

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                        Name                               Attention                              Address 1                                   Address 2                     City      State       Zip         Country
 Compound Projects LLC Series #Reach                                            20 Clinton Street                                                               New York           NY         10002
 Comsero Inc.                                                                   2150 Market Street                                                              Denver             CO         80205
 Conceivex Inc.                                                                 180 North LaSalle Street,                                                       chicago            IL         60601
 CoNetrix Security, LLC                                                         5225 South Loop 289                              Ste 207                        Lubbock            TX         79424
 Connecticut Department of Banking               Consumer Credit Division       260 Constitution Plaza                                                          Hartford           CT         06103-1800
 Connecticut Department of Revenue Services                                     450 Columbus Blvd                                                               Hartford           CT         06103
 Connecticut Securities & Business Investments
 Division                                                                       260 Constitution Plaza                                                          Hartford           CT         06106-1800
 Connection Publishing LLC                                                      163 W. Lomond View Dr.                                                          North Ogden        UT         84414
 Connector LLC                                                                  10 Davol Square                                                                 Providence         RI         02903
 ConsenSys AG dba Decrypt                                                       Gartenstrasse 6                                                                                               6300 Zug   Switzerland
 CONST LLC                                       Attn: Duy Huynh                21800 Opportunity Way                                                           Riverside          CA         92507
                                                 c/o Greenberg Glusker Fields                                                    2049 Century Park East Suite
 Const LLC v. Prime Trust                        Claman & Machtinger LLP        Attn: Jonathan Shenson & Lori Werderitch         2600                           Los Angeles        CA         90067-9006
 Consumer Cooperative Group Inc                                                 5900 Balcones Dr                                                                Austin             TX         78731
 Consumer Cooperative Group Inc.                                                6713 Amesbury Lane                                                              Rowlett            TX         75089
 Consumer Financial Protection Bureau                                           1700 G Street NW                                                                Washington         DC         20552
 Contenders Clothing Inc.                                                       4040 Pioneer Avenue Suite 205                                                   Las Vegas          NV         89102
 Content Launch Solutions Inc.                                                  16935 West Bernardo Drive                                                       San Diego          CA         92127
 Continental Broward Florida L.P.                                               211 East 43rd Street                                                            New York           NY         10017
 Conviction Fitness Inc.                                                        930 Via Mil Cumbres                                                             Solana Beach       CA         92075
 Cookie Club of America Inc.                                                    910 Del Dios Road                                                               Escondido          CA         92029
 Cooley LLP                                                                     3 Embarcadero Center                             20th Floor                     San Francisco      CA         94111
 CopyPro Inc.                                                                   3435 Ocean Park Blvd                                                            santa monica       CA         90405
 Core State Holdings Corp.                                                      30 N Gould St                                                                   Sheridan           WY         82801
 Cornerstone Global Management, Inc.             Attn: David Schwartz           7105 Peach Court #209                                                           Brentwood          TN         37027-3221
 Cornerstone Global Management, Inc.             Attn: David Schwartz           7105 Peach Ct #209                                                              Brentwood          TN         37027-3221
                                                                                                                                                                                   Cayman
 Corro LLC                                                                      Cricket Square                                                                  Grand Cayman       Islands    KY1-1111     Cayman Islands
 Cortex Automation Inc                                                          791 Tremont St                                                                  Boston             MA         02118
 Cosmic Shielding Corporation                                                   395 Central Park Place Northeast                                                Atlanta            GA         30312
                                                 c/o McDermott Will & Emery
 Counsel to the Debtors                          LLP                            Attn: Darren Azman & Joseph B. Evans             One Vanderbilt Avenue          New York           NY         10017
                                                 c/o McDermott Will & Emery
 Counsel to the Debtors                          LLP                            Attn: Gregg Steinman                             333 SE 2nd Avenue, Suite 5400 Miami               FL         33131
                                                 c/o McDermott Will & Emery
 Counsel to the Debtors                          LLP                            Attn: Maris J. Kandestin                         1000 N. West Street, Suite 1400 Wilmington        DE         19801
 CountertopSmart Inc.                                                           5103 Hedgewood Drive                                                             Austin            TX         78745
 CoverUS Inc.                                                                   Brooklyn Navy Yard                                                               Brooklyn          NY         11201
 Covira Surgical Inc.                                                           3333 Green Bay Road Office L-404                                                 North Chicago     IL         60064
 COX                                                                            PO Box 1259                                                                      Oaks              PA         19456
 Cox Business                                                                   PO Box 53262                                                                     Phoenix           AZ         85072-3262
 Coyuchi Inc.                                                                   1400 Tennessee Street                                                            San Francisco     CA         94107
 CPR Wrap Inc.                                                                  957 Lower Mill Road                                                              Hixson            TN         37343
 Craft on Draught LLC                                                           4054 24th St                                                                     San Francisco     CA         94114
 Craftspace Inc.                                                                1608 Queen Street                                                                Wilmington        NC         28401
 Crawford Door Sales of Nevada LTD                                              6225 South Valley View Boulevard                 Suite D                         Las Vegas         NV         89118
 Cray Pay Inc.                                                                  2509 S Power Rd                                                                  Mesa              AZ         85209
 CRE Diversified Income Fund LLC                                                100 Crescent Ct                                                                  Dallas            TX         75201
 Creamy Coconuts LLC                                                            28304 Armour Street                                                              Hayward           CA         94545
 Creative Coffee & Supply                                                       309 Smithfield Street                                                            Pittsburgh        PA         15222
                                                                                                                                                                                   Grand
 Creditcoin Network                                                             122 Mary Street                                                                 George Town        Cayman     KY1-1206     Cayman Islands
 Crescent Save LLC                               Attn: Grant Roscoe             220 S 17th St #200                                                              Lincoln            NE         68508
                                                                                Cresent Financial Inc., 220 South 17th Street
 Cresent Save LLC                                Attn: Grant Roscoe             #200                                                                            Lincoln            NE         68508-1811
 CricClubs Inc                                                                  342 North Water Street                                                          Milwaukee          WI         53202

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                        Name                                    Attention                               Address 1                               Address 2                City      State       Zip       Country
 Crooru Corporation                                                                 59 fieldhouse                                                            Ladera Ranch       CA         92694
 Crop One BoxFarm 2                                                                 111 Sutter St. Ste 1975                                                  San Francisco      CA         94104
 Cross River Bank                                                                   2115 Linwood Avenue                                                      Fort Lee           NJ         07024
 Cross River Bank                                                                   885 Teaneck Road                                                         Teaneck            NJ         07666
 CrossTown Fitness 3 LLC                                                            1031 W. Madison St                                                       Willowbrook        IL         60607
 Crowd Engine, Inc.                                                                 4770 South 900 East                              200                     Salt Lake City     UT         84117
 CrowdChayne                                                                        1120 Old Country Rd                                                      Plainview          NY         11803
 CrowdCoverage Inc.                                                                 3010 Scenic Valley Way                                                   Henderson          NV         89052
 Crowdfind Inc.                                                                     3636 South Iron Street                                                   Chicago            IL         60609
 Crowdfunz 1166 E Jersey St LLC                                                     60 Cuttermill Rd                                                         Great Neck         NY         11021
 Crowdfunz 140-42 Sanford Ave LLC                                                   60 Cutter Mill Rd                                                        Great Neck         NY         11021
 Crowdfunz 1683 W 7th St LLC                                                        60 Cuttermill Rd                                                         Great Neck         NY         11021
 Crowdfunz 1683 W 7th St LLC                                                        60 Cuttermill Rd                                                         New York           NY         11021
 Crowdfunz 2243 Jackson Ave LLC                                                     60 Cuttermill Rd                                                         Great Neck         NY         11021
 Crowdfunz 3417 103th St LLC                                                        60 Cutter Mill Rd                                                        Great Neck         NY         11021
 Crowdfunz 424 West 52 St LLC                                                       60 Cuttermill Rd                                                         Great Neck         NY         11021
 Crowdfunz 45-43 158 St LLC                                                         60 Cuttermill Rd                                                         Great Neck         NY         11021
 Crowdfunz 610 LLC                                                                  60 Cutter Mill Rd                                                        Great Neck         NY         11021
 Crowdfunz 611 LLC                                                                  60 Cuttermill Rd                                                         Great Neck         NY         11021
 Crowdfunz 612 LLC                                                                  60 Cuttermill Rd                                                         Great Neck         NY         11021
 Crowdfunz 62-08 8th Ave LLC                                                        60 Cuttermill Rd                                                         Great Neck         NY         11021
 Crowdfunz 804 LLC                                                                  60 Cutter Mill Rd                                                        Great Neck         NY         11021
 Crowell Moring                                                                     1001 Pennsylvania Avenue NW                                              Washington         DC         20004
 Crowns & Hops Inc                                                                  309 E Hillcrest Blvd, #121                                               Inglewood          CA         90301
 Crunchbase                                                                         564 Market Street, Suite 500                                             San Francisco      CA         94104-5415
 Cryptid LLC                                                                        130 Bay Ridge Parkway                                                    Brooklyn           NY         11209
 Crypto Asset Rating Inc.                                                           103 Mundy Ave                                                            Edison             NJ         08820
 Cumberland Gap Investors LLC                                                       128-A Courthouse Square                                                  Oxford             MS         38655
 Curaite Inc                                                                        929 Colorado Ave                                                         Santa Monica       CA         90401
 Curastory Inc.                                                                     284 Humboldt Street                                                      Brooklyn           NY         11206
 Curatif Inc.                                                                       6372 Tasajillo Trail                                                     Austin             TX         78739
 Cure53                                                                             Bielefelder Str. 14                                                      Berlin             DE-BE      10709      Germany
 Curley, Hurtgen & Johnsrud LLP                                                     30 S 17TH ST                                     FL 5                    PHILADELPHIA       PA         19103-4011
 Curv                                                                               488 Madison Avenue                                                       New York           NY         10022
 Custom Social Inc.                                                                 3160 College Ave, Suite 203                                              Berkeley           CA         94705
 CV-Ecp Investments I LLC                                                           2090 N Kolb Rd                                                           Tucson             AZ         85715
 CWE Manager LLC.                                                                   11121 Carmel Commons Blvd                                                Charlotte          NC         28226
 Cyber Consumer Club Corporation                                                    2220 Shaw Circle                                                         Las Vegas          NV         89117
 Cyber-Dive Corp.                                                                   4140 E Baseline Road Suite 101                                           Mesa               AZ         85206
 CyberSecOp LLC                                      Attn: Jeffrey Walker           5 Hillandale Ave.                                                        Stamford           CT         06902
 CycleBoard Inc.                                                                    2925 College Ave. Unit B2                                                Costa Mesa         CA         92626
 CYDigital Inc.                                                                     12815 Cross Creek Lane                                                   Herndon            VA         20171
 CyH.COM LLC dba Cherrish                                                           6014 E Mercer Way                                                        Mercer Island      WA         98040
                                                     Attn: Daniella H. and Jason S.T.
 Cypfer Corp.                                        Kotler                           895 Don Mills Rd, Two Morneau Shepell Ctr                              Toronto                       M3B 1P4   Canada
                                                     Attn: Daniella H. and Jason S.T.
 Cypfer Corp.                                        Kotler                           895 Don Mills Rd, Two Morneau Shepell Ctr                              Toronto            ON         M3B 1P4   Canada
                                                                                      895 Don Mills Road, Two Morneau Shepell
 Cypfer Corp.                                        Attn: Jason Kotler               Centre, Suite 900                                                      Toronto            ON         M3C 1W3   Canada
 Cyrus The Great Production Company Inc                                               21515 Hawthorn Blvd., #204                                             Torrance           CA         90503
 D2J3 LLC                                                                             1201 Springwood Ave                                                    Asbury Park        NJ         07712
 Dablr Inc                                                                            273 belle vue lane                                                     Sugar Grove        IL         60554
 Dan Clark Audio Inc                                                                  3366 Kurtz St, Suite 200                                               San Diego          CA         92110
 Daniel Barravecchia dba A-List Pool Maintenance &
 Repairs LLC                                                                        4420 Fenton Lane                                                         North Las Vegas    NV         89032
 Daniel Dubois CPA & Company                                                        #6B Liberty                                      Ste. 130                Aliso Viejo        CA         92656
 Dapper Boi Inc.                                                                    8680 Miralani Drive, STE 104                                             San Diego          CA         92126

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                         Name                                       Attention                            Address 1                                   Address 2                   City      State       Zip       Country
 Dapper Labs Inc.                                                                      600-565 Great Northern Way                                                    Vancouver          BC         V5T0H8     Canada
 Dapper Labs Inc.                                        Attn: Mickey Maher            600 Great Northern Way                                                        Vancouver          BC         V5T 1L8    Canada
 Dapper Labs Inc.                                        Attn: Sam Gharegozlou         600 Great Northern Way                                                        Vancouver          BC         V5T 0H8    Canada
 Darbly Entertainment Inc                                                              7800 Amelia Rd                                                                Houston            TX         77055
 Dare-Houston LLC                                                                      23890 Copper Hill Drive #316                                                  Valencia           CA         91354
 Dashing Corporation                                                                   4742 Liberty Road South                                                       Salem              OR         97302
 Data Gran Inc.                                                                        924 Falling Water Road                                                        Weston             FL         33326
 Databricks, Inc.                                                                      160 Spear Street                                 Floor 13                     San Francisco      CA         94105
 Datadog                                                                               620 8th Avenue Floor 45                                                       New York           NY         10018-1741
 Datadog, Inc.                                           Attn: Andrew Baldwin          620 8th Avenue, 45th Floor                                                    New York           NY         10018-1741
 Datasite                                                                              733 S. Marquette Ave, Suite 600                                               Minneapolis        MN         55402
 Datasite LLC                                            Attn: Leif Simpson            PO Box 74007252                                                               Chicago            IL         60674
 DatChat Inc.                                                                          65 Church St                                                                  New Brunswick      NJ         08901
 DATG group llc                                                                        50 Avenue A                                                                   New York           NY         10009
 Datt Ventures, Inc, dba Budget Blinds                                                 828 South Highline Place                                                      Sioux Falls        SD         57110
 Davis Clay Investors LLC                                                              128-A Courthouse Square                                                       Oxford             MS         38655
 Daxbot Inc.                                                                           517 N 19th St                                                                 Philomath          OR         97370
                                                         c/o Pollux Finance, Attn:
 Daynight Capital Inc                                    Marcus Copello                221 North Broad Street                                                        Middletown         DE         19709
 Daynight Capital Inc.                                   Attn: Marcos Copello          221 North Broad Street                                                        Middletown         DE         19709-1070
 dba Meno Designs                                                                      1108 Tam O'Shanter Dr.                                                        Las Vegas          NV         89109
 DC Office of Tax and Revenue                                                          1101 4th St SW #270                                                           Washington         DC         20024
 DCare Inc                                                                             2147 University Ave W                                                         St Paul            MN         55114
 Deal Room Republic I A Series of Republic Master
 Fund LP                                                                               PO BOX 171305                                                                 SALT LAKE CTY      UT         84117-1305
 Decasonic                                               Attn: Paul Hsu                1625 North Market Boulevard #n                                                Sacramento         CA         95834
 Decasonic Prime Trust, a series of Decasonic
 Opportunity Fund, LLC                                   Michael Frisch                180 N LaSalle                                    Suite 3400                   Chicago            Illinois
 Decasonic Prime Trust, a series of Decasonic
 Opportunity Fund, LLC                                   Paul Hsu                     8 The Green, Suite A                                                           Dover              DE         19901
 Deel                                                                                 425 1st street,                                   Unit 1502                    San Francsico      CA         94105
 Deel, Inc.                                                                           425 1st                                                                        San Francisco      CA         94107
 Defy Security                                                                        375 Southpointe Boulevard                                                      Canonsburg         PA         15317
 Defy Security, LLC                                      Attn: Jeremy Gilbert         375 Southpointe Blvd, Ste 210                                                  Canonsburg         PA         15317
 Delaware Investor Protection Unit                                                    820 North French Street                           5th Floor                    Wilmington         DE         19801
 Delaware Office of the State Bank Commissioner                                       1110 Forrest Avenue                                                            Dover              DE         19904
 Delaware Secretary of State                             Division of Corporations     Franchise Tax                                     PO Box 898                   Dover              DE         19903
 Delaware State Treasury                                                              820 Silver Lake Blvd., Suite 100                                               Dover              DE         19904
 Delee Corp.                                                                          1211 San Dario Ave #2068                                                       Laredo             TX         78040
 Delee Corp.                                                                          1211 San Dario Avenue                                                          Laredo             TX         78040
 Delta Housing 30X LLC                                                                1013 Sussex Tpke                                                               Randolph           NJ         07869
 Delta Sand Investors LLC                                                             18167 E. Petroleum Drive                                                       Baton Rouge        LA         70809
 Deluxe                                                                               PO Box 4656                                                                    Carol Stream       IL         60197
 Denim.LA Inc.                                                                        8899 Beverly Blvd                                                              West Hollywood     CA         90048
 DenimLA Inc                                                                          8899 Beverly Blvd Suite 600                                                    West Hollywood     CA         90048
 Department of Justice                                                                950 Pennsylvania Ave., NW                                                      Washington         DC         20530
 Department of the Treasury                                                           Internal Revenue Service                                                       Ogden              UT         84201-0039
 Department of Treasury - Internal Revenue Service       Attn: M.H.                   31 Hopkins Plaza                                  Rm 1150                      Baltimore          MD         21201
 Dermal Photonics Corporation                                                         100 Corporate Place, Ste 303                                                   Peabody            MA         01960
 DeRosa Capital 11 LLC                                                                354 South Broad Street                                                         Trenton            NJ         08608
 Desert Cannalytix Inc                                                                4596 Eureka St                                                                 Las Vegas          NV         89103
                                                                                      Attn: Susheel Kirpalani & Patricia B. Tomasco
 Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta   c/o Quinn Emanuel Urquhart & & Daniel Holzman & Alain Jaquet & Razmig
 Holdings Ltd., and Bittrex Malta Ltd.                   Sullivan, LLP                Izakelian & Joanna Caytas                         51 Madison Avenue, 22nd Floor New York          NY         10010
 Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta   c/o Young Conaway Stargatt &                                                   Rodney Square 1000 North King
 Holdings Ltd., and Bittrex Malta Ltd.                   Taylor, LLP                  Attn: Robert S. Brady & Kenneth J. Enos           Street                        Wilmington        DE         19801
 Detonation Space Inc.                                                                8605 Santa Monica Blvd                                                          West Hollywood    CA         90069

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                          Name                                    Attention                              Address 1                                  Address 2                 City        State       Zip      Country
 Detroit Brow LLC                                                                      21477 Bridge St                                                           Southfield          MI           48033
 Deuce Drone Inc.                                                                      358 St. Louis Street                                                      Mobile              AL           36602
 dexFreight Inc.                                                                       1401 Sawgrass Corporate Pkwy                                              Sunrise             FL           33323
                                                       Attn: Carlos Hernandez and
 dexFreight Inc.                                       Hector Hernandez                1411 Sawgrass Corporate Pkwy, Suite B100                                  Sunrise             FL           33323
 DF Growth REIT II LLC                                                                 750 B St., Ste 1930                                                       San Diego           CA           92101
 DF Growth REIT LLC                                                                    600 W Broadway Street                                                     San Diego           CA           92127
 DHG Partners LLC                                                                      1137 South Braddock Ave                                                   Pittsburgh          PA           15218
 Didactic Inc.                                                                         10900 Research Boulevard                                                  Austin              TX           78759
 Diggs Boys LLC                                                                        302 Devon Ct                                                              North Wales         PA           19454
 DigiBuild Software Inc.                                                               1910 Tower Lane                                                           New Lenox           IL           60451
 DigieBot Technologies Inc.                                                            11175 E Western Sunset DR                                                 Dewey               AZ           86327
 Digita Asset Redemption                               Attn: Matthew Leidlein          228 Park Avenue South                                                     New York            NY           10003-1502
 Digital ARC Investments SPV LLC                                                       1732A Marsh Road,                                                         Wilmington          DE           19810
 Digital Asset Redemption                              Attn: Matthew Leidlein          228 Park Avenue South                                                     New York            NY           10003-1502
 Digital Direct IR Inc.                                                                61-21 183 Street                                                          Fresh Meadows       NY           11365-2114
 Digital Donations Technologies Inc.                                                   68 South Service Road                                                     Melville            NY           11747
 Digital Dream Labs Inc.                                                               100 South Commons                                                         Pittsburgh          PA           15212
 Digital Dream Labs LLC                                                                100 South Commons                                                         Pittsburgh          PA           15212
 Digital Frontier Marketing LLC dba Digital Currency
 Growth                                                                                1449 Wetherington Way                                                     Palm Harbor         FL           34683
 Digital Goals Inc.                                                                    2232 Dell Range Boulevard                                                 Cheyenne            WY           82009
                                                       Attn: Julie Lewis and Jessica
 Digital Mountain, Inc.                                Love                            4633 Old Ironsides Drive, Suite 401                                       Santa Clara         CA           95054
 Digital Power Lending LLC                                                             201 Shipyard Way                                                          Newport Beach       CA           92663
 Diligent Corporation                                                                  1111 19th Street NW                              9th Floor                Washington          DC           20036
 Dine Inc.                                                                             1717 E Cary St                                                            Richmond            VA           23223
 Dispatch Goods Inc.                                                                   4045 Cabrillo Street                                                      San Francisco       CA           94121
 Distressed Realty Fund 2                                                              3960 Howard Hughes Parkway                                                Las Vegas           NV           89169
 Distributed Security Inc                                                              518 S. Route 31                                                           McHenry             IL           60050
 District of Columbia Department of Insurance,
 Securities and Banking Bureau                                                         1050 First Street NE                             Suite 801                Washington          DC           20002
 Distrust, LLC                                                                         2085 East Bayshore Road                          51687                    Palo Alto           CA           94303
 Diversant, LLC                                                                        331 Newman Springs Road Bldg 3 Floor 2                                    Red Bank            NJ           07701
 DiversyFund Balboa LLC                                                                600 W Broadway Suite 1420                                                 San Diego           CA           92101
 DiversyFund Granito LLC                                                               600 W Broadway                                                            San Diego           CA           84010
 DiversyFund Growth Fund LLC                                                           600 W. Broadway #1420                                                     San Diego           CA           92101
 DiversyFund Inc.                                                                      600 W Broadway                                                            San Diego           CA           92101
 DiversyFund Inc.                                                                      750 B St., Ste 1930                                                       San Diego           CA           92101
 DiversyFund Income Fund LLC                                                           600 W Broadway Suite 1420                                                 San Diego           CA           92101
 DiversyFund Income Fund LLC                                                           750 B St, Suite 1930                                                      San Diego           CA           92101
 DiversyFund Monterey LLC                                                              600 West Broadway                                                         San Diego           CA           92101
 Diversyfund Park Blvd LLC                                                             600 W Broadway                                                            San Diego           CA           92101
 DIVINIA Water Inc.                                                                    409 N WATER AVE                                                           IDAHO FALLS         ID           83402-3714
 DIY Card Security Corporation                                                         2657 Windmill Pkwy                                                        Henderson           NV           89074
 DJ Gym Westchester LLC                                                                208 East Hartsdale Avenue                                                 Hartsdale           NY           10530
 Dlyte LLC                                                                             9301 Wilshire Blvd                                                        Beverly Hills       CA           90210
 DMG Blockchain Solutions                                                              4193 104 St. Delta                                                        British Cclombia                 V4K 3N3    Canada
 DMG Blockchain Solutions, Inc.                        Attn: Steven Eliscu             4193 104 St.                                                              Delta               BC           V4K 3N3    Canada
 DMG Blockchain Solutions, Inc.                        Attn: Steven Eliscu             4193 104 St., Delta                                                                           BC           V4K 3N3    Canada
 DNV Business Assurance USA Inc                                                        PO Box 74008806                                                           Chicago             IL           60674
 DNX7 Foods LLC                                                                        120 S Houghton Rd                                                         Tucson              AZ           85748
 DocuSign Inc.                                                                         P.O. Box 735445                                  Ste 1000                 Dallas              TX           75373-5445
 Dollaride Inc                                                                         370 Jay Street                                                            Brooklyn            NY           11201
 Dome Audio Inc.                                                                       47 US Highway 46                                                          Hackettstown        NJ           07840
 Dominion Hospitality-Earth City L.L.C.                                                1401 South Brentwood Boulevard                                            St. Louis           MO           63144
 Doorage Inc                                                                           751 Lively Boulevard                                                      Elk Grove Village   IL           60007

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                       Name                              Attention                            Address 1                               Address 2                    City        State       Zip      Country
 Dope Coffee Company LLC                                                     4110 Peabody Ct.                                                          Decatur            GA           30034
 Doroni Aerospace Inc.                                                       11555 Heron Bay Blvd. suite 200                                           Coral Springs      FL           33076
 Dotgreen Community Inc.                                                     700 Larkspur Landing Circle                                               Larkspur           CA           94939
 Dotted Line LLC                                                             21 Paseo Primero, Rancho                                                  Santa Margarita    CA           92688
 Down to Cook Inc.                                                           1416 Devonshire Dr                                                        El Cerrito         CA           94530
                                              Attn: Pavel Sytau and Nikita
 Dposit                                       Pushnov                        309 - 1177 HORNBY STREET                                                  VANCOUVER          BC                     Canada
                                              Attn: Pavel Sytau and Nikita
 Dposit                                       Pushnov                        309-1177 Horny St.                                                        Vancouver          BC                     Canada
 DPW Holdings Inc.                                                           201 Shipyard Way                                                          Newport Beach      CA           92663
 Draganfly Inc.                                                              2108 St. George Ave.                                                      Saskatoon          SK           S7M0K7    Canada
 DreamFunded Real Estate Inc.                                                388 Market Street                                                         San Francisco      CA           94111
 Driftwood Oven LLC                                                          3615 Butler St                                                            Pittsburgh         PA           15201
 Drink LMNT INC                                                              1150 Central Ave.                                                         Naples             FL           34102
 Drink Monday Inc.                                                           5245 Avenida Encinas                                                      Carlsbad           CA           92008
 Drink Sapore Inc.                                                           4768 Park Granada                                                         Calabasas          CA           91302
 Drone Delivery Systems Corp dba AirBox
 Technologies                                                                7729 Pocoshock Blvd                                                       Richmond           VA           23235
 Drop Technologies Inc.                                                      1418 Abbot Kinney Blvd                                                    Venice             CA           90921
 Dropin Investment Fund I LLC                                                13303 Intermountain Road                                                  Redding            CA           96003
 Drystar Disrupt Fund                                                        501 Union Street                                                          Nashville          TN           37219
 Dryvebox Inc.                                                               439 43rd Avenue                                                           San Francisco      CA           94121
 DSC Hospitality LLC                                                         1515 W. Lafayette St, Suite 201                                           Detroit            MI           48216
 Duane Morris LLP                                                            30 South 17th Street                                                      Philadelphia       PA           19103-4196
 Dubuc Motors                                                                1370 Willow Rd                                                            Menlo Park         CA           94025
 Duby LLC                                                                    1155 N. Sherman Street                                                    Denver             CO           80203
 Dude Apparel Brand LLC                                                      740 Front Street                                                          Hempstead          NY           11550
 Dugan Sales and Service                                                     1116 West 41st Street                                                     Sioux Falls        SD           57105
 Duis Primo Corporation                                                      1533 Nealstone Way                                                        Raleigh            NC           27614
 Duke Robotics Inc.                                                          515 E Las Olas Boulevard                                                  Fort Lauderdale    FL           33301
 Duo LLC                                                                     930 Via Mil Cumbres                                                       Solana Beach       CA           92075
 Dupe-29-26 Northern Boulevard LLC                                           149 East 23rd Street                                                      New York           NY           10159
 DUPE-43-45 Mott Street.LLC                                                  149 East 23rd Street                                                      New York           NY           10159
 Durango Gold Corporation                                                    1 East Liberty St.                                                        Reno               NV           89501
 DV Chain, LLC                                Attn: Legal and Garrett See    425 S Financial Pl; 28th Floor                                            Chicago            IL           60605
 Dwealth LLC                                                                 12063 Hadley Falls Court                                                  Houston            TX           77067
 DWR Contract                                                                PO Box 786385                                   251 Park Ave S            New York           NY           10010
 DX Consulting Corporation                                                   2367 East Kentucky Avenue                                                 Denver             CO           80209
 E*Hedge Group Inc.                                                          1001 4th Ave                                                              Seattle            WA           98154
 E.i Ventures Inc.                                                           1215 S Kihei Rd                                                           Kihei              HI           96753
 Eagle Natural Resources                                                     6010 W Spring Creek Parkway                                               Plano              TX           75024
 Eagle OZ Fund II LP                                                         401 N Michigan Ave Ste 1200                                               Chicago            IL           60611
 Eagle Protect PBC                                                           3079 Harrison Avenue                                                      South Lake Tahoe   CA           96150
 Eagle River Asset Protection Tr              Attn: Scott Purcell            9900 Orient Express Ct                                                    Las Vegas          NV           89145-8704
 Eagles Nest LLC                                                             2608 PINTO LANE                                                           LAS VEGAS          NV           89107
 Earthwise Sorbents Inc.                                                     305 Airport Road, Suite 6                                                 Oceanside          CA           92058
 East West Technologies                       Attn: Evan Winter              1013 Centre Road Suite 403-B                                              Wilmington         DE           19805
 East West Technologies                       Attn: Evan Winter              1013 Centre Road Suite 403-B                                              Wilmington                      19805
 East West Technologies                       Attn: Evan Winter              1013 Centre Road, Suite 403-B                                             Wilmington         DE           19805
 Easy Email Solutions Inc.                                                   403-2333 Dundas St. W.                                                    Toranto            ON           M6R 3A6    Canada
 Eclipse Diagnostics Inc.                                                    ‚ÄãWeWork Pacific Design Center                                           ‚ÄãLos Angeles     CA           ‚Äã90069
 Eclipse Diagnostics Inc.                                                    750 N. San Vicente Blvd                                                   Los Angeles        CA           90069
 Eclipse Theater Las Vegas LP                                                11700 W. Charleston Blvd                                                  Las Vegas          NV           89135
 ECM Brickworks LLC                                                          1159 Mcvey Avenue                                                         Lake Oswego        OR           97034
 ECM Opportunity Fund LLC                                                    1159 Mcvey Avenue                                                         Lake Oswego        OR           97034
 Eco Gen Pest Control                         Attn: Phil Rinehart            330 S Rampart Blvd Ste 260                                                Las Vegas          NV           89145
 Eco, Inc                                     Attn: Nishi Gupta              2261 Market St #4348                                                      San Francisco      CA           94114

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                        Name                               Attention                            Address 1                               Address 2                  City        State       Zip         Country
 Ecogen Pest Control                          Attn: Phillip M. Rinehart       3696 N RANCHO DR                                                          LAS VEGAS           NV         89130-3122
 Ecoventz. Inc                                                                412 N Main St                                                             Buffalo             WY         82834
 Ecxtech Inc.                                                                 80 W. 1st St.                                                             Reno                NV         89501
 Eden GeoPower Inc.                                                           444 Somerville Ave                                                        Somerville          MA         02143
 EdenLedger Inc. (dba FanVestor)                                              2055 Lombard Street                                                       San Francisco       CA         94147
 EdenLedger Inc. d/b/a FanVestor                                              2055 Lombard St., #470217                                                 San Francisco       CA         94147
 Edge Tech Labs                                                               2221 South Clark Street                                                   Arlington           VA         22202
 Edgewater Park New Jersey L.P                                                211 East 43rd Street                                                      New York            NY         10017
 Edible Garden AG Incorporated                                                283 County Road 519                                                       Belvidere           NJ         07823
 Edify.ai Inc                                                                 10011 S CENTENNIAL PKWY                         STE 420                   SANDY               UT         84070-4138
 EdTrainingCenter Florida Fund LLC                                            6601 Memorial Highway Suite 315                                           Tampa               FL         33615
                                              c/o The Phillips Law Offices,
 Edwards v. Prime Trust                       LLC                             Attn: Phillips, Kill Lynn                       6301 Ivy Lane Suite 700   Greenbelt           MD         20770
 Edyza Inc.                                                                   5251 California Ave Ste 210                                               Irvine              CA         92620
 Egnyte, Inc .                                                                1350 West Middlefield Road                                                Mountain View       CA         94043
 EI.Ventures                                                                  1215 S. Kihei Rd.                                                         Kihei               HI         96753
 EI.Ventures Inc.                                                             1215 S. Kihei Rd.                                                         Kihei               HI         96753
 Eide Bailly LLP                                                              4310 17 Ave S                                                             Fargo               ND         58103
 Eight Bridges Brewing Inc.                                                   332 Earhart Way                                                           Livermore           CA         94551
 El Tinieblo International Inc.                                               1 Wildwood Road                                                           Laconia             NH         03246
 Electric Solidus Inc. dba Swan Bitcoin       Attn: Cory Klippsten            26565 Agoura Rd. Ste.200                                                  Calabasas           CA         91302
 ElectroniXiQ Inc.                                                            88 North Avondale Rd.                                                     Avondale Estates    GA         30002
 Elegance Brands Inc.                                                         9100 Wilshire Blvd                                                        Beverly Hills       CA         90212
 Elemeno Health Inc.                                                          2910 Ford St., Suite D                                                    Oakland             CA         94601
 Elemeno Health Inc.                                                          2910 Ford Street                                                          Oakland             CA         94601
 Elephant Craft Inc.                                                          26741 Portola Pkwy. Ste. 1E #632                                          Foothill Ranch      CA         92610
 Elevate Nutrition Inc.                                                       777 Westchester Ave, STE 101                                              White Plains        NY         10604
 Elevation Fund 8 LLC                                                         4675 MacArthur Court                                                      Newport Beach       CA         92660
 Eli Electric Vehicles Inc.                                                   525 S Hewitt St                                                           Los Angeles         CA         90013
 Elio Motors Inc.                                                             2942 North 24th Street Suite 114-700                                      Phoenix             AZ         85016
 Eliport Inc.                                                                 Carrer de Roc Boronat, 117                                                Barcelona           CA         08018
 Elite Crowdfund Holdings LLC                                                 2675 Paces Ferry Road SE                                                  Alpharetta          GA         30004
 Ella & Oak LLC                                                               1520 BARQUENTINE DR                                                       MT PLEASANT         SC         29464-4928
 Elliptic Inc                                                                 1732 1st Ave #23346                                                       New York            NY         10128
 Ellison Eyewear Inc.                                                         314 W. Institute Place                                                    Chicago             IL         60610
 Emanuel County Partners LLC                                                  8014 Cumming Hwy                                                          Canton              GA         30115
 Ember Fund Inc.                                                              6060 Center Drive                                                         Los Angeles         CA         90045
 Emberly Logistics LLC                                                        345 Rockaway Turnpike                                                     Lawrence            NY         11559
 EME Squared LLC                                                              2026 westmont ave                                                         Pittsburgh          PA         15210
 Emerald Health Pharmaceuticals Inc.                                          11250 EL CAMINO REAL                            STE 100                   SAN DIEGO           CA         92130-2677
 Emerson Place Apartments LLC                                                 8400 East Prentice Avenue                                                 Greenwood Village   CO         80111
 Emotion Mining Company Inc.                                                  10 Allen Road                                                             Wellesley           MA         02481
 Empire Regional Center LLC                                                   13620 38th Avenue                                                         Flushing            NY         11354
 Empowering Technology Solutions, LLC         Attn: Brian Arredondo           2425 E Oquendo Rd                                                         Las Vegas           NV         89120
 Emrod Inc.                                                                   40 Kenwyn Street                                                          Parnell             Auckland   1052       New Zealand
                                              Attn: Ken Kodama, Vineeth
 Emurgo                                       Bhuvanagiri, & Swee Kheng       83 Clemenceau Avenue SGP. Unit #02-110                                                                                Singapore
 Emurgo                                       Attn: Vineeth Bhuvanagiri       83 Clemenceau Avenue SGP, Unit #02-110
 ENACT Systems Inc.                                                           6200 Stoneridge Mall Road Ste 300                                         Pleasanton          CA         94588
 Encrypgen Inc.                                                               3502 Bimini Lane                                                          Coconut Creek       FL         33066
 ENDVEST Partners 11 LLC.                                                     85 Broad Street                                                           New York            NY         10004
 Endvest Partners 11, LLC                                                     85 Broad Street                                                           New York            NY         10004
 Endvest Partners 12 LLC                                                      85 Broad St                                                               New York            NY         10004
 Endvest Partners 12 LLC                                                      85 Broad Street                                                           New York            NY         10004
 EnDVest Partners 12, LLC                                                     70 W Allendale Avenue, Suite D                                            Allendale           NJ         07401




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                          Name                                Attention                            Address 1                                  Address 2                 City           State        Zip        Country
                                                                                                                                                                                    central_sin
                                                                                                                                                                                    gapore_co
                                                                                                                                                                                    mmunity_d
                                                                                                                                                                                    evelopment
 Energy Lite Pte. Ltd.                                                           6 Raffles Quay #11-07                                                     Singapore                _council    48580       Singapore
 Energycite Inc.                                                                 204 West Spear Street                                                     Carson City              NV          89703
 Enervolt                                                                        295 E. Main St. Suite 17                                                  Ashland                  OR          97501
 Engine Yard Enterprises, Inc                                                    401 Congress Ave, Suite 2650                                              Dallas                   TX          78701
 Enginuity Power Systems Inc.                                                    730 S Washington Street                                                   Alexandria               VA          22314
 Eniware LLC                                                                     7920 Norfolk Ave                                                          Bethesda                 MD          20814
 Enteros                                                                         19925 Stevens Creek Blvd St100                   STE 210                  Cupertino                CA          95014
 Enterprise Spirits LLC                                                          215 North Ave                                                             Millvale                 PA          15209
 Envel Inc.                                                                      75 State Street, Suite 100                                                Boston                   MA          02109
 Environmental Corporation of America                                            1375 Union Hill Industrial Ct.                                            Alpharetta               Georgia
 Envoy                                                                           14005 Live Oak Avenue                            22007                    Irwindale                CA          91706
 Epec Holdings Inc. (f/k/a Epec Biofuels Inc.)                                   1776 Pine Island Rd.                                                      Plantation               FL          33322
 EpigenCare Inc.                                                                 110 Bi County Blvd.                                                       Farmingdale              NY          11735
 epiic 1.6 West Valley Alphawave 5 L.P.                                          800 Third Avenue                                                          new york                 NY          10022
 epiic 1.8 View North Carolina Blue Campus 5 L.P.                                800 Third Avenue 37th Floor                                               New York                 NY          10022
 Epilog Imaging Systems Inc.                                                     75 E. Santa Clara Street, Suite 600                                       San Jose                 CA          95003
 Epiphany Ventures Inc.                                                          6555 Sanger Road                                                          Orlando                  FL          32827
 Epoch Financial Group Inc.                                                      2001 Market Street                                                        Philadelphia             PA          19103
 EPPIC Funding LLC Series 2380 NW 79 ST                                          1825 NW Corporate Blvd                                                    Boca Raton               FL          33431
 Eppic Funding LLC Series 2905 NW 2 St                                           1825 NW Corporate Blvd                                                    Boca Raton               FL          33431
 Eppic Funding LLC Series 3300 N SURF RD                                         1825 NW Corporate Blvd                                                    Boca Raton               FL          33431
 Eppic Funding LLC Series 3379 3305 2800 3300 Nl
 Holdings                                                                        1825 NW Corporate Blvd                                                    Boca Raton               FL         33431
 Eppic Funding LLC Series 5705 W 14 AVE                                          1825 NW Corporate Blvd                                                    Boca Raton               FL         33431
 EQH-Leavenworth LLC                                                             1401 South Brentwood Boulevard                                            St. Louis                MO         63144
 EqualityMD LLC                                                                  1342 Flynn Road                                                           Richmond                 VA         23225
                                                    Attn: Legal Department and
 Equity Administrative Services, Inc.               Matthew Gardner              3 Equity Way                                                              Westlake                 OH         44145-1052
                                                    Attn: Legal Department and
 Equity Administrative Services, Inc.               Matthew Gardner              4 Equity Way                                                              Westlake                 OH         44145-1053
 Equity Trust Company                               Attn: Legal Department       1 Equity Way                                                              Westlake                 OH         44145-1050
                                                    Attn: Legal Department and
 Equity Trust Company                               Matthew Gardner              3 Equity Way                                                              Westlake                 OH         44145-1052
 Erc Homebuilders 1 Inc.                                                         2738 Falkenburg Road                                                      Riverview                FL         33578
 Erc Homebuilders Inc.                                                           2738 Falkenburg Road                                                      Riverview                FL         33578
 ERI - Economic Research Institute                                               111 Academy Drive                                suite 270                Irvine                   CA         92617
 Erndo Inc.                                                                      251 Little Falls Drive                                                    Wilmington               DE         19808
 ESal Holdings Inc.                                                              1938 Harney St, Suite 255                                                 Laramie                  WY         82072
 EscoBoss Inc.                                                                   127 S Brand blvd #220                                                     glendale                 CA         91204
 Eskapr L.L.C.                                                                   1140 3rd St NE                                                            Washington               DC         20002
 E-Sports Ventures Inc.                                                          1 RICHMOND SQ                                    STE 222W                 PROVIDENCE               RI         02906-5136
 Esportz Entertainment Corp.                                                     18004 Sky Park Circle, Suite 120                                          Irvine                   CA         92614
 Espre Technologies Inc.                                                         1775 Tysons Blvd                                                          Tysons                   VA         22102
                                                    Attn: Evelyn Kowalchuk and
 Estructuras Financieras Regionales S.A             Gabriel Baglivo              Paraguay 346 piso 14                                                      Ciudad de Buenos Aires              1057         Argentina
                                                    Attn: Evelyn Kowalchuk and                                                                                                      Buenos
 Estructuras Financieras Regionales S.A             Gabriel Baglivo              Paraguay 346 piso 14                                                      Ciudad de Buenos Aires   Aires      1057         Argentina
 EvaBot                                                                          1610 Quesada Avenue                                                       San Francisco            CA         94124
 Eve Fund 1                                                                      1901 Avenue of the Stars                                                  Los Angeles              CA         90067
 Event Hollow Inc.                                                               812 Ibis Drive                                                            Oakley                   CA         94561
 Eventcombo Inc.                                                                 121 Newark Avenue 5th Floor                                               Jersey City              NJ         07302
 Everybody Water Inc.                                                            132 Chief Justice Cushing Highway, Ste70                                  Cohasset                 MA         02025
 Everytable PBC                                                                  1101 West 23rd Street                                                     Los Angeles              CA         90007

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 Evolution at Sea Inc.                                      1203 Poinsettia Dr.                                                      West Hollywood     CA         90046
 Evolution Development Group Inc.                           626 Wilshire Blvd                                                        Los Angeles        CA         90017
 Evolution Devices Inc.                                     2150 Shattuck Avenue                                                     Berkeley           CA         94704
 Exelis Group LLC                                           9466 Vista Hill Lane                                                     Lone Tree          CO         80124
 Exit 6 LLC                                                 1000 N. West St                                                          Wilmington         DE         19801
 Exo-Space Inc                                              484 E. California Blvd. #10                                              Pasadena           CA         91106
 Exovolar Industries Corp.                                  600 Palisade Ave. Suite 213                                              Union City         NJ         07087
 Exploride Inc                                              1111 Light Street, Betamore                                              Baltimore          MD         21030
 Exposed Digital Consulting LLC                             858 Countryside Court Southeast                                          Marietta           GA         30067
 Eyedaptic Inc.                                             23421 South Pointe Drive                                                 Laguna Hills       CA         92653
 Eysz Inc.                                                  107 Sandringham Road                                                     Piedmont           CA         94611
 EZ-Coco LLC                                                412 N Main St.                                                           Buffalo            WY         82834
 Facility Protection Group LLC                              6304 Benjamin Road                              Suite 500                Tampa              FL         33634
 Fairlight Consulting                                       4262 Blue Diamond Rd #102-254                                            Las Vegas          NV         89139
 Falah Capital Inc.                                         107 Spring St.                                                           Seattle            WA         98104
 Falling Water Investors LLC                                128-A Courthouse Square                                                  Oxford             MS         38655
 Fallon, Bixby, Cheng & Lee, Inc.                           130 Battery Street                              Suite 550                San Francisco      CA         94111
 Fama Inc.                                                  13010 Morris Road                                                        Alpharetta         GA         30534
 Familify Corp                                              8 The Green                                                              Dover              DE         19901
 Fanalyze Inc                                               972 Rockdale Drive                                                       San Jose           CA         95129
 Fanbase Social Media Inc.                                  976 Jefferson St. NW                                                     Atlanta            GA         30318

 Fanchise League Company LLC - FCF Team 1 LLC               2629 Manhattan Avenue                                                    Hermosa Beach      CA         90254

 Fanchise League Company LLC - FCF Team 2 LLC               2629 Manhattan Avenue                                                    Hermosa Beach      CA         90254

 Fanchise League Company LLC - FCF Team 3 LLC               2629 Manhattan Avenue                                                    Hermosa Beach      CA         90254

 Fanchise League Company LLC - FCF Team 4 LLC               2629 Manhattan Avenue                                                    Hermosa Beach      CA         90254
 FanCompete LLC                                             12347 Ross Creek Drive                                                   Kamas              UT         84036
 FanFair Technologies Ltd.                                  468 North Camden Drive                                                   Beverly Hills      CA         90210
 Farm from a Box Inc.                                       101 The Embarcadero                                                      San Francisco      CA         94105
 Farm to Bottle Beverages LLC                               428 South Main St                                                        Davidson           NC         28036
 Farm.One Inc.                                              15 William Street                                                        New York           NY         10005
 Farmfundr LLC                                              13498 15th ave                                                           Hanford            CA         93230FF
 Fashwire Inc.                                              3213 W WHEELER ST                                                        SEATTLE            WA         98199-3245
 FAVER Inc.                                                 1881 W Traverse Parkway, Suite E #447                                    Lehi               UT         84043
 Fb Riverside I LLC                                         4667 MacArthur Blvd                                                      Newport Beach      CA         92660
 FCS Funding 1, LLC                                         11121 Carmel Commons Boulevard                                           Charlotte          NC         28226
 FCS Funding, LLC                                           11121 Carmel Commons Boulevard                                           Charlotte          NC         Charlotte
 Fedbix Solutions                                           478                                                                      Las Angeles        CA         98005
 Federal Trade Commission                                   600 Pennsylvania Avenue, NW                                              Washington         DC         20580
 Fenwick & West LLP                                         P.O. BOX 742814                                                          Los Angeles        CA         90074-2814
 festivalPass LLC                                           1305 Town Creek Dr, No 5                                                 Austin             TX         78741
 Festive Beverages LLC                                      1743 Independence Blvd.                                                  Sarasota           FL         34234
 FetchFind LLC                                              1428 N Western Ave                                                       Chicago            IL         60622
 FF 2U Laundry LLC                                          1311 N Westshore Blvd                                                    Tampa              FL         33607
 FF Apexedge Fund LLC                                       1311 N Westshore Blvd                                                    Tampa              FL         33607
 FF Bambino Fund LLC                                        1311 N Westshore Blvd                                                    Tampa              FL         33607
 FF ChalkTalk Fund LLC                                      1311 N Westshore Blvd                                                    Tampa              FL         33607
 FF Chattr Fund LLC                                         1311 N Westshore Blvd                                                    Tampa              FL         33607
 FF Clientbook Fund LLC                                     1311 N Westshore Blvd                                                    Tampa              FL         33607
 FF Fireside Fund LLC                                       1311 N Westshore Blvd                                                    Tampa              FL         33607
 FF Flexbase Fund LLC                                       1311 N Westshore Blvd                                                    Tampa              FL         33607
 FF flexEngage Fund LLC                                     1311 N Westshore Blvd                                                    Tampa              FL         33607
 FF Grow Credit Fund LLC                                    1311 N Westshore Blvd                                                    Tampa              FL         33607
 FF GSM Fund 2 LLC                                          1311 N Westshore Blvd                                                    Tampa              FL         33607

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                          Name                                Attention                             Address 1                                   Address 2                City        State       Zip      Country
 FF Harness Fund LLC                                                               1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF HealthSnap Fund LLC                                                            1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Intecrowd Fund LLC                                                             1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Kliken Fund LLC                                                                1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF MyPorter Fund LLC                                                              1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF NOCAP Fund LLC                                                                 1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF NODE40 Fund LLC                                                                1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF OthrSource Fund LLC                                                            1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Proof Network Fund LLC                                                         1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Quanthub Fund LLC                                                              1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Rewst Fund LLC                                                                 1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Satisfi Fund LLC                                                               1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF SecureCo Fund LLC                                                              1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Simplebet Fund 2 LLC                                                           1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF SimpleBet Fund LLC                                                             1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF SimpleNight Fund LLC                                                           1311 North West Shore Blvd                                                Tampa              FL           33607
 FF SPV Fund 1 LLC                                                                 1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF SPV Fund 2 LLC                                                                 1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF SPV Fund 3 LLC                                                                 1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF SPV Fund 4 LLC                                                                 1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Stylust Fund LLC                                                               1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Supply Wisdom Fund LLC                                                         1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Theoris Fund LLC                                                               1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Theoris Fund LLC                                                               1311 North Westshore Blvd                                                 Tampa              FL           33607
 FF TrashButler Fund 2 LLC                                                         1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF TSO Life Fund LLC                                                              1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Vizetto Fund LLC                                                               1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF VuPulse Fund LLC                                                               1311 North West Shore Blvd                                                Tampa              FL           33607
 FF XGen Fund LLC                                                                  1311 N Westshore Blvd                                                     Tampa              FL           33607
 FF Ybot Fund LLC                                                                  1311 N Westshore Blvd                                                     Tampa              FL           33607
 Fiat Ventures Copper I A Series of Republic Deal
 Room Master Fund LP                                                               PO BOX 171305                                                             SALT LAKE CTY      UT           84117-1305
 FIBA UC-Care Fund LLC                                                             1311 N Westshore Blvd                                                     Tampa              FL           33607
 Fidelifacts                                                                       114 Old Country Rd, Ste 652                                               Mineola            NY           11501
 Fidelity Information Services, LLC                 Rob Lee                        601 Riverside Avenue, T-12                                                Jacksonville       FL           32204
 FidoTV Channel Inc                                                                43 Bantala Place                                                          Castle Rock        CO           80108
 Fifth Third Bank                                                                  PO Box 631456                                                             Cincinnati         OH           45263-1456
 Fig Publishing Inc.                                                               156 2nd Street                                                            San Francisco      CA           94105
 Fig Publishing Inc.                                                               156 2nd Street                                                            San Francisco      CA           94107
 Fig Publishing Inc.                                                               335 Madison Ave                                                           New York           NY           10017
 Fig Publishing Inc.                                                               335 Madison Avenue                                                        New York           NY           10017
 Fig Publishing Inc.                                                               335 Madison Avenue                                                        New York           NY           10075
 Fig Publishing Inc.                                                               450 Sansome St.                                                           San Francisco      CA           94111
 Fig Publishing Inc.                                                               4949 SW Macadam Ave                                                       Portland           OR           97239
 Fig Publishing Inc.                                                               599 3rd St.                                                               San Francisco      CA           94107
 Fig Small Batch LLC                                                               599 3rd St.                                                               San Francisco      CA           94107
 Fig Small Batch LLC                                                               599 Third St.                                                             San Francisco      CA           94107
 Fig WL3 LLC                                                                       599 3rd Street                                                            San Francisco      CA           94107
 Fiintoo 1 US Epiic 1 LP                                                           800 3 ave                                                                 new york           NY           10022
 Fiintoo 9 U.S. L.P.                                                               211 East 43rd Street                                                      New York           NY           10017
 Filmio Inc.                                                                       5825 Oberlin Drive                                                        San Diego          CA           92121
 Fin VC Horizons II, LP - Series VIII               Logan Allin                    473 Jackson Street, Suite 300                                             San Francisco      CA           94111
 Financial Freedom Investments LLC                                                 1803 Wintergreen Ave                                                      District Heights   MD           20747
                                                    Attn: Aaron D Ford & Michael
 Financial Institutions Division                    Detmer                         555 E. Washington Avenue, Suite 3900                                      Las Vegas          NV           89101
 finfora Inc                                                                       175 SW 7th Street                                                         Miami              FL           33130
 Finicity                                                                          434 West Ascension Way                           Suite 200                Murray             UT           84123

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 Finovation Systems, LLC                                                       3455 Peachtree Road NE, 5th floor                                       Atlanta            GA           30326
 Fire Grounds Coffee Co LLC                                                    1300 S Polk St                                                          Dallas             TX           75224
 Fire Grounds Coffee Co LLC                                                    1300 S Polk Ste 138                                                     Dallas             TX           75224
 Fireblock                                                                     221 River Street, 9th Floor                                             Hoboken            NJ           07030
 Fireblocks                                          Attn: Marlon Figueroa     441 9th Ave, 15 Floor                                                   New York           NY           10001
 Fireblocks Inc.                                                               500 7th Avenue                                                          New York           NY           10018
 Fireblocks LTD                                      Attn: Marlon Figueroa     441 9th Ave., 15th Floor                                                New York           NY           10001
 FireBot Inc.                                                                  8816 Hampton Station Ct                                                 Lorton             VA           22079
 FirePro                                                                       PO Box 620876                                                           Las Vegas          NV           89162
 First Choice Coffee Services                                                  7525 Colbert Dr Ste 104                                                 Reno               NV           89511
 First Class Vending & Coffee Services                                         3990 W Naples Dr                                                        Las Vegas          NV           89103
 FirstPayment USA Inc.                               Attn: Alexandre Decarie   6543 South Las Vegas Boulevard                                          Las Vegas          NV           89119
 Fishbrain I A Series of Republic Deal Room Master
 Fund LP                                                                       PO BOX 171305                                                           SALT LAKE CTY      UT           84117-1305
 Fisher & Phillips LLP                                                         1230 PEACHTREE ST NE                            STE 3300                ATLANTA            GA           30309-4943
 Fisher Wallace Inc                                                            brooklyn                                                                Brooklyn           NY           10028
 Fisher Wallace Laboratories Inc.                                              515 Madison Avenue                                                      New York           NY           10022
 Fitbux Inc.                                                                   3832 Gildas Path                                                        Pflugerville       TX           78660
 FixTman, LLC                                                                  7504 Dolan Falls                                                        McKinney           TX           75071
 Flash Scientific Technology Inc.                                              335 Anna Ave                                                            Palmetto           GA           30268
 FlashFund 1 LLC                                                               15260 Ventura Blvd                                                      Sherman Oaks       CA           91403
 FlashFund 11 LLC (Senseye Inc.)                                               15260 Ventura Blvd                                                      Sherman Oaks       CA           91403
 FlashFund 14 LLC                                                              15260 Ventura Blvd                                                      Sherman Oaks       CA           91403
 FlashFund 15 LLC                                                              15260 Ventura Blvd                                                      Sherman Oaks       CA           91403
 FlashFund 3 LLC                                                               15260 Ventura Blvd                                                      Sherman Oaks       CA           91403
 FlashFund 5 LLC                                                               15260 Ventura Blvd                                                      Sherman Oaks       CA           91403
 FlashFund 7 LLC                                                               15260 Ventura Blvd                                                      Sherman Oaks       CA           91403
 FlashFund 8 LLC                                                               15260 Ventura Blvd                                                      Sherman Oaks       CA           91403
 FlashFund 9 LLC                                                               15260 Ventura Blvd                                                      Sherman Oaks       CA           91403
 FlashFunders Inc.                                                             1538 20th Street                                                        Santa Monica       CA           90404
 Flashpub Inc                                                                  3077B Clairemont Dr                                                     San Diego          CA           92117
 Flat Out of Heels LLC                                                         1521 Alton Road, 592                                                    Miami Beach        FL           33139
 Flatland LLC                                                                  4157 Tall Timber Dr. NW                                                 Walker             MI           49534
 FLATLAY Inc.                                                                  555 West 5th Street                                                     Los Angeles        CA           90013
 Fleeting Inc                                                                  78 John Miller Way Kearny                                               New Jersey         NJ           07032
 Fleming Island Buildings LLC                                                  101 Vickery Street                                                      Roswell            GA           30075
 Flexable LLC                                                                  4307 Murray Avenue                                                      Pittsburgh         PA           15217
 Flitways Technology Inc.                                                      400 Corporate Pointe                                                    Culver City        CA           90230
 Flont Inc.                                                                    22 W 48th St                                                            New York           NY           10036
 FloQast                                                                       14721 Califa Street                                                     Sherman Oaks       CA           91411
 Flora Growth Corp.                                                            65 Queen Street West                                                    Toronto            Ontario      M5H 2M5    Canada
 Florida Communities Revitalization Fund                                       6767 N Wickham Road                                                     Melbourne          FL           32040
 Florida Congress Ave Buildings LLC                                            101 Vickery Street                                                      Roswell            GA           30075
 Florida Funders Candidate Guru Fund LLC                                       1511 N. Westshore Blvd                                                  Tampa              FL           33607
 Florida Funders Droplit Fund LLC                                              1311 N Westshore Blvd                                                   Tampa              FL           33607
 Florida Funders Eventplicity Fund LLC                                         1511 N. Westshore Blvd, Suite 700                                       Tampa              FL           33607
 Florida Funders Finexio Fund LLC                                              1311 N Westshore Blvd                                                   Tampa              FL           33607
 Florida Funders GSM Fund LLC                                                  1311 North West Shore Blvd                                              Tampa              FL           33607
 Florida Funders Homee Fund 2 LLC                                              1311 N Westshore Blvd                                                   Tampa              FL           33607
 Florida Funders Homee Fund II LLC                                             1311 N Westshore Blvd, Suite 101                                        Tampa              FL           33607
 Florida Funders Homee Fund LLC                                                1311 N Westshore Blvd                                                   Tampa              FL           33607
 Florida Funders Homee Fund LLC                                                1511 N Westshore Blvd, Suite 700                                        Tampa              FL           33607
 Florida Funders Jibe Health Fund LLC                                          6601 Memorial Highway Suite 315                                         Tampa              FL           33615
 Florida Funders LeaderBits Fund LLC                                           1311 N Westshore Blvd, Ste 101                                          Tampa              FL           33607
 Florida Funders Management LLC                                                1311 N Westshore Blvd Suite 101                                         Tampa              FL           33607
 Florida Funders Peerfit Fund II LLC                                           1311 N Westshore Blvd                                                   Tampa              FL           33607
 Florida Funders Peerfit Fund II LLC                                           6601 Memorial Highway Suite 318                                         Tampa              FL           33615

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 Florida Funders Peerfit Fund III LLC                                          1311 N Westshore Blvd                                                    Tampa              FL         33607
 Florida Funders Peerfit Fund LLC                                              1311 N Westshore Blvd                                                    Tampa              FL         33607
 Florida Funders Peerfit Fund LLC                                              6601 Memorial Highway Suite 318                                          Tampa              FL         33615
 Florida Funders PickUp Fund LLC                                               1311 N Westshore Blvd                                                    Tampa              FL         33607
 Florida Funders PickUp Fund LLC                                               1311 N Westshore Blvd, Suite 101                                         Tampa              FL         33607
 Florida Funders Pik My Kid Fund LLC                                           6601 Memorial Highway Suite 318                                          Tampa              FL         33615
 Florida Funders Priatek Fund LLC                                              6601 Memorial Highway Suite 315                                          Tampa              FL         33615
 Florida Funders Raw Shorts Fund LLC                                           6601 Memorial Highway Suite 318                                          Tampa              FL         33615
 Florida Funders RepScrubs Fund LLC                                            1311 N Westshore Blvd Ste 101                                            Tampa              FL         33607
 Florida Funders TAO Connect Fund II LLC                                       1511 N Westshore Blvd, Suite 700                                         Tampa              FL         33607
 Florida Funders TrashButler Fund LLC                                          1311 N Westshore Blvd                                                    Tampa              FL         33607
 Florida Office of Financial Regulation                                        200 East Gaines Street                                                   Tallahassee        FL         32399-0376
 Flower Turbines Inc.                                                          240 Central Ave., # 1J                                                   Lawrence           NY         11559
 Flower Turbines Inc.                                                          240 Central Ave., 1J                                                     Lawrence           NY         11559
 Flower Turbines LLC                                                           240 Central Ave.                                                         Lawrence           NY         11559
 Flowerbee Group Inc                                                           24725 W 12 Mile Road                                                     Southfield         MI         48034
 Flowh Inc                                                                     19814 East Caley Drive                                                   Centennial         CO         80016
 Fluent Federation Corp [Fluent Finance]          Attn: Kaley Partee           26 S Rio Grande St #2072                                                 Salt Lake City     UT         84101
 Fluent Finance Inc                               Attn: Bradley Allgood        26 S Rio Grande St #2072                                                 Salt Lake City     UT         84101
 Fluo Labs Inc.                                                                1479 Glencrest Dr. #A                                                    San Marcos         CA         92078
 Flux Media Inc.                                                               515 Means St.                                                            Atlanta            GA         30318
 Fluz App Inc.                                                                 16 West 45th Street, 7th Floor                                           New York           NY         10036
 FLX Performance Inc                                                           4170 Morena Blvd, Ste D                                                  San Diego          CA         92117
 FM Capital                                                                    2329 Nostrand Ave                                                        Brooklyn           NY         11210
 FMO NYC Inc                                                                   420 Lexington Avenue                                                     New York           NY         10170
 Focusmate Inc                                                                 181 East 119th Street                                                    New York           NY         10035
                                                  Attn: Tania Kimberly, Will
                                                  Reeves, Wolfe Repass, and
 Fold                                             Nikki Goncalves              318 Cherokee Avenue Southeast #107                                       Atlanta            GA         30312
 Fold, Inc.                                                                    55 E 3rd Ave                                                             San Mateo          CA         94401
 Fold, Inc.                                       Attn: Will Reeves            11201 North Tatum Blvd, Suite 300, #42035                                Phoenix            AZ         85028
 Follow-Mee Inc.                                                               3499 Tenth Street                                                        Riverside          CA         92501
 FoodsPass Inc.                                                                4533 MacArthur Blvd. Suite A-2193                                        Newport Beach      CA         92660
 Forentis Fund LP                                                              26442 Beckman Court                                                      Murrieta           CA         92562
 Forest Devices Inc.                                                           544 Miltenberger Street                                                  Pittsburgh         PA         15219
 Forter                                                                        12 E 49th St                                                             New York           NY         10017
 FOTV Media Networks Inc.                                                      338 N. Canon Drive                                                       Beverly Hills      CA         90210
 Four Corners Development Group LLC                                            377 Rt 59                                                                Airmont            NY         10952
 Fox & Tree Bakery LLC                                                         11750 River Moss Rd                                                      Strongsville       OH         44136
 Fragrance of Heaven LLC                                                       3501 50th Street                                                         Lubbock            TX         79413
 Franny's Distribution Inc                                                     204 Elk Park Drive                                                       Asheville          NC         28804
 Franny's Manufacturing Inc                                                    1300-B Patton Ave                                                        Asheville          NC         28806
 Franny's Manufacturing Incorporated                                           547 Elk Park Drive                                                       Asheville          NC         28804
 Freedom Gateway LLC                              Attn: Connor Alexander       129 Oak Park Place                                                       Pittsburgh         PA         15243
 Freedom Motors Inc.                                                           1855 North First St.                                                     Dixon              CA         95620
 FreightPal Inc.                                                               3940 Laurel Canyon Boulevard                                             Studio City        CA         91604
 FreshMynd Inc.                                                                10390 Farallone Drive                                                    Cupertino          CA         95014
 Fretch LLC                                                                    160 Riverside Boulevard                                                  New York           NY         10069
 FromScratchFood LLC                                                           474 Demarest Ave                                                         Oradell            NJ         07649
 FRtoken Inc.                                                                  1710 Central Ave SE                                                      Albuquerque        NM         87106
 Fruit Street Health Public Benefit Corporation                                85 Broad Street 18th Floor                                               New York           NY         10004
 FS-ISAC Inc.                                                                  12120 Sunset Hills Road                         Suite 500                Reston             VA         20190
 FT1 Inc.                                                                      2009 Decker Avenue                                                       Merrick            NY         11566
 FTF Lending LLC                                                               1 (646) 895-6090                                                         New York           NY         10010
 FTF Lending LLC                                                               1 (646) 895-6090                                                         5th Floor          NY         10010
 FTF Lending LLC                                                               10 E 23rd St                                                             New York           NY         10010
 FTF Lending LLC                                                               10 E 23rd St.                                                            New York           NY         10010

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                         Name                                   Attention                     Address 1                    Address 2                City      State       Zip      Country
 FTF Lending LLC                                                            10 E 23rd St.                                               New York           NH         10010
 FTF Lending LLC                                                            79 Madison Ave                                              11130              NY         10016
 FTF Lending LLC                                                            79 Madison ave                                              7th Floor          NY         10016
 FTF Lending LLC                                                            79 Madison Ave                                              New York           NY         10016
 FTF Lending LLC                                                            79 Madison Ave                                              New York           DE         10016
 FTF Lending LLC                                                            79 Madison Ave                                              New York           NY         10003
 FTF Lending LLC                                                            79 Madison ave                                              New York           NY         100116
 FTF Lending LLC                                                            79 Madison Avenue                                           New York           NY         10016
 FTI Consulting                                                             PO Box 418005                                               Boston             MA         02241
 FuelGems Inc.                                                              301 Congress Ave #2200                                      Austin             TX         78701
 Full Circle Brewing Co. Ltd. LLC                                           620 F Street                                                Fresno             CA         93706
 Full Partner LLC                                                           4845 Pearl East Circle                                      Boulder            CO         80027
 Fuller Real Estate Solutions LLC                                           712 H St NE                                                 Washington         DC         20002
 FullSkoop Inc                                                              1 Market Street                                             San Francisco      CA         94105
 Fund That Flip                                                             Madison Ave                                                 New York           NY         10016
 Fund That Flip Inc                                                         79 Madison ave                                              New York           NY         10016
 Fund That Flip Inc                                                         85 E 10th St                                                New York           NY         10003
 Fund That Flip Inc.                                                        214 W 29th Street                                           New York           NY         10003
 Fund That Flip Inc.                                                        214 W 29th Street                                           New York           NY         10001
 Fund That Flip Inc.                                                        500 7th Ave                                                 New York           NY         10018
 Fund That Flip Inc.                                                        500 7th Avenue                                              New York           NY         10018
 Fund That Flip Inc.                                                        79 Madison ave                                              New York           NC         10016
 Fund That Flip Inc.                                                        79 Madison ave                                              New York           NY         10016
 Fund That Flip Inc.                                                        79 Madison ave                                              New York           DE         10016
 Fund That Flip Inc.                                                        79 Madison Avenue                                           New York           NY         10016
 Fund That Flip Inc.                                                        85 e 10th St                                                New York           NY         10003
 Fund That Flip, Inc.                                                       85 e 10th St                                                New York           NY         10003
 FundAmerica TEST                                                           330 S Rampart Blvd.                                         Las Vegas          NE         89145
 Fundanna Inc                                                               1136 S Delano Court                                         Chicago            IL         60605
 Fundaroo Funding LLC                                                       2329 Nostrand Ave                                           Brooklyn           NY         11210
 Furry Fortune The Movie LLC                                                4750 Kester Ave                                             Sherman Oaks       CA         91403
 Fusch Commercial Interiors                                                 6415 S Tenaya Way 145                                       lLas Vegas         NV         89113
 Fusion Properties Management Group Inc.                                    2007 Calle Jaime Rodriguez                                  Mayaguez           PR         682
 Future Kick Inc                                                            9 Via Santander                                             San Clemente       CA         92673
 Future Labs V Inc.                                                         1438 9th Street                                             Santa Monica       CA         90401
 Future Labs VI Inc.                                                        1438 9th Street                                             Santa Monica       CA         90401
 Future Pearl Labs Inc.                                                     1134 11th Street, Suite 101                                 Santa Monica       CA         90403
 FutureGen Technologies Inc.                                                20423 State Rd 7 Ste F6, 356                                Boca Raton         FL         33498
 FXDD Trading Limited                                 Attn: Lyn McKay       525 Washington Blvd. #1405                                  Jersey City        NJ         07310
 FXDD Trading Limited                                 Attn: Lyn McKay       525 Washington Boulevard #1405                              Jersey City        NJ         07310-1646

 FY I A Series of Republic Deal Room Master Fund LP                         PO BOX 171305                                               SALT LAKE CTY      UT         84117-1305
 G. Randall & Sons Inc                                                      2069 Coast Blvd.                                            Del Mar            CA         92014
 G10 Tech                                                                   2980 Rattlesnake Rd                                         Newcastle          CA         95658
 G3C Technologies Corporation                                               233 Mt. Airy Road Suite 100                                 Basking Ridge      NJ         07920
 Gab AI Inc                                                                 1200 E Parmer Lane                                          Austin             TX         78753
 Gab AI Inc                                                                 700 N State Street                                          Clarks Summit      PA         18411
 Gab Al Inc                                                                 700 N State St                                              Clarks Summit      PA         18411
 GACW Incorporated                                                          3110 West Ray Road, Suite 201                               Chandler           AZ         85226
 Gage Cannabis Co.                                                          77 King Street West                                         Toronto            ON         M5K0A1     Canada
 Gaingels Alfred Club I a Series of Republic Deal
 Room Master Fund LP                                                        PO BOX 171305                                               SALT LAKE CTY      UT         84117-1305
 Gaingels ALICE I A Series of Republic Deal Room
 Master Fund LP                                                             PO BOX 171305                                               SALT LAKE CTY      UT         84117-1305
 Gaingels Alto I A Series of Republic Deal Room
 Master Fund LP                                                             PO BOX 171305                                               SALT LAKE CTY      UT         84117-1305


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 Gaingels Begin I a series of Republic Master Fund LP                        PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Betterfly I a series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Bicycle I A Series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Bionaut I a series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Bitwise I a series of Republic Master Fund
 LP                                                                          PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Booster Fuels I a series of Republic Deal
 Room Master Fund LP                                                         PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305

 Gaingels Dots I a series of Republic Master Fund LP                         PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Fetch Rewards I A Series of Republic Deal
 Room Master Fund LP                                                         PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Health IQ I A Series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Iris I A Series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels iRocket I A Series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305

 Gaingels Jetty I a series of Republic Master Fund LP                        PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305

 Gaingels Lucid I a series of Republic Master Fund LP                        6510 Millrock Drive                                              Salt Lake City     UT           84121
 Gaingels Materna I a series of Republic Master Fund
 LP                                                                          PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Matternet I a series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Maximus I A Series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Monarch I a series of Republic Master Fund
 LP                                                                          PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Morpheus I A Series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Mutable I a series of Republic Master Fund
 LP                                                                          PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Narrative I a series of Republic Master Fund
 LP                                                                          PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels NEXT Trucking I a Series of Republic Deal
 Room Master Fund LP                                                         PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Overtime I A Series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Petra I A Series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Postscript I A Series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Prime Trust 2022 LLC                         David Beatty          PO Box 927                                                       Burlington         VT
 Gaingels Prime Trust 2022 LLC                         David Beatty          PO Box 927                                                       Burlington         VT           5402
 Gaingels Raydiant I a series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Remote I A Series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305
 Gaingels Resilia I a series of Republic Deal Room
 Master Fund LP                                                              PO BOX 171305                                                    SALT LAKE CTY      UT           84117-1305


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                          Name                                 Attention                              Address 1                                  Address 2                City        State      Zip         Country
 Gaingels Sentio I a series of Republic Master Fund
 LP                                                                                 PO BOX 171305                                                             SALT LAKE CTY      UT           84117-1305
 Gaingels Strivr Labs I a series of Republic Deal
 Room Master Fund LP                                                                PO BOX 171305                                                             SALT LAKE CTY      UT           84117-1305
 Gaingels StyleSeat I a series of Republic Master
 Fund LP                                                                            PO BOX 171305                                                             SALT LAKE CTY      UT           84117-1305
 Gaingels Tailscale I A Series of Republic Deal Room
 Master Fund LP                                                                     PO BOX 171305                                                             SALT LAKE CTY      UT           84117-1305
 Gaingels Tally I A Series of Republic Deal Room
 Master Fund LP                                                                     PO BOX 171305                                                             SALT LAKE CTY      UT           84117-1305
 Gaingels VoiceOps I a series of Republic Master
 Fund LP                                                                            PO BOX 171305                                                             SALT LAKE CTY      UT           84117-1305
 Gaingels Wild Earth I a series of Republic Master
 Fund LP                                                                            PO BOX 171305                                                             SALT LAKE CTY      UT           84117-1305
 Gaingels Willow I a series of Republic Master Fund
 LP                                                                                 PO BOX 171305                                                             SALT LAKE CTY      UT           84117-1305
 Gaingels Zocdoc I A Series of Republic Deal Room
 Master Fund LP                                                                     PO BOX 171305                                                             SALT LAKE CTY      UT           84117-1305
 Galexahomes Inc.                                                                   900 6th Ave South #203                                                    Naples             FL           34102
 Galileo Financial Technologies, LLC                                                6510 South Millrock Dr., Suite 300                                        Salt Lake          UT           84121
 Gallery Design Studio LLC                                                          54 W 40th St                                                              New York           NY           10018
 GameIQ Inc.                                                                        2173 Salk Ave., Suite 250                                                 Carlsbad           CA           92008
 GameTree PBC                                                                       Filler Address                                                            San Diego          CA           92014

 Gaming Revolution for International Development Inc.                                2727 Bowling Green Drive                                                 Vienna             VA         22180
 GapNurse Inc.                                                                       9888 W. Belleview Ave.                                                   Littleton          CO         80123
 GarageSkins Inc.                                                                    2191 Meadow Place SE                                                     Albany             OR         97322
 Gatc Health Corp                                                                    2030 Main Street                                                         Irvine             CA         92614
 Gatecap Ventures II LP                               Alfred M. Macdaniel, Jr.       201 W. 5th St., Suite 1500                                               Austin             tx         78701
 Gateway Opportunity Fund                                                            22 Luther LN                                                             Hannibal           MO         63401
                                                      Attn: Michael Aagaard and Lars                                                                                             Hovedstade
 GC Exchange A/S                                      Holst                          Amager Strandvej 390                                                     Kastrup            n          2770           Denmark
 GC Exchange A/S (GCEX Holding Limited)                                              Amager Standvej 390                                                      Kastrup                       2770           Denmark
 GC&H Investments, L.P.                                                              3 Embarcadero Center, 20th Floor                                         San Francisco      ca         94111
 GCB Hops LLC                                                                        3201 39th Ave N                                                          Saint Petersburg   FL         33714
 GCEX Holding Limited                                                                2Nd Floor 75 King William Street                                         London             London     2770
 GCF-National Center for Law Enforcement LLLP                                        2111 E. Highland Ave                                                     Phoenix            AZ         85016
 G-Cloud Ltd                                                                         1180 Avenue of the Americas                                              New York           NY         10036
 Geek Girl Tech PBC                                                                  2601 Blanding Ave                                                        Alameda            CA         94501
 GEMSS North America Inc.                                                            750 Lakeside Drive,                                                      Mobile             AL         36693
 GenAire Mechanical Services                                                         2880 Bicentennial Parkway                       Suite 100                Henderson          NV         89052
 GenBio Inc                                                                          23411 Summerfield                                                        Aliso Viejo        CA         92656
 General Presence Inc.                                                               26 Westminster Avenue Unit 4                                             Venice             CA         90291
 Generation Genius Inc.                                                              14622 Ventura Blvd #2026                                                 Sherman Oaks       CA         91403
 Generation Genius Incorporated                                                      14622 Ventura Blvd                                                       Sherman Oaks       CA         91403
 GenesisAI Corporation                                                               201 SE, 2nd Avenue                                                       Boston             MA         33131
 GenieGram                                                                           160 Greentree Drive, Suite 101                                           Kent County        DE         19904
 Genius Juice LLC                                                                    21143 Hawthorne Boulevard                                                Torrance           CA         90503
 Genobank.io Inc                                                                     274 Brannan Street                                                       San Francisco      CA         94107
 Gentry Lending Group LLC                                                            2905 San Gabriel St                                                      Austin             TX         78705
 GeoOrbital Inc.                                                                     17 Properzi Way,                                                         Somerville         MA         02413
 GeoOrbital Inc.                                                                     One Broadway, 14th Floor                                                 Cambridge          MA         02142
 Geopulse Exploration Inc.                                                           145 S. Fairfax Av                                                        Los Angeles        CA         90036
 Geopulse Explorations Inc. (d.b.a. Cannco Brands &
 Development Inc.)                                                                   6600 Sunset Blvd, 2nd Floor                                              Los Angeles        CA           90046
 George Georgiades                                    Attn: Jason Rosell             One Sansome Street, Suite 3430                                           San Francisco      CA           94104


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                        Name                                  Attention                             Address 1                              Address 2                     City         State      Zip          Country
 George Georgiades, Kevin Lehtiniitty, and Scott   c/o Pachulski Stang Ziehl &   Attn: Alan J. Kornfeld & Jason H. Rosell &       One Sansome Street, Suite
 Purcell                                           Jones LLP                     James E. O’Neill                                 3430                        San Francisco      CA           94104
 Georgia Dept. of Revenue                                                        PO Box 740387                                                                Atlanta            GA           30374
 Georgia Division of Securities and Business
 Regulation                                                                      Two Martin Luther King, Jr. Drive SE             Suite 317, West Tower       Atlanta            GA           30334
 Georgia Oak Prong Investment II LLC                                             675 Ponce de Leon Ave NE                                                     Atlanta            GA           30308
 Georgiades & Associates LLC                                                     1345 Avenue of the Americas                                                  New York           NY           10105
 Georiga Department of Banking and Finance                                       2990 Brandywine Road                             Suite 200                   Atlanta            GA           30341-5565
 Geoship SPC                                                                     12255 Red Dog Rd                                                             Nevada City        CA           95959
 GeoSolar Technologies Inc                                                       1400 16th Street                                                             Denver             CO           80202
 Geostellar                                                                      224 West King Street                                                         Martinsburg        WV           25401
 Gesture US Inc.                                                                 530 7th Avenue                                                               New York           NY           10018
 GET Helpful Plus LLC                                                            997 Johnnie Dodd Blvd                                                        Mount Pleasant     SC           29464
                                                                                 1074 Woodward Avenue Downtown Detroit
 Get to Work Inc.                                                                Wayne County 1906                                                            Detroit            MI           48226
 GHA Technologies                                                                PO Box 29661                                     Dept #2090                  Phoenix            AZ           85038
 GIA CTSystems                                                                   700 Central Expy S                               Suite 300                   Allen              TX           75013
 Giddy Apps Inc.                                                                 33 Irving Place                                                              New York           NY           10003
                                                                                 Lipps Mathias Wexler Friedman LLP, 50
 Gift Jeenie USA Inc.                                                            Fountain Plaza                                                               Buffalo            NY           01402
 Gift of College Inc.                                                            24005 Ventura Boulevard                                                      Calabasas          CA           91302
 Giftwith Inc                                                                    8 Wight Pl                                                                   Tenafly            NJ           07670
 Gigmor Inc.                                                                     844 Berkeley Street                                                          Santa Monica       CA           90403
 Ginjan Bros Inc.                                                                800 Grand Concourse - 1 JS                                                   Bronx              NY           10451
 GitHub                                                                          88 Colin P Kelly Jr. Street                                                  San Francisco      CA           94107
 Github                                                                          88 Colin P. Kely Jr. St.                                                     San Francisco      CA           94107
 Give Bitcoin                                                                    3645 Calle Jazmin                                                            Calabasas          CA           91302
 GK8 Ltd                                                                         6 Kermenitzki                                                                Tel-Aviv                        6789906    Israel
 Glass WRX Beaufort QOF LLC                                                      2694 West Oxford Loop                                                        Oxford             MS           38655
 Glint Pay Limited                                                               Kemp House, 152 - 160 City Rd,                                               London             London       EC1V 2NX Great Britain
 GLN Holdings Inc.                                                               9613 South Lake Shore Drive                                                  Lake Lotawana      MO           64086
 Glo Cleveland Inc.                                                              2460 Lakeside Avenue                                                         Cleveland          OH           44114
 Global Aggregates Partners LLC                                                  750 Hammond Drive                                                            Sandy Springs      GA           30328
 Global Blockchain Ventures Fund LP                                              6555 Sanger Road                                                             Orlando            FL           32827
 Global Cancer Technology Inc.                                                   16776 Bernardo Center Dr.                                                    San Diego          CA           92128
 Global Cancer Technology Inc.                                                   16776 Bernardo Center Drive                                                  San Diego          CA           92128
 Global Guardian                                                                 8280 Greensboro Drive                            Suite 750                   McLean             VA           22102
 Global Income Coin Inc.                           Attn: Jeffrey Milewski        447 SUTTER ST                                    STE 405                     SAN FRANCISCO      CA           94108-4618
 Global Pharma Labs Inc.                                                         433 Estudillo Ave.                                                           San Leandro        CA           94577
 Global Startup Ecosystem Inc.                                                   10 Hudson Yards, 48th Floor                                                  New York           NY           10001
 Global Wordsmiths LLC                                                           100 S Commons                                                                Pittsburgh         PA           15212
 Globalization Partners LLC                                                      175 Federal Street                               Floor 17                    Boston                          2110
 Globocoin 1 LLC                                                                 8 The Green Street                                                           Dover              DE           19901
 GLOW Beverages Inc.                                                             9233 Charles Smith Avenue                                                    Rancho Cucamonga   CA           91730
 Go Buddha LLC                                                                   2017 Waterbury Rd                                                            Lakewood           OH           44107
 Go Fish Marketplace Inc.                                                        1390 Market St                                                               San Francisco      CA           94102
 Go Opv LLC                                                                      7837 Villa D Este Way                                                        Delray Beach       FL           33446
 GoBQ Grills Inc.                                                                3742 N Janssen, STE 1                                                        Chicago            IL           60613
 Goffee Inc.                                                                     315 W 39th street,                                                           New York           NY           10018
 Goffee Inc.                                                                     315 W 39th street, suite 206                                                 New York           NY           10018
                                                                                                                                                                                 Klongton,
                                                                                 111 S.K.V Building - Soi Sansabai, Sukhumvit                                                    Klongtoey,
 Gogotech Company Limited                                                        36 Road                                                                      Bangkok            Bangkok      10110        Thailand
 Golden Coast Mead Inc.                                                          4089 Oceanside Blvd. Suite H                                                 Oceanside          CA           92056
 Golden Seed Inc. d/b/a Goldenseed                                               1300 Quail Street                                                            Newport Beach      CA           92660
 Golden Seed Inc. d/b/a Goldenseed                                               2894 South Coast Highway                                                     Laguna Beach       CA           92651
 GolfSuites 1 Inc                                                                2738 S Falkenburg Rd                                                         Riverview          FL           33578

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 GolfSuites 1 Inc.                                                               2738 Falkenburg Road                                                           Riverview          FL         33578
 GoMeat Services Inc.                                                            991 Route 22 West, Suite 200                                                   Bridgewater        NJ         08807
 Gong.io Inc                                                                     PO Box 102866                                                                  PASADENA           CA         91189
 Good Chroma LLC                                                                 3799 Logan Ferry Rd                                                            Pittsburgh         PA         15239
 Good Kitchen LLC                                                                9716 Rea Rd                                                                    Charlotte          NC         28277
 GoodHire                                                                        303 Twin Dolphin Drive                           Suite 600                     Redwood City       CA         94065
 Goodlander LLC                                                                  6614 Hamilton Ave                                                              Pittsburgh         PA         15206
 Goodwin Procter LLP                                                             100 Northern Avenue                                                            Boston             MA         02210
 Goodwood Brewing Company LLC                                                    636 East Main Street                                                           Louisville         KY         40202
 Gorge Training Facility LLC                                                     543 NE Brazee                                                                  Portland           OR         97212
                                                   Attn: Katherine Guevara Saxton
 Gorilla Labs LLC                                  and Steven Saxton              5137 Clareton Drive Suite 200                                                 Agoura Hills       CA         91301
 GoSun Inc.                                                                       5151 FISCHER AVE                                                              CINCINNATI         OH         45217-1157
 Gotham Ballers Inc.                                                              225 West 34th Street 9th floor                                                New York           NY         10122
 GoTYM Inc.                                                                       5625 Crescent Park W #116                                                     Playa Vista        CA         90094
 Gouda Inc                                                                        27 East 21st Street                             5th Floor                     New York           NY         10010
 Gowanus Industrial Participation LLC                                             261 madison Ave 9th floor                                                     New York           NY         10016
 Gracedbygrit Inc.                                                                153 N. Highway 101, Suite #102                                                Solana Beach       CA         92075
 Grady's Cold Brew Inc.                                                           819 Garrison Ave                                                              Bronx              NY         10474
 Grand Clay Investors LLC                                                         128-A Courthouse Square                                                       Oxford             MS         38655
 Grand Pavilion Tampa Florida LP                                                  211 East 43rd Street                                                          New York           NY         10017
 Grand Teton Vodka Inc.                                                           1775 N Hwy 33                                                                 Driggs             ID         83422
 GrapeStars International Inc.                                                    78 Southwest 7th Street                                                       Miami              FL         33130
 Graphic Armor Inc.                                                               1200 N Federal Hwy                                                            Boca Raton         FL         33432
 Great Place to Work                                                              P.O. Box 92084                                                                Las Vegas          NV         89193-2084
 Great Wash Park LLC                                                              452 5th Ave                                     FL 21                         New York           NY         10018-2780
 Great Wash Park LLC                                                              PO Box 511607                                                                 Los Angeles        CA         90051

 Great Wash Park LLC                               Attn: Andrea Blue             Tivoli Village                                   420 S. Rampart Blvd, Suite 240 Las Vegas         NV         89145
 GreaTFOods It's Vegan LLC                                                       1401 Village Way, Suite A                                                       Santa Ana         CA         92705
 Green Gear Cycling Inc. DBA Bike Friday                                         3364 West 11th Avenue                                                           Eugene            OR         97402
 Green Ghost Kitchens LLC                                                        804 Town Blvd                                                                   Atlanta           GA         30319
 Green Growth Real Estate LLC                                                    1441 L St NW                                                                    Washington        DC         20005
 Green Leaf Investment Fund                                                      340 W 42nd St.                                                                  New York          NY         10036
 Green Pivata                                                                    2 Blue Jay Circle                                                               Wakefield         MA         01880
 Green Sense Farms LLC                                                           6525 Daniel Burnham Drive,                                                      Portage           IN         46368
 Green Valley Adventures LLC                                                     422 North Main Street                                                           Manchester        CT         06042
 Greenbax (dba Zip)                                                              1 Sansome St., Ste 3000                                                         San Francisco     CA         94104
 Greenbax , Inc. dba Zip                                                         One Sansome St                                   Suite 3000                     San Francisco     CA         94104
 Greenberry's Coffee Roasters Inc.                                               1610 Quail Run                                                                  Charlottesville   VA         22911
 Greenfield Groves Inc.                                                          18575 Jamboree Rd                                                               Irvine            CA         92612
 Greenhouse Software Inc.                                                        18 West 18th Street                              9th Floor                      New York          NY         10011
 Greenway Pest Inc                                                               1228 11th Street                                                                Paso Robles       CA         93446
 Greenzone Pharms LLC                                                            3 Golf Center                                                                   Hoffman Estates   IL         60169
 Greer Road Investors LLC                                                        8014 Cumming Hwy.                                                               Canton            GA         30115
 Griffin Crowd Equity Fund LLC General Series                                    22632 Golden Springs Dr                                                         Diamond Bar       CA         91765
 Griffin Crowd Equity Fund LLC Sandalwood Series                                 22632 Golden Springs Dr                                                         Diamond Bar       CA         91765
 Griffith Hospitality LLC                                                        1111 S. Laflin Street                                                           Chicago           IL         60607
 GRIT BXNG AT Home Inc                                                           9 East 16th Street                                                              New York          NY         10003
 GroGuru Inc.                                                                    9705 Carroll Centre Road, Suite 101                                             San Diego         CA         92126
 GroundSwell SPC                                                                 1700 Main Street #203                                                           Washougal         WA         98671
 Grove Biomedical LLC                                                            282 Katonah Avenue                                                              Katonah           NY         10536
 Grove Security                                                                  6572 White Oak Road                                                             Lino Lakes        MN         55038
 Grow Space Orange Inc.                                                          221 East Main Street                                                            Milford           MA         01757
 Growing Talent LLC                                                              2440 Mariposa Street                                                            San Francisco     CA         94110
 Gth-Trade Group KFT                                                             1125 Budapest Istenhegyi Ut 101 D                                               Budapest                     1125         Hungary
 Guidance Enterprises LLC                                                        810 Dominican Dr                                                                Nashville         TN         37228

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 Guideline INC                                            3050 South Delaware Street                      #202                      San Mateo          CA           94403
 Guideline Retire (401k)                                  1412 Chapin Avenue                                                        Burlingame         CA           94010
 Gulf Coast Canna Meds Inc.                               695 Central Avenue                                                        St. Petersburg     FL           33701
 Gumroad Inc.                                             548 Market St #41309                                                      San Francisco      CA           94104-5401
 Gurock                                                   Gurock Software GmbH                            Südliche RingstraBe 175   Langen                          63225      Germany

 GuruMD Virtual Med Inc.                                  1515 South Capital Texas Highway, Suite 105                               Austin             TX           78746
 Gyomo Inc.                                               2214 Rock Hill Rd                                                         Herdon             VA           20170
 Gypsee Inc.                                              275 E Hillcrest Drive                                                     Thousand Oaks      CA           91360
 H & G Science Inc                                        1330 Goodrich Ave                                                         Saint Paul         MN           55105
 H Influencer Collective INC                              100 S 4th Street                                                          Brooklyn           NY           11249
 H. Mulligan Bespoke Libations Co.                        1013 Centre Rd. Suite 403-A                                               Wilmington         DE           19805
 Hacking Labs                                             46 Digital Dr., STE. 2                                                    Novato             CA           94949
 Hadaway Road Partners LLC                                8014 Cumming Highway                                                      Canton             GA           30115
 Hahn Loeser & Parks LLP                                  200 Public Square                               Suite 2800                Cleveland          OH           44114
 Halo Cures Inc.                                          1611 Golden Gate Ave                                                      San Francisco      CA           94115
 Hammitt Inc                                              2101 Pacific Coast Hwy                                                    Hermosa Beach      CA           90254
 Hangley Aronchick Segal Pudlin & Schiller                One Logan Square                                27th Floor                Philadelphia       PA           19103-6933
 Hangwith Fund 1 a Series of Alpha Funders
 Investments LLC                                          4212 McCamey Dr                                                           Matthews           NC           28104
 Happy Gifts Inc.                                         833 South Spring Street                                                   Los Angeles        CA           90014
 Happy Tummy Asia LLC                                     108 West 13th Street                                                      Wilmington         DE           19801
 HARA Flow Inc.                                           343 Soquel Avenue, #190                                                   Santa Cruz         CA           95062
 Hardscoop Inc.                                           2030 Wambaw Creek Rd. #101 & 102                                          Charleston         SC           29492
 Harmony Global Foods LLC                                 115 Watchung Avenue                                                       Montclair          NJ           07043-0704
 Harvest Invest 003                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 004                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 005                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 006                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 007                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 008                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 010                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 011                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 012                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 013                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 014                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 015                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 016                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 017                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 018                                       5049 Edwards Ranch Rd, Suite 400                                          Fort Worth         TX           76109
 Harvest Invest 019                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 020                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 021                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 022                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 023                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 024                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 025                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 026                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 027                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 028                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 029                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 030                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 031                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 032                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 034                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 035                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109
 Harvest Invest 036                                       5049 Edwards Ranch Rd                                                     Fort Worth         TX           76109

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 Harvest Invest 037                                                     5049 Edwards Ranch Rd                                                   Fort Worth          TX         76109
 Harvest Invest 038                                                     5049 Edwards Ranch Rd                                                   Fort Worth          TX         76109
 Harvest Invest 039                                                     5049 Edwards Ranch Rd                                                   Fort Worth          TX         76109
 Harvest Invest 040                                                     5049 Edwards Ranch Rd                                                   Fort Worth          TX         76109
 Harvest Invest 041                                                     5049 Edwards Ranch Rd                                                   Fort Worth          TX         76109
 Harvest Invest 042                                                     5049 Edwards Ranch Rd                                                   Fort Worth          TX         76109
 Harvest Invest 043                                                     5049 Edwards Ranch Rd                                                   Fort Worth          TX         76109
 Harvest Invest 045                                                     5049 Edwards Ranch Rd                                                   Fort Worth          TX         76109
 Harvest Returns Inc                                                    5049 Edwards Ranch Rd                                                   Fort Worth          TX         76109
 Harvie Farms Distribution LLC                                          2515 BANKSVILLE RD                                                      PITTSBURGH          PA         15216-2809
 Hatchd Inc.                                                            3767 Clarington Ave.                                                    Los Angeles         CA         90034
 Have Your Cake Kitchen LLC                                             291 Union Street                                                        Brooklyn            NY         11231
 Hawaii Division of Business Registration                               PO Box 40100                                                            Honolulu            HI         98610
 Hawaii Division of Financial Institutions                              335 Merchant Street                            Room 221                 Honolulu            HI         96813
 Hawaiian Bros Inc.                                                     720 Main Street                                                         Kansas City         MO         64105
 Hawaiian Ola Brewing Corporation                                       74-5598 Luhia St                                                        Kailua Kona         HI         96740
 Hawk Networks Inc.                                                     28 South Park Street                                                    San Francisco       CA         94107
 Hayvn Global                                  Attn: George Malanitis   Seestrasse 93                                                           Zurich              ZH         8002       Switzerland
 Hayvn Global                                  Attn: George Melanitis   Seestrasse 93                                                           Zurich              ZH         8002       CH
 Hazn Inc                                                               2510 Deleon Dr                                                          Deland              FL         32724
 HEAL Diabetes Clinics Inc.                                             15332 Antioch Street, #438                                              Pacific Palisades   CA         90272
 Health Cost IQ LLC                                                     1820 East Ray Road                                                      Chandler            AZ         85225
 Health Hero Florida Fund, LLC                                          6601 Memorial Highway Suite 310                                         Tampa               FL         33615
 Healthcare Business Resources Inc.                                     718 Thompson Lane, Suite 108-273                                        Nashville           TN         37204
 Healthereum LLC                                                        106 E Lincolnway                                                        Cheyenne            WY         82001
 Healthost Inc                                                          475 N Federal Highway                                                   Fort Lauderdale     FL         33301
 Healthy Hip Hop Inc.                                                   9119 East 89th Street                                                   Kansas City         MO         64138
 HeartBeam Inc.                                                         2118 Walsh Ave                                                          Santa Clara         CA         95050
 Hearth & Home Specialties, InC                                         3555 W Quail Ave                               Suite A                  Las Vegas           NV         89118
 Heavenly Chicken & Waffles LLC                                         23720 Southfield Rd                                                     Southfield          MI         48075
 Helena Oil & Gas P.L.C.                                                59 strait street                                                        valetta                        1434       Malta
 Helix Electric                                                         3078 E Sunset Rd.                              Suite 9                  Las Vegas           NV         89120
 Helix Fitness Inc.                                                     572 Freeport St., Unit A                                                Boston              MA         02122
 Hello! Florida Destination Management, Inc.                            3840 Vineland Road                             Suite 200                Orlando             FL         32811
 HelloAva INC                                                           110 Wall Street                                                         New York            NY         10005
 HelloBaby Inc.                                                         855 Brannan Street                                                      San Francisco       CA         94103
 Helpp Inc                                                              2620 Woodberry Drive                                                    Glenwood Spgs       CO         81601
 Hemp CR Inc                                                            500 North Rainbow                                                       Las Vegas           NV         89107
 Hemp Real Estate Investments Inc                                       400 West Peachtree street NW                                            Atlanta             GA         30308
 Hemp Voice Inc.                                                        6611 N Jefferson St                                                     Spokane             WA         99208
 HempAmericana Inc.                                                     78 Reade St                                                             New York            NY         10007
 HempTech Corp.                                                         10901 Roosevelt blvd                                                    Saint Petersburg    FL         33716
 Hemster Inc.                                                           845 Market Street                                                       San Francisco       CA         94103
 Hen Fruit LLC                                                          501 Grant St.                                                           Pittsburgh          PA         15219
 Here To Serve Holding Corp.                                            800 Westchester Ave                                                     Rye Brook           NY         10573
 Herjavec Group                                                         13333 Holmes Road                                                       Kansas City         MO         64145
 Herjavec Group Corp                                                    1177 6th Avenue                                5th Floor                New York            NY         10036
 Hermesus Investment Holdings Inc.                                      7302 Yellowstone Rd                                                     Cheyenne            WY         82009
 Hermesus Investments Inc.                                              1155 Camino Del Mar, Suite 133                                          Del Mar             CA         92014
 HEVO Inc.                                                              147 Prince Street                                                       Brooklyn            NY         11201
 Hexanika Inc.                                                          419 Main St Suite 200 North                                             Little Rock         AR         72114
 Hey Mama Wines Inc.                                                    332 Calle Escada                                                        Santa Rosa Beach    FL         32459
 Hideawayco LLC                                                         1245 Murdoch Rd                                                         Pittsburgh          PA         15217
 Hidrent Inc.                                                           3908 Estelleine Drive                                                   Celina              TX         75009
 Highlands Creek Development LLC                                        750 Hammond Drive                                                       Atlanta             GA         30328
 Highlands View Development LLC                                         750 Hammond Drive                                                       Atlanta             GA         30328
 HighRes Labs Inc.                                                      18517 Feliz Dr.                                                         Edmond              OK         73012

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                         Name                            Attention                          Address 1                               Address 2                  City      State       Zip        Country
 Hightimes Holding Corp.                                                  2110 Narcissus Ct                                                       Venice              CA         90291
 Hillhouse Coffee & Lounge LLC                                            7756 E Marquise Dr                                                      Tucson              AZ         85715
 Hilltop Coffee LLC                                                       1216 Eleanor St.                                                        Pittsburgh          PA         15203
 HireClub.com Inc.                                                        385 29th Street                                                         San Francisco       CA         94131
 Hired, Inc.                                                              Deerwood Park Boulevard                        Suite 200-400            Jacksonville        FL         32256
 HireJoe Inc.                                                             2525 Arapahoe Ave.                                                      Boulder             CO         80302
 Hiscox Insurance Company                     Attn: Kevin Kerridge        104 South Michigan Avenue,Suite 600                                     Chicago             IL         60603
 Histogen Inc                                                             10655 Sorrento Valley Road                                              San Diego           CA         92121
 Hitch Hotel Inc.                                                         24852 Avenue Rockefeller                                                Santa Clarita       CA         91355
 Hive Companies Inc.                                                      6310 Tompkins Way                                                       Culver City         CA         90232
 Holbert Media Group                                                      3725 Avondale Road                                                      Woodmere Village    OH         44122
 Home Bistro Inc.                                                         4014 Chase Avenue                                                       Miami Beach         FL         33140
 Home Definition, Inc.                                                    8025 S Cinnamon Ridge Place                                             Sioux Falls         SD         57108
 Homium, Inc.                                 Attn: David Jette           15260 Ventura Blvd, Ste 1040                                            Sherman Oaks        CA         91403
 Honeybadger                                                              11410 Northeast 124th Street                   #246                     Kirkland            WA         98034
 Honeybee Burger Inc.                                                     11150 Santa Monica Blvd, Ste 600                                        Los Angeles         CA         90025
 Honeydrop Inc.                                                           311 11TH AVE                                   APT 2007                 NEW YORK            NY         10001-1667
 Honeyfund.com Inc.                                                       2519 N McMullen Booth Rd. STE 510-260                                   Clearwater          FL         33761
 Horror Equity Fund Inc.                                                  208 S. Beverly Drive, Ste 204                                           Beverly Hills       CA         90212
 House of Blues Restaurant Corp                                           3950 South Las Vegas Boulevard                                          Las Vegas           NV         89119
 House of Bowr LLC                                                        1309 Coffeen Avenue                                                     Sheridan            WY         82801
 Housing Us Holdings II Inc.                                              707 Emerson Ave                                                         Elizabeth           NJ         07208
 HPEC Inc.                                                                67 Hampton Road                                                         Southampton         NY         11968
 HR Direct                                                                3300 Gateway Drive                                                      Pompano Beach       FL         33069-9390
 HT Naturals Inc.                                                         6400 SW Rosewood Street                                                 Lake Oswego         OR         97035
 HTT Holdings LLC                                                         11844 Jefferson Blvd                                                    Culver City         CA         90230
 Huddle Works Inc                                                         7930 SW 54th Ct                                                         Miami               FL         33143
 Hudson Nest LLC                                                          2200 victory ave #902                                                   Dallas              TX         75219
 Huge Legal Technology Company Inc.                                       550 West B Street                                                       San Diego           CA         92101
 Hull 2019 Irrevocable Trust Custody          Attn: Richard Sidney Hull   383 County Farm Rd                                                      Jefferson           GA         30549
 Humblemaker LLC                                                          350 Main St, Unit A                                                     Seal Beach          CA         90740
 Hundy Inc.                                                               111 NE 1st St, Floor 7                                                  Miami               FL         33132
 Hundy Inc.                                                               45 SW 9th Street, Suite 2810                                            Miami               FL         33130
 Hundy Inc.                                                               78 SW 7th Street, Suite 500                                             Miami               FL         33130
 HuntPost.com Inc.                                                        3465 S Gaylord Ct                                                       Englewood           CO         80113
 HWA International Inc                                                    8363 Wolf Lake Drive                                                    Memphis             TN         38133
 Hydro Hash Inc.                                                          320 Gold Ave, SW, Ste 620, PMB 1810                                     Albuquerque         NM         87102
 Hydro Wind Energy Inc.                                                   355 Bryant Street                                                       San Francisco       CA         94107
 HyGen Industries Inc.                                                    11693 San Vicente Blvd. Suite 445                                       Los Angeles         CA         90049
 HYLETE Inc.                                                              560 Stevens Ave                                                         Solana Beach        CA         92075
 Hylete Inc.                                                              560 Stevens Avenue                                                      Solana Beach        CA         92075
 HYLETE Incorporated                                                      560 Stevens Ave                                                         Solana Beach        CA         92075
 Hylio Inc.                                                               1020 Agnes Road                                                         Richmond            TX         77469
 HyperSciences Inc                                                        2311 E Main Ave, Suite 200                                              Spokane             WA         99202
 Hyper-Sub Platform Technologies Inc.                                     4661 West SR 238                                                        Lake Butler         FL         32054
 IBTY LLC d/b/a Little Starship Productions                               1155 E 35th Street                                                      Brooklyn            NY         11210
 Icarus Blockchain Group Inc.                                             Roelstraat 22A                                                          Paramaribo                     0          Suriname
 ICC Thresher Fund LP                                                     2885 Electronics Drive                                                  Melbourne           FL         32935
 Ice Safety Solutions                                                     47703 Fremont Blvd                                                      Fremont             CA         94538
 ICFB Productions LLC                                                     353 W. 48th St 4FL #PMB 450                                             New York            NY         10036
 Ichor Inc.                                                               7292 Culebra Rio Circle                                                 Idaho Falls         ID         83406
 Iconic Growth Partners, LLC                  Attn: Paul Hsu              1568 N Milwaukee Ave, Suite 188                                         Chicago             IL         60647
 iConsumer Corp.                                                          19821 NW 2nd Avenue, Suite 351                                          Miami Gardens       FL         33169
 iConsumer Corp.                                                          73 Greentree Dr.                                                        Dover               DE         19904
 iConsumer Corp.                                                          73 Greentree Drive                                                      Dover               DE         19904
 iCross Fund 3                                                            339 5th Ave                                                             New York            NY         10016
 iCross Fund 3 LLC                                                        339 5th Ave                                                             New York            NY         10016

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 iCross Fund 3 LLC                                                               339 5th Ave, Suite 501                                                  New York           NY           10016
 iCross Fund 3, LLC                                                              339 5th Ave, Suite 501                                                  New York           NY           10016
 ID Carry Fingerprinting                                                         780 E 4200 South                                                        Salt Lake City     UT           84107
                                                      Consumer Finance
 Idaho Department of Finance                          Bureau/Securities Bureau   PO Box 83720                                                            Boise              ID           83720-0031
 Ideal Conceal Inc                                                               4300 School Boulevard                                                   Monticello         MN           55362
 IdentifySensors Biologics Corp                                                  20600 Chagrin Blvd.                                                     Shaker Heights     OH           44122
 Identity Mind Global                                                            645 High Street                                                         Palo Alto          CA           94301
 Ideum Corp                                                                      15303 Ventura Blvd.                                                     Sherman Oaks       CA           91403
 idX Corporation, Inc.                                                           2801 E Beltline Ave NE                                                  Grand Rapids       MI           49525
 IFP-Deja Mi B2 Syndicate                                                        4803 Black Mountain Path                                                Raleigh            NC           27612
 IGF Oncology LLC                                                                7460 Pinehurst Road                                                     St. Paul           MN           55115
 II Transatlantic Inc.                                                           7310 MIRAMAR RD                                  STE 102                SAN DIEGO          CA           92126-4225
 IIntoo Albuquerque Monterra Vukota L.P.                                         800 Third Ave.                                                          New York           NY           10022

 IIntoo Alphawave 6 La Estella Phoenix Arizona L.P.                              800 Third Avenue                                                        New York           NY           10022
 IIntoo Alphawave 6 La Estella Phoenix Arizona L.P.
 Reg S                                                                           800 Third Avenue                                                        New York           NY           10022
 IIntoo Arden San Angelo Rreaf LP                                                800 Third Ave.                                                          New York           NY           10022
 IIntoo Austin Nitya LP                                                          800 Third Ave.                                                          New York           NY           10022
 IIntoo Austin Nitya LP Reg S                                                    800 Third Ave.                                                          New York           NY           10022
 iintoo Brentwood Manor Lakewood Colorado L.P                                    211 East 43rd Street                                                    New York           NY           10017
 iintoo Campus Edge Georgia Blue Campus LP                                       800 Third Ave.                                                          New York           NY           10022
 IIntoo CIty VIew Omaha Nebraska LP                                              800 Third Avenue                                                        New York           NY           10022
 IIntoo Courtland Bronx New York L.P.                                            211 East 43rd Street                                                    New York           NY           10017
 IIntoo Eden Pointe Houston Texas LP                                             211 East 43rd Street                                                    New york           NY           10017
 IIntoo El Camino Nitya LP                                                       800 Third Ave.                                                          New York           NY           10022
 IIntoo Exchange US 1 L.P                                                        211 East 43rd Street                                                    New York           NY           10017
 IIntoo Exchange US 4 LP                                                         211 East 43rd Street                                                    New York           NY           10017
 IIntoo Georgia Blue Campus L.P                                                  800 Third Ave.                                                          New York           NY           10022
 IIntoo Hidden Chalet Salt Lake CIty Utah L.P                                    211 E 43rd St                                                           New York           NY           10017
 IIntoo Hyde Park Austin Texas L.P.                                              211 East 43rd Street                                                    New York           NY           10017
 iintoo Hyde Park Village Detroit Michigan L.P                                   800 3rd avenue                                                          New York           NY           10022
 iintoo Jericho Queens New York L.P                                              211 East 43rd Street                                                    New York           NY           10017
 IIntoo Kerrville Rreaf LP                                                       800 Third Ave.                                                          New Yokr           NY           10022
 IIntoo Las Vegas Alphawave L.P                                                  800 Third Ave.                                                          New York           NY           10022
 iintoo Lexington Avenue Brooklyn New York L.P.                                  211 East 43rd Street                                                    New York           NY           10017
 IIntoo Manhattan Ave. Bruman Realty L.P.                                        800 Third Ave.                                                          new york           NY           10022
 iintoo Maplewood Louisville Kentucky LP                                         800 Third Avenue                                                        New York           NY           10022
 IIntoo New Jersey One Wall LP                                                   800 Third Ave.                                                          New York           NY           10022
 IIntoo New Mexico Vukota LP                                                     800 Third Ave.                                                          New York           NY           10022
 iintoo Northwinds St Louis TEH LP                                               800 Third Ave.                                                          New York           NY           07670
 iintoo Nostrand Hello Living                                                    800 Third Ave. Suite 3703                                               New York           NY           10022
 iintoo Nostrand Hello Living Reg S                                              800 Third Ave.                                                          New York           NY           10022
 IIntoo Omaha Vukota LP                                                          800 Third Ave.                                                          New York           NY           10022
 IINTOO OMAHA VUKOTA LP RegS                                                     800 Third Ave.                                                          New York           NY           10022
 IIntoo Opportunity Fund L.P.                                                    211 East 43rd Street                                                    New York           NY           10017
 IIntoo Parham Pointe Little Rock Arkansas L.P.                                  800 Third Avenue                                                        New York           NY           10022
 IIntoo Park Avenue Little Rock Arkansas L.P                                     451 W 260st                                                             New York           NY           10471
 iintoo Park Station Alphawave LP                                                800 Third Ave.                                                          New York           NY           10022
 iintoo Park Station Alphawave REG S                                             800 Third Ave.                                                          New Yokr           NY           10022
 iintoo Park Sunderland Birmingham Alabama LP                                    800 3rd avenue                                                          New York           NC           10022
 IIntoo Paterson One Wall L.P                                                    800 Third Ave.                                                          New York           NY           10022
 iintoo Phoenix Debt 1 L.P                                                       211 East 43rd Street                                                    New York           NY           10017
 iintoo Portfolio Rapid City South Dakota L.P.                                   211 East 43rd Street                                                    New York           NY           10017
 iintoo Portfolio Sioux Falls South Dakota L.P.                                  800 Third Avenue                                                        New York           NY           10022
 IIntoo Powell Street Brooklyn New York LP                                       800 Third Avenue                                                        New York           NY           10022

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 IIntoo Prospect Georgia Blue Campus L.P                                       800 Third Ave.                                                             New York             NY           10022
 IINTOO PROSPECT GEORGIA BLUE CAMPUS L.P
 Reg S                                                                         800 Third Ave.                                                             New York             NY           10022
 IIntoo Prospect II Georgia Blue Campus LP                                     800 3 ave                                                                  Tel Aviv             NY           10022
 IIntoo Prospect II Georgia Blue Campus LP                                     800 Third Ave.                                                             New York             NY           10022
 iintoo Reserve Austin Nitya L.P                                               800 3 ave                                                                  New York             NY           10022
 iintoo Riverdale Little Rock Arkansas L.P                                     211 East 43rd Street                                                       New York             NY           10017
 iintoo Ruston Annex LP                                                        800 Third Ave.                                                             New York             NY           10022
 iintoo Ruston Annex LP Reg S                                                  800 Third Ave.                                                             New York             NY           10022
 IIntoo Salt Lake Alfawave LP                                                  800 Third ave                                                              new york             NY           10022
 IIntoo Shadow Creek Houston Nitya L.P. Reg S                                  800 Third Ave.                                                             New York             NY           10022
 IIntoo Shadow Creek Houston Nitya LP                                          800 Third Ave.                                                             New York             NY           10022
 IIntoo South Portfolio Chicago Il LP                                          800 Third Avenue                                                           New York             NY           10022
 IIntoo Summit Ridge Charlotte North Carolina LP                               800 Third Avenue                                                           New York             NY           10022
 Iintoo Tallahassee Wendover L.P                                               260 Madison Ave                                                            New York,            NY           10016
 IIntoo Texas Vukota LP                                                        800 Third Ave.                                                             New York             NY           10022
 iintoo USNB Galveston TX LP                                                   211 East 43rd Street                                                       New York             NY           10017
 IIntoo VIllagio Di Murano Las Vegas Nevada L.P.                               211 East 43rd Street                                                       New York             NY           10017
 IIntoo Westfal Portland Cooper Street LP                                      800 3 ave                                                                  New York             NY           10022
 iintoo Woodstone Austin Nitya LP                                              800 3 ave                                                                  New York             NY           10022
 IIntoo Wyngate Burnsville Minnesota L.P                                       211 E 43rd St                                                              New York             NY           10017
 Ijuze Corporation                                                             2516 waukegin Rd                                                           Glenview             IL           60025
 IL Lending LLC                                                                222 Broadway, 19th Flr                                                     New York             NY           10038
 Illinois Department of Financial and Professional
 Regulation                                        Division of Banking         555 W Monroe Street                              Suite 500                 Chicago              IL         60661
 Illinois Department of Revenue                                                Willard Ice Building, 101 W Jefferson St                                   Springfield          IL         62629
 Illinois Securities Department                                                69 West Washington Street                        Suite 1220                Chicago              IL         60602
 Illuminate Resources Group LLC                                                750 Hammond Drive                                                          Atlanta              GA         30328
                                                                                                                                                                               Maharashtr
 Illumnus Inc                                                                  Metro Jazz, Baner                                                          Pune                 a          411045      India
 Illusio Inc.                                                                  222 Via Malaga                                                             San Clemente         CA         92673
 Image Protect Inc.                                                            1401 N. El Camino Real                                                     San Clemente         CA         92672
 Imperial ROI I, LP                                                            305 Spring Creek Vlg STE 448                                               Dallas               TX         75248
 Improper Goods Inc.                                                           3961 N Williams Ave Suite 100                                              Portland             OR         97227
 In Force Technology Inc.                                                      230 Broadway, Suite 201                                                    Lynnfield            MA         01940
 Inahsi LLC                                                                    30W110 Butterfield Rd                                                      Warrenville          IL         60555
 Indeco LLC                                                                    11911 Freedom Drive                                                        Reston               VA         20190
 Indeco Union                                                                  11911 Freedom Dr                                                           Reston               VA         20190
 Indemnis Inc.                                                                 6250 Tuttle Place                                                          Anchorage            AK         99516
 Indiana Department of Financial Institutions       Consumer Credit Division   30 South Meridian Street                         Suite 300                 Indianapolis         IN         46204
 Indiana Secretary of State Securities Division                                302 W Washington St                              Room E-111                Indianapolis         IN         46204
 Indigo Hall-Augusta Gp LLC                                                    1266 W Paces Ferry 142                                                     Atlanta              GA         30327
 Indy Health Holdings LLC                                                      273 A W Schrock Rd                                                         Westerville          OH         43081
 Infinite Composites Inc                                                       10738 East 55th Place                                                      Tulsa                OK         74146
 Infinity Heating and Cooling                                                  9771 Logrondo Street                                                       Las Vegas            NV         89178
 InfraShares Cityzenith Capital Fund                                           555 4th Street                                                             San Francisco        CA         94107
 InfraShares Fund 1 LLC                                                        555 4th Street                                                             San Francisco        CA         94107
 InfraShares Gateway Opportunity Zone Fund LLC                                 555 4th Street                                                             San Francisco        CA         94107
 InfraShares Vires Capital Fund 1                                              555 4th Street                                                             San Francisco        CA         94107
 Infuzed Brands Inc.                                                           1000 - 409 Granville Street                                                Vancouver            Vancouver V6Z 1L5      Canada
 InGen Dynamics Inc                                                            2225 East Bayshore Road                                                    Palo Alto            CA         94303
 Ingenious Inc.                                                                460 West 42nd Street, Apt. 55J                                             New York             NY         10036
 iNitrile Inc.                                                                 6115 Skyline Dr. Suite C                                                   Houston              TX         77057
 InnaMed Inc.                                                                  3675 Market Street                                                         Philadelphia         PA         19104
 Inner 10 Capital 53, LLC                                                      501 N Ih 35                                                                Austin               TX         78702
 Inner 10 Capital Fund 51, LLC                                                 4127 Massey Way                                                            Round Rock           TX         78681
 Inner City Opportunity Zone LLC                                               800 VIllage Square Crossing                                                Palm Beach Gardens   FL         33410

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 Innovational Funding LLC Project #16                               262 W 38th St Suite 305                                      New York             NY           10018
 Innovational Funding LLC Project #17                               262 W 38th St Suite 305                                      New York             NY           10018
 Innovational Funding LLC Project #62                               262 W 38th St Suite 305                                      New York             NY           10018
 Innovational Funding LLC Project #63                               262 W 38th St Suite 305                                      New York             NY           10018
 Innovational Funding LLC Project #64                               262 W 38th St Suite 305                                      New York             NY           10018
 Innovational Funding LLC Project #65                               262 W 38th St Suite 305                                      New York             NY           10018
 Innovational Funding LLC Project #66                               262 W 38th Street, #305, NY, NY 10016                        New York             NY           10018
 Innovational Funding LLC Project #67                               262 W 38th St, #305, New York, NY 10018                      New York             NY           10018
 Innovational Funding LLC Project #68                               262 W 38th Street, #305, NY, NY 10018                        New York             NY           10018
                                                                    262 W. 38th Street Suite 305New York, NY
 Innovational Funding LLC Project #69                               10018                                                        New York             NY           10018
 Innovational Funding LLC Project #70                               262 W. 38th Street Suite 305                                 New York City        NY           10018
 Innovational Funding LLC Project #71                               262 W. 38th Street Suite 305                                 New York             NY           10018
 Innovational Funding LLC Project #72                               262 W. 38th St., New York, NY 10018                          New York City        NY           10018
                                                                    262 W. 38th Street, Suite 305, New York, NY
 Innovational Funding LLC Project #73                               10018                                                        New York City        NY           10018
 Innovational Funding LLC Project #74                               262 W. 38th Street, Suite 305                                New York             NY           10018
 Innovational Funding LLC Project #76                               262 W. 38th Street, Suite 305                                New York City        NY           10018
 Innovational Funding LLC Project #77                               262 W 38th St Suite 305                                      New York City        NY           10018
 Innovational Funding LLC Project #78                               Ny                                                           New York City        NY           10005
 Innovational Funding LLC Project #79                               Ny                                                           New York City        NY           10018
 Innovational Funding LLC Project #80                               Ny                                                           New York City        NY           10018
 Innovational Funding LLC Project 75                                110 Wall Street, Suite 6042                                  New York             NY           10005
                                                                    262 W 38th St, Suite 305
 Innovational Funding Park Ave Holdings LLC                         New York, NY 10018                                           New York             NY           10018
                                                                    262 W 38th St Suite 305
 Innovational Funding Park Ave Lender LLC                           New York, NY 10018                                           New York             NY           10018
 Innovational Funding, LLC                                          262 W 38th St, #305                                          New York             NY           10018
 Innovational Funding, LLC Project #46                              262 W 38th Street, #305, NY, NY 10016                        Jersey City          NJ           07310
 Innovational Funding, LLC Project #47                              262 W 38th Street, #305, NY, NY 10016                        Jersey City          NJ           07310
 Innovational Funding, LLC Project #48                              262 W 38th Street, #305, NY, NY 10016                        Jersey City          NJ           07310
 Innovational Funding, LLC Project #49                              262 W 38th Street, #305                                      New York             NY           10018
                                                                    55 River Dr South
 Innovational Funding, LLC Project #50                              Apt 1708                                                     Jersey City          NJ           07310
 Innovational Funding, LLC Project #51                              262 W 38th St, #305, New York, NY 10018                      New York             NY           10018
 Innovational Funding, LLC Project #52                              262 W 38th St, #305, New York, NY 10018.                     New York             NY           10018
 Innovational Funding, LLC Project #53                              262 W 38th St, #305, New York, NY 10018                      New York             NY           07310
 Innovational Funding, LLC Project #54                              262 W 38th St, #305                                          New York             NY           10018
 Innovational Funding, LLC Project #55                              262 W 38th St Suite 305                                      New York             NY           10018
 Innovational Funding, LLC Project #56                              262 W 38th St Suite 305                                      New York             NY           10018
 Innovational Funding, LLC Project #57                              262 W 38th St Suite 305                                      New York             NY           10018
                                                                    262 West 38th Street
                                                                    Suite 305
 Innovational Funding, LLC Project #58                              New York, NY 10018                                           New York             NY           10018
                                                                    262 West 38th Street
                                                                    Suite 305
 Innovational Funding, LLC Project #59                              New York, NY 10018                                           New York             NY           10018
                                                                    262 West 38th Street
                                                                    Suite 305
 Innovational Funding, LLC Project #60                              New York, NY 10018                                           New York             NY           10018
 Innovational Funding, LLC Project #61                              262 W 38th St Suite 305                                      New York             NY           10018
 Innovative Eyewear Inc.                                            66 W Flagler St. Suite 900                                   Miami                FL           33130
 Innovative Eyewear Inc.                                            8101 Biscayne Boulevard, Suite 705                           Miami                FL           33138
 Innovative Trust Bank Holding Inc            Attn: Nathan Pierce   1413 Ponce De Leon Ave                                       San Juan                          00909     Puerto Rico
 Innovative Trust Bank Holding Inc            Attn: Nathan Pierce   1413 Ponce De Leon Ave                                       San Juan 00909                              Puerto Rico
 Innovest Systems LLC                                               4 Times Square                                               New York             NY           10036
 Inoui LLC                                                          19808 Coachmans Trace                                        Cornelius            NC           28031

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                           Name                                 Attention                             Address 1                                 Address 2                  City       State       Zip          Country
 Insense Ads Inc                                                                    120 East 23rd Street                                                     New York              NY         10010
 Inside.Com Inc.                                                                    9415 Culver Boulevard                                                    Culver City           CA         90232
 Insight                                                                            2701 E Insight Way                                                       Chandler              AZ         85286
 Insignia Signs, LLC                                                                7310 Smoke Ranch Road Suite T                                            Las Vegas             NV         89128
 InSitu Biologics Inc                                                               713 E. Minnehaha Drive                                                   St. Paul              MN         55106
 InSitu Biologics Inc.                                                              2155 Woodlane Drive                                                      Woodbury              MN         55125
 Inspired by Spirits LLC                                                            5417 Hardt Rd                                                            Gibsonia              PA         15044
 InstaLend 2016 LLC                                                                 222 Broadway                                                             New York              NY         10038
 Instancy inc.                                                                      5615 Grandhaven Dr.                                                      Durham                NC         27713
 Intact Insurance                                    Attn: Gary Tannenbaum          605 Highway 169 North, Suite 800                                         Plymouth              MN         55441
 Intact Services USA                                                                PO Box 371871                                                            Pittsburgh            PA         15250-7871
 Intecrowd LLC                                                                      8927 Hypoluxo Road                                                       Lake Worth            FL         33467
 Integro Bank                                                                       16215 N 28th Ave                                                         Phoenix               AZ         85053
                                                                                                                                                                                                           British Virgin
 Interdata Network Inc                                                              OMC Chambers, Wickhams Cay 1                                             Road Town             Tortola                 Islands
 Interdependence                                                                    320 W Ohio St                                                            Chicago               IL         60654
 Internal Revenue Service                                                           Box 7704                                                                 San Francisco         CA         94120
 International Fingerprint, Inc                                                     6999 Dolan Drive                                                         Glouster              OH         45732
 International Institute for Yoga and Ayurveda LLC                                  2094 185th Street                                                        Fairfield             IA         52556
 Intrado Digital Media, LLC                                                         11808 Miracle Hills Drive                                                Omaha                 NE         68154
 IntriEnergy Inc.                                                                   4850 Tamiami Trail N Suite 301                                           Naples                FL         34103
 Intution Exchange                                   Attn: Josh Samuel              1963 White Mounatin CT                                                   Antioch               CA         94531
 InventoryMeAPP Inc                                                                 2943 Quantum Lakes Dr                                                    Boynton Beach         FL         33426
 Invest Green LLC                                                                   16192 Coastal Highway                                                    Lewes                 DE         19958
 Investco Epiic 1 LLC                                                               800 3 ave                                                                New York              NY         10022
 investFeed Inc.                                                                    111 Nelson St. #2                                                        Brooklyn              NY         11231
 Iowa Department of Revenue                                                         1305 E Walnut St, 4th Floor                                              Des Moines            IA         50319
 Iowa Division of Banking                                                           200 E Grand Avenue                              Suite 300                Des Moines            IA         50309-1827
 Iowa Insurance Division                                                            1963 Bell Avenue                                Suite 100                Des Moines            IA         50315
 iPill Inc                                                                          17532 Marengo Dr                                                         Rowland Heights       CA         91748
 Iris Social Stock App Inc.                                                         2660 HIGHLAND AVE                               APT 5                    SANTA MONICA          CA         90405-4459
 Iron Born LLC                                                                      104 Eade Ave                                                             Glenshaw              PA         15116
 Iron Mountain                                                                      PO Box 601002                                                            Pasadena              CA         91189-1002
 Irrigreen Inc                                                                      5250 W 73rd St                                                           Edina                 MN         55439
 Irvine America Consolidation Fund I LP                                             5151 California Ave                                                      Irvine                CA         92616
 Israeli Prepaid LLC                                                                902 SW 6th Ave                                                           Gainesville           FL         32601
 Issuance, Inc                                                                      21031 Ventura Boulevard                         1105                     Los Angeles           CA         91364
 ITFT Inc.                                                                          18400 Dembridge Drive                                                    Davidson              NC         28036
 iThrive PH Inc.                                                                    5415 W Cedar Lane                                                        Bethesda              MD         20814
 ITM Inc.                                                                           1120 6th Avenue                                                          New York              NY         10036
 Itsbyu Inc.                                                                        204 W. 140th Street                                                      New York              NY         10030
 ITW LLC                                             Attn: Johan Santos             7500 NW 25th Street                                                      Miami                 FL         33122
 ITW LLC                                             c/o IT Pay US                  Attn: Johan Santos
                                                     Attn: Luis Guillermo Degwitz
 IU Bank                                             Brillembourg                   255 Ponce de Leon Ave.                                                   MCS Plaza, San Juan   PR                      Puerto Rico
                                                     Attn: Luis Guillermo Degwitz
 IUBank                                              Brillembourg                   255 Ponce de Leon Ave.                                                   MCS Plaza             San Juan                Puerto Rico
 IUNO Corp.                                                                         5920 SW 86th Street                                                      South Miami           FL         33143
                                                     c/o Infinity Ventures Crypto
 IV Crypto Fund                                      Fund, L.P., HKG                Attn: JT Law

 IV Crypto Fund dba Infinity Ventures Crypto Fund,                                  International Corporation Services Ltd, 103
 L.P.                                                Attn: JT Law                   South Church Street Harbour Place, 2nd Floor                             George Town                      KY1-1106     Cayman Islands

 IV Crypto Fund dba Infinity Ventures Crypto Fund,                                  International Corporation Services Ltd, 103                                                    Grand
 L.P.                                                Attn: JT Law                   South Church Street Harbour Place, 2nd Floor                             George Town           Cayman     KY1-1106     Cayman Islands
 Ivy Row at South Fund LP                                                           100 Applegate Court                                                      Pelham                AL         35124

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 IVY ROW at SOUTHERN MISS FUND LP                                             100 Applegate Court                                                              Pelham               AL           35124
 Ivy Row at Troy Fund LP                                                      100 Applegate CT                                                                 Pelham               AL           35124
                                                                              Golden Corporate Center, 420 Corporate
 IX Power Clean Water Inc.                                                    Circle, Suite F                                                                  Golden               CO           80401
 Ixcela Inc.                                                                  135 South Road                                                                   Bedford              MA           01730
 Izmaco Investments LLC                                                       191 White Oak Bluff Rd.                                                          Stella               NC           28582
 IZO Spirits Inc.                                                             2150 W WASHINGTON ST                             STE 208                         SAN DIEGO            CA           92110-2047
                                              JPMorgan Institutional Fund
 J.P. Morgan Asset Management Inc.            Services                        PO Box 219265                                                                    Kansas City          MO           64121-9265

                                              JPMorgan Institutional Fund
 J.P. Morgan Asset Management Inc.            Services c/o DST Systems, Inc. 430 W 7th, Suite 219265                                                           Kansas City          MO           64105-1407
 Jago Studios Inc.                                                           16944 Oak View Drive                                                              Los Angeles          CA           91436
 James D Haldeman Dds Inc                                                    6967 Bonnie Brae Lane                                                             Columbus             OH           43235
 James D. Haldeman, DDS, Inc.                                                170 N. Woods Blvd                                                                 Columbus             OH           43235
 Jamestown Invest 1 LLC                                                      675 Ponce De Leon Avenue, Ne                                                      Atlanta              GA           30308
 Janover Inc.                                                                7601 N Federal Hwy, B-140                                                         Boca Raton           FL           33487
 Janover Ventures LLC                                                        7601 North Federal Highway                                                        Boca Raton           FL           33487
 Jar Goods LLC                                                               80 Ridge Road                                                                     Glen Rock            NJ           07452
 Jasperate Inc.                                                              1932 Pleasant Hill Lane                                                           Lisle                IL           60532
 Jauvtis Engineering                                                         100 N Hill Dr #23                                                                 Brisbane,            CA           94005
 Jawudi                                       Attn: Ibrahima Diallo          3 W 123 St #6                                                                     New York             NY           10027
 Jawudi, Inc                                  Attn: Ibrahima Diallo          3 W 123 St #6                                                                     New York             NY           10027
 Jawudi, Inc                                  Attn: Ibrahima Diallo          675 North Avenue Northeast                                                        Atlanta              GA           30354
 JB-NY Distributors Inc.                                                     228 PARK AVE S                                                                    NEW YORK             NY           10003-1502
 JDWight Limited Liability Company                                           20423 State Road 7                                                                Boca Raton           FL           33498
 JeGo Technologies Inc.                                                      1000 Brickell Ave. Ste 715                                                        Miami                FL           33131
 Jelli Finance Co.                                                           4454 Cambridge Drive                                                              Cedar Hills          UT           84062
 JESSMAR Real Estate Opportunity Fund LLC                                    19200 Von Karman Ave                                                              Irvine               CA           92612
 Jet Token Inc.                                                              10845 Griffith Peak Drive, Suite 200                                              Las Vegas            NV           89135
 Jet Token Incorporated                                                      3422 Old Capitol Trail                                                            Wilmington           DE           19808-6192
 Jetbrains Americas Inc.                                                     989 East Hillsdale Blvd.                          Suite 200                       Foster City          CA           94404
 Jetpack Aviation                                                            14218 Aetna Street                                                                Van Nuys             CA           91401
 Jetpack Inc.                                                                2711 Centerville Road                                                             Wilmington           DE           19808
 jetROI Financial LLC                                                        75 N Woodward Ave,                                                                Tallahassee          FL           32313
 Jetson AI Inc.                                                              251 W 30th Street, Suite 507                                                      New York             NY           10001
 Jewelry Warehouse Inc                                                       PO Box 4722                                                                       West Columbia        SC           29171
 Jinglz Inc.                                                                 10802 Lake Wynds Court                                                            Boynton Beach        FL           33437
 Jinjo LLC                                                                   16768 Glenmoor Blvd                                                               Macomb               MI           48044

 Joe Castairs dba Logic Named Joe                                             110 Aldenham Road                                                                Bushley              England      WD23 2EU United Kingdom
 Join The Violution LLC                                                       8022 South Rainbow Boulevard                                                     Las Vegas            NV           89139
 Joulez Inc                                                                   1100 Grand Concourse #1L                                                         Bronx                NY           10456
 JP Morgan Institutional Fund Services        Attn: Arye Spencer              1111 Polaris Pkway, Flr 2D                                                       Columbus             OH           43240
 JP Morgan Institutional Fund Services        Attn: Arye Spencer              1111 Polaris Pkwy                                Floor 2D                        Columbus             OH           43240
 JRC Enterprises LLC dba Dental Fix RX                                        322 Fairmount Drive||                                                            Edgewater            MD           21037
 Judobaby Inc.                                                                128 Windsor Court                                                                San Carlos           CA           94070
 Jumpball Apparel LLC                                                         1807 University Ave                                                              San Diego            CA           92103
 Jumpstart Insurance Solutions Inc.                                           344 Thomas L Berkley Way                                                         Oakland              CA           94612
 Jumpstart Micro Inc                                                          2 Rocky Point                                                                    Carlisle             MA           01741
 Jumpstart Securities LLC                                                     3455 Peachtree Road North East                   5th Floor                       Atlanta              GA           30326
 Junto Bicycle Works Ltd                                                      1627 N 2nd st                                                                    Philadelphia         PA           19122
 Jwjtwo LLC                                                                   555 Wildwood Avenue                                                              Verona               PA           15146
 JWL.COM Inc.                                                                 23024 Conde Dr.                                                                  Valencia             CA           91354

 K & L Gates LLP                                                              K&L Gates LLP                                    925 Fourth Avenue, Suite 2900   Seattle              WA           98104
 K.B.I. LLC                                                                   14182 Meyers Rd                                                                  Detroit              MI           48227

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                          Name                                   Attention                           Address 1                                     Address 2                       City     State       Zip      Country
 Kado Software, Inc                                  Attn: Emery Andrew              100 Summer St. Suite 1600                                                       Boston               MA        02110
                                                     c/o Gellert Scali Busenkell &                                                    1201 North Orange Street, Suite
 Kado Software, Inc.                                 Brown, LLC                      Attn: Michael Van Gorder                         300                             Wilmington          DE        19801
                                                                                                                                      1350 Avenue of the Americas,
 Kado Software, Inc.                                 c/o Raines Feldman Littrell LLP Attn: David S. Forsh                             22nd Fl                         New York            NY        10019

 Kai and Jah Consulting LLC dba Intuition Exchange   Attn: Joshua Samuel             1963 White Mountain                                                             Antioch              CA        94531
 Kammas and Company Inc.                             Attn: Carl Elsammak             133 Murray Hill Blvd                                                            Murray Hill          NJ        07974
 Kansas City Breweries Company LLC                                                   1609 Crystal Avenue                                                             Kansas CIty          MO        64126
 Kansas Department of Revenue                                                        1883 W 21st St                                                                  Wichita              KS        67203
 Kansas Office of the State Bank Commissioner                                        700 SW Jackson Street                            Suite 300                      Topeka               KS        66603-3796
 Kanthaka Inc.                                                                       1605 9th Street                                                                 Hempstead            TX        77445
 KapitalWise Inc.                                                                    43 West 23rd Street                                                             New York             NY        10010
 Karaganda LLC                                                                       2618 San Miguel Drive Suite 496                                                 Newport Beach        CA        92660
 KarbonPay Inc                                                                       3400 N. Central Expressway #110 - 289                                           Richardson           TX        75080
 Karma Labs Inc.                                                                     8163 Melrose Avenue                                                             Los Angeles          CA        90046
 Karta                                               Attn: Aleksandar Radoslavov     1007 North Orange Street, 4th Floor                                             Wilmington           DE        19801
                                                     Attn: Aleksandar Radoslavov
 Karta                                               and Anatoly Weinstein           1007 N Orange St, 4th Floor                                                     Wilmington           DE        19801-1242
 Kationx Corp.                                                                       442 Fourth Ave                                                                  Indialantic          FL        32903
 Katten Muchin Rosenman LLP                                                          525 W. Monroe St.                                Ste. 1900                      Chicago              IL        60661
 KBlock Tools LLC                                                                    108 Timberline Ct.                                                              Lexington            SC        29072
 K-Chain Group Inc.                                                                  2500 E Colorado Blvd                                                            pasadena             CA        91107
 KDP Investments LLC                                                                 16159 Caribou St                                                                Fountain Valley      CA        92708
 KDub LLC                                                                            135 5th Ave S                                                                   Franklin             TN        37064
 Keezel Inc.                                                                         20377 SW Acacia Street, 2nd Floor                                               Newport Beach        CA        92660
 Kekst CNC                                                                           437 Madison Avenue                               37th Floor                     New York             NY        10022
 Kemper Snowboards Inc.                                                              515 N 680 W                                                                     Midway               UT        84049
 Kentucky Department of Financial Institutions                                       500 Mero Street                                  2SW19                          Frankfort            KY        40601
 Kenwood Crossing Buildings LLC                                                      101 Vickery Street                                                              Roswell              GA        30075
 Kevin Kinkor dba Kinkor Consulting                                                  1161 Cherry Street                               Suite H                        San Carlos           CA        94070
 KGEM Golf Inc.                                                                      2738 Falkenburg Road South                                                      Riverview            FL        33578
 KhemoSafe Inc.                                                                      66 West Flagler Street                                                          Miami                FL        33130
 Kibbo Inc.                                                                          827 Guerrero St                                                                 San Francisco        CA        94110
 Kicks Industries Inc.                                                               621 Kalamath Street                                                             Denver               CO        80204
 KICVentures LLC                                                                     350 Main Street                                                                 Malden               MA        02148
 Kiddie Inc.                                                                         3525 Griffin Road                                                               Ft. Lauderdale       FL        33312
 Killik Hot Sauce Company LLC                                                        1383 Bonnieview Ave                                                             Lakewood             OH        44107
 Kilo Club LLC                                                                       410 South Rampart Boulevard                      Unit. 200                      Las Vegas            NV        89145
 Kimball Heavy                                                                       310 E 12th St.                                   Suite 1k                       New York             NY        10003
 Kind Collection Inc.                                                                363 Monticello Street                                                           San Francisco        CA        94132
 Kind Katie Movie Partners                                                           3973 Foxglove Road                                                              Tucker               GA        30084
 Kinder Reserve Investors LLC                                                        128A Courthouse Square                                                          Oxford               MS        38655
 Kinesics Studios Inc.                                                               5061 Cr 487                                                                     Salina               OK        74365
 Kings Crowd LLC                                                                     695 Atlantic Ave., Floor 9                                                      Boston               MA        02446
 KingsCrowd Inc.                                                                     410 UNIVERSITY AVE                                                              WESTWOOD             MA        02090-2311
 K-Lawyers Inc.                                                                      350 Lincoln Road, Suite 3061                                                    Miami Beach          FL        33139
 Klean Scissors Inc.                                                                 13857 Auburn Road                                                               Grass Valley         CA        95949
 Kleos Limited                                                                       2633 Lincoln Blvd                                                               Santa Monica         CA        90405
 KMC Solutions                                                                       3230 Novara Way                                                                 Pleasanton           CA        94566
 Knack Inc.                                                                          200 Middle Highway                                                              Barrington           RI        02806
 Knapsack LLC                                        Attn: Joe Norton                5973 Meridian Blvd                                                              Brighton             MI        48116
 Knightscope Inc                                                                     1070 Terra Bella Avenue                                                         Mountain View        CA        94043
 Knightscope Inc.                                                                    1070 Terra Bella Avenue                                                         Mountain View        CA        94043
 KnowBe4, Inc.                                                                       33 N Garden Ave Suite 1200                                                      Clearwater           FL        33573
 Koi Trading                                         Attn: Jimmy Cai                 1 Market St                                      #3600                          San Francisco        CA        94105
 Koi Trading                                         Attn: Jimmy Cai                 1 Market Street, #3600                                                          San Francicso        CA        94105

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 Kokus Inc.                                                           606 Venezia Ave                                                         Venice               CA         90291
 Koning Corporation                                                   5555 Oakbrook Parkway                                                   Norcross             GA         30093
 Kookaburra Sustainable Solutions Inc                                 8565 S. Eastern Avenue                                                  Las Vegas            NV         89107
 Koolbridge Solar Inc.                                                710-B Waynick Boulevard                                                 Wrightsville Beach   NC         28480
 KOTA Longboards LLC                                                  1400 South Lipan Street                                                 Denver               CO         80223
 Koz Killingworth Portland Oregon L.P                                 211 East 43rd Street                                                    New York             NY         10017
 Kraken Ventures Fund I LP                    Brandon Gath            2425 Wilson Street                                                      Austin               TX         78704
 Krisspi Technologies Inc.                                            4425 Treat Boulevard                                                    Concord              CA         94520
 Krueger Outdoor Inc.                                                 177 Columbia Mountain Drive                                             Columbia Falls       MT         59912
 KS Fitness LLC                                                       459 Old Route 82                                                        Craryville           NY         12521
 KSK Oil and Gas LLC                                                  6031 Claudias Lane                                                      Winston -Salem       NC         27103
 Kul Beverages LLC                                                    W6045 845th Avenue                                                      River Falls          WI         54022
 kulaBrands Inc                                                       16509 East Arroyo Vista Drive                                           Fountain Hills       AZ         85268
 kweliTV Inc.                                                         229 North West Street                                                   Alexandria           VA         22314
 La Borra Cafe Incorporated                                           3200 Oak Park Ave                                                       Berwyn               IL         60402
 La Fayette Franchise Inc.                                            211 Lincoln Road                                                        Miami Beach          FL         33139
 Lagniappe Clay Investors LLC                                         128-A Courthouse Square                                                 Oxford               MS         38655
 Lake Wildwood LP                                                     1266 W Paces Ferry 142                                                  Atlanta              GA         30327
 Lakeview Kalamazoo Michigan L.P                                      211 East 43rd Street                                                    New York             NY         10017
 Lamar Airport Advertising Company                                    PO BOX 96030                                                            Baton Rouge          LA         70896
 Land Betterment Corporation                                          12115 Visionary Way                                                     Fishers              IN         46038
 LANDMARK PLC, CERTIFIED PUBLIC
 ACCOUNTANTS                                                          3101 South 70th Street                                                  Fort Smith           AR         72903
 LaneAxis Inc.                                Attn: Ricky L Burnett   419-A Main St                                    Ste 121                Huntington Beach     CA         92648
 Larada Sciences Inc.                                                 154 East Myrtle Ave, Ste 304                                            Murray               UT         84107
 Las Vegas Metropolitan Police Department                             400 S. Martin L. King Boulevard                                         Las Vegas            NV         89106
 Lavabit LLC                                                          5930 Royal Lane                                                         Dallas               TX         75230
 Layali LLC                                                           700 Mitchell Bridge Road                                                Athens               GA         30606
 Lb 1 LLC                                                             1911 Grayson Hwy                                                        Grayson              GA         30017
 LBBC Holdings LLC                                                    2732 Chene MCDougall Hunt                                               Detroit              MI         48243
 Le Host LLC                                                          305 W 9 Mile Rd                                                         Ferndale             MI         48220
 Leaf and Ash LLC                                                     17290 Mary Ennis Circle                                                 Choctaw              OK         73020
 Leagueswype LLC                                                      417 Des Plaines                                                         Forest Park          IL         60130
 Learnt Corporation                                                   3111 Avenue R.                                                          Galveston            TX         77550
 Legacy Park Partners, LLC                                            12671 High Bluff Dr, Ste 150                                            San Diego            CA         92130
 Legacy Point - Bluegrass LLC.                                        16192 Coastal Highway                                                   Lewes                DE         19958
 Legion M Entertainment Inc.                                          1801 Century Park East 24th Floor                                       Los Angeles          CA         90067
 Legion Works Inc.                                                    4275 Executive Square                                                   La Jolla             CA         92037
 LendersBridge Technologies LLC                                       9 East Loockerman Street                                                Dover                DE         19901
 LendersBridge Technologies, LLC                                      9 East Loockerman Street                                                Dover                DE         19901
 LES Foods Inc                                                        75 Clarendon Street                                                     Boston               MA         02116
 Lettuce Networks Inc.                                                4701 Red Bluff Road, Suite A                                            Austin               TX         78702
 LevelBlox Inc.                                                       6371 Business Blvd                                                      Sarasota             FL         34240
 LEVELS Network Inc.                                                  3960 Howard Hughes Parkway, Suite 500                                   Las Vegas            NV         89169
 Levered Learning Inc.                                                2152 FIELDCREST AVE                                                     FAIRFIELD            CA         94534-7945
 Levin Group Ltd dba Storm2                                           3102 Oak Lawn Avenue                                                    Dallas               TX         75219
 Lexicon Bank                                                         330 S Rampart Blvd Suite 150                                            Las Vegas            NV         89145
 Lexus Financial Services                                             6565 Headquarters Dr                             W2-4A                  Plano                TX         75024
 Leyda Elizabeth Bowes MD PA                                          3659 S Miami Avenue                                                     Miami                FL         33133
 LGBT Media Inc.                                                      PO Box 115                                                              Roslyn Heights       NY         11577
 LGBT Weddings Inc.                                                   3353 Highway 49 South                                                   Mariposa             CA         95338
 LIberty Creek Real Estate Fund LLC                                   3030 N. Rocky Point Drive                                               Tampa                FL         33607
 Liberty PlugIns Inc.                                                 1482 East Valley Rd, Ste 329                                            Santa Barbara        CA         93108
 Lieu Ltd.                                                            31-12 Broadway                                                          Queens               NY         11106
 Life Imaging Fla Inc.                                                1981 W. Hillsboro Blvd.                                                 Deerfield Beach      FL         33442
 Life Recovery Systems HD LLC                                         711 Kimball Ave                                                         Alexandria           LA         71301
 Life Science Institute LLC                                           3301 Salterbeck Street, Suite 102                                       Mount Pleasant       SC         29466

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 Life Spectacular Inc                                                                7901 4th St N                                                             St. Petersburg        FL         33702
 Lifeafar                                                                            Calle 10 # 42 - 28                                                        Medellin              ANT        50001     Colombia
 Lifeblink Inc.                                                                      8 Old Salem Road                                                          Cherry Hill           NJ         08034
 LifeBridge 10000 LLC                                                                862 e wildmere ave                                                        longwood              FL         32750
 LIFT Aircraft Inc.                                                                  3402 Mount Bonnell Road                                                   Austin                TX         78731
 Likeminder Inc.                                                                     8 Wright Street                                                           Westport              CT         06880
 LikeRE.com Inc.                                                                     3465 S Gaylord Ct                                                         Englewood             CO         80113
 Lil Bucks LLC                                                                       72 Bluff Road                                                             Trout Valley          IL         60013
 Lila Labs Inc                                                                       650 Harbor St                                                             Venice                CA         90291
 Liliahna LLC                                                                        11350 McCormick Rd                                                        Hunt Valley           MD         21031
 Lincoln & Grant Inc.                                                                5281 South Quebec Street                                                  Greenwood Village     CO         80111
 Linen Mobile Inc.                                                                   44 Tehama Street                                                          San Francisco         CA         94105
 LinkedIn Corporation                                                                62228 Collections Center Drive                                            Chicago               IL         60693
                                                     Attn: Paul Timko and Katie
 LinkedIn Corporation                                Lock                            1000 W. Maude Avenue                                                      Sunnyvale             CA         94085
 Lipson Neilson P.C.                                                                 3910 Telegraph Road                                                       Bloomfield Township   MI         48302
 LiquidPiston Inc.                                                                   1292a Blue Hills Ave.                                                     Bloomfield            CT         06002
 Lisaiceland Inc.                                                                    22136 Westheimer Parkway                                                  Katy                  TX         77450
 LIT IO Inc.                                                                         2140 S. Dupont Hwy                                                        Camden                DE         19934
 LiteScape Technologies Inc.                                                         12707 High Bluff Drive                                                    San Diego             CA         92130
                                                                                     111 Long Hill Rd Little Falls, NJ 07424 Website
 Live Esq LLC                                                                        of                                                                        Little Falls          NJ         07424
 Live Music Tutor Inc.                                                               1170 Tree Swallow Road, Suite 333                                         Winter Springs        FL         32708
 Live Shop Buy Inc.                                                                  101 Crawfords Corner Rd                                                   Holmdel               NJ         07733
 Livewell Assisted Living Inc                                                        6720 Pauline Drive                                                        Chapel Hill           NC         27514
 Living a Book inc                                                                   2021 The Alameda                                                          San Jose              CA         95126
 LKA Gold Incorporated                                                               3724 47th Street Ct NW                                                    Gig Harbor            WA         98335
 Lloyd's                                             Attn: Legal Department          280 Park Ave.                                   East Tower, 25th Floor    New York              NY         10017
 Locking Line Barriers Corporation                                                   4155 East Jewell Ave                                                      Denver                CO         80222

 Locking Line Barriers Corporation dba WaterBlocks                                   4155 E Jewell Ave, suite 610                                              Denver                CO         802220
                                                     Attn: Sandra Wright and Bruce
 LODE Payments International LLC dba Lode            Kamm                            435 12th Street West                                                      Bradenton             FL         34205
 Lolaark Vision Inc.                                                                 1037 Cheshire Ln                                                          Houston               TX         77018
 Longhorn Sand Investors LLC                                                         18167 East Petroleum Drive, Suite A                                       Baton Rouge           LA         70809
 Looker Data Sciences, Inc.                                                          101 Church Street                                                         Santa Cruz            CA         95060
 Looker Data Services                                Attn: Google LLC                1600 Amphitheatre Parkway                                                 Mountain View         CA         94043
 Loquidity - 1601 Camelback, LLC                                                     6757 Cascade Rd. SE, PMB #48                                              Grand Rapids          MI         49506
 Los Angeles SuperStars Inc                                                          1055 West 7th Street                                                      Los Angeles           CA         90017
 Louis and Zelie LLC                                                                 12808 W. Airport.                                                         Sugar Land            TX         77478
 Louisiana Office of Financial Institutions          Non-Depository Division         PO Box 94095                                                              Baton Rouge           LA         70804-9095
 Love Sun Body Inc.                                                                  50 Cummings Circle                                                        West Orange           NJ         07052
 Love The Network Inc.                                                               75 Bishop Street                                                          Portland              ME         04103
 LoveBug Nutrition Inc.                                                              115 E 34th Street                                                         New York              NY         10156
 Lovenmark Communications                                                            1495 Richards Street                             #2702                    Vancouver             BC         V6Z 3E3    Canada
 Lower Merion Township                                                               75 E Lancaster Ave                                                        Ardmore               PA         19003
 LQR House Inc.                                                                      2699 Stirling Road                                                        Fort Lauderdale       FL         33312
 LR Consulting LLC                                                                   269 Springdale Trail                                                      Crestone              CO         81131
 LRF Thoroughbred Fund II LLC                                                        5950 Canoga Ave                                                           Woodland Hills        CA         91367
 LRF Thoroughbred Fund LLC                                                           5950 Canoga Ave                                                           Woodland Hills        CA         91367
 LTCA Trust                                          Attn: Larry Rolen               6976 Edith Lane                                                           Chattanooga           TN         37421
 LTL Attorneys LLP                                                                   300 South Grand Ave. Suite 3950                                           Los Angeles           CA         90071
 Lucas & Friend Land Holdings LLC                                                    172 Center Street                                                         Jackson               WY         83001
 Lucid Software Inc.                                                                 10355 South Jordan Gateway                       Suite 300                South Jordan          UT         84095
 Lukapay                                             Attn: Eduardo Barrios           3600 Red Road # N-306                                                     Miramar               FL         33025
 Lukapay                                             Attn: Eduardo Barrios           3600 Red Road #N-306                                                      Miramar               FL         33025
 Lumen (CenturyLink Communications)                                                  PO Box 4918                                                               Monroe                LA         71211-4918

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                          Name                                   Attention                           Address 1                                    Address 2                  City        State       Zip      Country
 Lunchwale Inc.                                                                     10601 Clarence Dr, STE 250                                                 Frisco               TX           75033
 Luviv LLC                                                                          1805 Babcock Blvd                                                          Pittsburgh           PA           15209
 Luxvest 1 LLC                                                                      1065 NE 125th Street                                                       North Miami          FL           33161
                                                      Attn: Jim Rising & Daniel
 Lyfe Cycle Payments                                  Percey                        105 Westpark Dr, Ste 360                                                   Brentwood            TN           37027-5862 Canada
                                                      Attn: Jim Rising & Daniel
 Lyfe Cycle Payments                                  Percey                        105 Westpark Dr, Ste 360                                                   Brentwood            TN           37027-5862
                                                      Attn: Jim Rising and Daniel
 Lyfe Cycle Payments                                  Percey                        105 Westpark Drive, Suite 360                                              Brentwood            TN           37027
 Lynwood Financial Group                                                            20 Cambridge Dr                                                            Matawan              NJ           07747
 Lynx City LLC                                                                      102 Wooster St                                                             Bethel               CT           06801
 M&M Media Inc                                                                      700 Canal St                                                               Stamford             CT           06902
 Macro Snacks Inc                                                                   422 Crompton Street                                                        Charlotte            NC           28273
 Macvon Inc.                                                                        101 Morgan Lane Suite 302                                                  Plainsboro           NJ           08536
 MadeBos Inc.                                                                       2481 60th Ave                                                              Oakland              CA           94605
 MadeInUSA.com LLC                                                                  712 S 14th St                                                              Leesburg             FL           34748
 Madeleine Bakery and Bistro LLC                                                    609 S Trenton Ave                                                          Pittsburgh           PA           15221
 Magfast LLC                                                                        1 Grandview Avenue                                                         Cornwall-on-Hudson   NY           12520
 Magnabid Inc.                                                                      9735 Wilshire Blvd #123                                                    Beverly Hills        CA           90212
 Magnabid Inc.                                                                      9735 Wilshire Blvd,                                                        Beverly Hills        CA           90212
 Maine Bureau of Consumer Credit Protection                                         35 State House Station                                                     Augusta              ME           4333
 Maine Craft Distilling LLC                                                         123 Washington Avenue                                                      Portland             ME           04101
 Majik Water LLC                                                                    16192 Coastal Highway                                                      Lewes                DE           19958
 Make a Difference 365 Inc                                                          120 East Innes St                                                          Salisbury            NC           28144
 Make Real Foods Inc.                                                               18 CHADWICK CIR                                                            WINDHAM              NH           03087-2406
 Malartu Fund I, LLC                                                                4803 Black Mountain Path                                                   Raleigh              NC           27612
 Malartu Fund II, LLC                                                               4803 Black Mountain Path                                                   Raleigh              NC           27612
 Malartu Fund III LLC                                                               4803 Black Mountain Path                                                   Raleigh              NC           27612
 Malartu Fund IV                                                                    4803 Black Mountain Path                                                   Raleigh              NC           27612
 Malartu Fund IV LLC                                                                4803 Black Mountain Path                                                   Raleigh              NC           27612
 Malartu Fund IV, LLC                                                               4803 Black Mountain Path                                                   Raleigh              NC           27612
 Malartu Fund V LLC                                                                 4803 Black Mountain Path                                                   Raleigh              NC           27612
 Malartu Fund VI                                                                    4803 Black Mountain Path                                                   Raleigh              NC           27612
 Malartu Inc.                                                                       4803 Black Mountain Path                                                   Raleigh              NC           27612
 Malt House Brewery LLC                                                             17470 W Fair Oaks Road                                                     Prescott             AZ           86305
 Mama Gaia Smart Fridge Corporation                                                 1801 N Broadway Suite 516                                                  Denver               CO           80202
 Mamie's Pies Inc.                                                                  203 Auburn Street                                                          San Rafael           CA           94901
 ManeGain                                                                           12400 Highway 71                                                           Austin               TX           78734
 Manhattan Street Fund LP                                                           4629 Cass Street                                                           San Diego            CA           92109
 Manna Foods Co.                                                                    401 Isom Rd Ste 420                                                        San Antonio          TX           78216
 Manta Biofuel Inc.                                                                 11438 Cronridge Drive                                                      Owings Mills         MD           21117
 Marist Investments Apartments LLC                                                  13 Stuyvesant Oval                                                         New York             NY           10009
 Maritime Properties LLC Series Bell 57                                             30025 Alicia Parkway #201                                                  Laguna Niguel        CA           92677

 Market Insight Media (Financial Technology Report)                                 100 Overlook Center                               2nd Floor                Princeton            NJ           08440
 Marketerhire                                                                       3023 North Clark Street                           362                      Chicago              IL           60657
 Marketo Inc                                                                        PO Box 122068                                                              Dallas               TX           75312
 Marshmallow Jetpack Inc.                                                           39848 San Francisquito Canyon Road                                         Santa Clarita        CA           91390
 Martell Broadcasting Systems Inc                                                   1820 Avenue M Unit #515                                                    Brookyln             NY           11230
 Martell Broadcasting Systems Inc.                                                  1626 N. Wilcox Ave Unit 377                                                Hollywood            CA           90028
 Maryann Salt Inc.                                                                  4185 Huckleberry Dr.                                                       Concord              CA           94521
 Maryland Division of Securities                                                    200 Saint Paul Street                                                      Baltimore            MD           21202-2020
 Maryland Office of the Commissioner of Financial
 Regulation                                                                         1100 N. Eutaw Street                              Suite 611                Baltimore            MD           21201
 Massachusetts Department of Environmental
 Protection                                                                         One Winter Street                                                          Boston               MA           02108


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                          Name                                   Attention                             Address 1                                   Address 2                City          State      Zip          Country
                                                      Non-Depository Institution
 Massachusetts Division of Banks                      Supervision Unit               1000 Washington Street                           10th Floor                Boston               MA           02118-2218
 Massachusetts Securities Division                                                   One Ashburton Place                              Room 1701                 Boston               MA           2108
 Masterpeace LLC                                                                     8109 Croom Station Rd                                                      Upper Marlboro       MD           20772
 Masterpiece Cuisine                                                                 303 South Water Street                                                     Henderson            NV           89015
 Matrix23 Inc                                         Attn: Justin Zheng             2261 Market St. 4322                                                       San Francisco        CA           94114
 MaxWyn Inc                                                                          10648 Meadow Mist Avenue                                                   Las Vegas            NV           89135
 Maya Global Solutions Inc.                                                          855 El Camino Real, Suite 13A-345                                          Palo Alto            CA           94301
 Maybe Finance Inc.                                                                  1900 Corporate Dr #380024                                                  Birmingham           AL           35238
 MAZAKALI Fund 2 LLC                                                                 730 17th St                                                                Denver               CO           80202
 Mazarine Inc.                                                                       7502 Holley Cr.                                                            Panama City Beach    FL           32408
 Mc Law Group                                                                        8942 Spanish Ridge Avenue                                                  Las Vegas            NV           89148
 McAndrews Restaurants Inc                                                           419 Summer Winds Ln                                                        Greensburg           PA           15601
 McAngus Goudelock & Courie, LLC dba mgc                                             1320 Main Street                                 10th Floor                Columbia             SC           29201
 McCarton Foundation for Developmental Disabilities
 Inc.                                                                                1909 Longfellow Ave                                                        The Bronx            NY           10460
 Me Tyme Network Inc.                                                                8885 Rio San Diego Dr                                                      San Diego            CA           92108
 Mealthy Inc                                                                         110 San Antonio Street                                                     Austin               TX           78701
 MedAnswers                                                                          1299 Pennsylvania Ave                                                      Washington           DC           20004
 MedChain Inc.                                                                       1175 Castle Pointe Drive                                                   Castle Rock          CO           80104
 Medical 12 RH Buildings LLC                                                         101 Vickery Street                                                         Roswell              GA           30075
 Medical 27 Richardson Buildings LLC                                                 101 Vickery Street                                                         Roswell              GA           30075
 Medical Arts Buildings LLC                                                          101 Vickery Street                                                         Roswell              GA           30075
 Mediloq Inc.                                                                        5378 GUNBARREL CENTER CT                         APT 204                   BOULDER              CO           80301-5795
 Medior Inc.                                                                         853 Camino Del Mar Suite 201                                               Del Mar              CA           92014
 Medivie USA Inc.                                                                    11319 Maple Street                                                         Los Alamitos         CA           90720
 MedVector Corp                                                                      898 N. Pacific Coast Highway                                               El Segundo           CA           90245
 MedX Inc.                                                                           8236 Remmet Avenue                                                         Canoga Park          CA           91304
 Med-X Inc.                                                                          8236 Remmet Avenue                                                         Canoga Park          CA           91304
 Med-X Inc.                                                                          8236 Remmet Avenue                                                         Canoga Park,         CA           91304
 MeetingMatch, Inc.                                                                  1495 Pacific Highway                                                       San Diego            CA           92101
 MEG Media Inc                                                                       5327 West Grace Street                                                     Chicago              IL           60641
 Meidi 2491 Ocean LLC                                                                60 Cuttermill Rd, SUITE 405                                                Great Neck           NY           11021
 Meltwater News US Inc.                                                              465 California Street                            Floor 11                  San Francisco        CA           94104
 Memik Inc.                                                                          3423 Piedmont Rd. NE                                                       Atlanta              GA           30305-1751
 MentalHappy Inc                                                                     315 Montgomery Street, 10th Floor                                          San Francisco        CA           94104
 Merati Homes LLC                                                                    30 W 60th Street                                                           New York City        NY           10023
 Mercato Management, LLC                                                             2750 Cottonwood Parkway                          Suite 500                 Cottonwood Heights   UT           84121
 MERCATO PARTNERS TRAVERSE IV QP, L.P.                                               2750 East Cottonwood Parkway, Suite 500                                    Cottonwood Heights   UT           84121
 MERCATO PARTNERS TRAVERSE IV, L.P.                                                  2750 East Cottonwood Parkway, Suite 500                                    Cottonwood Heights   UT           84121
 Mercato Traverse SPV 2, A Series of Mercato
 Coinvestments, LLC                                                                  PO Box 171305                                                              Salt Lake City       UT           84117
 Merging Traffic Inc.                                                                6555 Sanger Road                                                           Orlando              FL           32827
                                                                                     First Floor, Eden Plaza, Eden Island,
 MERJ Exchange Limited                                                               Seychelles                                                                 Victoria             Mahe         PO Box 360 Seychelles
 Messari, Inc                                                                        228 Park Ave South                               PMB 52631                 New York             NY           10003-1502
                                                      Attn: Gajendra Khatri and Sagar
 Metahill Inc                                         Agarwal                         16192 Coastal Hwy                                                         Lewes                DE 19958                  Canada
                                                      Attn: Gajendra Khatri and Sagar
 Metahill Inc                                         Agarwal                         16192 Coastal Hwy                                                         Lewes                DE           19958
 Metai Knights Media Inc                                                              600 5th Avenue                                                            New York             NY           10020
 Metallum3D Inc.                                                                      2405 Granite Ridge Rd. Unit B                                             Rockville            VA           23146
                                                                                      1 Cayman Financial Center, 36A Dr. Roy's                                                       Grand
 Metals House Inc.                                                                    Drive                                                                     Georgetown           Cayman       KY1-1104     Cayman Islands
 MeVero Inc                                                                           3260 Hillview Ave                                                         Palo Alto            CA           94304
 MF Fire Inc.                                                                         3031 Washington Blvd, G                                                   Baltimore            MD           21230
 MHC America Fund 2 LLC                                                               5600 S. Quebec Street                                                     Greenwood Village    CO           80111

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 MHC America Fund LLC                                                        215 N. Eola Drive                                                         Orlando           FL           32801
 Mhpi V, LLC                                                                 15 N Eola Drive                                                           Orlando           FL           32801
 Mhpi VII LLC                                                                4675 MacArthur Court                                                      Newport Beach     CA           92660
 Mi Ola Incorporated                                                         21 Atlantic Walk                                                          Breezy Point      NY           11697
 Michigan Department of Insurance and Financial
 Services                                         Consumer finance Section   PO Box 30220                                                              Lansing           MI           48909-7720
 Michigan Department of Treasury - Collection
 Services Bureau                                                             PO Box 30199                                                              Lansing           MI           48909
 MicroGen Vet LLC                                                            1108 Woodland Rd                                                          Pittsburgh        PA           15237
 Microsoft                                                                   1 Microsoft Way                                                           Redmond           CA           98052
 Microsoft (Azure)                                                           One Microsoft Way                                                         Redmond           WA           98052
 microsurgeonbot Inc.                                                        2355 Westwood Blvd., Suite 961                                            Los Angeles       CA           90064
 Midgie's Good Cream Inc.                                                    4048 Sonoma Highway                                                       Napa              CA           94559
 Mighty Monkey LLC                                                           265 Hackensack Street                                                     Wood-Ridge        NJ           07075
 Mighty Well Inc.                                                            45 Catherine Street                                                       Newport           RI           02840
 Millie's Ice Cream Truck LLC                                                852 E. Hutchinson Ave.                                                    Pittsburgh        PA           15218
 Mindfull Crowd Flowater LLC                                                 1521 Concord Pike #303                                                    Wilmington        DE           19803
 Mindfull Crowd Muse LLC                                                     1521 Concord Pike, #303                                                   Wilmington        DE           19803
 MinMax Spaces                                                               206 West College Ave.                                                     Friendsville      TN           37737
 Minnesota Department of Commerce                                            85 7th Place East                               Suite 500                 St. Paul          MN           55101
 Minnesota Department of Revenue                                             600 Robert St N                                                           St Paul           MN           55101
 Minthealth Inc.                                                             13280 Evening Creek Drive South                                           San Diego         CA           92128
 Minus G LLC                                                                 11511 Taylor Wells Road                                                   Chardon           OH           44024
 mIQroTech LLC                                                               111 Picadilly Road                                                        Port Matilda      PA           16870
 MiRTLE Medical LLC                                                          1600 Osgood Street                                                        North Andover     MA           01845
 Mirus One Fund Gp LLC                                                       1266 W Paces Ferry                                                        Atlanta           GA           30327
 Miso Robotics Inc.                                                          561 East Green Street                                                     Pasadena          CA           91101
 Mississippi Department of Banking and Consumer
 Finance                                          Attn: Nonbank Division     PO Box 12129                                                              Jackson           MS           39236-2129
 Mississippi Department of Revenue                                           500 Clinton Center Dr                                                     Clinton           MS           39056
 Mississippi Sand Investors LLC                                              18167 E. Petroleum Drive                                                  Baton Rouge       LA           70809
 Mississippi Securities Division                                             PO Box 136                                                                Jackson           MS           39205-0136
 Missouri Department of Revenue                                              PO Box 3375                                                               Jefferson City    MO           65105
 Missouri Division of Finance                                                PO Box 716                                                                Jefferson City    MO           65102
 Missouri Securities Division                                                600 West Maine Street                                                     Jefferson City    MO           65101
 MIT Technology Review                                                       One Main Street                                 13th Floor                Cambridge         MA           02142
 Mitte Corp.                                                                 100 Wall Street                                                           New York          NY           10005
 Mixmax                                                                      548 Market Street                               PMB 60764                 San Francisco     CA           94104
 Mixmax                                           Attn: Kyle Parrish         548 Market St PMB 60764                                                   San Francisco     CA           94104-5401
 Mjlink.Com Inc                                                              3465 S Gaylord Ct                                                         Englewood         CO           80113
 MM Vest Management                                                          1111 Brickell Ave                                                         Miami             FL           33130
 MMA Global Holdings Corp                                                    500 Fifth Ave, 54th Floor                                                 NEW YORk          NY           10110
 Mobile Cooks LLC                                                            114 University Road                                                       Brookline         MA           02445
 MobileSpike Inc.                                                            3269 Washington Way                                                       Longview          WA           98632
 MobileyMe Inc.                                                              13506 Summerport Village Parkway                                          Windermere        FL           34786
 Mobot Nation Inc.                                                           2554 Lincoln Blvd #555                                                    Venice            CA           90291
 MockOut Inc.                                                                2521 W Wilson St.                                                         Durham            NC           27705
 Modal Living Inc.                                                           5280 S COMMERCE DR                              STE E195                  SALT LAKE CTY     UT           84107-5321
 Modbook Inc.                                                                6627 Valjean Avenue                                                       Van Nuys          CA           91406
 Modtempo LLC                                                                1901 Train AVe                                                            Cleveland         OH           44102
 Modular Streetscape Systems                                                 1000 DEAN ST                                    STE 101                   BROOKLYN          NY           11238-3382
 MojiLala Inc.                                                               10548 Rampart Ave.                                                        Cupertino         CA           95014
 Moku Foods Inc.                                                             11121 Queensland Street                                                   Los Angeles       CA           90034
 Mompops Inc.                                                                216 Birch Street                                                          Kennett Square    PA           19348
 Mona Lisa Song LLC                                                          5 Shenton Way                                                             Singapore         Singapore    68808      Singapore
 Moneil Duo-Investments LLC                                                  66 Feather River Ct                                                       Danville          CA           94506
 Monetran LLC                                                                501 Pershing Ct.                                                          Hockessin         DE           19707

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                        Name                            Attention                             Address 1                                  Address 2                City         State       Zip        Country
 Money 20/20                                                                1801 Porter Street                               Suite 300                Baltimore             MD         21230
 Monkey Wrench Brewing Company LLC                                          3425 Martin Farm Road                                                     Suwanee               GA         30024
 Monogram Orthopaedics Inc                                                  3913 Todd Lane                                                            Austin                TX         78744
 Montana Division of Banking and Financial
 Institutions                                                               301 S. Park Ave                                  Suite 316                Helena                MT         59601
 Montana Securities Department                                              840 Helena Avenue                                                         Helena                MT         59601
 Monte Cristo Productions LLC                                               1203 S. La Cienega blvd. #E                                               Los Angeles           CA         90035
 Moonlighting LLC                                                           971 2nd Street Southeast                                                  Charlottesville       VA         22902
 Mootral Holdings Ltd                                                       Roseheyworth Business Park                                                Abertillery           Wales      NP13 1SX Great Britain
 Morning Star Enterprises                     Attn: Simon Wunsch            8 The Green                                                               Dover                 DE         19901
 Morrison & Foerster LLP                                                    425 Market Street                                                         San Francisco         CA         94111
 Mortgage Recovery Investments Fund I, LLC                                  5 Upper Newport Plaza Dr                                                  Newport Beach         CA         92660
 Mosaic Distributors LLC                                                    507 Calle San Pablo                                                       Camarillo             CA         93012
 Mota Group Inc                                                             60 S. Market St                                                           San Jose              CA         95113
 Mother's Touch, Inc                                                        319 N. Dowell Street                                                      Wichita               KS         67206-2789
 Mountain West Cider Company Inc.                                           425 N 400 W                                                               Salt Lake City        UT         84103
 MovoCash Inc.                                                              530 Lytton Ave. 2nd Floor                                                 Palo Alto             CA         94301
 MPP Realty Group LLC                                                       401 Congress ave                                                          Austin                TX         78701
 MPW Associates LLC                                                         553 Bleemel Lane                                                          Mount Washington      KY         40047
 MStreetX Inc.                                                              3601 Pickett Road                                                         Fairfax               VA         22031
 Muck Rack LLC                                                              382 NE 191st Street, PMB 74788                                            Miami                 FL         33179-3899
 Muck Rack, LLC                                                             382 NE 191st St                                  #74788                   Miami                 FL         33179
 Mugatunes Inc.                                                             357 Commercial Street                                                     Boston                MA         02109
 Multi-Housing Income REIT LLC                                              9050 N. Capital of Texas Hwy. Bldg. 3,                                    Austin                TX         78759
 Mutmut Media                                                               428 Alice Street APT 509                                                  Oakland               CA         94607
 MyApps Corp.                                                               801 International Parkway                                                 Lake Mary             FL         32746
 Myapps Corp.                                                               801 International Parkway, #500                                           Lake Mary             FL         32746
                                              Attn: Devin Elliot, James
                                              Stevens, Niina Fujioka, and
 MyBackpack (JXN)                             Mason Alexander               1230 121st Place NE                              #C118                    Bellevue              WA         98005
                                              Attn: Devin Elliot, James
                                              Stevens, Niina Fujioka, and
 MyBackpack (JXN)                             Mason Alexander               1230 121st Place NE, #C118                                                Bellevue              WA         98005
 Mycocycle Inc.                                                             785 Hartford Lane                                                         Bolingbrook           IL         60440
 Mycroft AI Inc.                                                            609A PINER RD                                                             WILMINGTON            NC         28409-4201
 MyDentalWig Inc.                                                           4712 E. 2nd Street                                                        Long Beach, CA, USA   CA         90803
 MyndVR Inc.                                                                3616 Leanne Drive                                                         Flower Mound          TX         75022
 Mythical Inc.                                Attn: Volodymyr Panchenko     10990 Wilshire Blvd. Suite 1800                                           Los Angeles           CA         90024
 Naboso Technology Inc.                                                     6825 W Galveston Street Suite 9                                           Chandler              AZ         85226
 Nada Holdings Inc.                                                         5960 Berkshire Lane                                                       Dallas                TX         75225
 Nanno Inc.                                                                 1615 California Street                                                    Denver                CO         80202
 Nannocare Inc.                                                             1340 E 6th St                                                             Los Angeles           CA         90021
 NannyPod USA Inc.                                                          1279 Dingle Road                                                          Mount Pleasant        SC         29466
 NanoVMS Inc.                                                               148 Townsend St                                                           San Francisco         CA         94107
 NanoVMs Inc.                                                               148 Townsend Street                                                       San Francisco         CA         94107
 National Entertainment Specialists                                         3748 Wrightwood Dr.                                                       Studio City           CA         91604
 Native Sons of Chicago LLC.                                                73 W. Monroe St.                                                          chicago               IL         60603
 Natural Selection Nutrition LLC                                            14972 Fort Campbell Boulevard                                             Oak Grove             KY         42262
 Natural SunLite Inc                                                        19345 N. Indian Canyon Dr.                                                North Palm Springs    CA         92258
 NatureTrak Inc.                                                            2010-A Harbison Drive                                                     Vacaville             CA         95687
 NC Queen Street Buildings LLC                                              3333 Old Milton Pkwy                                                      Alpharetta            GA         30005
 NEAR Foundation                                                            Gubelstrasse 11                                                           Zug                              6300       Switzerland
 Nebraska Department of Banking and Finance                                 PO Box 95006                                                              Lincoln               NE         68509
 nedl.com Inc.                                                              305 Strand Street                                                         Santa Monica          CA         90405
 Neighbor Inc.                                                              500 West 5th Street                                                       Winston-Salem         NC         27101
 Neighborhood Ventures Fund LLC                                             5227 N 7th St.                                                            Phoenix               AZ         85014
 Neopenda PBC                                                               222 West Merchandise Mart Plaza                                           Chicago               IL         60654

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                         Name                                    Attention                            Address 1                                     Address 2               City           State       Zip          Country
 Neosoft Private Limited                             Attn: Mr. Nishant Rathi         Unit No 5, The Ruby Tower, 4th Floor                                          Dadar Mumbai                    400028       India
 Neosoft Private Limited                             Attn: Mr. Nishant Rathi         Unit No 5, The Ruby Tower, 4th Floor                                          Dadar              Mumbai       400028       India
 Nerd Street Gamers I a series of Republic Deal Room
 Master Fund LP                                                                      PO BOX 171305                                                                 SALT LAKE CTY      UT           84117-1305
                                                                                     piso 19, oficina 19 "A," de la Torre Capital
 Nervos Foundation                                                                   Plaza Costa del Este                                                          Panama City                     0832-00402 Panama
 Net 24-7                                            c/o Services 24-7 LLC           Attn: Jorge Pinzon                                                            FL
 Net Cents Technology, Inc.                          Attn: Clayton Moore             1021 West Hastings St., 9th Floor                                             Vancouver          BC           V6C 2R6      Canada
 Net Lease Properties Fund I LLC                                                     333 W Franklin St                                                             Tupelo             MS           38804
 NetCents Technology Inc.                            Attn: Gordon Jessop             350-375 Water St.                                                             Vancouver          BC           V6B 5C6
                                                     Attn: Jenn Lowther & Clayton
 NetCents Technology Inc.                            Moore                           1021 West Hastings St., 9th Floor                                             Vancouver          BC           V6C        Canada
 Netgain Solutions, Inc.                                                             PO BOX 630108                                                                 LITTLETON          CO           80163-0108
 Netlify                                              Attne: Zee Yoonas              44 Montgomery Street, Suite 300                                               San Francisco      CA           94104
 NetObjex Inc.                                                                       92 Corporate Park                                                             Irvine             CA           92606
                                                      Attn: Pierre Basmaji, Austin
 Neural Labs LLC                                      Childs, and Sunny Patel        5318 SW 49th St.                                                              Ocala              FL           34474
 Neurish Networks Inc.                                                               2908 Jakes View Pt                                                            Fuquay-Variana     NC           27526
 Neuro Token Inc.                                                                    263 W. End Ave                                                                New York City      NY           10023
 Neurotez Inc.                                                                       991 Highway 22, SUITE 200A                                                    Bridgewater        NJ           08807
                                                      Attn: Albert Buu and Malcolm
 Neutronpay Inc                                       Weed                           422 Richards Street, #170                                                     Vancouver          BC                        Canada
                                                      Attn: Albert Buu and Malcolm
 Neutronpay Inc.                                      Weed                           422 Richards St #170                                                          Vancouver          BC                        Canada
 Nevada Construction Services                                                        PO BOX 207428                                                                 Dallas             TX           75320-7428
 Nevada Department of Taxation                                                       1550 College Parkway                              115                         Carson City        NV           89706-7937
                                                      Attn: Commerce Tax
 Nevada Department of Taxation                        Remittance                     PO Box 51180                                                                  Los Angeles        CA           90051-5480
 Nevada Financial Institutions Division                                              3300 W Sahara Ave                                 Suite 250                   Las Vegas          NV           89102
 Nevada Securities Division                                                          2250 Las Vegas Blvd North                         Suite 400                   North Las Vegas    NV           89030
 Nevele Partners                                                                     Government Center                                                             ellenville         NY           12428
 New Green LLC                                                                       30 Undermountain Road                                                         Great barrington   MA           01230
 New Hampshire Banking Department                                                    53 Regional Drive                                                             Concord            NH           3301
 New Hampshire Bureau of Securities Regulation                                       State House                                       Room 204                    Concord            NH           03301-4989
 New Haven Community Solar LLC                                                       206 Elm St.                                                                   New Haven          CT           06511
 New Jersey Bureau of Securities                                                     153 Halsey Street                                 6th Floor                   Newark             NJ           7102
 New Jersey Department of Bankign and Insurance                                      20 West State Street                              8th Floor                   Trenton            NJ           8608
 New Market GRP LLC                                                                  3341 SW 44th Street                                                           FT Lauderdale      FL           33312
 New Market Grp LLC                                                                  3341 SW 44th Street                                                           Fort Lauderdale    FL           33312
 New Media Trader                                                                    31563 Lindero Canyon Road, Unit 2                                             Westlake Village   CA           91361
 New Mexico Financial Institutions Division                                          2550 Cerrillos Road                               3rd Floor                   Santa Fe           NM           87505
 New Mexico Securities Division                                                      2550 Cerrillos Road                                                           Santa Fe           NM           87505-3260
 New Mexico Taxation & Revenue Department                                            PO Box 25127                                                                  Santa Fe           NM           87504
 New Moon Clothing Inc.                                                              2418 Locust St.                                                               Butte              MT           59701
 New World Savings Inc.                                                              33831 Granada Dr.                                                             Dana Point         CA           92629
 New World Savings Inc.                                                              9281 Research Drive                                                           Irvine             CA           92618
 New York Department of Financial Services                                           One State Street                                                              New York           NY           10004-1511
 New York Investor Protection Bureau                                                 28 Liberty Street                                 15th Floor                  New York           NY           100005
 NewBin Corp.                                                                        1001 State Street, Suite 907                                                  Erie               PA           16501
 NewsBeat Social Inc.                                                                3123 NW Industrial Street                                                     Portland           OR           97210
 Newsleep LLC                                                                        26315 N. 86th Place                                                           Scottsdale         AZ           85255
 NexGenT Inc                                                                         135 N. 2nd Avenue                                                             Phoenix            AZ           85003
 Nexregen Real Estate Investment Trust I                                             3080 Bristol Street, Suite 550                                                Costa Mesa         CA           92626
 Next Act Properties Inc.                                                            515 N. Flagler Drive                                                          West Palm Beach    FL           33401
 Next Future Transportation inc.                                                     246 Race Street                                                               San Jose           CA           95126
 NextGen Protection Companies, INC.                                                  7165 Bermuda Road                                 Attn: Accounts Receivable   Las Vegas          NV           89119
 NextGen Systems, LLC                                                                7165 Bermuda Road                                                             Las Vegas          NV           89119

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                      Name                                     Attention                             Address 1                                  Address 2                City         State       Zip         Country
 NextRX Inc                                                                        8670 West Cheyenne Ave                                                    Las Vegas           NV           89129
 Nexus eWater Holdings Inc.                                                        5945 Pacific Center Blvd                                                  San Diego           CA           92121
                                                     Attn: Ricardo Gonzalez
                                                     Dorronsoro, Sandra Yannethe
 Nexxdi OTC, Limited                                 Zuluaga Santa                 Calle 58N 4B-45                                                           Cali                Valle        760001       Colombia
 Nexxdiotic                                          Attn: Ricardo Gonzalez        Calle 58N 4B-45                                                           Cali                             76001        Colombia
 Nexxdiotic                                          Attn: Ricardo Gonzalez        Calle 58N 4B-45                                                           Cali 76001                                    Colombia
 N-Gen Technologies Inc.                                                           13393 Samantha Ave                                                        San Diego           CA           92129
 NGHBR Inc.                                                                        7209 Perrywood Rd                                                         Upper Marlboro      MD           20772
 Nicholson Sand Investors LLC                                                      18167 East Petroleum Drive, Suite A                                       Baton Rouge         LA           70809
 Nickelytics Inc.                                                                  500 E. Kennedy Blvd                                                       Tampa               FL           33602
 NICKLpass                                                                         Geary Boulevard                                 Suite #101                San Francisco       CA           94118
 Night Owl Canning Company LLC                                                     2711 Centerville Road                                                     Wilmington          DE           19808
 Nine Spoons LLC                                                                   1089 Homestead Road                                                       South Euclid        OH           44121
 Niveau Brands Inc.                                                                2120 University Ave                                                       Berkeley            CA           94704
 NJ Division of Employer Accounts                                                  PO Box 059                                                                Trenton             NJ           08625
 No Limit Technology Holdings Inc                                                  1407 Foothill Blvd                                                        LA Verne            CA           91750
 Noble Naturals                                                                    2418 Potter Street                                                        Oakland             CA           94601
 Noble Pies LLC                                                                    121 State Rt 94 S                                                         Warwick             NY           10990
 NODABL Networks Inc.                                                              408 Water St                                                              Waxahachie          TX           75165
 Noe Jr LLC                                                                        91-120 Aipoola Way                                                        Ewa Beach           HI           96706
 Noel Creek Limestone Investors 7 LLC                                              321 S. Boston, Suite 200                                                  Tulsa               OK           74103
 No-H2O USA Inc                                                                    Suite 200/300 501 East las Olas BLVD                                      Fort Lauderdale     FL           33301
 Nolin Sands Investors LLC                                                         128-A Courthouse Square                                                   Oxford              MS           38655
 Nori LLC                                                                          2208 Northwest Market Street                                              Seattle             WA           98107
 North Carolina Commissioner of Banks Office                                       4309 Mail Service Center                                                  Raleigh             NC           27699-4309
 North Carolina Department of Revenue                                              3500 Latrobe Dr, Ste 300                                                  Charlotte           NC           28211
 North Carolina Securities Division                                                PO Box 29622                                                              Raleigh             NC           27626-0622
 North Country Showcase Inc                                                        6100 St Lawrence Centre                                                   Massena             NY           13662
 North Dakota Department of Financial Institutions   Consumer Division             1200 Memorial Hwy                                                         Bismarck            ND           58504
 North Dakota Securities Department                                                600 East Boulevard Dept. 414                    State Capitol, 5th Fl     Bismarck            ND           58505-0510
 Northeast Capital Fund II LLC                                                     1650 Market Street                                                        Philadelphia        PA           19103
 Northeast Productions Inc.                                                        7784 Arlington Ave NW                                                     Massillon           OH           44646
 Nouri Life LLC                                                                    3150 Roswell Rd NW                                                        Atlanta             GA           30305

 Nova Treasure PTE LTD                               Attn: Thomas                  Pirnie Ha, Cockburn Hill Road                                             Edinburgh           Mid Lothian EH14 7JB United Kingdom
 Novadore USA LLC                                                                  1835 Northeast Miami Gardens Drive                                        North Miami Beach   FL          33179
 Novalent Ltd.                                                                     2319 Joe Brown Dr                                                         Greensboro          SC          27405
 Novo Aero Technology Inc.                                                         1017 Main Campus Drive                                                    Raleigh             NC          27606
 NowKeto Inc.                                                                      418 E Lakeside Ave                                                        Coeur d'Alene       ID          83815
 NPCx Inc.                                                                         23150 Fashion Drive                                                       Estero              FL          33928
 NRG AV                                                                            6480 Cameron St.                                ste 300                   Las Vegas           NV          89118
 NuEyes Technologies Inc.                                                          120 Newport Center Drive #232                                             Newport Beach       CA          92660
 NuMee Inc                                                                         25 Johnson Rd                                                             Foster              RI          02825
 Nuovo Properties LLC                                                              255 Giralda Avenue                                                        Coral Gables        FL          33134
 NuriFlex Inc.                                                                     601 108th Ave Ne                                                          Bellevue            WA          98004-4376
 Nutri-Chef Gluten-Free Foods LLC                                                  2240 Edwards Street                                                       St. Louis           MO          63110
 Nutripy Inc.                                                                      573 Temple Hills Drive                                                    Laguna Beach        CA          92651
 Nuu Rez Inc                                                                       6401 Time Square Ave                                                      Orlando             FL          32835
 NV Energy                                                                         PO Box 30150                                                              Reno                NV          89520-3065
 nVIAsoft Corporation                                                              211 Warren Street                                                         Newark              NJ          07103
 nVIAsoft Corporation                                                              211 Warren Street, Suite 518                                              Newark              NJ          07103
 NVIS Inc.                                                                         1968 S. Coast Hwy                                                         Laguna Beach        CA          92651
 NY Residential REIT LLC                                                           510 5th Avenue                                                            New York            NY          10022
 NYC Opportunity Fund LLC                                                          263 Tresser Boulevard                                                     Stamford            CT          06901
 NYNJA Inc                                                                         5 Willard Street                                                          Cheyenne            WY          07644


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                          Name                                    Attention                            Address 1                                  Address 2                   City          State      Zip          Country
                                                       Attn: Steven Foster and Duane
 NYXEX Holdings, Inc.                                  Lee                           312 W 2nd St                                                                  Casper              WY           82601
 O2 Treehouse Commercial Inc                                                         133 Copeland St                                  Ste C                        Petaluma            CA           94952-3145
                                                       Attn: Wrendon Dwayne Ludrick
 OAC Equity Holdings Inc                               Timothy                       85 Champs Fleur Drive Newlands                                                Grand Cayman                     KY1-9006
 Oakmont Barbeque Company LLC                                                        370 Virginia Ave                                                              Oakmont             PA           15139
 Oakwood Ave. LLC                                                                    2418 Dallas Street                                                            Los Angeles         CA           90031
 Oasis Alabama LP                                                                    10655 Park Run Dr.                                                            Las Vegas           NV           89144
 Oasis Grocery Direct Inc.                                                           251 South Parkway Drive                                                       Delaware            OH           43015
 Obvious Wines LLC                                                                   245 3rd Avenue                                                                Venice              CA           90291
 Ocean Protocol Foundation Ltd.                                                      20 Pasir Panjang Rd                                                           Singapore           Singapore    117439       Singapore
 Office of State Tax Commissioner                                                    600 E. Boulevard Ave., Dept. 127                                              Bismarck            ND           58505
 Office of the Assessor Clark County                                                 500 S Grand Central Pky                                                       Las Vegas           NV           89106
 Office of the Kansas Securities Commissioner                                        1300 SW Arrowhead road                           Suite 600                    Topeka              KS           66604

 Office of The U.S. Trustee for the District of Delaware Attn: Joseph Cudia          844 King Street, Suite 2207                      Lockbox 35                   Wilmington          DE           19801
 Office Pride                                                                        3450 east lake Road                              Suite 202                    Palm Harbor         FL           34685
 Office Pride Las Vegas                                  Attn: Jeff Lyons            3651 Lindell Rd, #D544                                                        Las Vegas           NV           89113
 Office Team                                                                         2613 Camino Ramon                                                             San Ramon           CA           94583

                                                                                     Attn: Robert J. Stark & Bennett S. Silverberg &
 Official Committee of Unsecured Creditors             c/o Brown Rudnick LLP         Kenneth J. Aulet & Jennifer M. Schein           7 Times Square                New York            NY           10036

 Official Committee of Unsecured Creditors             c/o Brown Rudnick LLP         Attn: Tristan G. Axelrod & Matthew A. Sawyer     One Financial Center            Boston           MA           02111
                                                       c/o Womble Bond Dickinson                                                      1313 North Market Street, Suite
 Official Committee of Unsecured Creditors             (US) LLP                      Attn: Donald J. Detweiler & Elazar A. Kosman     1200                            Wilmington       DE           19801
 Offix-USA LLC                                                                       1200 N Ashland Ave                                                               Chicago          IL           60622
 OG SPV 1 Inc.                                                                       1155 Camino Del Mar                                                              Del Mar          CA           92014
 Ohana Oath Inc.                                                                     2930 Umatilla St.                                                                Denver           CO           80211
 Ohio Department of Taxation                                                         4485 Northland Ridge Blvd                                                        Columbus         OH           43229
 Ohio Division of Financial Institutions                                             77 South High Street                             21st Floor                      Columbus         OH           43215
 Ohio Division of Securities                                                         77 South High Street                             22nd Floor                      Columbus         OH           43215
 OkCoin                                                                              150 Spear St Ste 1700                                                            San Francisco    CA           94105
 OKCOIN USA INC.                                       Jeff Ren                      115 SANSOME ST                                   STE 1002                        SAN FRANCISCO    CA           94104-3626

 OKCoin USA Inc. and OKC USA Holding Inc.              c/o Duane Morris LLP          Attn: Sommer L. Ross                             1201 N. Market Street, Suite 501 Wilmington      DE           19801
 OKCoin USA, Inc                                       Attn: Philip Wei              201 SPEAR ST                                     STE 1100                         SAN FRANCISCO   CA           94105-6164
                                                       Attn: Philip Wei and Lauren
 OKCoin USA, Inc.                                      Weisheit                      201 SPEAR ST                                     STE 1100                     SAN FRANCISCO       CA           94105-6164
 OKCoin, OKB Technology Company Limited                Attn: Philip Wei              388 Market Street Suite 1300                                                  San Francisco       CA           94111
 Oklahoma Department of Banking                        Attn Money Transmission       2900 North Lincoln Blvd                                                       Oklahoma City       OK           73105
 Oklahoma Department of Consumer Credit                                              629 NE 28th Street                                                            Oklahoma City       OK           73105
 Oklahoma Department of Securities                                                   204 N Robinson                                   Suite 400, City Place        Oklahoma City       OK           73102
 Okta                                                  Attn: Leslie Hui              100 1st St
 Okta, Inc.                                                                          100 First St                                     Suite 600                    San Francisco       CA           94105
 Oktana                                                                              121 West 27th st                                 405                          New York            NY           10001
 Oleg, L.P. Limited Partnership                        Oleg Tishkevich               4957 Lakemont Blvd SE STE C4-5                                                Bellevue            WA           98006
 Olive Tree People Inc                                                               2425 Olympic Blvd. #4000W                                                     Santa Monica        CA           90404
 Olive's Bff LLC                                                                     12340 Seal Beach Blvd                                                         Seal Beach          CA           90740
 OncoGenerix Invest Inc.                                                             6046 Cornerstone Court West, Suite 155                                        San Diego           CA           92121
 One Alliance INC                                                                    1000 5th Street, suite 200                                                    Miami Beach         FL           33139
 One Roq Spirits LLC                                                                 430 Virginia Street                                                           Buffalo             NY           14201
 One Roq Spirits LLC                                                                 430 Virginia Street, Ste 401                                                  Buffalo             NY           14201
 One Sphera Inc.                                                                     Pob 4008                                                                      Sparks              NV           89432
 One World Bancorp                                     Attn: Joe Mann                1013 Centre Road                                 Suite 403A                   Wilmington          DE           19805
 One World Bancorp                                     Attn: Joe Mann                1013 Centre Road, Suite 403A                                                  Wilmington          DE           19805
 OneGlobe Citizen LLC                                                                222 W Merchandise Mart Plaza                                                  Chicago             IL           60654

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                          Name                                 Attention                              Address 1                                   Address 2                        City      State       Zip       Country
 OneName Global Inc.                                                                 20720 NW Quail Hollow Rd                                                          Portland           OR         97229
 OneTrust                                            Attn: Erik Reardon              1200 Abernathy Rd NE Bldg 600                                                     Atlanta            GA         30328
 OneTrust LLC                                                                        1200 Abernathy Road Northeast                    Building 600                     Atlanta            GA         30328
 Onfolio Holdings Inc.                                                               10F NO. 136 JINGYE 3RD Road LANE 162                                              Taipei CIty        Taipei     F5 104     Taiwan
 Onfolio Holdings Inc.                                                               10F No. 136 Jingye 3rd Road, Lane 162                                             Taipei CIty        TAIPEI     F5 104     Taiwan
 Onics, Inc.                                                                         2920 Clairemont Dr                                                                San Diego          CA         92117
 ONIT Sciences                                                                       2030 Main Street                                                                  Irvine             CA         92614
 Online Systems Inc                                                                  5420 Main St. E.                                                                  MAPLE PLAIN        MN         55359
 ONO 3D Inc.                                                                         1355 Market Street                                                                San Francisco      CA         94103-1314

 Onramp Invest, LLC                                  Attn: Kasey Price and Eric Ervin 402 W Broadway, Ste 920                                                          San Diego          CA         92101
 Onzic Inc                                                                            8130 Lakewood Main Street                                                        Lakewood Ranch     FL         34202
 OOB Norwell Investment LLC                                                           101 Federal St                                                                   Boston             MA         02110
 OP Ventana, LLC                                                                      100 Roak Road                                                                    Kentfield          CA         94904
 Open Box Buy Corporation                                                             2896 Carmelo Drive                                                               Henderson          NV         89052
                                                     Attn: Rui Gomes, Julie
                                                     Landrum, Mathew Fox, and
 Open node                                           Alex Homes                       5700 Wilshire Boulevard, #Unit 460                                               Los Angeles        CA         90036
                                                     Attn: Rui Gomes, Julie
                                                     Landrum, Matthew Fox, and
 Open Node                                           Alex Holmes                      5700 Wilshire Boulevard #Unit 460                                                Los Angeles        CA         90036-3768
 Open Source Capital LLC                                                              312 SE 15th Street, Second Floor                                                 Fort lauderdale    FL         33316
 OpenComp LLC                                                                         251 Post Street                                 Suite 310                        San Francisco      CA         94108
 OpenDeal Inc. dba Republic                          Attn: Tae Mi Lee                 3131 Eastside Street, Suite 100                                                  Houston            TX         77098
 OpenDeal Inc. dba Republic                          Attn: Youngro Lee                149 5th Ave, Suite 2E                                                            New York           NY         10010
 Opening Night Enterprises LLC                                                        80 W Sierra Blvd                                                                 Sierra Madre       CA         91024
 Oper LLC                                                                             911 Washington Avenue                                                            St. Louis          MO         63101
 Opu Labs Incorporated                                                                3790 El Camino Real                                                              Palo Alto          CA         94306
 Oracle America Inc                                                                   Bank of America Lockbox Services                15612 Collections Center Drive   Chicago            IL         60693
 Oracle America Inc                                  Attn: Sabrina Shouneyia          1001 Sunset Blvd                                                                 Rocklin            CA         95765
 Oracle America Inc.                                 Attn: Sabrina Shouneyia          1001 Sunset Blvd                                                                 Rocklin            CA         95765
                                                     c/o Buchalter, A Professional
 Oracle America, Inc.                                Corporation                      Attn: Shawn M. Christianson                     425 Market Street, Suite 2900    San Francisco      CA         94105-3493
 Oracle Health Inc.                                                                   2450 Holcombe Blvd suit J                                                        Houston            TX         77021
 Oracle Health Inc.                                                                   2450 Holcombe Boulevard                                                          Houston            TX         77021
 Orange Wolf Content LLC                                                              12117 1/2 Washington Place                                                       Los Angeles        CA         90066
 ORBAI Technologies Inc.                                                              3120 Scott Blvd                                                                  Santa Clara        CA         95054
 Orbvest Glenridge Medical 22 Buildings LLC                                           101 Vickery Street                                                               Roswell            GA         30075
 Orbvest Meridian Medical 23 Buildings LLC                                            101 Vickery Street                                                               Roswell            GA         30075
 OrbVest Old Milton Medical 25 Buildings LLC                                          101 Vickery Street                                                               Roswell            GA         30075
 OrbVest Two Forest Medical 26 Buildings LLC                                          101 Vickery Street                                                               Roswell            GA         30075
 Oregon Division of Financial Regulation                                              350 Winter Street NE                            Room 410                         Salem              OR         97301
 Organic Amazon Corp                                                                  104 Crandon Boulevard                                                            Key Biscayne       FL         33149
 Organic Craft Brewing                                                                1430 Vantage Court Suite 101                                                     VIsta              CA         92081
 Organic Living Inc.                                                                  1379 Hibiscus Street                                                             Clearwater         FL         33755
 Organiponic Inc                                                                      P.O. Box 500131                                                                  Austin             TX         78750
 Origin Protocol Inc.                                                                 845 Market Street                                                                San Francisco      CA         94103
 Originclear Inc.                                                                     13575 58th Street N,                                                             Clearwater,        FL         33760
 OriginClear Inc.                                                                     13575 58th Street North                                                          Clearwater         FL         33760
 Orion Haus Homes & Hotels Inc.                                                       2801 S. Federal Highway, 21770                                                   Fort Lauderdale    FL         33335
 Orrick Herrington & Sutcliffe LLP                                                    2121 Main Street                                                                 Wheeling           WV         26003
 Orthosnap I A Series of Republic Deal Room Master
 Fund LP                                                                             PO BOX 171305                                                                     SALT LAKE CTY      UT         84117-1305
 Oscilla Power Inc.                                                                  4240 Gilman Pl W Ste C                                                            Seattle            WA         98199
 Osiris Media Corp.                                                                  3300 13th Street NE                                                               Washington         DC         20017
 OSS Services LLC                                                                    3651 Lindell Road                                Suite D 208                      Las Vegas          NV         89103
 OSSIC Corporation                                                                   1470 Encinitas Blvd #123                                                          Encinitas          CA         92024

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                       Name                                   Attention                           Address 1                         Address 2                     City             State      Zip       Country
 Otaca                                                                          36 Argonaut                                                           Aliso Viejo               CA        92656
 Otaca                                                                          36 Argonaut Suite 100                                                 Aliso Viejo               CA        92656
 OTIS Dental Inc.                                                               440 N BARRANCA AVE                                                    COVINA                    CA        91723-1722
 Ottr Finance Inc                                 Attn: Aleksei Zakharov        437 Lytton Ave, Suite 100                                             Palo Alto                 CA        94301
 Ottr Finance Inc.                                Attn: Aleksei Zakharov        437 Lytton Ave, Ste 100                                               Palo Alto                 CA        94301-1533
 Ounce Water Inc.                                                               2 DEPOT PLZ                               STE 2E                      BEDFORD HILLS             NY        10507-1849
 Outbound Brewing Inc.                                                          6364 Ferris Square                                                    San Diego                 CA        92121
 Outlook Corporate Consulting LLC.                                              9130 South State Street                                               Sandy                     UT        84070
 Outreach                                                                       333 Elliot Ave W Suite 500                                            Seattle                   WA        98119
 Oval Labs                                        Attn: Chinedu Okpala          8 The Green, Ste A                                                    Dover                     DE        19901
 Oval Labs, Inc                                   Attn: Chinedu Okpala          8 The Green, Suite A                                                  Dover                     DE        19901
 Oval Labs, Inc.                                  Attn: Chinedu Okpala          1958 West Gray Street, Unit 1412                                      Houston                   TX        77019
 Oval Labs, Inc.                                  Attn: Chinedu Okpala          8 The Green                               Suite A                     Dover                     DE        19901
 Ovanova Inc                                                                    5822 Waring Ave                                                       Hollywood                 CA        90038
 Overland Bound Inc.                                                            482 Lindbergh Avenue                                                  Livermore                 CA        94551
 OVEX                                             Attn: Jonathan Ovadia         Unit 501 The Point                        76 Regent Road, Sea Point   Cape Town                           8005       South Africa
 OVEX                                             Attn: Jonathan Ovadia         Unit 501 The Point, 76 Regent Road                                    Sea Point                 Cape Town 8005       South Africa
 OVEX Pty(Ltd)                                    Attn: Jonathan Ovadia         69 Victoria Road, Bantry Bay                                          Cape Town, Western Cape             8001       South Africa
 Owlized                                                                        1062 Folsom St.                                                       San Francisco             CA        94103
                                                                                R ADELAIDE DANIEL DE ALMEIDA, 170, sala
 OWS Brasil Intermediacao LTDA                    Attn: Adriano Froes           27 box 05,                                Campinas                    Sao Paulo                             13080661   Brazil
                                                                                R Adelaide Daniel de Almeida, 170 Sala 27
 OWS Brasil Intermediacao LTDA                    Attn:Adriano Froes            Box 05                                                                Campinas                  Sao Paulo              Brazil
 OYA Femtech Apparel Inc.                                                       900 W Temple St, Apt 443B                                             Los Angeles               CA          90012
 OZFund Inc.                                                                    800 South Queen Street                                                Lancaster                 PA          17603
 P5 Systems Inc.                                                                3264 Grey Hawk Court                                                  Carlsbad                  CA          92010
 PA Department of Revenue                                                       PO Box 280431                                                         Harrisburg                PA          17128
 PAC Integrations, Inc.                                                         5051 Commercial Circle                    Suite D                     CONCORD                   CA          94524-1008
 Pacific Integrated Energy Inc.                                                 11555 Sorrento Valley Rd Ste 204                                      San Diego                 CA          92121
 Pacific Integrated Energy Inc.                                                 3934 MURPHY CANYON RD                     STE B102                    SAN DIEGO                 CA          92123-4425
 Pacific Northwest Rural Broadband Alliance Ltd                                 1538 Defoe Street                                                     Missoula                  MT          59802
 PAF Statutory Trust dba PAF Group, LLC           Attn: Philip Barr             340 East 64th Street, Unit 4D                                         New York                  NY          10065      China
 PagerDuty Inc Dept 3817                                                        PO Box 123817                             Dept 3817                   Dallas                    TX          75312-3817
                                                  Attn: Paulo Junior Spadetto
 Pagotec Consultancy LTD                          Ramos                         1 Highfields Love Lane Kings                                          Langley                               WD4 9JT    England

 Pagotec Consultancy LTD                          Attn: Paulo R                 4/4A Bloomsbury Square                                                London                                WC1A 2RP United Kingdom
 Pagotronic LLC dba Pagotronic                    Attn: Luis Rojas              5798 SW 68th St                                                       South Miami               FL          33156
 PaidWorkout Corp.                                                              2301 Collins Ave Suite 318                                            Miami Beach               FL          33139
 Painter 1 of Las Vegas                                                         92 verde Rosa dr                                                      Henderson                 NV          89011
 Pakt Inc.                                                                      2000 Winton Rd. Building 4                                            Rochester                 NY          14618
 Paladin Power Inc                                                              27689 State HWY 74                                                    Perris                    CA          92570
 Palindrome Master Fund LP                        Sarah R. Moros                250 W 55th Street                                                     New York                  NY          10019
 Panorays Ltd                                                                   Aminadav 3                                                            Tel Aviv                                       Israel
 Papillon Pavilion Records                                                      548 Pine Song Trail                                                   Golden                    CO          80401
 Parallel Flight Technologies Inc.                                              1120 Sylvia Way                                                       Ben Lomond                CA          95005
 Parallel Flight Technologies Inc.                                              450 McQuaide Drive                                                    La Selva Beach            CA          95076
                                                  Attn: Lee Tolleson and
 ParaPay                                          Cameron Ashby                 2232 Dell Range Blvd., Ste 245                                        Cheyenne                  WY          82009
                                                  Attn: Cameron Ashby and Lee
 ParaPay dba ParaWerx                             Tolleson                      2232 Dell Range Blvd, Ste 245                                         Cheyenne                  WY          82009
 Park Avenue Partners Fund 1 LLC                                                Four Embarcadero Center, Suite 1400                                   San Francisco             CA          94111
 Parlay App Inc.                                                                72 Glen Road                                                          Wilmington                MA          01887
 Parvus Capital Corporation                                                     5000 Eldorado Pkwy, Suite 150-440                                     Frisco                    TX          75033
 Passage Technology                                                             PO BOX 84886                                                          Chicago                   IL          60689
 Passion Tree Co.                                                               901 Marquette Avenue South, Suite 1675                                Minneapolis               MN          55402
 Passu Inc.                                                                     1370 North Saint Andrews Place                                        Los Angeles               CA          90028

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                         Name                                    Attention                                 Address 1                                    Address 2                City        State       Zip        Country
 Pattern I A Series of Republic Deal Room Master
 Fund LP                                                                               PO BOX 171305                                                                 SALT LAKE CTY      UT           84117-1305
 Paw Pods LLC                                                                          169 W Clarkston Rd                                                            Lake Orion         MI           48362
 Paxful Inc.                                         Attn: Darja Ahmarova              3422 Old Capitol Trail PMB# 989                                               Wilmington         DE           19808
 Paxful Inc.                                         Attn: Darja Ahmarova              3422 Old Capitol Trail PMB# 989                                               Wilmington                      19808
 Paycor                                                                                4811 Montgomery Rd.                                                           Cincinnati         OH           45212
 Paycor                                                                                PO Box 639860                                                                 Cincinnati         OH           45263-9860
 Paycor, Inc.                                                                          4811 Montgomery Rd.                                                           Cincinnatti        OH           45212
 PayCruiser                                          Attn: Ousmane Conde               2901 West Coast Highway                             #200                      Newport Beach      CA           92663
 PayCruiser                                          Attn: Ousmane Conde               2901 West Coast Highway, Suite 200                                            Newport Beach      CA           92663
 Paygevity Inc.                                                                        142 West 57th Street, 7th Floor                                               New York           NY           10019
 PC-110183 - Missouri Department of Revenue                                            PO Box 475                                                                    Jefferson City     MO           65105
 PC-110236 - Pagotec Consultancy Ltd                                                   4/4A Bloomsbury Square                                                        London                          WC1A 2RP England
 PC-110266                                           International Fingerprint, Inc.   6999 Dolan Dr                                                                 Glouster           OH           45732
 PC-110281 - Knapsack, LLC                                                             5973 Meridian Blvd.                                                           Brighton           MI           48116
 PC-110374 - Planful, Inc.                           c/o Legal Department              150 Spear Street                                    Suite 1850                San Francisco      CA           94105
 PC-110376 - Katten Muchin Rosenman LLP              Attn: Peter Siddiqui              525 West Monroe Street                                                        Chicago            IL           60661-3693
                                                     c/o The Phillips Law Offices,
 PC-110723 - Edwards v. Prime Trust                  LLC                               Attn: Phillips Kill Lynn                            6301 Ivy Ln, Ste 700      Greenbelt          MD           20770
 PC-110726 - Philadelphia Indemnity Insurance        Attn: Kimberly B. Czap, Vice
 Company                                             President                         One Bala Plaza, Suite 100                                                     Bala Cynwyd        PA           19004
 PC-110726 - Philadelphia Indemnity Insurance
 Company                                             Attn: Scott Williams              1201 Demonbreun Street                              Suite 900                 Nashville          TN         37203
 PC-110728 - Philadelphia Indemnity Insurance        Attn: Kimberly B. Czap, Vice                                                                                                       Pennsylvan
 Company                                             President                         One Bala Plaza, Suite 100                                                     Bala Cynwyd        ia         19004
 PC-110728 - Philadelphia Indemnity Insurance
 Company                                             Attn: Scott Williams              1201 Demonbreun Street, Suite 900                                             Nashville          TN           37203

 PC-110803 - Allegheny Casualty Company                                                One Newark Center, 20th Floor                                                 Newark             New Jersey 7924
 PC-110826 - Endurion LLC                                                              230 Thornton Dr                                                               Hampstead          NC         28443
 PC-110868 - 450 Investments LLC                     Attn: Zachary Bodmer              450 Park Avenue                                     20th Floor                New York           NY         10022
 PC-110869 - Philadelphia Indemnity Insurance        Attn: Kimberly B. Czap, Vice
 Company                                             President                         One Bala Plaza, Suite 100                                                     Bala Cynwyd        PA           19004
 PC-110869 - Philadelphia Indemnity Insurance
 Company                                             c/o Manier & Herod, P.C.          1201 Demonbreun Street, Suite 900                                             Nashville          TN           37203
 PC-110870 - Philadelphia Indemnity Insurance
 Company                                             c/o Manier & Herod, P.C.          1201 Demonbreun Street, Suite 900                                             Nashville          TN           37203
 PC-110925 - Const LLC                               c/o Greenberg Glusker LLP         Attn: Jonathan Shenson                                                        Los Angeles        CA           90067
 Pcc Capital Investments LLC                                                           18156 Darnell Drive                                                           Olney              MD           20832
 PCI Security Standards Council LLC                                                    25 Century Boulevard                                Suite 505                 Nashville          TN           37214
 Peaberry Software Inc.                                                                921 Southwest Washington Street                                               Portland           OR           97205
 Pearachute Inc.                                                                       320 W. Ohio Street                                                            Chicago            IL           60654
 Peeka Inc.                                                                            999 3rd Ave                                                                   Seattle            WA           98104
 Peeler Group International                                                            5401 South Kirkman Road                             Suite 310                 Orlando            FL           32819
 Peer Pantry LLC                                                                       1088 E.174th St                                                               Cleveland          OH           44119
 Peerless Public Safety Solutions Incorporated                                         14321 Winter Breeze Drive Ste 87                                              Midlothian         VA           23113
 Pegasus Growth Capital Fund I, LP                   Hank J. Holland                   2103 Plantation Village, Bldg 2, #103                                         Dorado                          00646      Puerto Rico
 Pegasus Growth Capital Fund I, LP                   Hank J. Holland                   6149 E INDIAN BEND RD                                                         PARADISE VLY       AZ           85253-3439

 Pennsylvania Department of Banking and Securities                                     17 North Second Street                              Suite 1300                Harrisburg         PA           17101
 PenPal News Inc.                                                                      411 West Monroe Street                                                        Austin             TX           78704
 People First RH Inc.                                                                  99 Hudson Street                                                              New York           NY           10013
 Perch Point LLC                                                                       125 W Melvina St. Suite 1                                                     Milwaukee          WI           53212
 PerFIcT Inc.                                                                          1942 Overland Ave                                                             Los Angeles        CA           90025
 PerformLine, Inc                                                                      58 South St.                                                                  Morristown         NJ           07960
 Perquimans Holdings LLC                                                               11675 Rainwater Dr.                                                           Alpharetta         GA           30009
 Perrion Drywall and Remodeling                                                        107 Sund Street                                                               Worthing           SD           57077

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                        Name                             Attention                               Address 1                                 Address 2                   City      State       Zip      Country
 Persephone Biosciences Inc.                                                  3210 Merryfield Row                                                           San Diego         CA         92121
 Persona Network Inc.                                                         182 Howard St. 119                                                            San Francisco     CA         94105
 Personal Airline Exchange Inc.                                               401 Wilshire Blvd.                                                            Santa Monica      CA         90401
 Personal Airline Exchange Incorporated                                       805 Paseo Del Robledo                                                         Thousand Oaks     CA         91360
 Pf Vc001 LP                                                                  2255 S Wadsworth Boulevard, Suite 106                                         Lakewood          CO         80227
 Pharmozyme Inc.                                                              1190 Mountain View Alviso Rd                                                  Sunnyvale         CA         94089
                                               c/o McElroy, Deutsch, Mulvaney                                                  300 Delaware Avenue, Suite
 Philadelphia Indemnity Insurance Company      & Carpenter, LLP               Attn: Gary D. Bressler                           1014                         Wilmington        DE         19801
 Phillips Entertainment Group Inc.                                            1480 Colorado Blvd                                                            Los Angeles       CA         90041
 Philter Labs Incorporated                                                    571 2nd Street                                                                Encinitas         CA         92024
 Phix Properties LLC                                                          1 (602) 570-3266                                                              Gilbert           AZ         85297
 Phix Properties LLC                                                          3463 So Rim Road                                                              Gilbert           AZ         85297
 Phoenix 40th Street Buildings LLC                                            101 Vickery Street                                                            Roswell           GA         30075
 Phoenix 555N Buildings LLC                                                   101 Vickery Street                                                            Roswell           GA         30075
 Phoenix Settlements LLC DBA Emergent Solar
 Solutions                                                                    3302 E Indian School Road                                                     Phoenix           AZ         85018
 Phoenix Talavi Buildings LLC                                                 101 Vickery Street                                                            Roswell           GA         30075
 Phormed Inc                                                                  1999 Avenue of the Stars, #1100                                               Century City      CA         90067
 Phrame Inc.                                                                  75 Broadway                                                                   San Francisco     CA         94111
 PhunCoin Inc.                                                                7800 Shoal Creek Boulevard                                                    Austin            TX         78757
 Pickzen Inc.                                                                 20 Crestwood St                                                               Fall River        MA         02720
 Piedmont Solar Investors LLC                                                 128-A Courthouse Square                                                       Oxford            MS         38655
 Piermont Bank, N.A.                                                          4 Bryant Park 3rd Floor                                                       New York          NY         10018
 Pierogi Pantry                                                               1919 Gettysburg Dr.                                                           Lorain            OH         44053
 Pig Hill Brewery LLC                                                         1721 Lowrie St                                                                Pittsburgh        PA         15212
 Pigee Inc.                                                                   8 The Green                                                                   Dover             DE         19901
 Pigeonly Inc.                                                                701 East Bridger Avenue                                                       Las Vegas         NV         89101
 PiggyBack Network Inc                                                        10357 S Leavitt St                                                            Chicago           IL         60643
 Pinnacle One, LLC                                                            1885 Harvest Circle                                                           Tustin            CA         92780
 Pinttosoft LLC                                Attn: Angel Salazar            10625 Now 122nd St                                                            Medley            FL         33178
 Pip & Lola's Everything Homemade LLC                                         1921 Smallman St                                                              Pittsburgh        PA         15222
 Pipedrive Inc                                                                333 3RD AVE N                                    # 500C                       ST PETERSBURG     FL         33701-3899
 Pipeline Sports Network Inc. dba PipelineVR                                  5141 California Ave, Suite 200                                                Irvine            CA         92697
 PiQPiQ Inc.                                                                  1922 Lake Street                                                              San Francisco     CA         94121
 Pistil & Pollen LLC                                                          5082 East Hampden Avenue                                                      Denver            CO         80222
 Pit Boss Inc                                                                 856 Virginia Ave                                                              Atlanta           GA         30334
 Pitch and Primer Inc.                                                        3312 Langston Circle                                                          Apex              NC         27539
 PitchBook Data Inc                                                           901 Fifth Avenue Suite 1200                                                   Seattle           WA         98164
 Piton Group LLC                                                              750 Hammond Drive                                                             Sandy Springs     GA         30328
 PittMoss LLC                                                                 2603 Duss Avenue                                                              Ambridge          PA         15003
 Pittsburgh Current LLC                                                       1665 Broadway Ave.                                                            Pittsburgh        PA         15216
                                                                              630 Freedom Business Center Drive, Paradise
 PLAA Wear Inc                                                                Valley Village,                                                               King of Prussia   PA         19406
 Plaid Inc.                                                                   85 Second Street                                 Suite 400                    San Francisco     CA         94105
 Planet Alpha Corp.                                                           1035 Cambridge Street                                                         Cambridge         MA         02141
 Planet Digital Partners Inc.                                                 2055 Reading Road, Suite 390                                                  Cincinnati        OH         45202
 Planful                                                                      555 Twin Dolphin Drive                           4th Floor                    San Francisco     CA         94105
 Plant an App Inc.                                                            911 Washington Ave.                                                           St. Louis         MO         63101
 PlantSnap Inc.                                                               473.5 West Colorado Ave                                                       Telluride         CO         81435
 PlantSnap Inc.                                                               PO Box 3740                                                                   Telluride         CO         81435
 Platinum Parking                                                             719 Olive Street                                                              Dallas            TX         75201
 PlayChannel Inc.                                                             5 Brewster Street                                                             Glen Cove         NY         11542
 Plei Inc.                                                                    12001 Southwest 128th Court                                                   Miami             FL         33186
 PlusMedia Solutions Inc                                                      9 Little Harbor Road                                                          Guilford          CT         06437
 Pluto                                         Attn: Jacob Sansbury           6601 Center Dr W                                 Suite N                      Los Angeles       CA         90045
 Pluto                                         Attn: Jacob Sansbury           6601 Center Dr W, Suite N                                                     Los Angeles       CA         90045
 Pluton Biosciences LLC                                                       312 Planthurst Road                                                           St. Louis         MO         63119

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 Plutus Financial d/b/a ABRA                  Attn: Willie Wang                 650 Casto Street, #450                                                           Mountain View      CA           94041
 Plutus Lending LLC                                                             321 Castro Street                                                                Mountain View      CA           94041
 PN Medical Florida Fund, LLC                                                   6601 Memorial Highway Suite 310                                                  Tampa              FL           33615
 Po Campo LLC                                                                   1177 6th Avenue                                                                  New York           NY           10036
 Pogotec Inc                                                                    4502 Starkey Road                                                                Roanoke            VA           24018
 Pohl Consulting and Training, Inc.                                             PO Box 287                                                                       Rochelle           IL           61068-0287
 PointBreezeway LLC                                                             7113 Reynolds St.                                                                Pittsburgh         PA           15208
 Polaris Street Capital LLC                                                     7310 Miramar Road                                                                San Diego          CA           92126
 Polaris Ventures                             Attn: Ruairi Donnelly             Innere Margarethenstrasse 5                                                      Basel                           CH-4051    Switzerland
 Polaris Ventures                             Attn: Ruairi May Donnelly         Bussard Str. 2                                                                   Groebenzell                     82194      Germany

                                              c/o Mintz, Levin, Cohn, Ferris,                                                     2049 Century Park East Suite
 Polaris Ventures                             Glovsky and Popeo, P.C.           Attn: Abigail O’Brient                            300                            Los Angeles        CA           90067

                                              c/o Mintz, Levin, Cohn, Ferris,                                                   3580 Carmel Mountain Road
 Polaris Ventures                             Glovsky and Popeo, P.C.         Attn: Joseph R. Dunn                              Suite 300                     San Diego             CA           92130
                                              c/o Young Conaway Stargatt &                                                      Rodney Square 1000 North King
 Polaris Ventures                             Taylor, LLP                     Attn: Michael R. Nestor & Ryan M. Bartley         Street                        Wilmington            DE           19801
                                                                                                                                3883 Howard Hughes Parkway,
 Polaris Ventures, a Swiss Association        c/o Snell & Wilmer L.L.P.         Attn: Blakeley E. Griffith & Hayley J. Cummings Suite 1100                    Las Vegas             NV           89169
 Polsinelli PC                                                                  900 W 48th Place                                Suite 900                     Kansas City           MO           64112
 Polymath Labs Inc.                                                             1412 Broadway                                                                 New York              NY           10018
 Pope's Kitchen LLC                                                             20030 Scottsdale blvd                                                         Shaker Hts            OH           44122
 Poppet LLC                                                                     5205 Holmes St                                                                Pittsburgh            PA           15201
 Poppilu Inc.                                                                   1100 North Lake Shore Drive                                                   Chicago               IL           60611
 Popshop Inc                                                                    161 Lafayette Street                                                          New York              NY           10013
 popSLATE Media Inc                                                             1059 East Meadow Circle                                                       Palo Alto             CA           94303
 POQ Issuer LLC                                                                 12 Ledge Road                                                                 Greenwich             CT           06870
 Porky's LLC                                                                    34-36 Bridge St                                                               Pittsburgh            PA           15223
 Portfolio Media Inc dba Law 360                                                111 West 19th Street                            5th Floor                     New York              NY           10011

 PortSwigger                                                                    6 Booths Park                                     Chelford Road                  Knutsford          England      WA16       United Kingdom
 Postsurgical Therapeutics Inc.                                                 16259 Laguna Canyon Road                                                         Irvine             CA           92618
 PoundWishes Inc.                                                               909 Electric Avenue                                                              Seal Beach         CA           90740
 Powell Development Group Inc.                                                  2600 W. 225th Street                                                             Torrance           CA           90505
 Power Hero Corp.                                                               2105 Foothill Blvd.                                                              La Verne           CA           91750
 Power2Peer Inc.                                                                100 Morrissey Boulevard                                                          Boston             MA           02125
 PowR                                                                           2021 N Lemans Blvd                                Unit 1112                      Tampa              FL           33607
 Ppat USA LLC                                                                   85 Broad Street                                                                  New York           NY           10004
 Pr 115, LLC                                                                    222 West Merchandise Mart Plaza                                                  Chicago            IL           60654
 Pr 117, LLC                                                                    222 West Merchandise Mart Plaza                                                  Chicago            IL           60654
 Pr 121 LLC                                                                     222 W Merchandise Mart Plaza                                                     Chicago            IL           60654
 Pr 123, LLC                                                                    222 W Merchandise Mart Plaza                                                     Chicago            IL           60654
 Pr 125 LLC                                                                     222 W Merchandise Mart Plaza                                                     Chicago            IL           60654
 Pr 127, LLC                                                                    222 W Merchandise Mart Plaza                                                     Chicago            IL           60642
 Pr 129 LLC                                                                     222 W Merchandise Mart Plaza                                                     Chicago            IL           60654
 Pr 215, LLC                                                                    222 W Merchandise Mart Plaza                                                     Chicago            IL           60654
 Pragmatica Law                                                                 Two Embarcadero Center                            8th Floor                      San Fransisco      CA           94111
 Praise Token Inc.                                                              9050 Carron DR                                    Apt 136                        Pico Rivera        CA           90660-3534
 Prazo Inc.                                                                     6728 HILLPARK DR                                  APT 507                        LOS ANGELES        CA           90068-2121
 Predictiv Care Inc                                                             2483 Old Middlefield Way                                                         Mountain View      CA           94043
 Preemadonna Inc.                                                               1250 Borregas Avenue                                                             Sunnyvale          CA           94089
 PrefLogic Inc.                                                                 1416 Sweet Home Road                                                             Amherst            NY           14228
 Premier Brooklyn II LLC                                                        5301 Grant Avenue                                                                Cleveland          OH           44125
 Premier Brooklyn LLC                                                           4922 E 49th Street                                                               Cleveland          OH           44125
 Premier Eastlake LLC                                                           4922 E 49th St.                                                                  Cleveland          OH           44125
 Premier Franklin LLC                                                           4922 E 49th St.                                                                  Cleveland          OH           44125

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 Premier Philipp Parkway LLC                                                  4922 East 49th Street                                                     Cleveland          OH        44125
 Premier Willow LLC                                                           4922 E 49th Street                                                        Cleveland          OH        44125
                                                   Attn: Jeff Tung and Drew
 Premise                                           Frierson                   535 MISSION ST                                   FL 12                    SAN FRANCISCO      CA        94105-3225
 Prep to Your Door LLC                                                        507 Calles Street                                                         Austin             TX        78702
 Prepaid Program Management LLC                                               8633 Autumn Green Drive                                                   Jacksonville       FL        32256
 Prestone Press, LLC                                                          29 Brook Avenue                                                           Maywood            NJ        07607
 Preventive Measures Security Firm, LLC                                       720 W Cheyenne Ave                               Ste 30-40                North Las Vegas    NV        89030
 PRI Gaingels Fund, a series of Zachary Ginsburg
 Funds, LP                                         Brett Sagan                PO Box 3217                                                               Seattle            WA        98114
 Primal Life Organics LLC                                                     405 Rothrock Road                                                         Copley             OH        44321
 Prime Core Technologies Inc.                      Attn: Jor Law              10845 Griffith Peak Dr., #03-153                                          Las Vegas          NV        89135
 Prime Lightworks Inc.                                                        2909 Oregon Ct Ste C12                                                    Torrance           CA        90503
 Prime Trust                                                                  2300 W Sahara Ave, Suite 1170                                             Las Vegas          NV        89102
 Primo Connect Inc.                                                           1550 Scenic Ave, Suite 100                                                Costa Mesa         CA        92626
 Primo Energy Inc.                                                            7350 Trade Street, Suite B                                                San Diego          CA        92121
 Princeton 300A Buildings LLC                                                 101 Vickery Street                                                        Roswell            GA        30075
 Princeton 300B Buildings LLC                                                 3333 Old Milton Pkwy, Alpharetta                                          Georgia            GA        30005
 Principal                                                                    PO Box 77202                                                              Minneapolis        MN        55480
 Principal Life Insurance Company                                             PO BOX 77202                                                              MINNEAPOLIS        MN        55480-7200
 Print the Future Inc.                                                        N/A                                                                       Wilmington         DE        19810
 Pristine Sun Corp                                                            548 Market Street                                                         San Francisco      CA        94104
 Pristine Sun WI LLC                                                          548 Market Street                                                         San Francisco      CA        94104-5401
 Probitas Ventures LLC                                                        1447 S. Tryon St.                                                         Charlotte          NC        28203
 Procertas LLC                                                                3307 Rees Row                                                             Mount Pleasant     SC        29466
 Proctor360 Inc.                                                              1311 High Point Ave.                                                      Richmond           VA        23230
 Profit Property USA 946 MLK LLC                                              4471 Dean Martin Drive                                                    Las Vegas          NV        89103
 ProFundr Inc.                                                                2911 4th St.                                                              Santa Monica       CA        90405
 Project Jam Inc                                                              9701 Wilshire BLVD                                                        Beverly Hills      CA        90210
 Promo Drone Inc.                                                             5732 Micheal St.                                                          San Diego          CA        92105
 Proof Media Inc.                                                             6 grandview lane                                                          Manalapan          NJ        07726
 Ps 1001 LLC                                                                  200 South Michigan Ave.                                                   Chicago            IL        60604
 PSI International Inc.                                                       11200 Waples mill rd                                                      Fairfax            VA        22030
 PsiloThera Inc.                                                              17 Cerchio Basso                                                          Henderson          NV        89011
 PSP Mobile Home Park Fund II                                                 27762 Antonio Pkwy                                                        Ladera Ranch       CA        92694
 Psychics1on1 Inc.                                                            4700 Millenia Blvd Suite 400                                              Orlando            FL        32839
 PT Motion Works Inc.                                                         740 E. Solana Circle                                                      Solana Beach       CA        92075
 PuffCuff LLC                                                                 869 Pickens Industrial Drive                                              Marietta           GA        30062
 Pulse Protocol Inc.                                                          1600 Main St                                                              Venice             CA        90291
 PulseWave Energy Inc.                                                        30 N. Gould Street                                                        Sheridan           WY        82801
 Punch Inc.                                                                   115 W California Blvd                                                     Pasadena           CA        91105
 Pure Green Franchise Corp                                                    60 East 8th Street                                                        New York           NY        10003
 Pure Title LLC                                                               2779 Gulf Breeze Parkway                                                  Gulf Breeze        FL        32563
 Purjeena Inc.                                                                6 Mount Holly Dr.                                                         Rye                NY        10580
 PVP International Inc.                                                       5112 Hesperia Ave                                                         Encino             CA        91316-3507
 PVpallet Inc.                                                                2495 280th                                                                Montrose           IA        52639
 Pyrotree Inc.                                                                15233 Ventura Blvd Ste 500                                                Sherman Oaks       CA        91403
 Pythas                                            Attn: Boris Monsalve       150 Southeast 2nd Avenue                                                  Miami              FL        33131
 qaZING Inc                                                                   70 Main Street, Suite 500                                                 Peterborough       NH        03458
 QBE                                               Attn: Dan Ahern            50 California Street, 12th floor                                          San Francisco      CA        94111
 Qmage Inc.                                                                   12555 Biscayne Blvd.                                                      Miami              FL        33181
 Qoins Technologies Inc.                                                      151 Ted Turner Drive Northwest                                            Atlanta            GA        30303
 Quad Marine Inc.                                                             P.O. Box 1434                                                             El Segundo         CA        90245
 Qualtrics                                                                    333 West River Park Drive                                                 Provo              UT        84604
 Qualtrics dba Ugam Solutions                                                 300 East 59th Street                             APT 1902                 New York           NY        10022
 Quantm.One Inc                                                               150 FAYETTEVILLE ST                              STE 300                  RALEIGH            NC        27601-1469
 QuantmRE Inc                                                                 150 FAYETTEVILLE ST                              STE 300                  RALEIGH            NC        27601-1469

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                       Name                                    Attention                         Address 1                                 Address 2                  City      State       Zip         Country
 Quantum Music Inc.                                                           1841 South Calumet Avenue                                                   Chicago            IL         60616
 Quantum Partners LP                                 Sarah R. Moros           250 W 55th Street                                                           New York           NY         10019
 Quara Devices Inc.                                                           1712 Pearl Street                                                           Boulder            CO         80302
 Quara Devices Inc.                                                           1712, Pear St                                                               Boulder            CO         80302
 Quarter Systems Corporation                         Attn: Pat Kransnyansky   111 Town Square Pl.                             Suite 1203                  Jersey City        NJ         07310
 Quarter Systems Corporation                         Attn: Pat Kransnyansky   111 Town Square Pl., Suite 1203                                             Jersey City        NJ         7310
 Quarter Systems Corporation                         c/o Utilla Corporation   Attn: Pat Krasnyansky                                                       FL
 Quasi Rent LLC                                                               30 N Gould St                                                               Sheridan           WY         82801
 Quench                                                                       PO Box 781393                                                               King of Prussia    PA         19178-1393
 Quick Loadz Container System LLC                                             5850 Industrial Drive                                                       Athens             OH         45701
                                                     Attn: Maxima Fernanda
 Quickex                                             Gonzalez del Canto       1401 Sawgrass Corporate Pkwy                    Suite 200                   Sunrise            FL         33323
                                                     Attn: Maxima Fernanda
 Quickex                                             Gonzalez del Canto       1401 Sawgrass Corporate Pkwy, Suite 200                                     Sunrise            FL         33323
 QuickieCoin                                         Attn: Emmet Meehan       17 Hickory Lane                                                             Glenford           NY         12433
 QuickieCoin                                         Attn: Emmet Meehan       208 W State St                                                              Trenton            NJ         8608
 Quigler Inc.                                                                 143 Hoyt Street, Apt 7 L                                                    Stamford           CT         06905
 Quila Maria's Tequila Ria LLC                                                10257 Windhorst Road                                                        Tampa              FL         33619
 Quim Rock Inc.                                                               3238 18th Street                                                            San Francisco      CA         94110
 Quri Quinoa Peruvian Vodka                                                   11321 Newport Bay Dr                                                        Berlin             MD         21811
 QwikLeaf Inc                                                                 77570 Springfield Ln                                                        Palm Desert        CA         92211
 QwikLeaf LLC                                                                 77570 Springfield                                                           Palm Desert        CA         92211
 R3 Printing Inc.                                                             145 South Fairfax Avenue, Suite 200                                         Los Angeles        CA         90036
 R3 Printing Inc.                                                             29-10 Thomson Ave                                                           Long Island City   NY         11101
 R3 Printing Inc.                                                             29-10 Thomson Avenue                                                        Long Island City   NY         11101
 RacerX Inc.                                                                  55 Knob Hill Circle                                                         Canton             MA         02021
 Rachis Wine Assessment Inc.                                                  1525 W 8th                                                                  Vancouver          BC         V5J 1T5    Canada
 RAD Diversified REIT Inc.                                                    3110 E GUASTI RD                                STE 300                     ONTARIO            CA         91761-1262
 RAD Fitness Scappoose LLC                                                    33464 Havlik Rd                                                             Scappoose          OR         97056
 Radiant Pig Craft Beers LLC                                                  122 W 27th St, 10th Fl                                                      New York           NY         10001
 Radical Girl Gang Inc                                                        204 Tillery Square                                                          Austin             TX         78702
 RadioPublic PBC                                                              114 Western Avenue                                                          Allston            MA         02134
 Raidaq LLC                                                                   2485 Notre Dame Blvd                                                        Chico              CA         95928
 Raidaq LLC                                                                   6576 NC 96 Highway West                                                     Youngsville        NC         27596
 Raindrop Texting Solutions Inc.                                              10742 N Shinnecock                                                          Cedar Hills        UT         84062
 Rap Plug Inc.                                                                1103 Silvergate Lane                                                        Mableton           GA         30126
 Ratio Holdings LLC                                                           1204 SE Water Ave                                                           Portland           OR         97214
 Raven Fund 1 LLC.                                                            1901 Avenue Of The Stars                                                    Los Angeles        CA         90067
 Rayton Solar Inc                                                             920 Colorado ave                                                            Santa Monica       CA         90401
 Rayton Solar Inc.                                                            16112 Hart St.                                                              Van Nuys           CA         91406
 RC Waterfall LLC                                                             768 E. 222nd St.                                                            Euclid             OH         44123
 RDE Inc.                                                                     5880 Live Oak Parkway                                                       Norcross           GA         30093
 RDE Inc.                                                                     5880 Live Oak Pkwy                                                          Norcross           GA         30093
 RDR Cuvva I A Series of Republic Deal Room Master
 Fund LP                                                                      PO BOX 171305                                                               SALT LAKE CTY      UT         84117-1305
 Reach Digital Ltd                                                            6 Tozeret Haaretz                                                           Tel Aviv           Tel Aviv   33051      Israel
 REACH Genetics Inc.                                                          4800 Baseline Road                                                          Boulder            CO         80303
 Ready Set Jet Inc                                                            24355 Creekside Road                                                        Santa Clarita      CA         91355
 ReadyB Inc.                                                                  2060 East Avenida De Los Arboles                                            Thousand Oaks      CA         91362
 Real McCoy Tea Company                                                       210 E Chestnut Street                                                       Bellingham         WA         98225

 Real Vision                                                                  90 North Church Street                          Floor 3, Strathvale House   Grand Cayman       KY-KY      KY1 1003     Cayman Islands
 Realio LLC                                          Attn: Derek Boirun       31 Hudson Yards                                 11th Floor                  New York           NY         10001
 Realio LLC                                          Attn: Derek Boirun       31 Hudson Yards, 11th Floor                                                 New York           NY         10001
 Realm Metaverse Real Estate Inc.                                             335 Madison Avenue                                                          New York           NY         10017
 RealStarter Fund 55 LLC                                                      2905 San Gabriel St                                                         Austin             TX         78705
 Realty Fund LA Management LLC                                                11901 Santa Monica Blvd                                                     Los Angeles        CA         90025

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                         Name                                    Attention                     Address 1                                  Address 2               City       State       Zip       Country
 Realty Wealth 1 LLC                                                         5104 N Lockwood Ridge Rd Ste 303C                                         Sarasota           FL         34234
 Realty Wealth 2 LLC                                                         5104 N Lockwood Ridge Road                                                Sarasota           FL         34234
 Realtyna Inc.                                                               200 Continental Drive                                                     Newark             DE         19713
 RealtyReturns Inc.                                                          388 Market Street, 13th Floor                                             San Francisco      CA         94111
 Recombinant Technologies Inc.                                               1090 Meriden Waterbury Tpke, Suite 1                                      Cheshire           CT         06410
 Recruiting from Scratch                                                     331 E Houston St                                 Apt 8G                   New York           NY         10002
 Rector Street Food Enterprises Ltd.                                         87 Greenwich St                                                           New York           NY         10006
 Red Arrow Capital Holdings LP                                               14614 Falling Creek Drive                                                 Houston            TX         77068
 Red Eye Louie's Inc                                                         PO BOX 70                                                                 TRUSSVILLE         AL         35173-0070
 Red Feather LLC                                                             255 E Fifth St,                                                           Cincinnati         OH         45202
 Red Hen Collective Cooperative Inc.                                         2323 Broadway                                                             Oakland            CA         94612
 Red Mountain Ventures Limited Partnership                                   PO Box 670                                                                Rossland           BC         V0G1Y0     Canada
 Red Oak Capital Fund II LLC                                                 625 Kenmoor Ave SE, Suite 211                                             Grand Rapids       MI         49546
 Redhawk Coffee Roasters LLC                                                 1019 N Canal St                                                           Pittsburgh         PA         15215
 Redivivus Inc.                                                              2012 North Cascade Avenue                                                 Colorado Springs   CO         80907
 Reflex Red Storm LLC                                                        1121 East Broadway Street                                                 Missoula           MT         59802
 Regent Baton Rouge Louisiana L.P.                                           211 East 43rd Street                                                      New York           NY         10017
 Regrets Only                                                                3 Louders Lane                                                            Jamacia Plain      MA         02130
 Regus Management Group, LLC                                                 2301 Blake Street                                Suite 100                Denver             CO         80205
 RehabPath Inc.                                                              821 East Washington Avenue                                                Madison            WI         53703
 Relay Management LLC                                                        455 East Pebble Road #230022                                              Las Vegas          NV         89123
 Relay on Demand Inc.                                                        127 Business Center Drive                                                 Corona             CA         92880
 Remember When Ice Cream                                                     3860 Chartiers Ave                                                        Pittsburgh         PA         15204
 REMUV Technologies Inc.                                                     7408 Meadow View                                                          Parker             CO         80134
 Renewal Mill PBC                                                            561 Baker Street 6                                                        San Francisco      CA         94117
 Rentah Incorporated                                                         67 West Street                                                            Brooklyn           NY         11222
 Rentberry Inc.                                                              201 Spear Street, Suite 1100                                              San Francisco      CA         94105
 Rentokil North America, Inc. d/b/a Ambius                                   PO Box 14086                                                              Reading            PA         19612
 Republic AlphaFlow LP                                                       651 N Broad St                                                            Middletown         DE         19709
 Republic Chingari a series of Republic Master Fund
 LP                                                                          PO BOX 171305                                                             SALT LAKE CTY      UT         84117-1305
 Republic Core LLC                                                           335 Madison Avenue                                                        New York           NY         10017
 Republic Services                                                           770 E SAHARA AVE                                                          LAS VEGAS          NV         89104-2943
 Rescale Primary Series C II A Series of Republic
 Master Fund LP                                                              PO BOX 171305                                                             SALT LAKE CTY      UT         84117-1305
 Reset IV Inc.                                                               1775 Village Center Circle, Suite 110                                     Las Vegas          NV         89134
 Resonado Inc.                                                               230 East Ohio Street                                                      Chicago            IL         60611
 Respect The Writer 2 LLC                                                    15734 W 7 Mile                                                            Detroit            MI         48235
 Responsum Inc.                                                              100 M Street, SE                                                          Washington         DC         20003
 Retail Works Eschoppe LLC                                                   185 Greenwich Street                                                      New York           NY         10007
 Revenue Pulse Inc.                                                          2 Gurdwara Road Suite 200                                                 Ottawa             ON         K2E 1A2    Canada
 Reverend Motors LLC                                                         655 N. Berry St                                                           Brea               CA         92821
 Revero I A Series of Republic Deal Room Master
 Fund LP                                                                     PO BOX 171305                                                             SALT LAKE CTY      UT         84117-1305
 Revero Inc                                                                  3031 Steiner Street                                                       San Francisco      CA         94123
 REvolve Partners LLC                                                        1295 Beacon Street                                                        Brookline          MA         02446
 RH Medical 10 Buildings LLC                                                 101 Vickery Street                                                        Roswell            GA         30075
 RH Medical 9 Buildings LLC                                                  101 Vickery Street                                                        Roswell            GA         30075
 Rhino Hide inco                                                             650 HIDDEN VALLEY RD                                                      SPIRIT LAKE        ID         83869-9346
 Rhino Hide LLC                                                              650 HIDDEN VALLEY RD                                                      SPIRIT LAKE        ID         83869-9346
 Rhode Island Department of Business Regulation       Division of Banking    1511 Pontiac Avenue                              Building 69-2            Cranston           RI         2920
 Rhode Islands' Dressings LLC                                                23 2nd Street                                                             Narragansett       RI         02882
 Rhove Real Estate 1 LLC                                                     629 N. High Street                                                        Columbus           OH         43215
 Rhymella Inc.                                                               PO Box 600511                                                             Newtonville        MA         02460
 RIA Digital Assets Council LLC                                              10001 Georgetown Pike                                                     Great Falls        VA         22066
 Rich Uncles NNN REIT Inc.                                                   3080 Bristol Street                                                       Costa Mesa         CA         92626
 Rightsure Inc.                                                              5151 E Broadway Boulevard                                                 Tucson             AZ         85711

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                         Name                           Attention                       Address 1                                 Address 2                 City        State       Zip      Country
 RiskIQ Inc.                                                         22 Battery Street, 10th Floor                                             San Francisco         CA         94111
 River Bridge Investors 4 LLC                                        321 S. Boston, Suite 200                                                  Tulsa                 OK         74103
 Rivershore Sand Investors LLC                                       10862 Bossier Drive                                                       Alpharetta            GA         30022
 RMR Laboratories Inc                                                3546 Via Dolce                                                            Marina del Rey        CA         90292
 RNG Investment Partners Fund I LLC                                  1447 South Tryon Street                                                   Charlotte             NC         28203
 ROAR IO Inc                                                         43 Heritage Drive                                                         East Hanover          NJ         07936
 Robert Half                                                         3993 Howard Hughes Pkway, Suite 300                                       Las Vegas             NV         89169
 Robert Half International, Inc.                                     PO Box 743295                                                             Los Angeles           CA         90074-3295
 Robert Half Technology                                              PO Box 743295                                                             Los Angeles           CA         90074-3295
 Robobuoy Inc.                                                       2200 Hunt Street, Suite 203                                               Detroit               MI         48207
 Roboligent Inc.                                                     11740 Jollyville Rd, Ste 200                                              Austin                TX         78759
 Robot Cache US Inc.                                                 4330 La Jolla Village Dr                         STE 200                  San Diego             CA         92122-6206
 Robotic Assistance Devices Mobile Inc.                              31103 Rancho Viejo Road                                                   San Juan Capistrano   CA         92675
 Rocket Dollar Inc.                                                  221 East 9th Street                                                       Austin                TX         78701
 RockmaniaLive Inc.                                                  3112 Hutton Drive                                                         Beverly Hills         CA         90210
 Rockval Inc                                                         313 Datura St                                                             West Palm Beach       FL         33401
 Rogue Space Systems Corp                                            84 Union Avenue                                                           Laconia               NH         03246
 Rolling Pepperoni LLC                                               5304 Butler St.                                                           Pittsburgh            PA         15201
 Ronn Motor Group Inc.                                               1475 N Scottsdale Road                                                    Scottsdale            AZ         85257
 Roo Inc.                                                            6 West 18th Street                                                        New York              NY         10011
 Rooftop Hospitality Group LLC                                       701 3rd Street                                                            San Francisco         CA         94107
 Roog Inc                                                            4519 Yancy St                                                             Dallas                TX         75216
 Roomi Inc.                                                          33 Irving Place                                                           New York              NY         10003
 Rose Gold Collective                                                Rose Gold Collective                             7129 Frances Irine dr.   Charlotte             NC         28215
 Row House Publishing Inc                                            196 Long Swamp Rd                                                         New Egypt             NJ         08533
 Roy Jones Jr. Promotions Inc.                                       3874 Silvestri Lane                                                       Las Vegas             NV         89120
 Royalty Beauty Supply LLC                                           1324 Vernon Odom Blvd                                                     Akron                 OH         44320
 Royalty Flow Inc.                                                   1444 Wazee Street                                                         Denver                CO         80202
 Royalty Partners: 1st Chair LLC                                     303 North Glenoaks Blvd                                                   Burbank               CA         91502
 RP Designs Inc.                                                     8000 Avalon Blvd, Suite 100&200                                           Alpharetta            GA         30009
 RUF Technology Corporation                                          1572 Kimberly Ave                                                         Fullerton             CA         92831
 Rumble Motors Inc.                                                  4563 Maple Crest St                                                       Sacramento            CA         95834
 Run2Play Inc                                                        4876 Santa Monica ave                                                     San Diego             CA         92107
 Rx Delivered Now Inc.                                               2912 Diamond Street                                                       San Francisco         CA         94131
 Ryan Aviation Group                                                 16000 Ventura Boulevard                                                   Los Angeles           CA         91436
 Ryca International Inc.                                             8300 McConnell Ave.                                                       Los Angeles           CA         90045
 Ryca Motors Inc.                                                    8044 Sorensen Ave                                                         Santa Fe Springs      CA         90670
 S&P Financial Services Inc                                          8341 Northwest Mace Road                         200                      Kansas City           MO         64152
 Saberation Inc.                                                     1801 Pleasure House Rd.                                                   Virginia Beach        VA         23455
 Sabine Clay Investors LLC                                           128A Courthouse Square                                                    Oxford                MS         38655
 SAEBO Inc.                                                          2459 Wilkinson Blvd. Ste 120-B                                            Charlotte             NC         28208
 Safari Technologies, Inc                                            Safari SOP                                       P.O. Box 2231            Issaquah              WA         98027
 Safe Zone Technologies Inc.                                         2277 Turtle Mound Rd                                                      Melbourne             FL         32934
 Safety First Arms Inc.                                              4629 Cass Street                                                          San Diego             CA         92109
 Sage Vertical Garden Systems Inc.                                   730 West Randolph Street,                                                 Chicago               IL         60661
 Sagelink Inc.                                                       305 West Broadway                                                         New York              NY         10013
 Sagoon                                                              1980 Teasel Court                                                         Woodbridge            VA         22192
 Sagoon Inc                                                          1980 Teasel Ct                                                            Woodbridge            VA         22192
 Sagoon Inc.                                                         1980 Teasel Court                                                         Woodbridge            VA         22192
 Sagoon Inc.                                                         1980 Teasel Ct                                                            Woodbridge            VA         22192
 Saleen Automotive Inc.                                              2735 Wardlow Road                                                         Corona                CA         92882
 Salesforce                                                          415 Mission Street                               3rd Floor                Dallas                TX         75320-3141
 Salesforce                                   Attn: Ryan Rodriguez   415 Mission St 3rd FLoor                                                  San Francisco         CA         94105
 Salesforce                                   Attn: Ryan Rodriguez   415 Mission Street, 3rd Floor                                             San Francisco         CA         94105
 salesforce.com, inc                                                 Salesforce Tower, 415 Mission St, 3rd Floor                               San Francisco         CA         94105
 Salon de Lingerie LLC                                               990 Biscayne Blvd #401                                                    Miami                 FL         33132
 Salon de Lingerie LLC                                               990 Biscayne Blvd.                                                        Miami                 FL         33132

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 Salone Monet LLC                                                            33 West 60th Street                                                             New York          AL           10023
 Salsa God LLC                                                               802 9th Avenue                                                                  New York          NY           10019

 Salt Point Meadery LLC d.b.a. Slate Point Meadery                           201 Haviland Rd                                                                 Poughkeepsie      NY           12601
 Sam Nelson Services LLC                                                     19257 Ashworth Ave N                                                            Seattle           WA           98133
 Samba Gaingels I a series of Republic Master Fund
 LP                                                                          PO BOX 171305                                                                   SALT LAKE CTY     UT           84117-1305
 Samsara Luggage Inc.                                                        One University Plaza, Suite 505                                                 Hackensack        NJ           07601
 San Andres Permian Energy Fund I LP                                         15301 DALLAS PKWY                                 STE 900                       ADDISON           TX           75001-4674
 SaniCash Inc.                                                               7397 S. Suncoast Blvd.                                                          Homosassa         FL           34446
 SanMelix Laboratories Inc.                                                  1150 North 35th Avenue Suite 225                                                Hollywood         FL           33021
 SAP Concur                                                                  601 108th Ave. NE, Suite 1000                                                   Bellevue          WA           98004
 SAP Concur                                                                  601 108th Ave., NE                                Suite 1000                    Bellevue          WA           98004
 Sapient Industries Inc.                                                     1735 Market Street                                                              Philadelphia      PA           19103
 Sarita's Macaroni & Cheese Inc.                                             197 1st Ave                                                                     New York          NY           10003
 Satellite Displays Inc.                                                     480 Ocean Avenue Unit 6K                                                        Long Branch       NJ           07740
 Saucy Brew Works LLC                                                        2885 Detroit Ave.                                                               Cleveland         OH           44113
 Save Change LLC                                     Attn: David Kertz       10733 North Frank Lloyd Wright Blvd.                                            Scottsdale        AZ           85259
 Save Change LLC                                     Attn: David Kertz       10773 North Frank Lloyd Wright Blvd                                             Scottsdale        AZ           85259
 Savi Solutions LLC                                                          4590 Turney Rd                                                                  Madison           OH           44057
 SavvyCard Florida Fund III, LLC                                             6601 Memorial Highway Suite 310                                                 Tampa             FL           33615
 SAYA Life Inc.                                                              525 South Hewitt Street                                                         Los Angeles       CA           90013
 Sayari Labs Inc                                     Attn: Benjamin Power    829 7th St. NW, Flr 3                                                           Washington        DC           20001
 Sayari Labs Inc.                                                            829 7Th St Nw                                                                   Washington        DC           20001
 SBS CyberSecurity, LLC                                                      700 S Washington Ave                              Ste 200                       Madison           SD           57042
 SC&C Inc                                                                    134 S HIGHLAND AVE                                STE 1                         PITTSBURGH        PA           15206-3968
 Schanela LLC dba Schanela and Company                                       4325 300th Street                                                               Sheldon           IA           51201
 ScHE Corp.                                                                  5113 Bushy Run Rd.                                                              Greensburg        PA           15601
 Schellman & Company, LLC                                                    75 Remittance Drive                               Dept #92010                   Chicago           IL           60675-2010
 Schulte Roth & Zabel LLP                                                    919 Third Avenue                                                                New York          NY           10022
 Sci Growth & Income Fund III LLC                                            100 S Belcher Rd                                                                Clearwater        FL           33758
 Scoot Scoot Cold Brew LLC                                                   2055 Wascana Ave                                                                Lakewood          OH           44107
 Scooterson Inc.                                                             548 Market St                                                                   San Francisco     CA           94104
 Scooterson Inc.                                                             548 Market St #71050                                                            San Francisco     CA           94104
 Scottsdale Recovery Center LLC                                              PO BOX 5943                                                                     SCOTTSDALE        AZ           85261-5943
 Scurry County Energy Fund II LP                                             6142 Campbell Rd                                                                Dallas            TX           75248
 SDC Energy                                                                  1346 The Alameda, Suite 7-297                                                   San Jose          CA           95126
 Seam Tech Inc.                                                              4937 Templeton Street                                                           Los Angeles       CA           90032
 Seamless AI                                                                 7652 Sawmill Road                                 Unit 341                      Dublin            OH           43016
 SeaNSoul Inc.                                                               1996 Newell Rd                                                                  Malibu            CA           90265
 Season Three Inc.                                                           649 Morgan Avenue                                                               Brooklyn          NY           11222
 Secfault Security GmbH                                                      Anton-Flettner-Strasse 15                                                       Werder            Havel        14542      Germany
 Secure Digitial Markets Canada                      Attn: Michael Gord      445 Adelaide St West                                                            Toronto           ON           M5V1T1     Canada
 Secured Investment Corp                                                     701 E Front Ave, Fl 2                                                           Coeur d           ID           83814
 Securitize Markets, LLC                             Attn: Jay Proffitt      110 Wall St, 3rd Floor Office #2-038                                            New York          NY           10005
 Securitize, Inc.                                                            Attn: Jason Fightmaster and Jucas Lin             100 Pine Street, Suite 1250   San Francisco     CA           94111
 Security Biometrics Corporation                                             8 Faneuil Hall North Marketplace                                                Boston            MA           02109
 SecurShade Inc                                                              8 Leroy Rd                                                                      Williston         VT           05495
 SecurShade Inc.                                                             8 Leroy Rd                                                                      Williston         VT           05495
 Seed FL TempMee Fund LLC                                                    1311 N Westshore Blvd                                                           Tampa             FL           33607
 Seed FL Top Vote Fund LLC                                                   1311 N Westshore Blvd                                                           Tampa             FL           33607
 Selective Dining Inc.                                                       5846 Forbes Ave                                                                 Pittsburgh        PA           15217
 Seltzer Revolutions Inc.                                                    2911 Branciforte Dr                                                             Santa Cruz        CA           95065
 SEMRush                                                                     800 Boylston Street                                                             Boston            MA           02199
 Senclo LLC                                                                  1012 N. 37th St                                                                 Renton            WA           98056
                                                                             34 Grigori Afxentiou, Carithers Building, Block
 SendCrypto                                          Attn: Elad Lieberman    E, Office/Flat C                                                                Larnaca                        6021      Cyprus

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                                                                             34 Grigori Afxentiou, Carithers Building, Block
 SendCrypto                                    Attn: Elad Lieberman          E, Office/Flat C                                                           Larnaca                      Cyprus       6021       Cyprus
 SendCrypto                                    c/o LTU                       Attn: Elad Lieberman
 SendGrid                                                                    PO Box 735926                                                              Dallas                       TX           75373
 Senior Comfort Corp                                                         27 Meadowhawk Lane                                                         Las Vegas                    NV           89135
 Sen-Jam Pharmaceutical LLC                                                  223 Wall Street                                                            Huntington                   NY           11743
                                               Attn: Djamel Mekibes, Josep
 Senken                                        Coronado, and Adrian Wons     Zehdenicker Strasse 8a                                                     Berlin                                    10119      Germany
 Senseye Inc.                                                                2370 Westwood Blvd                                                         Los Angeles                  CA           90064
 Sepior ApS                                    Attn: Ahmet Tuncay            Inge Lehmanns Gade 10                                                      8000 Aarhus                                          Denmark
 Serface Care Inc                                                            2490 Black Rock Turnpike                                                   Fairfield                    CT           06825
 seriesOne Inc.                                                              175 SW 7th st                                                              miami                        FL           33130
 Serverless Heroes                                                           800 Brazos Street                                 Suite 490                Austin                       TX           78701
 Service Write Inc                                                           500 West 5th Street                                                        Winston-Salem                NC           27101
 Services 24-7 LLC                             Attn: Jorge Pinzon            1430 S Dixie Hwy                                  Suite 307                Coral Gables                 FL           33146
 Services 24-7 LLC                             Attn: Jorge Pinzon            1430 S Dixie Hwy, Suite 307                                                Coral Gables                 FL           33146
                                               Attn: Nic Bayerque and
 Settle Network                                Alejandro Ferri               Peterburi tee 47                                                           Tallinn                                   11415      Estonia
 Settle Network                                Attn: Pablo Orlando           Peterburri tee 47                                                          Tallinn Harju County 11415                           Estonia
 Settle Network                                Attn: Pablo Orlando           Peterburri tee 47                                                          Tallinn Harju County                      11415      Estonia
 Seven Peaks Ventures Fund II, LP              Dino Vendetti                 2796 NW Clearwater Dr.                                                     Bend                         OR           97703
 SFR3 a Series of Republic Compound Fund LLC                                 335 Madison Avenue                                                         New York                     NY           10017
 SG Medical 7 LLC                                                            1402 Macy Drive                                                            Roswell                      GA           30075
 SH Rental Holdings LLC                                                      2572 west 280 north                                                        Hurricane                    UT           84737
                                                                                                                                                                                     British
 Shackelford Pharma Inc.                                                     1177 West Hastings St                                                      Vancouver                    Columbia     V6E 2K3    Canada
 Shacksbury Holdings Inc.                                                    11 Main St.                                                                Vergennes                    VT           05491
 Shaky Feelin'-Brand New Day LLC                                             19045 Kittridge Street                                                     Reseda                       CA           91335
 Shaman Productions Corp                                                     2514 VIlla Dorado Condo                                                    Dorado                       PR           646
 Shamroc Inc.                                                                3482 Paseo Ancho                                                           Carlsbad                     CA           92009
 ShantiNiketan International Corporation       Attn: Iggy Ignatius           2100 ShantiNiketan Blvd.                                                   Tavares                      FL           32778
 Shaping Games Inc                                                           347 5th Avenue                                                             New York                     NY           10016
 Sharebert Holdings LLC                                                      222 Broadway                                                               New York                     NY           10038
 ShareRoute Ltd.                                                             Kummer-Feig                                                                Marina Del Ray               CA           90292
 Shark Wheel Inc.                                                            27762 ANTONIO PKWY                                # L1615                  LADERA RANCH                 CA           92694-1140
 Shark Wheel LLC                                                             27762 ANTONIO PKWY                                # L1615                  LADERA RANCH                 CA           92694-1140
 SharkStopper Inc.                                                           1 Meadowbrook Drive                                                        Huntington Station           NY           11746
                                               Attn: Romeen Sheth
                                               Shemoni Parekh
 Sheth Family Trust                            Douglas W Stein               750 Hammond Dr                                    Building 5, Sute 100     Atlanta                      GA           30328
 ShiftPixy Inc.                                                              4101 NW25TH ST                                                             MIAMI                        FL           33142-6725
 Shima Capital Management LLC                                                404 Ave De La Constitucion 1407                                            San Juan                     PR           00901      Puerto Rico
 Ship My Orders Inc.                                                         4031 Industrial Center Dr.                                                 N. Las Vegas                 NV           89030
 Show Off Florida Fund, LLC                                                  6601 Memorial Highway Suite 315                                            Tampa                        FL           33615
 Showdeo Inc.                                                                56B 5th Street Lot 1 #3087                                                 Carmel By The Sea            CA           93921
 Sierra Health & Life Insurance                                              P.O. Box 18407                                                             Las Vegas                    NV           89114-8407
 Sierra Health and Life                                                      PO Box 749542                                                              Los Angeles                  CA           90074-9542
 Sievent LLC                                                                 10824 Olsen Dr.                                                            Rancho Cordova               CA           95742
 Sift                                                                        525 Market St 6th Fl                                                       San Francisco                CA           94105
 Sift                                          Attn: Eva Gutierrez           252 Market St, 6th Floor                                                   San Francsisco               CA           94105
 Sigma Auto Capital LLC                                                      4796 NW 14TH                                                               COCONUT CREEK                FL           33063-3959
 Signature Athletics Inc.                                                    301 West Platt Street Unit 416                                             Tampa                        FL           33606
 SilkRoll Inc.                                                               833 Market Street                                                          San Francisco                CA           94103
 Silver State Glass & Mirror Co., Inc.                                       2825 FREMONT STREET                                                        LAS VEGAS                    NV           89104
 Simple Bread Company LLC                                                    2636 Arldowne Dr.                                                          Tucker                       GA           30084
 SimpleShowing Holdings Inc                                                  715 Peachtree St. Northeast                                                Atlanta                      GA           30308
 SimpleShowing Holdings Inc.                                                 725 Ponce De Leon Avenue Northeast                                         Atlanta                      GA           30306

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 Simply Agave Inc.                                        1539 Oak Grove Avenue                                                 San Marino          CA          91108
 Simply Sonoma Inc                                        10342 Mill Station Rd                                                 Sebastopol          CA          95472
 Singularity LLC                                          740 W. Fulton                                                         Chicago             IL          60661
 Sister Sunflower Ltd                                     7904 Germantown Ave                                                   Philadelphia        PA          19118
 Sits N Wiggles Dog Daycare N Training LLC                3460 Woodridge Rd                                                     Cleveland Heights   OH          44121
 SitTight Inc.                                            10161 Park Run Drive, Suite 150                                       Las Vegas           NV          89145
                                                          King Arthur's Court
 SIXFOURSIXFOUR LTD dba World Digital                     Maidstone Road
 Foundation                                               Charing                                                               Kent                England     TN270JS    United Kingdom
 Skeptic Distillery Co.                                   2525 W Le Moyne St.                                                   Melrose Park        IL          60160
 Skidmark Garage LLC                                      5401 Hamilton Ave                                                     Cleveland           OH          44114
 SkillSoniq Inc.                                          300 MAIN ST                                     STE 21                MADISON             NJ          07940-2369
 Skullenwink LLC                                          14825 E Shea Blvd Ste 101                                             Fountain Hills      AZ          85268

 Skunk Brothers Spirits Inc.                              40 SW Cascade Ave. Ste 45 (P.O. BOX 1505)                             Stevenson           WA          98648
 Skunk Brothers Spirits Inc.                              40 SW Cascade Avenue, Suite 45                                        Stevenson           WA          98648
 Sky High Marketing                                       259 West Broadway                                                     Waukesha            WI          53185
 Sky Quarry Inc                                           222 S Main St                             Ste 500                     Salt Lake City      UT          84101-2275
 SkyHi Travel Inc.                                        13614 Sunset Drive                                                    Apple Valley        CA          92308
 Skymedicus, Inc.                                         2015 West Western                                                     South Bend          IN          46619
 Skyn by Chi LLC                                          4664 Marching Lane                                                    Fairburn            GA          30213
 Skywide Real Estate International LLC                    1939 Mifflin St.                                                      Philadelphia        PA          19145
 Skywriter Systems Inc.                                   17617 Foster Road                                                     Los Gatos           CA          95030
 Slack                                                    50 FREMONT ST                             STE 300                     SAN FRANCISCO       CA          94105-2231
 Slash Beauty Inc.                                        57 W 57th St                                                          New York            NY          10019
 Slate Click LLC                                          1553 North Milwaukee Street                                           Boise               ID          83704
 SleepChoices LLC                                         10700 Wiles Road                                                      Coral Springs       FL          33076
 Slick Technologies Corp.                                 18 10th st                                                            San Francisco       CA          94103
 Slidebelts Inc                                           2711 Centerville Road                                                 Wilmington          DE          19808
 SlideBelts Inc.                                          4818 Golden Foothill Pkwy                                             El Dorado Hills     CA          95762
 Slumber Bump LLC                                         75 South 100 East                                                     St. George          UT          84770
 Small Office LLC                                         466 Wren Drive                                                        Los Angeles         CA          90065
 Smardii Inc.                                             1221 Brickell Avenue, Suite 900                                       Miami               FL          33131
 SMART Brain Aging Inc.                                   5111 N. Scottsdale Rd.                                                Scottsdale          AZ          85250
 Smart Decision Inc.                                      1825 Corporate Blvd. NW                                               Boca Raton          FL          33431
 Smart Family Tech Inc.                                   2443 Fair Oaks Blvd #42                                               Sacramento          CA          95825
 Smart Home Sentry Inc.                                   440 Wolfe Road                                                        Sunnyvale           CA          94085
 Smart Tire Recycling Inc.                                2315 Eldridge Street                                                  Pittsburgh          PA          15217
 Smart Vylon LLC                                          8 The Green                                                           Dover               DE          19901
                                                                                                                                                    Cuidad de
 Smart Vylon LLC                                          Jose Maria Velasco 13-502                                             Benito Juarez       Mexico      3900       Mexico
 Smart Yields Inc.                                        2800 Woodlawn Drive                                                   Honolulu            HI          96822
 SmartBear (Ireland) Limited                              450 Artisan Way                                                       Somerville          MA          02145
 SmarterD Inc.                                            19701 Scotland Drive                                                  Saratoga            CA          95070
 SmartFoam Inc.                                           1930 Kellogg Avenue                                                   Carlsbad            CA          92008
 SmartSoda Holdings Inc.                                  25700 Science Park Drive,                                             Beachwood           OH          44122
 SmartSoda Holdings Inc.                                  25700 Science Park Drive, Suite 370                                   Beachwood           OH          44122
 Smash Global LLC                                         4 Faneuil Hall Market Pl                                              Boston              MA          02109
 Smoke Cartel Inc.                                        1313 Rogers St                                                        Savannah            GA          31415
 Snailz Inc.                                              865 W END AVE                                   APT 7C                NEW YORK            NY          10025-8405
 Snap Yeti                                                4600 Huntington Ct.                                                   Raleigh             NC          27609
 Snap, Inc.                                               1010 NE 2nd Ave                                                       Miami               FL          33132
 SnapDNA Corporation                                      897 Independence Ave                                                  Mountain View       CA          94043
 Snapwire Media Inc.                                      3905 State Street                                                     Santa Barbara       CA          93105
 Snowball Finance Inc.                                    2150 North 1st Street                                                 San Jose            CA          95131
 Soar Robotics Inc.                                       8605 Santa Monica Boulevard                                           West Hollywood      CA          90069
 Sober Network Inc.                                       215 NW 1st Avenue                                                     Delray Beach        FL          33444

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                         Name                                   Attention                           Address 1                                  Address 2                City      State       Zip      Country
 Social Coffee BR LLC                                                             10296 W Winston Avenue                                                     Baton Rouge       LA         70809
 Social5 LLC                                                                      13961 South Minuteman Drive                                                Draper            UT         84020
 SocialFlow Inc.                                                                  52 Vanderbilt Avenue                                                       New York          NY         10017
 Socure Inc.                                                                      330 7th Avenue                                   Suite 201                 New York          NY         10001
 Socure Inc.                                                                      330 Seventh Avenue Suite 200                                               New York          NY         10001-5279
 SoftServe, Inc.                                                                  12800 University Drive, Suite 410                                          Fort Myers        FL         33907
 SoftServe, Inc.                                      Attn: Harry Propper         12800 University Drive, Suite 410                                          Fort Myers        FL         33907
 Soko Group Inc.                                                                  7950 silverton ave Suite 203                                               San Diego         CA         92126
 Sol Boards Inc.                                                                  1001 SW Emkay Dr                                                           Bend              OR         97702
 Sol Boards Inc.                                                                  61239 Tetherow Dr. #211                                                    Bend              OR         97702
 Solana Labs Inc.                                                                 2 Hoffman Avenue                                                           San Francisco     CA         94114
 Solar Direct LLC                                                                 6935 15th St E                                                             Sarasota          FL         34243
 Solar Roadways Incorporated                                                      721 Pine Street                                                            Sandpoint         ID         83864
 SolarSi Costa Rica LLC                                                           5418 NW 79th Ave                                                           Miami             FL         33195-4116
 Solectrac Inc.                                                                   30151 Navarro Ridge Rd.                                                    Albion            CA         95410
 Solgaard Design Inc.                                                             1151 Broadway Suite 3S                                                     New York          NY         10001
 Solidus Advisors Ltd dba Liquid Latam, Solidus
 Group                                                Attn: Horacio Gandara       1110 Brickell Ave, Ste 800 A&B                                             Miami             FL         33131
 SoloQi Corp                                                                      8362 Pines Blvd. #290                                                      Pembroke Pines    FL         33024
 Solutions Vending International                                                  1275 Kinnear Ave                                                           Columbus          OH         43212
 Solutions Vending International                                                  548 S WEYANT AVE                                                           COLUMBUS          OH         43213-2276
 Solutions Vending International Inc.                                             548 S WEYANT AVE                                                           COLUMBUS          OH         43213-2276
 Son of a Barista Inc.                                                            1221 Hilldale Ave                                                          Los Angeles       CA         90069
 Sondors Electric Car Company                                                     23823 Malibu Road                                                          Malibu            CA         90265
 Sondors Electric Car Company                                                     23823 Malibu Road,                                                         Malibu            CA         90265
 SONDORS Electric Car Company                                                     23823 Malibu Road, Suite 50 #129                                           Malibu            CA         90265
 Sondors Inc                                                                      23823 Malibu Road                                                          Malibu            CA         90265
 Sondors Inc.                                                                     23823 Malibu Road                                                          Malibu            CA         90265
 Sophie Chang Inc.                                                                112 W 9th St #223                                                          Los Angeles       CA         90015
 Sortis Westlake LLC                                                              9 SE 3rd Ave                                                               Portland          OR         97214
 Sound View Drive LLC                                                             261 Madison Ave                                                            New York          NY         10016
 South Carolina Board of Financial Instituions        Consumer Finance Division   1205 Pendleton Street                            Suite 306                 Columbia          SC         29201-3756
 South Carolina Department of Consumer Affairs                                    293 Greystone Boulevard                          Suite 400                 Columbia          SC         29250-5757
 South Carolina Department of Revenue                                             300 A Outlet Pointe Blvd                                                   Columbia          SC         29210
 South Carolina Securities Division                                               PO Box 11549                                                               Columbia          SC         29211
 South Dakota Division of Banking                                                 1601 N Harrison Avenue                           Suite 1                   Pierre            SD         57501-4590
 South Dakota Division of Insurance - Securities
 Regulation                                                                       124 South Euclid Avenue                          Suite 104                 Pierre            SD         57501
 South Plains Petroleum Inc                                                       402 Cypress Street                                                         Abilene           TX         79601
 South Shore 4 Chicago Illinois L.P                                               211 East 43rd Street                                                       New York          NY         10017
 South Shore Chicago Illinois L.P                                                 211 East 43rd Street                                                       New York          NY         10022
 Southeastern Roast and Brewery L.L.C.                                            703 Edgewood Dr. NE                                                        Washington DC     DC         20017
 Southwest Gas Corporation                                                        PO Box 98890                                                               Las Vegas         NV         89193-8890
 Sovos Compliance LLC                                                             200 Ballardvale st                               Building 1, 4th Floor     Wilmington        MA         01887
 Space Division Inc.                                                              1313 W. 135th Street                                                       Gardena           CA         90247
 Spanish Oaks Las Vegas Nevada LP                                                 211 East 43rd Street                                                       New York          NY         10017
 Spare Cs Inc                                                                     12000 Riverside Dr.                                                        Valley Village    CA         91607
 Sparkle Innovations Inc                                                          4116 Saguaro Lane                                                          Irving            TX         75063
 Spdh Residential Fund I LLC                                                      825 Ridge St                                                               Saint Paul        MN         55116
 Spective Inc.                                                                    817 N. Alfred St.                                                          Los Angeles       CA         90069
 Spendwith Corp                                                                   3600 Cherokee St NW                                                        Kennesaw          GA         30144
 Spendwith Corp.                                                                  859 Spring ST NW                                                           Atlanta           GA         30308
 Sphere 1400 Russell LLC                                                          1201 Peachtree Street NE                                                   Atlanta           GA         30361
 Sphere 9201 Guilford LLC                                                         1201 Peachtree Street NE                                                   Atlanta           GA         30361
 Sphere Circumference Fund LLC                                                    1201 Peachtree Street NE                                                   Atlanta           GA         30361
 Spinal Surgical Strategies Inc. DBA Kleiner Device
 Labs                                                                             999 Driver Way                                                             Incline Village   NV         89451

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                         Name                             Attention                             Address 1                                Address 2                        City         State       Zip          Country
 Spinster Sisters Inc.                                                         301 Commercial Road                                                             Golden               CO         80401
 Spintura Inc.                                                                 31142 FLOSSIE WAY                                                               WINCHESTER           CA         92596-9413
 Splash Beverage Group Inc.                                                    One East Broward Blvd.                                                          Fort Lauderdale      FL         33301
 SportsEdTV Inc.                                                               7900 40th Ave W.                                                                Bradenton            FL         34209
 Spotlight: Girls                                                              671 63rd St.                                                                    Oakland              CA         94609
 Sprocket                                                                      3616 Kirkwood Highway Ste A 1517                                                Wilmington           DE         19808
 Sprocket Inc.                                                                 3616 Kirkwood Highway Ste A 1517                                                Wilmington           DE         19808
 SPV - Prime Core, LLC                          Dino Vendetti                  2796 NW Clearwater Dr.                                                          Bend                 OR         97703
 Spyglass Hill Capital Lending Corp                                            201 Shipyard Way                                                                Newport Beach        CA         92663
 Squaredeal App Inc.                                                           326 North LBJ Drive                                                             San Marcos           TX         78666
 Squash the Beef Catering LLC                                                  901 Lancewood Drive                                                             Macedonia            OH         44056
 Squirrel Capital Investments Inc                                              7250 Empress Dr.                                                                Las Vegas            NV         89147
 SRQ Pickleball Partners LLC                                                   8499 S Tamiami Trail                                                            Sarasota             FL         34238
 St. Matthew Lutheran Church of Walnut Creek
 California                                                                    399 Wiget Lane                                                                  Walnut Creek         CA         94598
 Stably Corporation                                                            2910 Burnett Ave N                                                              Renton               WA         98056
 Stably Corporation                             Attn: Ivan Inchauste           PO Box 2739                                                                     Renton               WA         98056
 Stably Corporation                             Attn: Kory Hoang               2910 BURNETT AVE N                                                              Renton               WA         98056
 Stably Corporation                             c/o Gravis Law, PLLC           Attn: Jill M. Williamson & John W. O’Leary     701 5th Ave., Ste. 2800          Seattle              WA         98104-7023
 Stably Corporation                             c/o Gravis Law, PLLC           Attn: Jill Williamson                          701 Fifth Avenue, Ste. 2460      Seattle              WA         98104
 Stably Corporation                             c/o Gravis Law, PLLC           Attn: John W. O'Leary                          601 W. Kennewick Avenue          Kennewick            WA         99336
                                                                               Attn: Ismail Amin & Marian L. Massey &
                                                                               Matthew S. Vesterdahl & Nathaniel T. Collins &
 Stably Corporation                             c/o TALG, NV, Ltd.             Jaklin Guyumjyan                               5852 S. Durango Dr., Suite 105   Las Vegas            NV         89113
 StageWood Consortium Inc.                                                     5200 Blue Lagoon Drive                                                          Miami                FL         33126
                                                                                                                                                                                                            British Virgin
 Staker (BVI) Ltd                                                              Trinity Chambers, Road Town                                                     Tortola              BVI                     Islands
 Standard Partners Lincoln llc.                                                1533 N Wells St                                                                 Chicago              IL         60610
 StandardFusion                                                                300-1062 Homer Street                                                           Vancouver            BC         V6B2W9     Canada
 Staq Finance Inc                               Attn: David Evans              6430 South 3000 East 390                                                        Cottonwood Heights   UT         84121
 Starco Brands Inc.                                                            250 26th Street                                                                 Santa Monica         CA         90402
 Stareable Inc.                                                                268 East Broadway                                                               New York             NY         10013
 StarkFresh                                                                    321 Cherry Ave NE                                                               Canton               OH         44702
 Stars On Board Technologies Inc.                                              626 Wilshire Blvd, Suite 410                                                    Los Angeles          CA         90017
 StartEngine                                                                   750 N San Vicente Blvd, Suite #800                                              Los Angeles          CA         90069
 StartEngine Collectibles Fund I LLC                                           3900 W Alameda Ave, Ste 1200                                                    Burbank              CA         91505
 StartEngine Collectibles Fund I LLC                                           3900 W Alameda, Ave Ste 1200                                                    Burbank              CA         91505
 StartEngine Collectibles Fund I LLC (Wine 1)                                  9900 Culver Boulevard                                                           Culver City          CA         90232
 StartEngine Collectibles Fund I LLC (Wine 2)                                  9900 Culver Boulevard                                                           Culver City          CA         90232
 StartEngine Collectibles Fund I LLC (Wine 3)                                  9900 Culver Boulevard                                                           Culver City          CA         90232
 StartEngine Collectibles Fund I LLC (Wine 4)                                  9900 Culver Boulevard,                                                          Culver City          CA         90232
 StartEngine Collectibles Fund I LLC (Wine 5)                                  9900 Culver Boulevard,                                                          Culver City          CA         90232
 StartEngine Crowdfunding Inc                                                  750 N San Vicente Blvd                                                          Los Angeles          CA         90069
 StartEngine Crowdfunding Inc                                                  8687 Melrose Ave                                                                West Hollywood       CA         90069
 StartEngine Crowdfunding Inc                                                  Pacific Design Center, WeWork                                                   West Hollywood       CA         90069
 StartEngine Crowdfunding Inc.                                                 4100 W ALAMEDA AVE                               FL 3                           BURBANK              CA         91505-4191
 Startengine Crowdfunding Inc.                                                 750 N. San VIcente Blvd                                                         West Hollywood       CA         90069
 Startengine Crowdfunding Inc.                                                 8687 Melrose Ave                                                                West Hollywood       CA         90069
 Startengine Crowdfunding Inc.                                                 8687 Melrose Ave,                                                               West Hollywood       CA         90069
 StartEngine Real Estate REIT 1 LLC                                            3900 W Alameda Ave Ste 1200                                                     Burbank              CA         91505
 StartUp Nation Ventures Fund LLLP                                             6555 Sanger Road                                                                Orlando              FL         32827
 State Banking Department of Alabama                                           PO Box 4600                                                                     Montgomery           AL         36103-4600
                                                c/o Withholding Services and
                                                Compliance MS-F182
 State of California                            Franchise Tax Board            PO Box 942867                                                                   Sacramento           CA         94267
 State of California Employment Development
 Department                                                                    Employment Development Department                PO Box 989061                  West Sacramento      CA         95798

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                          Name                                   Attention                          Address 1                                 Address 2                         City        State       Zip      Country
 State of Delaware                                                               820 N French St                                   Carvel State Office Building   Wilmington           DE           19801
                                                   Attn: Massachusetts Western
 State of Massachusetts                            Regional Office               1 Federal St Building 103-2                                                      Springfield          MA           01105
 State of Nevada Department of Employment Training
 and Rehabilitation                                                              500 E Third Street                                                               Carson City          NV           89713
 State of Nevada Financial Institutions Division                                 1830 E College Parkway                            STE 100                        Carson City          NV           89706
 State of West Virginia State Tax Department,
 Taxpayer Services Division                                                      Revenue Division                                  P.O. Box 2745                  Charleston           WV           25330-2745

 Statista Inc.                                                                   3 World Trade Center at 175 Greenwich Street 36th Floor                          New York             NY           10007
 Statum Systems Inc.                                                             8 Pleasant Street South, Unit D                                                  Natick               MA           01760
 Status Money Inc.                                                               245 5th Avenue                                                                   New York             NY           10016
 Stay Pittsburgh LLC                                                             100 Smithfield St.                                                               Pittsburgh           PA           15222
 StayblGear LLC                                                                  10645 N Tatum Blvd #288                                                          Phoenix              AZ           85028

 Steadfast Hedge Fund                                 Attn: Sheena Koshy         450 Investments LLC, 450 Park Avenue #57th                                       New York             NY           10022
 Steadfast Hedge Fund                                 Attn:Sheena Koshy          450 Park Ave 57th                                                                New York             NY           10022-2605
 Steel City Jet Ski Rentals LLC                                                  238 W. Station Square Drive                                                      Pittsburgh           PA           15219
 Stella Carakasi DTC Inc.                                                        1329 Ninth Street                                                                Berkeley             CA           94710
 Sterling & Vertue Partners (Judson Lane) LLC                                    80 Broad Street                                                                  New York             NV           10004

 Sterling Rhino Capital Equity Multiple CF Fund I LLC                            6824 19th St. W #159                                                             University Place     WA           98466
 Sterling Transportation Incorporated                                            172 Park Forest N Dr                                                             Whiteland            IN           46184
 Stillman Digital LLC                                 Attn: Jonathon Milks       1603 Capitol Ave                                  Suite 402A                     Cheyenne             WA           82001
 Stillman Digital LLC                                 Attn: Jonathon Milks       1603 Capitol Ave, Suite 402A                                                     Cheyenne             WA           82001
 Stitched Lifestyle LLC                                                          20 Springacre Drive                                                              Las Vegas            NV           89135
 Stojo Products Inc.                                                             41 Flatbush Avenue                                                               Brooklyn             NY           11217
 Stokes Plateau Investors LLC                                                    128-A Courthouse Square                                                          Oxford               MS           38655
 Stone's Throw Hash LLC                                                          1209 Orange St                                                                   Wilmington           DE           19801
 StorEn Technologies Inc.                                                        25 Health Sciences Drive                                                         Stony Brook          NY           11790
 Storiad Inc.                                                                    961 E. California Blvd. #327                                                     Pasadena             CA           91106
 Story2 LLC                                                                      1441 Broadway                                                                    New York             NY           10018
 Stradley Ronon Stevens & Young LLP                                              2005 Market Street, Suite 2600                                                   Philadelphia         PA           19103
 Straightup Chelsea 28 LLC                                                       3 E 54th Street                                                                  New York             NY           10022
 Strategic MHP Fund LLC                                                          110 NW 2nd Street                                                                Cedaredge            CO           81413
 Stream Dx Inc                                                                   429 W Lawndale Drive                                                             South Salt Lake      UT           84115
 Stream It Inc.                                                                  11717 Prado Ranch Blvd                                                           Austin               TX           78725-6302
 Streaming Television Inc                                                        260 Peachtree St NW                                                              Atlanta              GA           30303
 Streaming Television Inc                                                        730 Peachtree Street NE                                                          Atlanta              GA           30308
 Streamlytics Inc.                                                               777 Brickell Avenue, Suite 500                                                   Miami                FL           33131
 Streamlytics Inc.                                                               8623 Washington Blvd                                                             Culver City          CA           90232
 StreamNet Inc.                                                                  7582 Las Vegas Blvd                                                              Las Vegas            NV           89123
 Streamz Inc.                                                                    672 East Vine St.                                                                Murray               UT           84107
 StreetWell LLC                                                                  644 Frederick Street                                                             Hagerstown           MD           21740
 Strengths Inc.                                                                  1806 North 500 East                                                              Provo                UT           48604
 Stretch Technologies LLC                                                        201 W 5th St                                                                     Austin               TX           78701
 Strikeforce Technologies Inc.                                                   1090 King Georges Post Road                                                      Edison               NJ           08837
 Stroll LLC                                                                      756 Ohio River Blvd                                                              Sewickley            PA           15143
 Strom Motors Inc                                                                4534 Laird CIr                                                                   Santa Clara          CA           95054
 Strong II Dry Cleaners LLC                                                      7620 Frankstown Ave                                                              Pittsburgh           PA           15208
 Studio IPlay Inc                                                                21310 Coolidge Hwy                                                               Oak Park             MI           48237
 Style of Sport LLC                                                              419 Park Avenue South                                                            New York             NY           10016
 Style Station Inc.                                                              7111 Santa Monica Blvd., Ste B                                                   West Hollywood       CA           90046
 Success By Media Holdings Inc.                                                  170 S. Green Valley Parkway Suite 300                                            Henderson            NV           89012
 Success By Media LLC                                                            848 N. Rainbow Boulevard                                                         Las Vegas            NV           89107
 Sugarfina Corporation                                                           1700 E Walnut Ave                                                                El Segundo           CA           90245
 Sugarfina Corporation                                                           1700 E Walnut Ave, Ste 500                                                       El Segundo           CA           90245-2609

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 Sugarfina Corporation                                                           1700 East Walnut Avenue                                                   El Segundo             CA         90245
 Summit Regency Point Apartments LLC                                             101 S. Hanley Road                                                        Clayton                MO         63105
 Sumo Logic                                                                      855 Main St., Suite 100                                                   Redwood City           CA         94063
 Sumo Logic Inc                                                                  855 MAIN ST                                                               REDWOOD CITY           CA         94063-1901
 Sun Brothers LLC                                                                2250 North Coral Canyon Blvd                                              Washington             UT         84780
 Sun Dental Holdings LLC                                                         1800 9th Avenue North                                                     Saint Petersburg       FL         33713
 Sun Fund Renewables Inc.                                                        185 Plains Road                                                           Milford                CT         06461
 Suncoast Hotel and Casino                        Attn: Chris Carlson            9090 Alta Dr.                                                             Las Vegas              NV         89145
 Sunu Inc.                                                                       245 Main Street                                                           Cambridge              MA         02142
 Super Rich Media                                                                601 Euclid Avenue                                                         Berkeley               CA         94708
 Supper LLC                                                                      221 Thad Street                                                           Houston                PA         15432
 Supporteo Corp                                                                  17145 N Bay Rd. Suite 4308                                                Sunny Isles Beach      FL         33160
 SupPorter Inc.                                                                  3423 Piedmont Rd NE                                                       Atlanta                GA         30305
 Supreme Foods Franchising Inc.                                                  1827 Columbia Drive                                                       Decatur                GA         30032
 SurelyWell Inc.                                                                 16192 Coastal Hwy                                                         Lewes                  DE         19958
 Surya Spa Inc.                                                                  700 Wilshire Blvd                                                         Santa Monica           CA         90401
 Surys Inc.                                                                      20 Nutmeg Drive                                                           Trumbull               CT         06611
 SusGlobal Energy Corp.                                                          200 Davenport Road                                                        Toronto                Ontario    M5R1J2     Canada
 SushiBrokers on Wheels LLC Debt Offering                                        17025 North Scottsdale Road                                               Scottsdale             AZ         85255
 Sustainable Imprints Inc.                                                       1385 Green Bay Road                                                       Highland Park          IL         60035
 SV Tool Corp                                                                    400 Breezewood Dr                                                         Geyserville            CA         95441
 Swaggle Inc.                                                                    2006 17th Street NW                                                       Washington             DC         20009
 Swarmify Florida Fund, LLC                                                      6601 Memorial Highway Suite 310                                           Tampa                  FL         33615
 Swarmify, Inc.                                                                  1301 W Eau Gallie Blvd.                                                   Melbourne              FL         32935
 Swedesboro Brewing Co LLC                                                       95 Woodstown Rd, Unit P                                                   Swedesboro             NJ         08085
 Sweet Caroline Tour LLC                                                         8473 Eagle Preserve Way                                                   Sarasota               FL         34241
 Sweetberry Holdings LLC                                                         2 SCHMIDTS PL                                                             SECAUCUS               NJ         07094-4110
 Swell Holding Co.                                                               125 Montana Ave.                                                          Santa Monica           CA         90403
 Swggr Media, Inc.                                                               4315 Inglewood Blvd                                                       Los Angeles            CA         90066
                                                  Attn: Kathy Roberts, Brad
 Switch Reward Card                               Willden, and Kristen Jolley    2000 Ashton Blvd, Ste 200                                                 Lehi                   UT         84043
                                                  Attn: Kathy Roberts, Bryan
                                                  Woods, Brad Willden, Kristen
 Switch Reward Card                               Jolley                         2000 Ashton Blvd                                                          Lehi                   UT         84043-6148
 Sword Diagnostics Inc                                                           13295 Illinois Street                                                     Carmel                 IN         46032
 SXC Live Inc.                                                                   11601 Wilshire Blvd., Suite 500                                           Los Angeles            CA         90025
 SXC Live Inc.                                                                   1270 Granville Ave.                                                       Los Angeles            CA         90025
 Sybal Corp                                                                      5830 E 2nd St                                                             Casper                 WY         82609
 Symmpl Inc.                                                                     344 Arno Way                                                              Pacific Palisades      CA         90272
 SynapCyte LLC                                                                   PO Box 770168                                                             Winter Garden          FL         34777-0168
 Syndicrowd Funding LLC                                                          1299 Corporate Dr.,                                                       Westbury               NY         11590
                                                                                                                                                                                  Eastern
 SYR Group (PTY) LTD dba SYNTRA                   Attn: Daniel Thomas            119 Villiers Road Walmer                                                  Port Elizabeth         Cape       6001         South Africa
 T0.com Inc.                                                                     29 Broadway                                                               New York               NY         10006
 T4L Inc.                                                                        8267 Parkstone Pl 108                                                     Naples                 FL         34120
 TAC Supply Co.                                                                  4221 Rawhide Street                                                       Las Vegas              NV         89120
 Tagus Capital Multi-Strategy Fund SP acting by                                  Maricorp Services Ltd., 31, The Strand, PO
 Starmark Investment Limited                      Guilherme Silva                Box 2075                                                                  Gran Cayman KY1-1105                           Grand Cayman
 Tagus Capital Multi-Strategy Fund SP acting by                                  Maricorp Services Ltd., 31, The Strand, PO
 Starmark Investment Limited                      Guilherme Silva                Box 2075                                                                  Gran Cayman            KY1-1105                Grand Cayman
 Tai Chi Yoga LLC                                                                7981 S Cypress Pine Cove                                                  Sandy                  UT         84070
 Tall Idea Labs Inc.                                                             440 N Wolfe Rd                                                            Sunnyvale              CA         94085
 Tall Pines Distillery LLC.                                                      9224 Mason Dixon Hwy.                                                     Salisbury              PA         15558
 Tallyfy Inc                                                                     911 Washington Avenue                                                     St. Louis              MO         63101
 Talos Trading Inc.                               Attn: Anton Katz               228 Park Ave S., Ste 21958                                                New York               NY         10003-1502
 Tandem, LLC                                                                     5225 S Loop 289                                  Suite 207                Lubbock                TX         79424
 Tandem, LLC                                                                     Sentry Plaza II, 5225 S Loop 289, Suite 207                               Lubbock                TX         79424

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 Tank Glass LLC                                                           907 Westwood Blvd                                                        Los Angeles           CA           90024
 Tanoshi Inc.                                                             505 14th St Ste 900                                                      Oakland               CA           94612
 TAO Connect Florida Fund LLC                                             6601 Memorial Highway Suite 315                                          Tampa                 FL           33615
 Tap Systems Inc.                                                         177 E Colorado Boulevard                                                 Pasadena              CA           91105
 Tapa Inc.                                                                503 Carlisle Dr.                                                         Herndon               VA           20170
 TapRm I A Series of Republic Deal Room Master
 Fund LP                                                                  PO BOX 171305                                                            SALT LAKE CTY         UT           84117-1305
 Tapville Franchising Inc.                                                216 S Washington Street                                                  Naperville            IL           60540
 Tapville Franchising Inc.                                                216 S. Washington Street                                                 Naperville            IL           60540
 Taste Labs Inc.                                                          473 4TH ST                                      APT 1R                   BROOKLYN              NY           11215-3086
 TaxBit, Inc                                                              14203 Minuteman Drive                           Ste 201                  Draper                UT           84020
 TaxBit, Inc.                                     Attn: Justin Woodward   66 East Wadsworth Park Drive, Suite 200                                  Draper                UT           84020
 TaxDrop                                                                  400 W 63RD ST                                   APT 301                  NEW YORK              NY           10069-0434
 TC Georgia Solar Investments LLC                                         321 S. Boston, Suite 200                                                 Tulsas                OK           74103
 TC Nevada, LLC dba TLC Luxury Transportation                             4015 West Tompkins Avenue                                                Las Vegas             NV           89103
 TCAG Inc.                                                                5824 Spencer Avenue                                                      Bronx                 NY           10471
 Team Excel Inc.                                                          1717 East Cary Street                                                    Richmond              VA           23223
 Teambonding                                                              18 Washington Street, #200                                               Canton                MA           02021
 Techotel Inc.                                                            137 West 25th Street                                                     New York              NY           10001
 Techtracker Inc                                                          530 Lawrence Expy                                                        Sunnyvale             CA           94085
 Temple I LLC                                                             85 Broad St                                                              New York              NY           10004
 Tennessee Department of Financial Institutions                           312 Rosa L. Parks Ave.                          26th Floor               Nashville             TN           37243
 Tennessee Securities Division                                            500 James Robertson Parkway                     Davy Crockett Tower      Nashville             TN           37243
 Teooh Inc.                                                               3749 Fillmore Street                                                     San Francisco         CA           94123
 Tequila Holdings Inc.                                                    55 East End Ave #7d                                                      New York              NY           10028
 Teraphysics Corporation                                                  110 Alpha Park                                                           Cleveland             OH           44143
 Terbine                                                                  848 N. Rainbow Blvd. #3230                                               Las Vegas             NV           89107
 Ternio LLC                                                               3010 Haven Mill Lane                                                     Milton                GA           30004
 TerraCycle US Inc.                                                       121 New York Avenue                                                      Trenton               NJ           08638
 Terraformation Inc.                                                      67 - 1185 Mamalahoa Highway                                              Waimea                HI           96743
 Terry Thomsen LLC                                                        22560 Lorain Road                                                        Fairview Park         OH           44126
 Tesa Medical Inc                                                         2116 15th Avenue                                                         San Francisco         CA           94116
 test                                                                     395 Pharr Rd NE, #101                                                    Atlanta               AL           30305
 TEST Foundation Inc.                                                     449 Forbes Boulevard                                                     South San Francisco   CA           94080
 Texas Comptroller of Public Accounts                                     PO Box 149348                                                            Austin                TX           78714
 Texas Department of Banking                                              2601 North Lamar Blvd                                                    Austin                TX           78705
 Texas Department of Banking                                              2601 North Lamar Boulevard                                               Austin                TX           78705
 Texas Made Sports Development Inc.                                       7713 Wolverine St                                                        Austin                TX           78757
 Texas Office of Consumer Credit Commissioner                             2601 North Lamar Blvd                                                    Austin                TX           78705
 Texas State Securities Board                                             208 East 10th Street                            5th Floor                Austin                TX           78701
 Texta Inc.                                                               110 Wall St Floor 6                                                      New York              NY           10005
 Textsavvyapp Inc                                                         907 N Harper Ave #8                                                      West Hollywood        CA           90046
 Thalia Brands Inc.                                                       548 Contra Costa Blvd, Suite O                                           Pleasant Hill         CA           94523
 That Christmas Movie LLC                                                 PO Box 50201                                                             Studio City           CA           91614
 That's Eatertainment Corp.                                               7377 E. Doubletree Ranch Rd.                                             Scottsdale            AZ           85258
 The Armored Citizen LLC                                                  45 E HIGHLINE DR                                                         WOODLAND HILLS        UT           84653-2071
 The Axle Workout INC                                                     17 Chittenden Avenue                                                     New York              NY           10033
 The Baby Barista Company Inc                                             420 Granite Hills Street                                                 Simi Valley           CA           93065
 The Bad Stuff Inc.                                                       12121 Wilshire Blvd. Suite 600                                           Los Angeles           CA           90025
 The Black Rose Company LLC                                               400 Capital Circle SE                                                    Tallahassee           FL           32301
 The Black Wall Street                            Attn: Hill Harper       1626 N. Wilcox Avenue                           Suite 211                Hollywood             CA           90028
 The Block Crypto                                                         45 Bond Street                                                           New York              NY           10012
 The Bloomi Inc.                                                          7970 Surrey Lane                                                         Oakland               CA           94605
 The Bucket List Studios Inc.                                             3828 West Vanderbilt Drive                                               Meridian              ID           83646
 The Chosen LLC                                                           4 S 2600 W                                                               Hurricane             UT           84737
 The Common Oven LLC                                                      6111 W Clinton Ave                                                       Cleveland             OH           44102


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                        Name                                  Attention                           Address 1                                 Address 2              City                State      Zip          Country
 The CryptoMom Global, Inc. dba THE CRYPTOMOM Attn: Lord Cole and Kendra
 APP                                               Cole                          1101 W Adams Blvd, Ste K                                                Chicago                  IL           60607
 The Cut Buddy LLC                                                               760 Redgate Road                                                        Pittsboro                NC           27312
 The Dawty Project LLC                                                           304 South Jones Blvd                                                    Las Vegas                NV           89107
 The Delisle Group DBA Culinary Kickoff                                          175 Athena Dr                                                           Copperopolis             CA           95228
 The EvStructure Inc.                                                            3579 E Foothill Blvd                                                    Pasadena                 CA           91107
 The Fantasy Network Corporation                                                 4152 Meridian St. Suite 105 #65                                         Bellingham               WA           98226
 The Florida Funders Seed Fund LLC                                               6601 Memorial Highway Suite 315                                         Tampa                    FL           33615
 The Fun Wine Company Inc.                                                       20200 West Dixie Highway,                                               Miami                    FL           33180
 The Glute Pro LLC                                                               4252 S Ramona St                                                        Gilbert                  AZ           85297
 The Green Retrofit DBA The Great Game of Real
 Estate                                                                          23010 Compass Drive                                                     Canyon Lake              CA           92587
 The Hartford                                                                    301 Woods Park Dr                                                       Dallas                   TX           75266-0916
 The Hartford                                                                    3600 Wiseman Blvd.                                                      San Antonio              TX           78251
 The Hartford                                                                    Business Center, 3600 Wiseman Blvd                                      San Antonio              TX           78251
 The Healthy Crop Inc.                                                           4231 Balboa Avenue                                                      San Diego                CA           92117
                                                   Attn: Matthew Foster Joseph
 The Hopkins 2020 Irrevocable Trust                Hopkins                       955 Stovall Blvd NE                                                     Atlanta                  GA           30319
 The Humble Shoe Company Inc.                                                    33 5th Avenue                                                           New York                 NY           10003
 The Hydrogen Group Inc.                                                         1794 Laurel Brook Loop                                                  Casselberry              FL           32707
 The Italian Cafe LLC                                                            21020 N Rand Road                                                       Lake Zurich              IL           60047
 The Italian Cafe LLC                                                            21020 N. Rand Road                                                      Lake Zurich              IL           60047
 The Latin Dead LLC                                                              8548 Via Mallorca                                                       La Jolla                 CA           92037
 The Leets Consortium                                                            3862 Woodsen Bend Drive                                                 Las Vegas                NV           89141
 The Legacy Lofts on Courtland                                                   2037 Courtland Avenue                                                   CIncinnati               OH           45212
 The Lei Company Cooperative Inc.                                                6609 Bancroft Ave                                                       Oakland                  CA           94605
 The Light Phone Inc.                                                            49 Bogart Street                                                        Brooklyn                 NY           11206
 The Lingerie Lounge LLC                                                         990 Biscayne Blvd.                                                      Miami                    FL           33132
 The Luving Company                                                              7456 Henefer Avenue                                                     Los Angeles              CA           90045
 The MailTag Company LLC.                                                        6021 East Lafayette Boulevard                                           Scottsdale               AZ           85251
 The Monroe Building Investor LLC                                                170 Florida Street                                                      Buffalo                  NY           14208
 The NoBaked Company                                                             1200 Villa Pl #113                                                      Nashville                TN           37212
 The OLLO Group Inc.                                                             1321 Engracia Avenue                                                    Torrance                 CA           90501
 The Pittsburgh Juice Company                                                    3418 Penn Ave                                                           Pittsburgh               PA           15201
 The Real Bloody Mary Co. LLC                                                    12711 Ventura Blvd. #290                                                Studio City              CA           91604
 The SavvyCard Florida Fund III, LLC                                             6601 Memorial HWY, Suite 310                                            Tampa                    FL           33615
 The Security Oracle Inc.                                                        3614 Solana Circle                                                      Clermont                 FL           34711
 The Shade Store LLC                                                             21 Abendroth Avenue                                                     Port Chester             NY           10573
 The Shift LLC                                                                   3101 N. Filbert Ave.                                                    Fresno                   CA           93727
 The SnapBar, LLC                                                                6659 Kimball Drive                              Suite C308              Gig Harbor               WA           98335
 The Studio Kitchen Company                                                      6130 W Flamingo Rd                                                      Las Vegas                NV           89103
 The sustainABLE life                                                            20969 Ventura Blvd,                                                     Woodland Hills           CA           91364
 The Town Kitchen PBC                                                            2325 East 12th Street                                                   Oakland                  CA           94601
 The Trade Group Inc                                                             1434 Patton Place                               Ste. 190                Carrolton                TX           75007
 The Upper Crust 15301 LLC                                                       88 N Main St                                                            Washington               PA           15301
 The Upper Row LLC                                                               8900 E Jefferson                                                        Detroit                  MI           48214
 The Wandering Barman LLC                                                        1080 Wyckoff Avenue                                                     Ridgewood                NY           11385
 The Wine Collective LLC                                                         8355 Broad Neck Road                                                    Chestertown              MD           21620
 theCut LLC                                                                      4491 Cheshire Station Plaza                                             Dale City                VA           22193
 Thimble.io Inc.                                                                 255 Great Arrow Avenue                                                  Buffalo                  NY           14207
 Thinking Green                                                                  170 S. Green Valley Parkway,                                            Henderson                NV           89012
 Thinkst Applied Research (Pty) Ltd.                                             Unit L6, 5 Howe Street                                                  Observatory, Cape Town                7925         South Africa
 ThinOptics Inc.                                                                 1620 Carneros Meadows Lane                                              Sonoma                   CA           94536
 Thirty Three Threads Inc. d/b/a ToeSox d/b/a Tavi
 Noir                                                                            1330 Park Center Drive                                                  Vista                    CA           92081
 THIS I A Series of Republic Deal Room Master Fund
 LP                                                                              PO BOX 171305                                                           SALT LAKE CTY            UT           84117-1305

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                          Name                              Attention                              Address 1                                 Address 2                        City             State      Zip       Country
                                                                                                                                   824 North Market Street, Suite
 Thomas Pageler                                  c/o Clark Hill PLC              Attn: Karen M. Grivner                            710                              Wilmington            DE           19801
 Thomson Reuters                                                                 PO Box 6292                                                                        Carol Stream          IL           60197-6292
 Thought Matter                                                                  19 W 24th St                                      5th Floor                        New York              NY           10010
 Thoughtfull Toys Inc.                                                           303 Potrero Street, Building 29, Unit 101                                          Santa Cruz            CA           95060
 ThrillCorp Inc.                                                                 7380 Sand Lake Road                                                                Orlando               FL           32819
 ThrillSeeker Media Group Inc.                                                   44 W Flagler St, Ste 600                                                           Miami                 FL           33130
 Thriviva Inc.                                                                   1309 Coffeen Ave Suite 3620                                                        Sheridan              WY           82801
 Throwback Family Fun LLC                                                        1940 N Hubbard Ln                                                                  Casa Grande           AZ           85122
 Throwdown Inc.                                                                  20372 Hermana Circle                                                               Lake Forest           CA           92630
 Thuzio Inc                                                                      114 West 26th Street                                                               New York              NY           10001
 Thyme Management LLC                                                            424 N. Higgins Ave                                                                 Missoula              MT           59802
 TIKI Inc.                                                                       20 Franklin Street, STE 100                                                        Worcester             MA           01608
                                                                                 Attn: Louis Bubala, III & Robert McCoy &          1980 Festival Plaza Drive, Suite
 Tiki Labs, Inc.                                 c/o Kaempfer Crowell            Brittney Lehtinen                                 650                              Las Vegas             NV           89135
 Tiki Labs, Inc. dba Audius Inc.                 c/o Keller Benvenutti Kim LLP   Attn: Tobias S. Keller & Traci L. Shafroth        425 Market Street, 26th Floor    San Francisco         CA           94105
                                                 c/o Pashman Stein Walder                                                          1007 North Orange Street, 4th
 Tiki Labs, Inc. dba Audius Inc.                 Hayden PC                       Attn: John W. Weiss                               Floor, Suite 183                 Wilmington            DE           19801
 Timan LLC                                                                       45250 Mar Vista Drive                                                              Mendocino             CA           95460
 Time Token Inc.                                                                 2728 N 24th Steet                                                                  Phoenix               AZ           85008
 Timeburst LLC                                                                   213 W. Exp. 83                                                                     Pharr                 TX           78577
 Timus Capital, LLC                              Arthur J. Simon                 150 N. Riverside Plaza                                                             Chicago               IL           60606
 Tin Check Payee Verification System (PVS)                                       23901 Calabasas Road                              Suite 2080                       Calabasas             CA           91302
 Tines Security Services Limited                                                 1 Blackberry Lane                                                                  Dublin 6                           D06 FV02 Ireland
 Tiny Houses, LLC                                                                945 Liberty Avenue                                                                 Pittsburgh            PA           15222
 Tiny In A Box LLC                                                               2500 Eastern Blvd                                                                  Montgomery            AL           36123
 Tiny Orange, LLC                                Fredric M. Edelman              10001 Georgetown Pike, #1004                                                       Great Falls           VA           22066
 Titanium Building Group LLC                                                     8560 S EASTERN AVE                                STE 250                          LAS VEGAS             NV           89123-2850
 Titomirov Vodka LLC                                                             125 W. Indiantown Road,                                                            Jupiter               FL           33458
 TLS Holdings Inc.                                                               1244 Sierra Vista Dr.                                                              Gardnerville          NV           89460
 Tnhc LLC                                                                        6400 John Hager Rd                                                                 Mount Juliet          TN           37122
 To The Stars Academy of Arts and Science Inc.                                   1051 S. Coast Hwy 101                                                              Encinitas             CA           92024
 To The Stars Academy of Arts and Science Inc.                                   315 S Coast HWY 101                                                                Encinitas             CA           92024
 Toast Beverages LLC                                                             5138 Main Street                                                                   Manchester            VT           05255
 Tobin & Associates, LLC                                                         1378 Sunnyfield Circle                                                             Upland                CA           91784
 ToGoBOX Inc.                                                                    2761 FRUITLAND AVE                                                                 VERNON                CA           90058-3607
 TomBot Inc.                                                                     19197 Golden Valley Road, #638                                                     Santa Clarita         CA           91387
 Tomo Technologies Inc.                                                          4312 Windlass Court                                                                Raleigh               NC           27616
 ToneStone Inc                                                                   15 White Place                                                                     Brookline             MA           02445
 Tonic Coffee LLC                                                                607 EDMOND ST                                     #2                               PITTSBURGH            PA           15224-2015
 Top Line Pest Eliminators Inc                                                   6356 Maratea Ave                                                                   Las Vegas             NV           89130
 Totalsource Solutions Incorporated                                              1020 John Paul Jones Drive                                                         Stafford              VA           22554
 Totle Inc.                                                                      260 East Brown Street                                                              Birmingham            MI           48009
 Townhomes Olathe Kansas L.P.                                                    211 East 43rd Street                                                               New York              NY           10017
 Township of Lower Merion                                                        75 East Lancaster Avenue                                                           Ardmore               PA           19003
 Toy Overlord Inc                                                                3753 S State St                                                                    Salt Lake City        UT           84115
 TracFlo Inc                                                                     335 Madison Avenue                                                                 New York              NY           10017
 Traipse PBC                                                                     32 N Augusta St.                                                                   Staunton              VA           24401
 Transatlantic Real Estate LLC                                                   18530 Mack Avenue                                                                  Grosse Pointe Farms   MI           48236
 TransBioTec Inc.                                                                400 N. Tustin Ave.                                                                 Santa Ana             CA           92705
 TransCrypt Solutions Inc.                                                       38184 Guava Drive                                                                  Newark                CA           94560
 TRAQ Inc.                                                                       1930 Kellogg Avenue                                                                Carlsbad              CA           92008
 Trashless Inc.                                                                  4701 Red Bluff Road, Suite B                                                       Austin                TX           78702
 Travelers                                                                       PO Box 660317                                                                      Dallas                TX           75266-0317
 Travelmate Robotics Inc.                                                        400 S 4th Street                                                                   Las Vegas             NV           89101
 TraVertex Inc.                                                                  18383 PRESTON RD                                  STE 425                          DALLAS                TX           75252-6097
 Traxler Littlejohn Enterprises LLC                                              4516 Rugheimer Ave                                                                 North Charleston      SC           29405

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 Treasure Investments Corporation                                      333 S State St 262                                                       Lake Oswego         OR         97034
 Trella Technologies LLC                                               173 Clay Pond Rd.                                                        Bourne              MA         02532
 TrendFrend Inc.                                                       2188 Rusticpark Ct.                                                      Thousand Oaks       CA         91362
 Treycent Inc                                                          7431 Roebelenii Ct                                                       Sarasota            FL         34241
 TriAgenics Inc.                                                       525 SW Umatilla Ave                                                      Redmond             OR         97756
 Trial Funder 4 LLC                                                    1420 South Figueroa Street                                               Los Angeles         CA         90015
 Trial Funder 5 LLC                                                    1420 South Figueroa Street                                               Los Angeles         CA         90015
 Trial Funder 6 LLC                                                    1420 South Figueroa Street                                               Los Angeles         CA         90015
 Trial Funder 7 LLC                                                    1420 South Figueroa Street                                               Los Angeles         CA         90015
 Trial Funder 8 LLC                                                    1420 South Figueroa Street                                               Los Angeles         CA         90015
 Trial Funder 9 LLC                                                    1420 South Figueroa Street                                               Los Angeles         CA         90015
 Trial Funder Personal Injury Fund I LLC                               1420 South Figueroa Street                                               Los Angeles         CA         90015
 Trialfunder 3, LLC                                                    1801 Century Park East                                                   Los Angeles         CA         90067
 TrialSite Inc.                                                        159 W Broadway                                                           Salt Lake City      UT         84101
 Triangle Foundry LLC                                                  1311 Earlford Dr                                                         Pittsburgh          PA         15227
 Tribal Rides Inc.                                                     19 Catania                                                               Misson Viejo        CA         92692
 Trident Shield LLC                                                    455 2nd St SE                                                            Charlottesville     VA         22902
 Trikke Tech Inc.                                                      132 Easy Street, D-1                                                     Buellton            CA         93427
 Trinity Monetary Fund                                                 10803 Foothill Blvd                                                      Rancho Cucamonga    CA         91730
 Trinity Monetary Fund LLC.                                            10803 Foothill Blvd                                                      Rancho Cucamonga    CA         91730
 Trip360 Ltd                                                           43 Lowell Drive                                                          New City            NY         10956
 TriplePulse Inc.                                                      3103 Neilson Way, Suite D                                                Santa Monica        CA         90405
 Triton Venture Capital Prime Trust Fund I LP     Brandon Gath         2425 Wilson Street                                                       Austin              TX         78704
 Troop Beverage Co.                                                    3006 Gough Street                                                        San Francisco       CA         94123
 Tropical Racing Inc.                                                  1740 Grassy Springs Road                                                 Versailles          KY         40383
 Tropical Weather Analytics Inc.                                       58 University Road                                                       Brookline           MA         02445
 Trouvaille LLC                                                        6790 East Calle La Paz                                                   Tucson              AZ         85715
 Truax Hotel SPE LLC                                                   41923 Second St                                                          Temecula            CA         92590
 True Gault Inc.                                                       154 Cobblestone Court                                                    Victor              NY         14564
 True Made Foods Inc.                                                  5810 Kingstowne Center                                                   Alexandria          VA         22315
 True Star Fund I LLC                                                  600 N Marienfeld                                                         Midland             TX         79701
 TrueCoin, LLC                                                         248 Cumberland St.                                                       San Francisco       CA         94114
 TrueGen Health Inc.                                                   932 S. Bruner St.                                                        Hinsdale            IL         60521
 Trulioo Information Services                                          1200-1055 West Hastings Street                                           Vancouver           CA         94104
 Trusst Health Inc.                                                    19 Rocky Hill Lane                                                       Lyme                NH         03768
 TrustaBit LLC                                                         26895 Aliso Creek Rd #1007                                               Aliso Viejo         CA         92656
 Trusted Handyman LV                                                   1801 S. Eastern Avenue                                                   Las Vegas           NV         89104
 TrustLabs                                                             234 South Main Street                           STE 7A                   Willits             CA         95490
 TrustToken Inc.                                                       325 9th St.                                                              San Francisco       CA         94103
 TrustToken, Inc.                                                      248 Cumberland St.                                                       San Francisco       CA         94114-2609
 Trustwave Holdings, Inc. dba Trustwave                                70 West Madison Street                          Suite 600                Chicago             IL         60602
 TSS Solar                                                             414 University Ave                                                       Newark              NJ         07102
 Tuffy Packs Inc.                                                      6726 Seinfeld Ct                                                         Houston             TX         77069
 Tula Microphones Inc.                                                 448 W 19th st, #752                                                      Houston             TX         77008
 Tulsa Real Estate Fund LLC                                            3015 R.N. Martin Street                                                  East Point          GA         30344
 TurtleWise Inc.                                                       154 Cobblestone Court Dr.                                                Victor              NY         14564
 Tuttle Twins Show LLC                                                 410 S University Ave.                                                    Provo               UT         84601
 Twelve27 Salon                                                        901 Penn Avenue                                                          Pittsburgh          PA         15222
 Twenty-Second Century Dora Technology Holdings
 Inc                                                                   201 Folsom Street                                                        San Francisco       CA         94105
 Twisted Taino Restaurant LLC                                          2101 Grantwood Rd                                                        Parma               OH         44134
 Two Spirit LLC                                                        684 Broadway                                                             New York            NY         10012
 Tyla-Simone's Wings LLC                                               11261 RICHMOND AVE                              STE 106G                 HOUSTON             TX         77082-2676
 Ube Inc                                                               9800 North Lamar Blvd                                                    Austin              TX         78753
 UBIF Tech Solutions Inc.                                              506 Hickory Creek Court                                                  Little Rock         AR         72212
 Ubihere Inc.                                                          4621 Lyman Drive                                                         Hilliard            OH         43026
 Ubiquity Global Services, Inc.                                        1140 AVENUE OF THE AMERICAS                     FL 1                     NEW YORK            NY         10036-5801

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 Ubiquity Global Services, Inc.                     Attn: Matt Nyren              1140 AVENUE OF THE AMERICAS                      FL 1                        NEW YORK           NY         10036-5801
 Uccellini Inc.                                                                   626 Northwest Arizona Avenue                                                 Bend               OR         97703
 UGF II Affiliates II, LLC                                                        299 South Main Street, Suite 357                                             Salt Lake City     UT         84111
 UHY Consulting                                                                   980 Hammond Drive                                Suite 100                   Atlanta            GA         30328
 UM Medical 13 Buildings LLC                                                      101 Vickery Street                                                           Roswell            GA         30075
 Umbrella Real Estate Fund I L.P                                                  11151 Minneapolis Dr                                                         Hollywood          FL         33026
 Umergence Main Street Capital Corporation                                        1519 York Road                                                               Lutherville        MD         21093
 Unation LLC                                                                      12802 Tampa Oaks Blvd.                                                       Tampa              FL         33637
 Unbanked Inc                                       Attn: Ian Kane                8000 Avalon Blvd                                                             Alpharetta         GA         30009
 Unbanked Inc                                       Attn: Ian Kane                8000 Avalon Blvd                                                             Alphreatta         GA         30009
 UnBar Cafe Inc.                                                                  3254 Van Aken Blvd                                                           Shaker Heights     OH         44120
 Uncommon Giving Corporation                                                      7033 E. Greenway Pkwy                                                        Scottsdale         AZ         85254
 Undesert Corporation Investments SPV LLC.                                        108 lakeland avenue                                                          Dover              DE         19901
 Uni-boil MP INC                                                                  500 N Atlantic Blvd #127                                                     Monterey Park      CA         91754
 UniCoin Blockchain Inc.                                                          13393 Samantha Ave                                                           San Diego          CA         92129
 Unicore Real Estate Trust                                                        1939 Mifflin St.                                                             Philadelphia       PA         19145
                                                    Attn: Stefano di Geronimo
 Union Block, LLC                                   Zingg                         8 The Green                                      Suite 13020                 Dover              DE         19901

 Union Block, LLC                                   Attn:Stefano Di Geronimo Zingg 8 The Green, Suite 13020                                                    Dover              DE         19901
 Union Electric Supply Inc.                                                        3019 WILSHIRE BLVD                              #142                        SANTA MONICA       CA         90403-2301
 Unique Beauty Supply Lafayette LLC                                                1212 Albertsons Parkway                                                     Broussard          LA         70518
 Unit21                                                                            112 South Park St                                                           San Francisco      CA         94107
 United Health Care Premium Billing                                                PO Box 94017                                                                Palatine           IL         60094-4017
 United States Treasury, Financial Crimes
 Enforcement Network                                                              1500 Pennsylvania Avenue, NW                                                 Washington         DC         20220
 United States Treasury, Office of Foreign Assets
 Control                                                                          Treasury Annex / Freedman's Bank Building        1500 Pennsylvania Avenue, NW Washington        DC         20220
 Universal Ledger LLC                               Attn: Kirk Chapman            355 S Main St                                                                 Greenville        SC         29601-2923
 Universal Ledger LLC                               Attn: Kirk Chapman            355 S Main St                                                                 Greenville        SC         29601
 Universal Namespace Inc.                                                         Weserstr 20A                                                                  Berlin                       10247      Germany
 Universal Protection Service, LP d/b/a Allied                                    Eight Tower Bridge, 161 Washington Street,
 Universal                                                                        Suite 600                                                                    Conshohocken       PA         19428
 Universal Tax System                                                             Wolters Kluwer CCH SFS                           Bin 88279                   Milwaukee          WI         53288-0279
 University Growth Fund II, LP                      Peter Harris                  299 South Main Street, Suite 357                                             Salt Lake City     UT         84111
 University Medical Center                                                        1800 West Charleston Boulevard                                               Las Vegas          NV         89102
 Unlock Wealth $ LLC                                                              416 Mary Todd Place                                                          Mcdonough          GA         30252
 Up Sonder Inc.                                                                   5482 Wilshire Blvd., STE 125                                                 Los Angeles        CA         90036
 Up Sonder LLC                                                                    5482 Wilshire Boulevard                                                      Los Angeles        CA         90036
 UpChoose PBC                                                                     156 2nd Street                                                               San Francisco      CA         94105
 UpCurrent Inc.                                                                   660 4th St                                                                   San Francisco      CA         94107
 Upcycle This! LLC                                                                4289 Prasse Road                                                             South Euclid       OH         44121
 Upflow                                                                           340 S Lemon Ave #7517                                                        Walnut             CA         91789
 UPH Holdings LLC                                                                 150 East Broad Street                                                        Columbus           OH         43215
 Upright Oats LLC                                                                 1204 Main Street                                                             Branford           CT         06405
 Upshift Inc                                                                      3950 Webster Street                                                          Oakland            CA         94609
 Upstryve Inc.                                                                    3132 N PINE ISLAND RD                                                        SUNRISE            FL         33351-7333
 Urban Homesteaders LLC                                                           7115 Ridge Rd                                                                Natrona Heights    PA         15065
 Urban Wag LLC                                                                    2 North 6th Street                                                           Brooklyn           NY         11249
 URentMe LLC                                                                      871 Coronado Center Drive, Suite 200                                         Henderson          NV         89052
 Uroshape LLC                                                                     200 S. Harbor City Blvd                                                      Melbourne          FL         32901
 Uroshape LLC                                                                     767 Indian River Dr                                                          Melbourne          FL         32935
 Uroshape LLC d/b/a Sola Therapy                                                  767 Indian River Dr.,                                                        Melbourne          FL         32935
 US Diversity Group Hotel Fund LLC                                                3355 Lenox Road NE                                                           Atlanta            GA         30326
 USFC Fund 16 LLC                                                                 15851 Dallas Pkwy, Ste 1220                                                  Addison            TX         75001
 USFC Fund 18 LLC                                                                 13155 Noel Road, Ste 1700                                                    Dallas             TX         75240
 Utah Department of Financial Institutions                                        PO Box 146800                                                                Salt Lake City     UT         84111-6800

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 UV One Hygienics Inc.                                    1309 Coffeen Avenue                                                        Sheridan             WY         82801
 Vacayo Inc.                                              444 Castro Street                                                          Mountain View        CA         94041
 Value Add Growth REIT III LLC                            750 B Street                                                               San Diego            CA         92101
 Van Robotics Inc.                                        1225 Laurel Street, Suite 118                                              Columbia             SC         29201
 Van Zant House Inc                                       1100 Shetter Ave                                                           Jacksonville Beach   FL         32250
 Vand Labs Inc.                                           225 Cherry Street, 58H                                                     New York             NY         10002
 Vanguard Moto Inc.                                       63 Flushing Ave #199                                                       Brooklyn             NY         11205
 Varner Enterprises Inc                                   22520 Lahser Rd                                                            Southfield           MI         48033
 Varsity Housing LLC                                      261 Madison Ave 9th floor                                                  New York             NY         10016
 Varsity Hype Inc.                                        1334 Brittmoore Road                                                       Houston              TX         77043
 Vasari Energy Inc.                                       9844 Research Drive                                                        Irvine               CA         92618
 Vault Logic Inc                                          3601 Stewart Avenue                                                        Los Angeles          CA         90066
 Vcorp Services LLC                                       5670 Wilshire Blvd                                                         Los Angeles          CA         90036
 Vector Brewing LLC                                       9850 Walnut Hill Ln.                                                       Dallas               TX         75238
 Vegan Fine Brands Inc.                                   1825 NW Corporate Blvd, Suite 110                                          Boca Raton           FL         33431
 Vegan Soul                                               803 W Beacon St                                                            Boise                ID         83706
 VegasWINNERS Inc.                                        1930 Village Center Circle Suite 3-376                                     Las Vegas            NV         89134
 Veloce Corporation                                       3513 Brighton Blvd. Lab 310                                                Denver               CO         80216
 Venable LLP                                              750 E Pratt Street Suite 900                                               Baltimore            MD         21202
 Vendaval Corp                                            19345 Sawgrass Lane,                                                       Huntington Beach     CA         92648
 Vene Rides Inc.                                          1111 Lincoln Road                                                          Miami Beach          FL         33139
 Venetian Hotel Las Vegas                                 3355 Las Vegas Blvd S                                                      Las Vegas            NV         89109
 Venture at Mountain View LLC                             5227 N 7th St.                                                             Phoenix              AZ         85014
 Venture at Route 66 LLC                                  5227 N 7th Street                                                          Phoenix              AZ         85014
 Venture at Villa Hermosa LLC                             5227 North 7th Street                                                      Phoenix              AZ         85014
 Venture on 12th Place LLC                                5227 N 7th St                                                              Phoenix              AZ         85014
 Venture on 19th LLC                                      5227 N 7th St                                                              Phoenix              AZ         85014
 Venture on 66th LLC                                      5227 N 7th St                                                              Phoenix              AZ         85014
 Venture on 7th LLC                                       5227 N 7th St                                                              Phoenix              AZ         85014
 Venture on Broadway LLC                                  5227 N 7th St                                                              Phoenix              AZ         85014
 Venture on Central LLC                                   5227 N 7th Street                                                          Phoenix              AZ         85014
 Venture on Country Club LLC                              5227 N 7th St                                                              Phoenix              AZ         85014
 Venture on Elden LLC                                     5227 N 7th Street                                                          Phoenix              AZ         85014
 Venture on Marlette LLC                                  5227 N 7th St                                                              Phoenix              AZ         85014
 Venture on Williams LLC                                  5227 N 7th Street                                                          Phoenix              AZ         85014
 Venture on Wilson LLC                                    5227 N 7th St                                                              Phoenix              AZ         85014
 VentureScaleUp Accelerator Fund I LLC                    6601 Memorial Highway Suite 315                                            Tampa                FL         33615
 Veptas Technology Solutions Inc.                         5 Great Valley Parkway                                                     Malvern              PA         19355
 Verge Inc                                                3401 Grays Ferry Ave                                                       Philadelphia         PA         19146
 Veriglif Inc.                                            251 W. 30th Street #606                                                    New York             NY         10001
 Veritransfer Inc.                                        1859 Whitney Mesa Drive                                                    Henderson            NV         89104
 Verkada Inc.                                             Dept LA 24900                                                              Pasadena             CA         91185-4900
 Vermont Department of Financial Regulation               89 Main Street                                                             Montpelier           VT         05620-3101
 Vernafund CF LLC                                         3411 OAK GROVE AVE                               APT 216                   DALLAS               TX         75204-2661
 Versebooks Inc.                                          6226 N. Summit St.                                                         Toledo               OH         43611
 Vessix Inc.                                              701 Venice Blvd                                                            Venice               CA         90291
 Vestaboard Inc.                                          1777 Yosemite Avenue                                                       San Francisco        CA         94124
 Vestar Property Management                               Vestar Property Management                       P.O. Box 30412            Tampa                FL         33630
 Vettery Inc.                                             PO box 392608                                                              Pittsburg            PA         15251
 VG Smartglass LLC                                        250 S Central Blvd                                                         Jupiter              FL         33458
 Viaggiatori LLC                                          246 N5th street                                                            Brooklyn             NY         11211
 Vibrant TV L.L.C.                                        990 Grove Street, Suite 300                                                Evanston             IL         60201
 Vibravision LLC                                          1710 Wall Ave                                                              Ogden                UT         84404
 Vico Neve LLC                                            338 East 67th Street                                                       New York             NY         10065
 Vico Restaurant                                          1387 County Route 5                                                        Canaan               NY         12029
 Victor Del Toro                                          1341 Lucia Drive                                                           Las Vegas            NV         89128
 Victory Marine Holdings Corp                             3609 Hammerkop Drive                                                       N. Las Vegas         NV         89084

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 VII Alverno Capital Partners LLC                                                          2665 South Bayshore Drive                                                Coconut Grove     FL           33133
 VII Capital Manganese Fund LLC                                                            2665 S. Bayshore Drive                                                   Coconut Grove     FL           33133
 VII Pizza Capital Partners LLC                                                            2665 S. Bayshore Drive,                                                  Coconut Grove     FL           33133
 Viking Cloud                                                                              111 N WABASH AVE                                STE 100                  CHICAGO           IL           60602-1903
 VIlla Neuva Houston Texas L.P                                                             211 East 43rd Street                                                     New York          NY           10017
                                                          Attn: Bradford Church and Alex
 Village Labs                                             Calder                           2261 Market St #4903                                                     San Francisco     CA           4114-1612
                                                          Attn: Bradford Church and Alex
 Village Labs                                             Calder                           2261 Market St #4903                                                     San Francisco     CA           94114-1612
                                                          Attn: Bradford Church and Alex
 Village Labs                                             Calder                           2261 Market Street #4903                                                 San Francisco     CA           94114
                                                          Village Labs: Attn Bradford
 Village Platforms, Inc                                   Church and Alex Calder           2261 Market St #4903                                                     San Francisco     California
                                                          Village Platforms Inc, Attn.
                                                          Bradford Church and Alex
 Village Platforms, Inc                                   Calder                           2261 Market St #4903                                                     San Francisco     California
                                                          Village Platforms, Inc, Attn.
                                                          Bradford Church and Alex
 Village Platforms, Inc                                   Calder                           2261 Market St #4903                                                     San Francisco     California
 Vinebrook Homes Trust Inc                                                                 330 Crescent Court, Suite 700                                            Dallas            TX           75201
 Vios Nutrition Inc.                                                                       751 West Fourth Street                                                   Winston-Salem     NC           27040
 Viper Capital Partners LLC                                                                700 Milam Street                                                         Houston           TX           77002
 Virgin Islands Office of Lieutenant Governer Division
 of Banking and Insurance                                                                  5049 Kongens Gade                                                        St. Thomas        VI           802
 Virginia Bureau of Financial Institutions                                                 PO Box 640                                                               Richmond          VA           23218-0640
 Virginia Department of Taxation                                                           PO Box 1498                                                              Richmond          VA           23218

 Virginia Division of Securities and Retail Franchising                                    1300 East Maine Street                          9th Floor                Richmond          VA           23219
 Virgo 1345 Business Centers LLC                                                           1345 6th Avenue                                 2nd Floor                New York          NY           10105
 VIri Systems Inc                                                                          5327 W Grace St                                                          Chicago           IL           60641
 Virtual Film School Inc                                                                   2219 W. Olive Ave                                                        Burbank           CA           91506
 Virtual QE Inc                                                                            11110 W Oakland Park Blvd                                                Sunrise           FL           33351
 Virtual World Computing LLC                                                               5425 Hollister Ave. Suite 160                                            Santa Barbara     CA           93111
 Virtudes Labs Inc.                                                                        3838 Oak Lawn Ave                                                        Dallas            TX           75219
 ViscoSoft Group LLC                                                                       2923 South Tryon Street, Suite 140                                       Charlotte         NC           28203
 VisuWall Technologies Inc                                                                 15 Park Row                                                              New York          NY           10038
 Vital Card Inc.                                                                           214 W 29th St 16th Floor                                                 New York          NY           10001
 Vitamin Energy Inc.                                                                       391 Wilmington W.Chester Pike,Unit 3,403                                 Glen Mills        PA           19342
 VitaPerk LLC                                                                              6960 Orchard Lake Rd, Suite 340                                          West Bloomfield   MI           48322
 Vitiman Kandie LLC                                                                        1400 E 105th St                                                          Cleveland         OH           44106
 Vivosens Inc.                                                                             44 Tehama Street                                                         San Francisco     CA           94105
 VizAeras Inc.                                                                             220 NEWPORT CENTER DR                           STE 11                   NEWPORT BEACH     CA           92660-7557
 Vizrom Inc.                                                                               1848 Trailridge Drive                                                    Pelham            AL           35124
 VJCo Inc.                                                                                 900 W Northwest Blvd                                                     Winston-Salem     NC           27601
 VLISO Inc.                                                                                2035 Sunset Lake RoadSuite B-2                                           Newark            DE           19702
 VLISO Inc.                                                                                2035 Sunset Lake RoadSuite B-2                                           Newark            DE           19703
 Vnu 102 LLC                                                                               605 N. Michigan Ave.                                                     Chicago           IL           60611
 VNU Investments LLC                                                                       605 N Michigan Ave                                                       Chicago           IL           60611
 VoiceVoice Inc.                                                                           2323 Broadway                                                            Oakland           CA           94612
 Volaero Uav & Drones Holding Corp                                                         14530 Biscayne Blvd                                                      North Miami       FL           33181
 Vorka USA Corp                                                                            7345 W Sand Lake Rd Ste 224                                              Orlando           FL           32819-5280
 VOWburger Company                                                                         519 N Fairfax Ave                                                        Los Angeles       CA           90036
 vRotors Inc.                                                                              24337 Songsparrow Lane                                                   Corona            CA           92883
 Vxtra Health Plan Inc.                                                                    2700 Cumberland Parkway, Suite 140                                       Atlanta           GA           30339
 Vyllage Inc.                                                                              8290 Cleary Boulevard                                                    Plantation        FL           33324
 Vynleads Inc.                                                                             534 Riviera Pl                                                           Rock Hill         SC           29730


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                          Name                                 Attention                            Address 1                                 Address 2                         City        State      Zip          Country
                                                                                   Manchester Tech Centre, Oxford Road,
 Wakelet Limited                                                                   Manchester, England                                                             Manchester          GTM          M1 7ED       Great Britain
 Waku Inc                                                                          20 Waldo Avenue                                                                 Somerville          MA           02143
 Waldo I A Series of Republic Deal Room Master
 Fund LP                                                                           PO BOX 171305                                                                   SALT LAKE CTY       UT           84117-1305

 Wallex Pay                                         Attn: Simone Mazzuca, Wallex   67 Burnside Ave.                                                                East Hartford       CT           06108

 Wallex Pay                                         Attn:Simone Mazzuca, Wallex    67 Burnside Ave                                                                 East Hartford       CT           06108
 WAMI Inc                                                                          1636 Wilcox Avenue                                                              Hollywood           CA           90028
 Wand USA Inc.                                                                     1770 Chestnut Pl                                                                Denver              CO           80202
                                                                                                                                    3800 Howard Hughes Parkway,
 Ward, et al. v. Prime Trust                        c/o Kemp Jones, LLP            Attn: Michael Gayan & Mona Kaveh                 17th Floor                      Las Vegas          NV           89169
 Washington Department of Financial Institutions                                   PO Box 41200                                                                     Olympia            WA           98504-1200
 Washington Securities Division                                                    150 Israel Road SW                                                               Tumwater           WA           98507
 Watchdog Technologies Inc                          Attn: Michael O'Connell        155 Fleet St                                                                     Portsmouth         NH           03801
 WaterRR Inc.                                                                      10052 Floating Island Way                                                        Shepherd           MT           59079
 Water's Edge Salado Texas LP                                                      211 East 43rd Street                                                             New York           NY           10017
 Waverly Labs Inc.                                                                 19 Morris Avenue                                                                 Brooklyn           NY           11205
 Wayzn Inc.                                                                        1669 Hollenbeck Avenue                                                           Sunnyvale          CA           94087
 WCB Productions LLC                                                               308 W 46th St                                                                    New York           NY           10036
 We Are The New Farmers Inc                                                        80 58th Street                                                                   Brooklyn           NY           11220
 We ChipN Inc                                                                      131 Prairie Lane                                                                 Alexandria         VA           22314
 WE Labs, Inc.                                      Attn: Will Rush                746 Kirkland Cr                                                                  Kirkland           WA           8033
 WE Labs, Inc.                                      Attn: Will Rush                746 Kirkland Cr                                                                  Kirkland           WA           98033
 Wealth Migrate Medical 3 LLC                                                      101 Vickery Street                                                               Roswell            GA           30075
 Wealth Migrate Medical 3 LLC                                                      1402 Macy Drive                                                                  Roswell            GA           30076
 Wealth Migrate Medical 5 LLC                                                      1402 Macy Drive                                                                  Roswell            GA           30075
 Wealthchain, Inc.                                  Attn: Kevin Mehrabi            11693 San Vicente Blvd                           #532                            Los Angeles        CA           90049
 Wealthchain, Inc.                                  Attn: Kevin Mehrabi            11693 San Vicente Blvd, #532                                                     Los Angeles        CA           90049
 Wealthchain, Inc.                                  Attn: Kevin Mehrabi            11693 San Vicente Blvd.                          #532                            Los Angeles        CA           90049
 WealthZoo LLC                                                                     350 N. Orleans Street                                                            Chicago            IL           60654
 wearwell Inc.                                                                     1608 Walnut Street                                                               Philadelphia       PA           19103
 WeatherFlow-Tempest Inc.                                                          108 Whispering Pines Dr #245                                                     Scotts Valley      CA           95066
 WebTez Inc.                                                                       530 CONSTITUTION AVE                                                             CAMARILLO          CA           93012-8510
 Weeds Never Sleep LLC                                                             6736 NE Tillamook ST                                                             Portland           OR           97213
 WeLivv Inc.                                                                       417 5th Avenue                                                                   New York           NY           10016
 WeLivv Inc.                                                                       501 Silverside Rd                                                                Wilmington         DE           19809
 Wellbeing Brewing Company LLC                                                     45 Progress Parkway                                                              Maryland Heights   MO           63043
 WellWell LLC                                                                      50 Franklin Street                                                               New York           NY           10013
 Wespay                                                                            300 Montgomery St.                               Suite 450                       San Francisco      CA           94104
 Wespay Advisors                                                                   WeWork c/o Christian Selmi                       600 California Street, 11 Floor San Francisco      CA           94108
 West Orange Buildings LLC                                                         101 Vickery Street                                                               Roswell            GA           30075
 West Virginia Division of Financial Institutions                                  900 Pennsylvania Avenue                          Suite 306                       Charleston         WV           25302-3542
 West Virginia Securities Commission                                               1900 Kanawha Boulevard East                      Building 1, Room W-100          Charleston         WV           25305
 West Virginia Tax Division                                                        PO Box 2389                                                                      Charleston         WV           25328
 Western Reserve Distillers LLC                                                    14221 Madison Ave                                                                Lakewood           OH           44107
 Wetboard Inc.                                                                     417 Bellevue Way SE                                                              Bellevue           WA           98004
 WeWork - Austin Tx                                                                11801 Domain Boulevard                                                           Austin             TX           78758
 WeWork - Legacy West                                                              7700 Windrose Avenue                                                             Plano              TX           75024
 WeWork - Tampa, FL                                                                115 West 18th Street                                                             New York           NY           10011
 When It Changed Inc.                                                              26 Saint James Place                                                             Brooklyn           NY           11205
 WhereBy.Us Enterprises Inc                                                        1951 NW 7th Ave                                                                  Miami              FL           33136
 Whetstone International Network LLC                                               2017 East Hillcrest Drive                                                        Visalia            CA           93292
 Whimstay Inc.                                                                     425 El Pintado Rd.                                                               Danville           CA           94526
 Whipr Inc.                                                                        3784 Mission Ave Ste 148                                                         Oceanside          CA           92058
 Whitecap Enterprises ii llc                                                       156 Alexandria Pike                                                              Warrenton          VA           20186

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 Whitethorn Digital LLC                                                  1001 State St.                                                           Erie                     PA          16501
 Whooshh Innovations Inc.                                                2001 West Garfield Street, Bldg 156                                      Seattle                  WA          98119
 WhoseYourLandlord                                                       413 Halsey Street                                                        Brooklyn                 NY          11233
 Wilderwise Inc.                                                         1257 Catalina St                                                         Laguna Beach             CA          92651
 Wiley Area Development LLC d/b/a Tasty Equity                           572 Breckenridge Way                                                     Beavercreek              OH          45430
 Will Be Done - Management, LLC                                          1239 E. 10th St                                                          Long Beach               CA          90813
 William Blair                                                           150 N Riverside Plaza                            43rd FL                 Chicago                  IL          60606
 William Blair MB Investments, LP - PCTI           James Wildman         150 N. Riverside Plaza                                                   Chicago                  IL          60606

 William Blair MB Investments, LP - PCTI 2022 Series James Wildman       150 N. Riverside Plaza                                                   Chicago                  IL          60606
 William Lamons                                                          1303 HEARTHFIRE CT                                                       FORT COLLINS             CO          80524-1782
 Willowglade Technologies Corporation                                    30211 Avendia De Las Bandaras                                            Rancho Santa Margarita   CA          92688
 Winc Inc                                                                5430 Alla Road                                                           Los Angeles              CA          90066
 Winc Inc.                                                               5430 Alla Rd                                                             Los Angeles              CA          90066
 WindowMirror Inc                                                        5440 W Berteau                                                           Chicago                  IL          60641
 Wingate Hotel Funding LLC                                               136-19 Franklin Ave.                                                     Flushing                 NY          11355
 Wink Robotics Inc.                                                      5418 College Ave                                                         Oakland                  CA          94618
 Wink TV LLC                                                             811 West 7th Street                                                      Los Angeles              CA          90017
 Win-Win App Inc.                                                        344 20th Street                                                          Oakland                  CA          94612
 Wireless electrical Grid LAN WiGL Inc.                                  1919 Commerce Dr suite 120                                               Hampton                  VA          23666
 Wisconsin Department of Financial Institutions                          PO Box 7876                                                              Madison                  WI          53707-7876
 Wise Power Inc.                                                         2500 Broadway                                                            Santa Monica             CA          90404
 Wise Smoker LTD                                                         6 Kompert street                                                         Tel Aviv                 Israel      6684923    Israel
 WitFoo Inc                                                              2494 Jett Ferry Rd                                                       Dunwoody                 GA          30338
 Witnet Foundation                                                       160 Greentree Drive                                                      Dover                    DE          19904
 WiTopia Inc.                                                            11654 Plaza America Dr., #316                                            Reston                   VA          20190
 Witty Inventions LLC                                                    2302 E. Magnolia St                                                      Phoenix                  AZ          85034
 Wizard Entertainment Inc                                                662 N. Sepulveda Blvd, Suite 300                                         Los Angeles              CA          90049
 WizHero LLC                                                             8 The Green                                                              Dover                    DE          19901
 WolfPack Systems Inc                                                    1 Research Court                                                         Rockville                MD          20850
 Wolters Kluwer dba CT Corporation                                       25 Robert Pitt Drive, Suite 204                                          Carol Stream             IL          60197-4349
 Wonder Wax Glam Studio LLC                                              182 BROAD AVE                                                            LEONIA                   NJ          07605-2015
 Wonderpro Limited                                                       Flat 1701 17/F 100 Queen's Road Central                                  Central                  Hong Kong   999077     China
 WonderSpray Inc                                                         13008 Kenswick Dr                                                        Austin                   TX          78753
 Woodbury Solar Investors LLC                                            128-A Courthouse Square                                                  Oxford                   MS          38655
 Woodland Rockwell No 1 GP                                               1700 Post Oak Blvd STE 600                                               Hoston                   TX          77056
 Woodruff Sawyer                                                         50 California Street, Floor 12                                           San Francisco            CA          94111
 Woodruff-Sawyer                                                         PO Box 45057                                                             San Franscisco           CA          94145-9950
 Woofy Inc.                                                              26 W 61st Street                                                         New York                 NY          10023
 Woofy Inc.                                                              26 West 61st Street                                                      New York                 NY          10023
 Wordego Inc.                                                            222 W Merchandise Mart Plaza Suite 1212                                  Chicago                  IL          60654
 Wordego Incorporated                                                    222 W Merchandise Mart Plaza Suite 1212                                  Chicago                  IL          60654
 Work Force Coin LLC                                                     10421 S. Jordan Gtwy Ste 600                                             South Jordan             UT          84095
 Work Hard Digital Services LLC                                          744 E. Warrington Ave                                                    Pittsburgh               PA          15210
 Work Hard Play Hard Train Hard Inc                                      9 East 16th Street                                                       New York                 NY          10003
 Work it Out with JoJo                                                   201 S. Park Ave                                                          Linden                   NJ          07036
 Work it out with Jojo LLC                                               201 S Park Avenue                                                        Linden                   NJ          07036
 Work4Workers Inc.                                                       8113 Amelia Cove                                                         Austin                   TX          78750
 WorkCar Inc.                                                            548 Market St                                                            San Francisco            CA          94104
 WorkDone Inc.                                                           8306 Wilshire Blvd.                                                      Beverly Hills            CA          90211
 Worklete Inc.                                                           1423 Broadway                                                            Oakland                  CA          94612
 World Blockchain Project Inc                                            333 S Wabash Ave                                                         Chicago                  IL          60604
 Worldwide Liquidators LLC                                               4110 West Acoma Drive                                                    Phoenix                  AZ          85053
 Worthy Financial Inc.                                                   4400 N. Federal Hwy, Suite 210-12                                        Boca Raton               FL          33431
 Wow Sports Network Inc.                                                 2548 Hempel Cove Crt                                                     Windermere               FL          34786
 WOW Studios Incorporated                                                603 Stewart St                                                           Seattle                  WA          98101
 WP Engine, Inc.                                                         504 Lavaca Street                                Ste 1000                Austin                   TX          78701

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 Wrap Technologies Inc.                                                    4620 Arville Street, Ste E                                                    Las Vegas           NV         89103
 WS West LLC                                                               5265 Fountain Avenue                                                          Los Angeles         CA         90027
 WTC Productions LLC                                                       9938 Mustang Creek Way                                                        Las Vegas           NV         89148
 WWF Holdings Inc.                                                         1942 W Grand River Ave Ste 32                                                 Detroit             MI         482261205
 Wyoming Division of Banking                                               2300 Capitol Ave                                 Hathaway Building 2nd Fl     Cheyenne            WY         82002
 Wyoming Securities Division                                               Herschler Building East 122                      West 25th Street Suite 100   Cheyenne            WY         82002-0020
 Wytec International Inc                                                   19206 Huebner Rd                                                              San Antonio         TX         78258
 Wytec International Inc                                                   19206 Huebner Rd Ste 202                                                      San Antonio         TX         78258
 Wytec International Inc                                                   19206 Huebner Road                                                            San Antonio         TX         78258
 X4 Tech Staffing Inc.                                                     10 Grand Street                                                               Brooklyn            NY         11249
 X4 Technology Inc                            Attn: Alex Miller            10 Grand St                                                                   Brooklyn            NY         11249
 Xairos CF SPV LLC                                                         9741 Sunset Hill Circle                                                       Lone Tree           CO         80124
 xCraft Enterprises Inc.                                                   418 E Lakeside Ave Suite 08                                                   Coeur d'Alene       ID         83814
 xCraft Enterprises Inc. 1                                                 313 E Sherman Ave                                                             Coeur d'Alene       ID         83814
 xCraft Enterprises Inc. 2                                                 418 E Lakeside Ave                                                            Coeur d'Alene       ID         83814
 Xiggit Inc.                                                               2625 Middlefield Road                                                         Palo Alto           CA         94306
 Xreal                                                                     604 Arizona Ave                                                               Santa Monica        CA         90401
 XRHealth Inc.                                                             1330 Beacon St STE 209                                                        Brookline           MA         02446
 Xspand Products Lab Inc.                                                  4030 Skyron Drive                                                             Doylestown          PA         18902
 XTI Aircraft Company                                                      13000 East Control Tower Road, Suite 217                                      Englewood           CO         80112
 XTI Aircraft Company                                                      2209 Green Oaks Lane                                                          Englewood           CO         80121
 XTI Aircraft Company                                                      2209 Green Oaks Lane                                                          Greenwood Village   CO         80121
 XY - The Findable Company                                                 1133 Columbia Street                                                          San Diego           CA         92101
 XY - the Findables Company                                                1133 Columbia St., Suite 205                                                  San Diego           CA         92101
 Yae! Organics Inc                                                         12655 W Jefferson Blvd                                                        Los Angeles         CA         90066
 Yae! Organics Inc.                                                        12655 W Jefferson Blvd                                                        Los Angeles         CA         90066
 YE US Inc.                                                                20 C Trolley Square                                                           Wilmington          DE         19806
 YEII Inc.                                                                 247 Brannan St.                                                               San Francisco       CA         94107
 YeKim LLC                                                                 1716 E 58th Place Unit 5                                                      Los Angeles         CA         90001
 Yerbae Brands Co.                                                         14850 N Scottsdale Rd #295                                                    Scottsdale          AZ         85254
 YiLoLife Inc.                                                             201 S 36 Street                                                               Phoenix             AZ         85034
 Yokip Consulting LLC                                                      4424 Gaines Ranch Loop                           232                          Austin              TX         78735
 Yonduur Inc                                                               8 The Green #A                                                                Dover               DE         19901
 Yosteria LLC                                                              252 Valley St                                                                 Youngstown          OH         44505
 Youcanevent Inc.                                                          55 Merchant Street                                                            Honolulu            HI         96813
 Youngry LLC                                                               1621 Alton Pkwy                                                               Irvine              CA         92660
 YouNow Services LLC                                                       399 Webster Street                                                            San Francisco       CA         94117
 Your Active World Holdings Inc.                                           735 Island Way                                                                Clearwater Beach    FL         33767
 Your Car Our Driver Inc.                                                  2901 W Coast Highway                                                          Newport Beach       CA         92663
 Yourvirtualsim Inc                                                        626 Capp Street                                                               San Francisco       CA         94110
 Yousef Abbasi                                                             15 Webster Drive                                                              Wayne               NJ         07470
 YouSolar Inc.                                                             1575 Brunswig Lane                                                            Emeryville          CA         94608
 YouStake Inc.                                                             455 N 3rd St                                                                  Phoenix             AZ         85004
 Yubi Health Inc.                                                          2550 W. Union Hills Dr Suite 350-1489                                         Phoenix             AZ         85027
 Yummi Inc.                                                                5171 California Avenue                                                        Irvine              CA         92617
 Yumwoof Natural Pet Food LLC                                              10845 Griffith Peak Drive                                                     Las Vegas           NV         89135
 Z0cal Inc                                                                 16321 Gothard St. STE C                                                       Huntington Beach    CA         92647-8026
 Zap Solutions, Inc.                          Attn: Jack Mallers           200 N LaSalle St. Suite 2650                                                  Chicago             IL         60601
                                              Attn: Nadia Asoyan & Casey
 Zap Solutions, Inc.                          Epton                        200 N Lasalle St, Ste 2650                                                    Chicago             IL         60601
 Zapier Inc                                                                548 Market St                                    62411                        San Francisco       CA         94104
 Zeehaus Inc.                                                              1390 Market St Suite 200                                                      San Francisco       CA         94102
 Zendesk                                                                   989 Market St                                                                 San Francisco       CA         94103
 Zendesk, Inc                                                              1019 Market St                                                                San Francisco       CA         94103
 Zenlabs Holdings Inc.                                                     595 Howe Street, Box 35                                                       Vancouver           BC         V6C2T5       Canada
 ZenSpace Inc.                                                             3103 Lismore Ct.                                                              San Jose            CA         95135
 Zenus Inc.                                                                411 West Monroe Street                                                        Austin              TX         78704

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 Zephyr Aerospace LLC                                     151 Calle San Francisco                                                 San Juan          San Juan   901       Puerto Rico
 Zephyr Holistics Fund LLC                                853 Camino Del Mar Suite 201                                            Del Mar           CA         92014
 Zeplin, Inc                                              350 Brannan St                                 Suite 350                San Francisco     CA         94107
 ZEVA Inc.                                                1128 St Paul Ave Bay #1                                                 Tacoma            WA         98421
 ZipZap Inc.                                              21 Orinda Way                                                           Orinda            CA         94563
 Zirconia Inc.                                            4611 S 134th Pl, STE 240                                                Tukwila           WA         98168
 Ziyen Inc.                                               30 N Gould St                                                           Sheridan          WY         82801
 Zoi INC                                                  611 N. Commonwealth Ave                                                 Los Angeles       CA         90004
 Zoi Inc.                                                 611 N. Commonwealth Ave                                                 Los Angeles       CA         90004
 ZwillGen PLLC                                            1900 M Street, NW                              Suite 250                Washington        DC         20036




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                                    Name                          Attention 1            Attention 2                   Email
                                                                                                       sm@10tfund.com
              10T DAE Expansion Fund; LP                                                               gd@10tfund.com
                                                                                                       sm@10tfund.com
              10T Fund A, LP                                                                           gd@10tfund.com
                                                                                                       sm@10tfund.com
              10T Fund, LP                                                                             gd@10tfund.com
                                                                                                       ben@akkadianventures.com
                                                                                                       peter@akkadianventures.com
                                                                                                       mike@akkadianventures.com
                                                                                                       legal@akkadianventures.com
                                                                                                       laura@avantifundservices.com
                                                                                                       mjdinsdale@gmail.com
                                                                                                       craig@akkadian.vc
              Akkadian Ventures V, LP                                                                  md@akkadian.vc
                                                                                                       Email Address Redacted
              Brue2Ventures, LLC                                                                       nlb@nbrue.com
              Clearvoyance Holdings                                                                    sean@clearvoyanceconsulting.com
                                                                                                       dan@commercevc.com
                                                                                                       matt@commercevc.com
                                                                                                       liz@commerce.vc
              Commerce Ventures III, LP                                                                dan@commerce.vc
              Crystal Bay Revocable Trust                                                              Email Address Redacted
              Decasonic Prime Trust, a series of Decasonic
              Opportunity Fund I, LLC                                                                  paul@decasonic.com
              Divergence Digital Currency Master LP                                                    adam@struckcapital.com
                                                                                                       Email Address Redacted
              Diverse Angels Fund I, LLC                                                               antonio@diverseangels.com
              Equity Trust Company Custodian FBO Anand                                                 Email Address Redacted
              Subramanian IRA                                                                          anand@rmkgrowth.com
                                                                                                       Email Address Redacted
                                                                                                       stephane.wyper@fisglobal.com
              Fidelity Information Services, LLC                                                       Hugues.Villeneuve@fisglobal.com
                                                                                                       logan@finvc.co
                                                                                                       christian@finvc.co
                                                                                                       henry@finvc.co
                                                                                                       marcella@fin.capital
                                                                                                       logan@fin.capital
                                                                                                       luke@fin.capital
              Fin VC Horizons II, LP - Series VIII                                                     ren@fin.capital
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              Gaingels Prime Trust 2022 LLC                                                              Email Address Redacted
                                                                                                         alfred@gate-cap.com
              GateCap Ventures II LP                                                                     frank@gate-cap.com
              GateCap Ventures LP                                                                        alfred@gate-cap.com
              Gateway VCA 0521, LLC                                                                      alfred@gate-cap.com
                                                                                                         gchsupport@cooley.com
                                                                                                         sdaycocoray@cooley.com
              GC&H Investments, LP                                                                       nguerere@cooley.com
              Harvest Growth Capital III LLC                                                             egarcia@harvestgrowthcapital.com
              Hyland Law PLLC                                                                            thyland@hylandpllc.com
              Ice Sugar Limited                                                                          hdxspp@gmail.com
              JDW Group LLC                                                                              john.wilcox@thejdwgroup.com
                                                                                                         brandon@krakenventures.com
              Kraken Ventures Fund I LP                                                                  aj.kennedy@krakenventures.com
              LDJ Venture Capital                                                                        david@ldjcapital.com
              McDermott Will & Emery                                                                     dazman@mwe.com
              Mercato Partners Traverse IV QP, LP                                                        zane@mercatopartners.com
                                                                                                         zane@mercatopartners.com
              Mercato Partners Traverse IV, LP                                                           rparker@mercatopartners.com
              Mercato Traverse Prime Core Co-Invest, LLC                                                 zane@mercatopartners.com
              Mercato Traverse SPV 2, A Series of Mercato
              Coinvestments, LLC                                                                         zane@mercatopartners.com
                                                                                                         drobinson@mvbbanking.com
                                                                                                         obartnicki@mvbbanking.com
              MVB Financial Corp.                                                                        mmcleod@mvbbanking.com
                                                                                                         dkoche@barnettbolt.com
              N9 Advisors, LLC                                                                           petamber@ayon.com
                                                                                                         erik@nevcautventures.com
              Nevcaut Ventures Fund I, LP                                                                dan@nevcautventures.com
              Nilseh Global Ltd.                                                                         Email Address Redacted
              Nova Block II LLC                                                                          leeor@novablock.io
              Nova Block LLC                                                                             leeor@novablock.io
              O'Hara Investments LLC                                                                     Email Address Redacted
              OKC USA Holding Inc.                                                                       jeff@okcoin.com
              OKCoin USA Inc.                                                                            jeff@okcoin.com
                                                                                                         Email Address Redacted
              Oleg, LP Limited Partnership                                                               oleg@invent.us
              PC-110869 - Philadelphia Indemnity Insurance                              1201 Demonbreun
              Company                                        c/o Manier & Herod, P.C.   Street, Suite 900 swilliams@manierherod.com
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              Pegasus Growth Capital Fund I, LP                                                        holland@pegasusgrowth.com
              Physical Therapy Excellence, PC                                                          oh.bunnag@valir.com
              Pluralsight, LLC                                                                         ar@pluralsight.com
              PRI Gaingels Fund, a series of Zachary                                                   portfolio@angel.co
              Ginsburg Funds, LP                                                                       oliver@gaingels.com
                                                                                                       Andrew.Hollenbeck@soros.com
              Quantum Partners LP                                                                      Joe.Capone@soros.com
                                                                                                       ed@reddogcap.com
                                                                                                       eugene@reddogcap.com
              Red Dog Frontier Fund II LP                                                              ed@reddogcap.com
                                                                                                       shawn@s20.co
                                                                                                       zak@s20.co
              s20 Capital Fund, LP                                                                     matt@s20.co
                                                                                                       kim.brendon@samsung.com
                                                                                                       v.lovett@samsung.com
                                                                                                       s.campbell@samsungnext.com
                                                                                                       j.lee6@samsungnext.com
                                                                                                       investments@samsungnext.com
                                                                                                       boston.schwarz@samsungnext.com
              Samsung Next Fund LLC                                                                    carlos.castellanos@samsungnext.com
              Senior Comfort Corp                                                                      jon@jilesfamily.com
                                                                                                       dino@sevenpeaksventures.com
                                                                                                       tom@sevenpeaksventures.com
              Seven Peaks Ventures Fund II, LP                                                          jdfranzi@gmail.com
              Sift                                                                                     ahollomon@sift.com
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              Tiny Orange, LLC                                                                         rene.chaze@tinyorangecapital.com
              Triton Venture Capital Prime Trust Fund I LP                                             brandon@krakenventures.com
              UGF II Affiliates II, LLC                                                                peter@growthfund.com
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                                                                        Exhibit D
                                                                  Served via Electronic Mail
                                   Name                           Attention 1            Attention 2                   Email
              University Growth Fund II, LP                                                            peter@growthfund.com
              Vision Exe, LLC                                                                          Email Address Redacted
              William Blair MB Investments, LP - PCTI 2022
              Series                                                                                   dtakagi@williamblair.com
              Xsquared Ventures, LLC                                                                   clayton.m.bittle@xsquared.ventures




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